            Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 1 of 259




    THANK YOU FOR RENEWING YOUR POLICY WITH US



If you're receiving this renewal through the mail directly from The Hartford, please note that we've only attached
new, changed or updated documents. These include your new declarations page, which outlines your coverage,
as well as any notices and brochures with updated information. We leave out unchanged documents to help cut
down on paperwork and mailing costs. You can keep the attached documents filed alongside those from your
previous policy if you wish.

If you're receiving this renewal electronically, or it's been mailed by your agent, it may include all of your
documents - even ones that haven't changed.

In either case, keep in mind that you can view, download or print any of these documents online. Just register or
log into your account https://business.thehartford.com and click on "Documents". For added convenience, you can
also pay your bill, request a Certificate of Insurance, check claims status, update preferences and more.




Form G-4159-0                                 © 2019, The Hartford                                    Page 1 of 1
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ULTIMATE HEARING SOLUTIONS, LLC

435 BALTIMORE PIKE
SPRINGFIELD                 PA 19064

Policy Number: 39 SBA AA3300
Renewal Date: 04/23/20

Thank you for being a loyal customer of The Hartford.

# 1: Your Hartford Policy
Enclosed are renewal documents for your policy, which is scheduled to renew on 04/23/20 . Along
with a new Declarations Page, which details the coverages provided by your policy, we are enclosing
important policy documents. Please be aware that you will receive an invoice separately for this new
policy term approximately 30 days prior to the renewal date; no action is required now.

To ensure the premium you paid for this past policy term was accurate, we may contact you by letter,
phone or email to conduct a premium audit. If contacted, we will advise what information is needed to
complete the audit.

# 2: Your Business Insurance Coverage Checkup
Now is a great time to complete a business insurance coverage checkup with a Hartford Insurance
Professional. Because you wear so many hats each day, you may not be thinking about how changes to
your business can impact the type and amount of insurance coverage needed to protect it.

Together we will evaluate how your needs may have changed over the past year. Examples include:
   - Has your mailing address and/or the physical location of your business changed?
   - Has there been any increase/decrease in the amount of business property/equipment you own?
   - Has there been any increase/decrease in your company’s payroll or sales?
   - Have you added or eliminated any vehicles used in your business operations?
   - Are the bill plan and deductible on your policy right for your business?

During the review we may make coverage recommendations, provide peace of mind solutions,
and possibly reduce your costs. Here is all you need to do:
       - Call toll free (866) 467-8730 , and select our renewal review service option any
         weekday from 7 A.M. to 7 P.M. CST and request your business insurance check-up.
       - To best serve you, please have your Policy Number or Account Number and a Copy of
         your current Renewal Policy in hand when you call.

# 3: Servicing Your Needs
To login or register for our Online Business Service Center, go to www.thehartford.com/servicecenter
where any time, day or night you can:
    - Pay your bill, view payment history and enroll in Auto Pay
    - Request Auto ID Cards and Certificates of Insurance
    - View electronic copies of billing and policy documents and sign up for paperless delivery

# 4: If You’ve Had A Loss or Accident… Report It Immediately
We want to help! Contact us as quickly as possible at 1-800-327-3636.
    - Representatives are available 24-7 to assist in helping you recover from your loss.

On behalf of ARTHUR J GALLAGHER RISK MGMT/PHS                   and The Hartford, we appreciate the
opportunity to have been of service to you this past year and look forward to serving your business
insurance needs for the upcoming year.

Sincerely,
Your Hartford Team
            Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 3 of 259




       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



IMPORTANT NOTICE TO POLICYHOLDERS - EMPLOYMENT
   PRACTICES LIABILTY RISK MANAGEMENT WEB SITE

Thank you for choosing The Hartford for your Employment Practices Liability ("EPL") coverage. This coverage is part
of your Spectrum policy.

As a Hartford insured, you now have free and exclusive access to a service designed to help you better protect your
company from employment-related litigation. Go to our website, www.hartfordhelp.com and register your company
today.

Your registration Code is: HFP2-07

This site provides you with timely information on employment litigation trends, laws and best practices. As a Hartford
EPL policyholder, you have access to enhanced services such as:

                    o   Online Sexual Harassment training for your employees
                    o   Anti-Discrimination training
                    o   Sample policies and procedures


We hope you take advantage of these valuable services offered free of charge exclusively to Hartford Employment
Practices Liability customers.

Thank you again for choosing The Hartford.




Form SS 38 68 09 07                                                                                   Page 1 of 1

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                          Insurance Policy Billing Information
Thank you for selecting The Hartford for your business insurance needs.

Shortly, you will receive your first bill from us. You are receiving this Notice so you know
what to expect as a valued customer of The Hartford. Should you have any questions after
reviewing this information, please contact us at 866-467-8730, and we will be happy to
assist you.

o   Your total policy premium will appear on your policy’s Declarations Page. You will be billed based on the payment
    plan you selected.

o   You may pay the "minimum due" as it appears on your insurance bill or pay the policy balance in full.

o   An installment service fee is added to each installment. A late fee will also be applied if the "minimum due" is not
    received by the due date shown on your bill. Service and late payment fees do not apply in all states.

o   If you selected installment billing, any credit or additional premium due as the result of a change made to your
    policy, will be spread over the remaining billing installments. Additional premium due as a result of an audit will be
    billed in full on your next bill date following the completion of the audit.

o   If you elected Electronic Funds Transfer (EFT), policy changes may result in changes to the amount automatically
    withdrawn from your bank account. The invoice you receive following a policy change will include future withdrawal
    amounts. If you need to adjust or stop your next scheduled EFT withdrawal, please contact us at least 3 days
    prior to the scheduled withdrawal date at the telephone number shown below.

o   If you selected installment billing and pay the premiums for your first policy term on time, at renewal, your account
    may qualify for our "Equal Installment" feature. This means that the percentage due for each installment, including
    the initial renewal installment, will be the same throughout the policy term – helping you better manage cash flow.
    Equal installments will continue as long as you pay your premiums on time and no cancellation notices are issued
    for any policy on your account. If you no longer qualify for Equal Installments, future renewals will be billed based
    on the payment plan you selected, which includes a higher initial installment amount.

o   If your policy is eligible for renewal, your bill for the upcoming policy term will be sent to you approximately 30 days
    prior to your policy’s renewal date. If your insurance needs change, please contact us at least 60 days prior to your
    renewal date so we can properly address any adjustments needed.

o   One bill convenience -- you have the option of combining all eligible Hartford policies on one single bill allowing
    you to make one payment for all policies on your account as payments are due.

You’re In Control

In addition to selecting a bill plan option that best meets your budget, you have the flexibility to decide how your
payments are made …

o   Repetitive EFT: Sign up for Repetitive EFT payments and have payments automatically withdrawn from your bank
    account. This option saves you money by reducing the amount of the installment service fee.
o   Pay Online: Register at www.thehartford.com/servicecenter. Online Bill Pay is Quick, Easy and Secure!
o   Pay by Check: Send a check with your remittance stub in the envelope provided with your bill.
o   Pay by Phone: Call toll-free 1-866-467-8730.
Should you have any questions about your bill, please call Customer Service toll-free number:
       1-866-467-8730 - 7AM – 7PM CST. We look forward to being of service to you.




Form 100722 11th Rev. Printed in U.S.A.
             Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 5 of 259




                         IMPORTANT NOTICE TO POLICYHOLDERS
                 THE HARTFORD CYBER CENTER WEBSITE ACCESS

Thank you for choosing The Hartford for your business insurance needs.

You are receiving this Notice because you purchased a business owner's policy from The Hartford, (your Policy
was issued by The Hartford writing company identified on your policy Declarations page) which includes access to
The Hartford Cyber Center. This portal was created because we recognize that businesses face a variety of
cyber-related exposures and need help managing the related risks. These exposures include data breaches,
computer virus attacks and cyber extortion threats.

Through The Hartford Cyber Center, you have access to:
    o   A panel of third party incident response service providers
    o   Third party cybersecurity pre-incident service providers and a list of approved services to help protect
        your business before a cyber-threat occurs
    o   Risk management tools, including self-assessments, best practice guides, templates, sample incident
        response plans, and data breach cost calculators
    o   White papers, blogs and webinars from leading privacy and security practitioners
    o   Up-to-date cyber-related news and events, including examples of privacy and security related events
Accessing The Hartford Cyber Center is easy
    1. Visit www.thehartford.com/cybercenter
    2. Enter policyholder information
    3. Access code: 952689
    4. Login to The Hartford Cyber Center

This Notice does not amend or otherwise affect the provisions of your business owner's policy.
Coverage Options:
The Hartford offers a variety of endorsements to your business owner's policy that can help protect your business
from a broad range of cyber-related threats. Please review your coverage with your insurance agent or broker to
determine the most appropriate cyber coverages and limits for your business.
Claims Reporting:
If you have a claim, you can report it by calling The Hartford's toll-free claims line at 1-800-327-3636.
Should you have any questions, please contact your insurance agent, broker or you may contact us directly.
We appreciate your business and look forward to being of continued service to you.
Please be aware that:
    o   The Hartford Cyber Center is a proprietary web portal exclusively provided to customers of The Hartford.
        Please do not share the access code with anyone outside your organization.
    o   Registration is required to access the Cyber Center. You may register as many users as necessary.
    o   Contacting a service provider about any issue does not constitute providing The Hartford notice of a claim
        as required under your insurance policy. Read your insurance policy and discuss any questions with your
        agent or broker.
The Hartford Cyber Center provides third party service provider references and materials for educational
purposes only. The Hartford does not specifically endorse any such service provider within The Hartford Cyber
Center and hereby disclaims all liability with respect to use of or reliance on such service providers. All service
providers are independent contractors and not agents of The Hartford. The Hartford does not warrant the
performance of the service providers, even if such services are covered under your Business Owners Policy. We
strongly encourage you to conduct your own assessments of the service providers' services and the fitness or
adequacy of such services for your particular needs.

Form SS 89 93 07 16                                                                                         Page 1 of 1
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             Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 6 of 259




       IMPORTANT NOTICE TO POLICYHOLDERS -
    PERSONAL AND ADVERTISING INJURY EXCLUSION -
                     LIMITED


Thank you for trusting The Hartford with your Business Insurance needs.

Your policy may have previously had SS 50 50, Personal and Advertising Injury Exclusion - Limited attached.
Please be advised that SS 50 50 will no longer be attached due to your class and business operations. The
elimination of SS 50 50 from your policy will result in a broadening of coverage.

If you have any questions regarding this notice, feel free to reach out to your Hartford representative.




Form SS 90 37 09 19                                                                                        Page 1 of 1
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                        ®




Business Owner’s Policy




Form SS 00 01 03 14                                              Page 1 of 1
          Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 8 of 259




                         PRODUCER COMPENSATION NOTICE



You can review and obtain information on The Hartford’s producer compensation practices at
www.TheHartford.com or at 1-800-592-5717.




Form G-3418-0
             Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 9 of 259
POLICY NUMBER: 39 SBA AA3300




        THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
        RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
                                INSURANCE ACT.



            DISCLOSURE PURSUANT TO TERRORISM RISK
                        INSURANCE ACT

                                                       SCHEDULE

Terrorism Premium:
$           $403.00




A. Disclosure Of Premium                                                 United States or to influence the policy or
   In accordance with the federal Terrorism Risk                         affect the conduct of the United States
   Insurance Act, as amended (TRIA), we are required                     Government by coercion
   to provide you with a notice disclosing the portion of      C. Disclosure Of Federal Share Of Terrorism
   your premium, if any, attributable to coverage for             Losses
   "certified acts of terrorism" under TRIA. The portion           The United States Department of the Treasury will
   of your premium attributable to such coverage is                reimburse insurers for a portion of insured losses,
   shown in the Schedule of this endorsement.                      as indicated in the table below, attributable to
B. The following definition is added with respect to the           "certified acts of terrorism" under TRIA that exceeds
   provisions of this endorsement:                                 the applicable insurer deductible:
   1. A "certified act of terrorism" means an act that is               Calendar Year              Federal Share of
       certified by the Secretary of the Treasury, in                                              Terrorism Losses
       accordance with the provisions of TRIA, to be
       an act of terrorism under TRIA. The criteria                           2015                        85%
       contained in TRIA for a "certified act of                              2016                        84%
       terrorism" include the following:
                                                                              2017                        83%
       a. The act results in insured losses in excess
             of $5 million in the aggregate, attributable to                  2018                        82%
             all types of insurance subject to TRIA; and                      2019                        81%
       b. The act results in damage within the United                    2020 or later                    80%
             States, or outside the United States in the
             case of certain air carriers or vessels or the        However, if aggregate industry insured losses under
             premises of an United States mission; and             TRIA exceed $100 billion in a calendar year, the
       c. The act is a violent act or an act that is               Treasury shall not make any payment for any
             dangerous to human life, property or                  portion of the amount of such losses that exceeds
             infrastructure and is committed by an                 $100 billion. The United States government has not
             individual or individuals as part of an effort        charged any premium for their participation in
             to coerce the civilian population of the              covering terrorism losses.


Form SS 83 76 01 15                                                                                           Page 1 of 2
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D. Cap On Insurer Liability for Terrorism Losses
   If aggregate industry insured losses attributable to
   "certified acts of terrorism" under TRIA exceed $100
   billion in a calendar year and we have met, or will
   meet, our insurer deductible under TRIA, we shall
   not be liable for the payment of any portion of the
   amount of such losses that exceed $100 billion. In
   such case, your coverage for terrorism losses may
   be reduced on a pro-rata basis in accordance with
   procedures established by the Treasury, based on
   its estimates of aggregate industry losses and our
   estimate that we will exceed our insurer deductible.
   In accordance with the Treasury's procedures,
   amounts paid for losses may be subject to further
   adjustments based on differences between actual
   losses and estimates.
E. Application of Other Exclusions
   The terms and limitations of any terrorism exclusion,
   the inapplicability or omission of a terrorism
   exclusion, or the inclusion of terrorism coverage, do
   not serve to create coverage for any loss which
   would otherwise be excluded under this Coverage
   Form, Coverage Part or Policy.
F. All other terms and conditions remain the same.




Form SS 83 76 01 15                                                            Page 2 of 2
            Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 11 of 259




               IMPORTANT NOTICE TO POLICYHOLDERS

                                      ERISA - EMPLOYEE DISHONESTY




You are receiving this notice because your renewal policy contains ERISA-EMPLOYEE DISHONESTY.

The Employee Retirement Income Security Act of 1974 (ERISA) is a federal law that sets rules and standards of
conduct for private sector employee benefit plans and those that invest and manage their assets. One of ERISA's
requirements is that people who handle plan funds and other property must be covered by a fidelity bond to protect
the plan from losses due to fraud or dishonesty.

Please be advised that on or before the beginning of each plan year, the plan administrator or other plan fiduciary
must ensure that the plan has the legally required bonding amount for the individuals who will handle the plan's
funds and other property. If necessary, the plan administrator or other plan fiduciary may need to obtain
appropriate adjustments or additional protection to ensure that the coverage will be in compliance for the new plan
year.

If you wish to adjust the amount of your ERISA fidelity bond, please reach out to your agent or Hartford
representative.




Form SS 90 30 06 18                                                                                   Page 1 of 1
                                              © 2018, The Hartford
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                 IMPORTANT NOTICE TO POLICYHOLDERS


To help your insurance keep pace with increasing costs, we have increased your amount of insurance . . . giving you
better protection in case of either a partial, or total loss to your property.

If you feel the new amount is not the proper one, please contact your agent or broker.




Form PC-374-0 Printed in U.S.A.
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                                       PENNSYLVANIA NOTICE


An Insurance Company, its agents, employees or service contractors acting on its behalf, may provide services to reduce
the likelihood of injury, death or loss. These services may include any of the following or related incident to the application
for, issuance, renewal or continuation of, a policy of insurance.
1.   surveys;

2.   consultation or advice; or

3.   inspections.
The "Insurance Consultation Services Exemption Act" of Pennsylvania provid es that the Insurance Company, its agents,
employees or service contractors acting on its behalf, is not liable for damages from injury, death or loss occurring as a
result of any act of omission by any person in the furnishing of or the failure to furnish these services.
The Act does not apply:

1.   if the injury, death or loss occurred during the actual performanc e of the services and was caused by the negligence of
     the Insurance Company, its agents, employees or services contractors;

2.   to consultation services required to be performed under a written service contract not related to a policy of insurance; or

3.   if any acts or omissions of the Insurance Company, its agents, employees or service contractors are judicially
     determined to constitute a crime, actual malice, or gross negligence.




Form SS 83 01 03 92 Printed in U.S.A.
00     This Case  2:20-cv-02401-CFK
            Spectrum Policy consists of theDocument
                                           Declarations,1-4   FiledForms,
                                                         Coverage    05/21/20
                                                                            CommonPage    14Conditions
                                                                                     Policy   of 259 and any
33     other Forms and Endorsements issued to be a part of the Policy. This insurance is provided by the stock
AA     insurance company of The Hartford Insurance Group shown below.
SBA
INSURER:  TWIN CITY FIRE INSURANCE COMPANY
          8910 PURDUE RD, INDIANAPOLIS, IN 46268
COMPANY CODE: 7

Policy Number:     39 SBA AA3300       DW

SPECTRUM POLICY DECLARATIONS

Named Insured and Mailing Address:              ULTIMATE HEARING SOLUTIONS, LLC
(No., Street, Town, State, Zip Code)            SEE FORM SS 12 35
                                                435 BALTIMORE PIKE
                                                SPRINGFIELD        PA 19064

Policy Period:                 From        04/23/20           To     04/23/21        1     YEAR
12:01 a.m., Standard time at your mailing address shown above. Exception: 12 noon in New Hampshire.
Name of Agent/Broker: ARTHUR J GALLAGHER RISK MGMT/PHS
Code: 427454

Previous Policy Number: 39 SBA AA3300

Named Insured is: LIMITED LIAB CORP

Audit Period: NON-AUDITABLE

Type of Property Coverage: SPECIAL

Insurance Provided: In return for the payment of the premium and subject to all of the terms of this policy, we
agree with you to provide insurance as stated in this policy.
 ____________________________________________________________________________________________________________________
TOTAL ANNUAL PREMIUM IS:            $20,562
IN RECOGNITION OF THE MULTIPLE COVERAGES INSURED WITH THE HARTFORD, YOUR
POLICY PREMIUM INCLUDES AN ACCOUNT CREDIT.




______________________________________________________________________________________________


                       Countersigned by                                                            04/03/20
                                                    Authorized Representative                       Date




Form SS 00 02 12 06                                         Page 001 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                 Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 001          Building: 001

435 BALTIMORE PIKE
SPRINGFIELD        PA 19064

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 002 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
            Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 16 of 259

SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 001          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 003 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
            Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 17 of 259

SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 002          Building: 001

33 W RIDGE PIKE
LIMERICK                   PA 19468

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 004 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
            Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 18 of 259

SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 002          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 005 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
            Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 19 of 259

SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 003          Building: 001

37 LEOPARD RD
PAOLI                      PA 19301

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 006 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
            Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 20 of 259

SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 003          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 007 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
            Case 2:20-cv-02401-CFK Document 1-4 Filed 05/21/20 Page 21 of 259

SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 004          Building: 001

104 W GERMANTOWN PIKE
NORRISTOWN         PA 19401

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 008 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 004          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 009 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 005          Building: 001

600 TOWN CENTRE DR
GLEN MILLS         PA 19342

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 010 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 005          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 011 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 006          Building: 001

14 GREENFIELD AVE
ARDMORE                    PA 19003

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 012 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 006          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 013 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 008          Building: 001

18462 PLANTATIONS BLVD
LEWES              DE 19958

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 014 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 008          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 015 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 009          Building: 001

8837 BELAIR RD
NOTTINGHAM                 MD 21236

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 016 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 009          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 017 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 010          Building: 001

701 E NAYLOR MILL RD
SALISBURY          MD 21804

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 018 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 010          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 019 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 011          Building: 001

1521 ROCK SPRING RD
FOREST HILL         MD 21050

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 020 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 011          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 021 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 012          Building: 001

3000 C G ZINN RD
THORNDALE                  PA 19372

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 022 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 012          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 023 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 013          Building: 001

9351 LAKESIDE BLVD
OWINGS MILLS       MD 21117

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 024 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 013          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 025 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 014          Building: 001

1220A E JOPPA RD
TOWSON                     MD 21286

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 026 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 014          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 027 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 015          Building: 001

509 S CHERRY GROVE AVE
ANNAPOLIS          MD 21401

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 028 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 015          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 029 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 016          Building: 001

1163 WEST BALTIMORE PIKE
MEDIA              PA 19063

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 030 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 016          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 031 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 017          Building: 001

11724 OCEAN GATEWAY UNIT 4
OCEAN CITY         MD 21842

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 032 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 017          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 033 (CONTINUED ON NEXT PAGE)
Process Date: 04/03/20                                                Policy Expiration Date: 04/23/21
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 018          Building: 001

137 JEROME DRIVE STE 120
DOVER              DE 19901

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 034 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 018          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 035 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 019          Building: 001

353-535 BALTIMORE PIKE
SPRINGFIELD        PA 19064

Description of Business:
Hearing Aids Store


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   INCL IN BLKT


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000




Form SS 00 02 12 06                                          Page 036 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 019          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300




PROPERTY OPTIONAL COVERAGES APPLICABLE LIMITS OF INSURANCE
    TO ALL LOCATIONS

BUSINESS INCOME AND EXTRA EXPENSE
COVERAGE                                 12 MONTHS ACTUAL LOSS SUSTAINED
COVERAGE INCLUDES THE FOLLOWING
COVERAGE EXTENSIONS:
ACTION OF CIVIL AUTHORITY:               30 DAYS
EXTENDED BUSINESS INCOME:                30 CONSECUTIVE DAYS

BLANKET BUILDING AND BUSINESS
PERSONAL PROPERTY                        $     464,800
   LOCATIONS WITH A SPECIFIED LIMIT
   FOR BLDG OR BPP ARE NOT SUBJECT
   TO THE BLANKET LIMIT
EQUIPMENT BREAKDOWN COVERAGE
 COVERAGE FOR DIRECT PHYSICAL LOSS
 DUE TO:
  MECHANICAL BREAKDOWN,
  ARTIFICIALLY GENERATED CURRENT
  AND STEAM EXPLOSION
THIS ADDITIONAL COVERAGE INCLUDES
THE FOLLOWING EXTENSIONS
  HAZARDOUS SUBSTANCES                   $    50,000
  EXPEDITING EXPENSES                    $    50,000
MECHANICAL BREAKDOWN COVERAGE ONLY
APPLIES WHEN BUILDING OR BUSINESS
PERSONAL PROPERTY IS SELECTED ON
THE POLICY
IDENTITY RECOVERY COVERAGE               $    15,000
FORM SS 41 12
ELECTRONIC VANDALISM:
  WEB SITE AND INTERNET SERVICES
    INTERRUPTION                             $50,000
  DENIAL OF SERVICE ATTACK                   $10,000
  WEB SITE VANDALISM                         $ 2,500
  GOOD FAITH ADVERTISING EXPENSE             $ 5,000
WAITING PERIOD: 12 HOURS
FORM SS 40 08




Form SS 00 02 12 06                          Page 038 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300




PROPERTY OPTIONAL COVERAGES APPLICABLE LIMITS OF INSURANCE
    TO ALL LOCATIONS (Continued)

BUSINESS INCOME FOR CLOUD SRVC           $    25,000
INTERRUPTION
FORM: SS 41 84
FRAUDULENT TRANSFER COVERAGE             $    20,000
FORM: SS 42 03




Form SS 00 02 12 06                          Page 039 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300


BUSINESS LIABILITY                                         LIMITS OF INSURANCE

  LIABILITY AND MEDICAL EXPENSES                           $1,000,000

  MEDICAL EXPENSES - ANY ONE PERSON                        $     10,000

  PERSONAL AND ADVERTISING INJURY                          $1,000,000


  DAMAGES TO PREMISES RENTED TO YOU                        $1,000,000
      ANY ONE PREMISES

  AGGREGATE LIMITS
      PRODUCTS-COMPLETED OPERATIONS                        $2,000,000

        GENERAL AGGREGATE                                  $2,000,000

  EMPLOYMENT PRACTICES LIABILITY
  COVERAGE: FORM SS 09 01

  EACH CLAIM LIMIT                                         $     50,000

        DEDUCTIBLE - EACH CLAIM LIMIT
        $2,500

  AGGREGATE LIMIT                                          $     50,000

  RETROACTIVE DATE: 04232008


This Employment Practices Liability Coverage contains claims made coverage. Except as may be otherwise
provided herein, specified coverages of this insurance are limited generally to liability for injuries for which claims are
first made against the insured while the insurance is in force. Please read and review the insurance carefully and
discuss the coverage with your Hartford Agent or Broker.

The Limits of Insurance stated in this Declarations will be reduced, and may be completely exhausted, by the payment
of "defense expense" and, in such event, The Company will not be obligated to pay any further "defense expense" or
sums which the insured is or may become legally obligated to pay as "damages".

BUSINESS LIABILITY OPTIONAL
COVERAGES
UMBRELLA LIABILITY - SEE
SCHEDULE ATTACHED




Form SS 00 02 12 06                                            Page 040 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300

BUSINESS LIABILITY OPTIONAL COVERAGES     LIMITS OF INSURANCE
   (Continued)

EMPLOYEE BENEFITS LIABILITY
COVERAGE: FORM SS 40 50
  EACH CLAIM                              $1,000,000
  AGGREGATE                               $2,000,000
HEARING AID ESTABLISHMENT
PROFESSIONAL SERVICES COVERAGE            INCLUDED
FORM SS 41 07

CYBERFLEX COVERAGE
FORM SS 40 26
UNMANNED AIRCRAFT LIABILITY
 IS EXCLUDED
 SEE FORM: SS 42 06




Form SS 00 02 12 06                         Page 041 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300




ADDITIONAL INSUREDS: THE FOLLOWING ARE ADDITIONAL INSUREDS FOR BUSINESS
                     LIABILITY COVERAGE IN THIS POLICY.


   LOCATION   016 BUILDING     001
      TYPE    MANAGER LESSOR
      NAME    SEE FORM IH 12 00




Form SS 00 02 12 06                         Page 042 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 39 SBA AA3300




Form Numbers of Forms and Endorsements that apply:


SS   00   01   03   14     SS 00 05 10 08     SS 00 07 07 05        SS   00   08   04   05
SS   00   60   09   15     SS 00 61 07 19     SS 00 64 09 16        SS   84   15   09   07
SS   12   35   03   12     SS 01 25 07 08     SS 01 41 06 12        SS   42   06   03   17
SS   04   19   04   09     SS 04 22 07 05     SS 04 30 07 05        SS   04   39   07   05
SS   04   41   03   18     SS 04 42 03 17     SS 04 44 07 05        SS   04   45   07   05
SS   04   46   09   14     SS 04 47 04 09     SS 04 74 09 07        SS   04   78   12   17
SS   04   80   03   00     SS 04 86 03 00     SS 14 23 10 03        SS   40   08   10   08
SS   40   18   07   05     SS 40 26 03 17     SS 40 50 10 08        SS   40   93   07   05
SS   41   07   04   05     SS 41 12 12 17     SS 41 51 10 09        SS   41   63   06   11
SS   41   84   03   16     SS 42 03 03 17     IH 10 01 09 86        SS   05   47   09   15
SS   51   11   03   17     SS 09 01 12 14     SS 09 18 12 14        SS   09   70   12   14
SS   09   71   12   14     SS 50 19 01 15     SS 00 46 09 19        IH   99   40   04   09
IH   99   41   04   09     SX 80 01 06 97     SS 83 76 01 15        SS   89   93   07   16
     IH   12   00   11 85 ADDITIONAL INSURED - MANAGER/LESSOR




Form SS 00 02 12 06                                  Page 043
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POLICY NUMBER: 39 SBA AA3300




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


  AMENDMENT OF THE DECLARATIONS - ADDITIONAL
PERSONS OR ORGANIZATIONS DESIGNATED AS NAMED
                  INSUREDS

The following person(s) or organization(s) are added to the Declarations as Named Insureds:




ULTIMATE HEARING SOLUTIONS, LLC DBA MIRACLE EAR ULTIMATE HEARING
SOLUTIONS II, LLC; ULTIMATE HEARING SOLUTIONS III, LLC; ULTIMATE
HEARING SOLUTIONS IV, LLC; ULTIMATE HEARING SOLUTIONS V, LLC




Form SS 12 35 03 12 SEQ. NO. 001                               Page 001
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                               SUPER STRETCH SUMMARY
SUMMARY OF COVERAGE LIMITS

This is a summary of the Coverages and the Limits of Insurance provided by the Super Stretch Coverage form
SS 04 74 which is included in this policy. No coverage is provided by this summary. Refer to coverage form
SS 04 74 to determine the scope of your insurance protection.

The Limits of Insurance for the following Additional Coverages are in addition to any other limit of insurance provided
under this policy:

    Blanket Coverage Limit of Insurance: $150,000
    Blanket Coverages
    Accounts Receivable- On/Off Premises
    Computers and Media
    Debris Removal
    Personal Property of Others
    Temperature Change
    Valuable Papers and Records- On/Off Premises

    Coverage                                              Limit

    Brands and Labels                                     Up to Business Personal Property Limit
    Claim Expenses                                        $ 10,000
    Computer Fraud                                        $ 5,000
    Employee Dishonesty (including ERISA)                 $ 25,000
    Fine Arts                                             $ 25,000
    Forgery                                               $ 25,000
    Laptop Computers- Worldwide Coverage                  $ 10,000
    Off Premises Utility Services – Direct Damage         $ 25,000
    Outdoor Signs                                         Full Value
    Pairs or Sets                                         Up to Business Personal Property Limit
    Property at Other Premises                            $ 10,000
    Salespersons’ Samples                                 $ 5,000
    Sewer and Drain Back Up                               Included Up to Covered Property Limits
    Sump Overflow or Sump Pump Failure                    $ 25,000
    Tenant Building and Business Personal Property        $ 20,000
    Coverage-Required by Lease
    Transit Property in the Care of Carriers for Hire     $ 10,000
    Unauthorized Business Card Use                        $ 5,000




Form SS 84 15 09 07                                                                                     Page 1 of 2
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The Limits of Insurance for the following Coverage Extensions are a replacement of the Limit of Insurance provided
under the Standard Property Coverage Form or the Special Property Coverage Form, whichever applies to the policy:

    Coverage                                                        Limit
    Newly Acquired or Constructed Property – 180 Days
            Building                                                $1,000,000
            Business Personal Property                              $ 500,000
           Business Income and Extra Expense                        $ 500,000
    Outdoor Property                                                $ 25,000 aggregate/ $1,000 per item
    Personal Effects                                                $ 25,000
    Property Off-Premises                                           $ 25,000

The following changes apply only if Business Income and Extra Expense are covered under this policy. The Limits of
Insurance for the following Business Income and Extra Expense Coverages are in addition to any other Limit of
Insurance provided under this policy:

    Coverage                                                        Limit
    Business Income Extension for Off-Premises Utility Services     $ 25,000
    Business Income Extension for Web Sites                         $ 50,000/7 days
    Business Income from Dependent Properties                       $ 50,000

The following Limit of Insurance for the following Business Income Coverage is a replacement of the Limit of
Insurance provided under the Standard Property Coverage Form or the Special Property Coverage Form, whichever
applies to the policy:

    Coverage                                                        Limit
    Extended Business Income                                        90 Days

The following changes apply to Loss Payment Conditions:

    Coverage                                                        Limit
    Valuation Changes
       Commodity Stock                                              Included
       "Finished Stock"                                             Included
       Mercantile Stock - Sold                                      Included




Page 2 of 2                                                                                Form SS 84 15 09 07
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                      COMMON POLICY CONDITIONS




Form SS 00 05 10 08
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                              QUICK REFERENCE - SPECTRUM POLICY

                                         DECLARATIONS
                                              and
                                    COMMON POLICY CONDITIONS


I.    DECLARATIONS

      Named Insured and Mailing Address
      Policy Period
      Description and Business Location
      Coverages and Limits of Insurance


II.   COMMON POLICY CONDITIONS                                  Beginning on Page

      A. Cancellation                                                   1
      B. Changes                                                        1
      C. Concealment, Misrepresentation Or Fraud                        2
      D. Examination Of Your Books And Records                          2
      E. Inspections And Surveys                                        2
      F. Insurance Under Two Or More Coverages                          2
      G. Liberalization                                                 2
      H. Other Insurance - Property Coverage                            2
      I.   Premiums                                                     2
      J. Transfer Of Rights Of Recovery Against Others To Us            2
      K. Transfer Of Your Rights And Duties Under This Policy           3
      L. Premium Audit                                                  3




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                             COMMON POLICY CONDITIONS
All coverages of this policy are subject to the following conditions.


A. Cancellation                                                                 (5) Failure to:
    1. The first Named Insured shown in the                                          (a) Furnish necessary heat, water,
       Declarations may cancel this policy by mailing                                    sewer service or electricity for 30
       or delivering to us advance written notice of                                     consecutive days or more, except
       cancellation.                                                                     during a period of seasonal
    2. We may cancel this policy by mailing or                                           unoccupancy; or
       delivering to the first Named Insured written                                 (b) Pay property taxes that are owing
       notice of cancellation at least:                                                  and have been outstanding for
        a. 5 days before the effective date of                                           more than one year following the
           cancellation if any one of the following                                      date due, except that this
           conditions exists at any building that is                                     provision will not apply where you
           Covered Property in this policy:                                              are in a bona fide dispute with the
                                                                                         taxing authority regarding payment
            (1) The building has been vacant or                                          of such taxes.
                unoccupied 60 or more consecutive
                days. This does not apply to:                               b. 10 days before the effective date of
                                                                               cancellation if we cancel for nonpayment
                 (a) Seasonal unoccupancy; or                                  of premium.
                 (b) Buildings in      the course       of                  c. 30 days before the effective date of
                     construction,      renovation      or                     cancellation if we cancel for any other
                     addition.                                                 reason.
                 Buildings with 65% or more of the                      3. We will mail or deliver our notice to the first
                 rental units or floor area vacant or                      Named Insured's last mailing address known
                 unoccupied        are      considered                     to us.
                 unoccupied under this provision.
                                                                        4. Notice of cancellation will state the effective
            (2) After damage by a Covered Cause of                         date of cancellation. The policy period will end
                Loss, permanent repairs to the                             on that date.
                building:
                                                                        5. If this policy is canceled, we will send the first
                 (a) Have not started; and                                 Named Insured any premium refund due.
                 (b) Have not been contracted for,                         Such refund will be pro rata. If the first Named
                 within 30 days of initial payment of                      Insured cancels, the refund may be less than
                 loss.                                                     pro rata. The cancellation will be effective even
                                                                           if we have not made or offered a refund.
            (3) The building has:
                                                                        6. If notice is mailed, proof of mailing will be
                 (a) An outstanding order to vacate;                       sufficient proof of notice.
                 (b) An outstanding demolition order;             B. Changes
                     or
                                                                        This policy contains all the agreements between you
                 (c) Been   declared      unsafe       by               and us concerning the insurance afforded. The first
                     governmental authority.                            Named Insured shown in the Declarations is
            (4) Fixed and salvageable items have                        authorized to make changes in the terms of this policy
                been or are being removed from the                      with our consent. This policy's terms can be
                building and are not being replaced.                    amended or waived only by endorsement issued
                This does not apply to such removal                     by us and made a part of this policy.
                that is necessary or incidental to any
                renovation or remodeling.




Form SS 00 05 10 08                                                                                            Page 1 of 3
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COMMON POLICY CONDITIONS

C. Concealment, Misrepresentation Or Fraud                           due from that other insurance, whether you can
   This policy is void in any case of fraud by you as it             collect on it or not. But we will not pay more than
   relates to this policy at any time. It is also void if you        the applicable Limit of Insurance.
   or any other insured, at any time, intentionally conceal     I.   Premiums
   or misrepresent a material fact concerning:                       1. The first Named Insured shown in the
   1. This policy;                                                      Declarations:
   2. The Covered Property;                                              a. Is responsible for the payment of all
   3. Your interest in the Covered Property; or                             premiums; and
   4. A claim under this policy.                                         b. Will be the payee for any return premiums
                                                                            we pay.
D. Examination Of Your Books And Records
                                                                     2. The premium shown in the Declarations was
   We may examine and audit your books and                              computed based on rates in effect at the time
   records as they relate to the policy at any time                     the policy was issued. If applicable, on each
   during the policy period and up to three years                       renewal, continuation or anniversary of the
   afterward.                                                           effective date of this policy, we will compute
E. Inspections And Surveys                                              the premium in accordance with our rates and
   1. We have the right but are not obligated to:                       rules then in effect.
       a. Make inspections and surveys at any time;                  3. With our consent, you may continue this policy
                                                                        in force by paying a continuation premium for
       b. Give you reports on the conditions we find;                   each successive one-year period. The
       and                                                              premium must be:
       c. Recommend changes.                                             a. Paid to us prior to the anniversary date; and
   2. Any inspections,       surveys,    reports    or                   b. Determined in accordance with Paragraph
      recommendations will relate only to insurability                      2. above.
      and the premiums to be charged. We do not
      make safety inspections.         We do not                         Our forms then in effect will apply. If you do
      undertake to perform the duty of any person or                     not pay the continuation premium, this policy
      organization to provide for the health or safety                   will expire on the first anniversary date that we
      of any person. We do not represent or warrant                      have not received the premium.
      that conditions:                                               4. Changes in exposures or changes in your
       a. Are safe or healthful; or                                     business operation, acquisition or use of
                                                                        locations that are not shown in the Declarations
       b. Comply with laws, regulations, codes or                       may occur during the policy period. If so, we may
          standards.                                                    require an additional premium. That premium will
   3. This condition applies not only to us, but also                   be determined in accordance with our rates and
      to any rating, advisory, rate service or similar                  rules then in effect.
      organization    which      makes      insurance           J. Transfer Of Rights Of Recovery Against Others
      inspections,      surveys,      reports       or             To Us
      recommendations on our behalf.
                                                                     Applicable to Property Coverage:
F. Insurance Under Two Or More Coverages
                                                                     If any person or organization to or for whom we
   If two or more of this policy's coverages apply to                make payment under this policy has rights to
   the same loss or damage, we will not pay more                     recover damages from another, those rights are
   than the actual amount of the loss or damage.                     transferred to us to the extent of our payment.
G. Liberalization                                                    That person or organization must do everything
   If we adopt any revision that would broaden the                   necessary to secure our rights and must do
   coverage under this policy without additional                     nothing after loss to impair them. But you may
   premium within 45 days prior to, or at any time                   waive your rights against another party in writing:
   during, the policy period, the broadened coverage                 1. Prior to a loss to your Covered Property; or
   will immediately apply to this policy.                            2. After a loss to your Covered Property only if, at
H. Other Insurance - Property Coverage                                  time of loss, that party is one of the following:
   If there is other insurance covering the same loss
   or damage, we will pay only for the amount of
   covered loss or damage in excess of the amount




Page 2 of 3                                                                                      Form SS 00 05 10 08
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                                                                                 COMMON POLICY CONDITIONS

       a. Someone insured by this insurance;                     appointed, anyone having proper temporary
       b. A business firm:                                       custody of your property will have your rights and
                                                                 duties but only with respect to that property.
           (1) Owned or controlled by you; or
                                                             L. Premium Audit
           (2) That owns or controls you; or
                                                                 a. We will compute all premiums for this policy in
       c. Your tenant.                                              accordance with our rules and rates.
   You may also accept the usual bills of lading or              b. The premium amount shown in the
   shipping receipts limiting the liability of carriers.            Declarations is a deposit premium only. At the
   This will not restrict your insurance.                           close of each audit period we will compute the
K. Transfer Of Your Rights And Duties Under This                    earned premium for that period.           Any
   Policy                                                           additional premium found to be due as a result
                                                                    of the audit are due and payable on notice to
   Your rights and duties under this policy may not be              the first Named Insured.       If the deposit
   transferred without our written consent except in                premium paid for the policy term is greater
   the case of death of an individual Named Insured.                than the earned premium, we will return the
   If you die, your rights and duties will be transferred           excess to the first Named Insured.
   to your legal representative but only while acting            c. The first Named Insured must maintain all
   within the scope of duties as your legal                         records related to the coverage provided by
   representative. Until your legal representative is               this policy and necessary to finalize the
                                                                    premium audit, and send us copies of the
                                                                    same upon our request.



Our President and Secretary have signed this policy. Where required by law, the Declarations page has also been
countersigned by our duly authorized representative.




Form SS 00 05 10 08                                                                                  Page 3 of 3
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                SPECIAL PROPERTY COVERAGE FORM




Form SS 00 07 07 05
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                                    QUICK REFERENCE
                              SPECIAL PROPERTY COVERAGE FORM
                                READ YOUR POLICY CAREFULLY


SPECIAL PROPERTY COVERAGE FORM                                 Beginning on Page

A.   COVERAGES                                                         1

     Covered Property                                                  1
     Property Not Covered                                              1
     Covered Causes of Loss                                            2
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Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties, and
what is and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The words
"we," "us" and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to the SECTION G -
PROPERTY DEFINITIONS.

A. COVERAGE                                                                   (b) Materials, equipment, supplies and
    We will pay for direct physical loss of or physical                           temporary structures, on or within
    damage to Covered Property at the premises                                    1,000 feet of the "scheduled
    described in the Declarations (also called                                    premises", used for making
    "scheduled premises" in this policy) caused by or                             additions, alterations or repairs to
    resulting from a Covered Cause of Loss.                                       the buildings or structures.
    1. Covered Property                                              b. Business Personal Property located in or
                                                                        on the building(s) described in the
        Covered Property as used in this policy, means                  Declarations at the "scheduled premises"
        the following types of property for which a Limit               or in the open (or in a vehicle) within 1,000
        of Insurance is shown in the Declarations:                      feet of the "scheduled premises", including:
        a. Buildings, meaning only building(s) and                       (1) Property you own that is used in your
           structure(s) described in the Declarations,                       business;
           including:
                                                                         (2) Tools and equipment owned by your
            (1) Completed additions;                                         employees, which are used in your
            (2) Permanently installed:                                       business operations;
                (a) Fixtures;                                            (3) Property of others that is in your care,
                (b) Machinery; and                                           custody or control;
                (c) Equipment;                                           (4) “Tenant       Improvements           and
                                                                             Betterments”; and
            (3) Outdoor fixtures;
                                                                         (5) Leased personal property for which
            (4) Your personal property in apartments,
                                                                             you have contractual responsibility to
                rooms or common areas furnished by
                                                                             insure, unless otherwise provided for
                you as landlord;
                                                                             under Personal Property of Others.
            (5) Building Glass, meaning glass that is
                                                                 2. Property Not Covered
                part of a building or structure;
                                                                     Covered Property does not include:
            (6) Personal property owned by you that is
                used to maintain or service the buildings            a. Aircraft, automobiles, motor trucks and
                or structures on the premises, including:               other vehicles subject to motor vehicle
                                                                        registration;
                (a) Fire extinguishing equipment;
                                                                     b. Automobiles held for sale;
                (b) Outdoor furniture;
                                                                     c. "Money”, bullion, numismatic and philatelic
                (c) Floor coverings; and
                                                                        property and bank notes or "securities"
                (d) Appliances used for refrigerating,                  except as provided in any Additional
                    ventilating, cooking, dishwashing                   Coverages or Optional Coverages. Lottery
                    or laundering; and                                  tickets held for sale and postage stamps in
            (7) If not covered by other insurance:                      current use and having face value are not
                (a) Additions     under    construction,                "securities".
                    alterations and repairs to the                   d. Contraband, or property in the course of
                    buildings or structures;                            illegal transportation or trade;


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       e. Land (including land on which the property                      Covered Cause of Loss to its roof
          is located), water, growing crops or lawns;                     or walls through which the rain,
       f.   Outdoor fences, radio or television antennas                  snow, sleet, ice, sand or dust
            (including satellite dishes), including their                 enters; or
            lead in wiring, masts or towers, signs (other             (b) The direct physical loss or physical
            than signs attached to buildings), trees,                     damage is caused by or results
            shrubs or plants (other then those held for                   from thawing of snow, sleet, or ice
            sale or sold but not delivered), except as any                on the building or structure.
            of these may be provided in the:
                                                              b. Pets and animals are covered only if:
            (1) Outdoor Property Coverage Extension;
                 or                                               (1) They are inside the building; and
            (2) Outdoor Signs Optional Coverage;                  (2) They are owned by others and
                                                                      boarded by you, or owned by you and
       g. Watercraft (including motors, equipment
                                                                      held for sale or sold but not delivered.
          and accessories) while afloat;
      h. The cost to research, replace or restore the             And then we will pay only if they are killed,
         information on "valuable papers and                      stolen, or their destruction is made
         records", except as may be provided in any               necessary by a "specified cause of loss".
         Coverage Extensions or Optional Coverages.           c. For direct physical loss or physical
      i. "Data" and "software" which exists on                   damage by “theft”, the following types of
         electronic "media" including the cost to                property are covered only up to the limits
         research, replace or restore them, except               shown:
         as may be provided for in any Additional
                                                                  (1) $2,500 for furs, fur garments and
         Coverages or Optional Coverages.
                                                                      garments trimmed with fur;
      j. Accounts, bills, food stamps, other evidences
         of debt, accounts receivable or "valuable                (2) $5,000 for jewelry, watches, watch
         papers and records"; except as otherwise                     movements, jewels, pearls, precious
         provided for in this policy.                                 and semi-precious stones, bullion,
                                                                      gold, silver, platinum and other
   3. Covered Causes of Loss                                          precious alloys or metals. This limit
       RISKS OF DIRECT PHYSICAL LOSS unless                           does not apply to jewelry and watches
       the loss is:                                                   worth $500 or less per item;
       a. Excluded in Section B., EXCLUSIONS; or                  (3) $2,500 for patterns, dies, molds and
                                                                      forms; and
       b. Limited in Paragraph A.4. Limitations; that
          follow.                                                 (4) $500 for stamps, lottery tickets held for
                                                                      sale and letters of credit.
   4. Limitations
                                                              d. Unless specifically provided under a separate
       a. We will not pay for direct loss of or damage           endorsement and with a specific Limit of
          to:                                                    Insurance indicated in the Declarations, we
            (1) Property that is missing, where the              will not pay for direct physical loss of or
                only evidence of the direct physical             physical damage to "perishable stock"
                loss or physical damage is a shortage            caused by or resulting from:
                disclosed on taking inventory, or other          (1) A change in temperature or humidity
                instances where there is no physical                  resulting from:
                evidence to show what happened to
                                                                      (a) Mechanical breakdown or failure of:
                the property. This limitation does not
                apply to the Additional Coverage for                      (i) Stationary heating plants; or
                "Money" and "Securities".                                 (ii) Refrigerating,   cooling,    or
            (2) Property that has been transferred to a                        humidity control apparatus or
                person or to a place outside the                               equipment;
                "scheduled premises" on the basis of
                                                                      (b) Artificially   generated    electric
                unauthorized instructions.                                current, including electric arcing,
            (3) The interior of any building or structure                 that disturbs electrical devices,
                caused by or resulting from rain, snow,                   appliances or wires; or
                sleet, ice, sand or dust, whether driven              (c) Complete or partial failure of
                by wind or not, unless:                                   electric power on your "scheduled
                (a) The building or structure         first               premises".
                    sustains physical damage by a                 (2) Contamination by refrigerant.
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   5. Additional Coverages                                      The criteria set forth in Paragraphs
       a. Collapse                                              (1)(a) through (1)(d) do not limit the
                                                                coverage otherwise provided under
          (1) With respect to Buildings:                        this Additional Coverage for the
              (a) Collapse means an abrupt falling              Causes of Loss listed in Paragraph
                  down or caving in of a building or            (2)(a), (2)(d), and (2)(e).
                  any part of a building with the           (3) If the collapse is caused by a Covered
                  result that the building cannot be            Cause of Loss listed in Paragraphs
                  occupied for its intended purpose;            (2)(b) through (2)(f), we will pay for
              (b) A building or any part of a building          direct physical loss of or physical
                  that is in danger of falling down or          damage to the property listed below,
                  caving in is not considered to be in          but only if such physical loss or
                  a state of collapse;                          physical damage is a direct result of
              (c) A part of a building that is standing         the collapse of a building insured
                  is not considered to be in a state of         under this policy, and the property is
                  collapse even if it has separated             property covered under this policy:
                  from another part of the building;            (a) Awnings; gutters and downspouts;
              (d) A building that is standing or any                yard fixtures; outdoor swimming
                  part of a building that is standing is            pools; piers, wharves and docks;
                  not considered to be in a state of                beach or diving platforms or
                  collapse even if it shows evidence                appurtenances; retaining walls;
                  of cracking, bulging, sagging,                    walks, roadways and other paved
                  bending,       leaning,       settling,           surfaces.
                  shrinkage, or expansion.                  (4) If personal property abruptly falls down
          (2) We will pay for direct physical loss or           or caves in and such collapse is not
              physical damage caused by or resulting            the result of collapse of a building, we
              from risks of collapse of a building or any       will pay for loss or damage to Covered
              part of a building that is insured by this        Property caused by such collapse of
              policy caused only by one or more of the          personal property only if
              following:                                        (a) The collapse was caused by a
                                                                     cause of loss listed in Paragraphs
              (a) "Specified cause of loss" or
                                                                     (2)(a) through (2)(f) of this
                  breakage of building glass, if such
                                                                     Additional Coverage;
                  loss or breakage was covered by
                  this policy;                                  (b) The personal property which
              (b) Decay that is hidden from view,                   collapses is inside a building; and
                  unless the presence of such decay             (c) The property which collapses is
                  was known to an insured prior to                  not of a kind listed in Paragraph
                  collapse;                                         (3) above, regardless of whether
              (c) Insect or vermin damage that is                   that kind of property is considered
                  hidden from view, unless the                      to be personal property or real
                  presence of such damage is known                  property.
                  to an insured prior to collapse;              The coverage stated in this Paragraph
              (d) Weight of people or personal                  (4) does not apply to personal property
                  property;                                     if marring or scratching is the only
                                                                damage to that personal property
              (e) Weight of rain that collects on a
                                                                caused by the collapse.
                  roof; and
                                                                Collapse of personal property does not
              (f) Use of defective material or methods
                                                                mean cracking, bulging, sagging,
                  in construction, remodeling or
                                                                bending, leaning, settling, shrinkage or
                  renovation if the collapse occurs
                                                                expansion.
                  during    the    course      of  the
                  construction,     remodeling      or      (5) This Additional Coverage, Collapse,
                  renovation.                                   will not increase the Limits of
                                                                Insurance provided in this policy.



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       b. Debris Removal                                         caused by or resulting from any
           (1) We will pay your expense to remove                condition or event inside such
               debris of Covered Property caused by              boilers or equipment.
               or resulting from a Covered Cause of          (e) Physical loss or physical damage
               Loss that occurs during the policy                to hot water boilers or other water
               period. The expenses will be paid only            heating equipment caused by or
               if they are reported to us in writing             resulting from any condition or
               within 180 days of the earlier of:                event inside such boilers or
               (a) The date of direct physical loss or           equipment.
                   physical damage; or                       Equipment        Breakdown    Property
               (b) The end of the policy period.             means Covered Property built to
                                                             operate under vacuum or pressure,
           (2) The most we will pay under this               other than weight of contents, or used
               additional Coverage is 25% of the             for the generation, transmission or
               amount we pay for the direct loss of or       utilization of energy.
               physical damage to Covered Property
               plus the deductible in this policy            The following is not          Equipment
               applicable to that physical loss or           Breakdown Property:
               physical damage.                              (a) Any structure, foundation, cabinet,
               But this limitation does not apply to             compartment or air supported
               any additional Debris Removal limit               structure building;
               provided in the Limits of Insurance           (b) Any insulating       or    refractory
               section.                                          material;
           (3) This Additional Coverage does not             (c) Any sewer piping, any underground
               apply to costs to:                                vessels or piping, any piping forming
               (a) Extract      "pollutants        and           a part of a sprinkler system, water
                   contaminants" from land; or                   piping other than boiler feed water
                                                                 piping, boiler condensate return
               (b) Remove, restore or replace                    piping, or water piping forming a part
                   polluted or contaminated land or              of a refrigerating or air conditioning
                   water.                                        system;
       c. Equipment Breakdown                                (d) Any vehicle or any equipment
           (1) We will pay for direct physical loss or           mounted on a vehicle. As used
               physical damage caused by or                      here, vehicle means any machine
               resulting   from     an     Equipment             or apparatus that is used for
               Breakdown Accident to Equipment                   transportation or moves under its
               Breakdown Property.                               own power. Vehicle includes, but
                                                                 is not limited to, car, truck, bus,
               Equipment      Breakdown       Accident           trailer, train, aircraft, watercraft,
               means:                                            forklift,  bulldozer, tractor     or
               (a) Mechanical breakdown, including               harvester. However, any property
                   rupture or bursting caused by                 that is stationary, permanently
                   centrifugal force.                            installed at a “scheduled premises”
                                                                 and that receives electrical power
               (b) Artificially  generated     electric          from an external power source will
                   current, including electric arcing,           not be considered a vehicle.
                   that disturbs electrical devices,         (e) Any equipment manufactured by
                   appliances or wires.                          you for sale.
               (c) Explosion of steam boilers, steam      (2) Coverage Extensions
                   piping, steam engines or steam
                   turbines owned or leased by you,          The following coverage extensions
                   or operated under your control.           apply only to direct physical loss or
                                                             physical damage caused by or
               (d) Physical loss or physical damage          resulting   from     an    Equipment
                   to steam boilers, steam pipes,            Breakdown Accident:
                   steam engines or steam turbines


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              (a) Hazardous Substances                              amounts within the Limit of
                 We will pay in any one occurrence                  Insurance. We do not have to
                 for the additional cost, not to                    furnish these bonds;
                 exceed $50,000, to repair or                   (iii) All    reasonable      expenses
                 replace Covered Property because                     incurred by you at our request
                 of contamination by a hazardous                      to assist us in the investigation
                 substance. This includes the                         or defense of the claim or
                 expenses to clean up or dispose of                   "suit" including actual loss of
                 such      property.    Hazardous                     earnings up to $100 a day
                 substance means any substance                        because of time off from work;
                 that is hazardous to human health              (iv) All costs taxed against you in
                 or that has been declared by a                      any "suit" we defend;
                 government      agency    to   be
                                                                (v) Prejudgment interest awarded
                 hazardous to human health.
                                                                    against you on that part of the
                 Additional cost in this extension                  judgment we pay. If we make
                 means those beyond what would                      an offer to pay the applicable
                 have been required had no                          Limit of Insurance, we will not
                 hazardous     substance     been                   pay any prejudgment interest
                 involved.                                          based on that period of time
                 This limit is part of and not in                   after the offer; and
                 addition to the Limits of Insurance            (vi) All interest on the full amount
                 for Covered Property.                               of any judgment that accrues
              (b) Expediting Expenses                                after entry of the judgment and
                 With respect to your damaged                        before we have paid, offered
                 Covered Property, we will pay in                    to pay, or deposited in court
                 any one occurrence, up to                           the part of the judgment that is
                 $50,000, for the reasonable and                     within the Limit of Insurance
                 necessary additional expenses                       shown in the Declarations.
                 you incur to:                                  These payments will not reduce
                 (i) Make temporary repairs; or                 the Limit of Insurance shown in the
                                                                Declarations.
                 (ii) Expedite permanent repairs or
                      permanent replacement.                (e) Business Income and             Extra
                                                                Expense Extension
              (c) Defense
                                                                The Business Income and Extra
                 If a claim or "suit" is brought                Expense Additional Coverages are
                 against you alleging that you are              extended to provide coverage for a
                 liable for damage to property of               tenant who has a loss of income
                 another in your care, custody or               from the lack of heating, cooling or
                 control    directly  caused    by              power as a result of equipment
                 Equipment Breakdown we will                    breakdown        to     mechanical,
                 either:                                        electrical or pressure equipment of
                 (i) Settle the claim or "suit"; or             the building owner.
                 (ii) Defend you against the claim          (f) If Equipment Breakdown Property
                      or "suit," but keep for                   requires replacement due to an
                      ourselves the right to settle it          Equipment Breakdown Accident,
                      at any point.                             we will pay your additional cost to
              (d) Supplementary Payments                        replace it with equipment that is
                                                                better for the environment, safer or
                 We will pay, with respect to any
                                                                more efficient than the equipment
                 claim or "suit" we defend:
                                                                being replaced. However, we will
                 (i) All expenses we incur;                     not pay more than 125% of what
                 (ii) The cost of bonds to release              the cost would have been to repair
                      attachments, but only for bond            or replace with property of



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                    comparable material and quality.                  agent has issued, or that was issued by
                    This coverage does not increase                   someone who impersonates you or your
                    any of the applicable limits. This                agent. This includes written instruments
                    coverage does not apply to any                    required in conjunction with any credit,
                    property indicated as being valued                debit, or charge card issued to you or
                    on an Actual Cash Value basis.                    any "employee" for business purposes.
                    If you wish to retrofit air                   (2) If you are sued for refusing to pay any
                    conditioning     or     refrigeration             Covered Instrument on the basis that it
                    equipment      that    utilizes     a             has been forged or altered, and you
                    refrigerant     containing      CFC               have our written consent to defend
                    (chlorofluorocarbon) substances to                against the “suit”, we will pay for any
                    accept a non-CFC refrigerant or                   reasonable expenses that you incur
                    replace the system with a system                  and pay in that defense.
                    using a non-CFC refrigerant, we               (3) We will pay for loss resulting directly
                    will consider this better for the                 from your having accepted in good
                    environment.      Any associated                  faith, in exchange for merchandise,
                    Business     Income      or     Extra             "money" or services:
                    Expense will be included in                       (a) Money orders, including counterfeit
                    determining the additional cost, if                    money orders, of any United States
                    Business Income and Extra                              or Canadian post office, express
                    Expense apply to this policy.                          company or national or state (or
            (3) Additional Condition - Bankruptcy                          Canadian) chartered bank that are
                The bankruptcy or insolvency of you or                     not paid upon presentation; and
                your estate will not relieve us of any                (b) Counterfeit United States         or
                obligation  under this       Additional                   Canadian paper currency.
                Coverage.                                         (4) The most we will pay in any one
            (4) Jurisdictional Inspections:                           occurrence, including legal expenses,
                If any boiler or pressure vessel                      under this Additional Coverage is $5,000,
                requires inspection to comply with                    unless a higher Limit of Insurance is
                state or municipal boiler and pressure                shown in the Declarations.
                vessel regulations, we agree to              g. Glass Expense
                perform such inspection on your                   We will pay for necessary expenses
                behalf.                                           incurred to:
       d. Fire Department Service Charge                          (1) Put up temporary plates or board up
            When the fire department is called to save                openings if repair or replacement of
            or protect Covered Property from a                        damaged glass is delayed;
            Covered Cause of Loss, we will pay up to              (2) Repair or replace encasing frames;
            $25,000 in any one occurrence for your                    and
            liability for fire department service charges:
                                                                  (3) Remove or replace obstructions when
            (1) Assumed by contract or agreement                      repairing or replacing glass that is part
                prior to loss; or                                     of a building.
            (2) Required by local ordinance.                      This does not include         removing    or
       e. Fire Extinguisher Recharge                              replacing window displays.
            We will pay to cover your expenses for           h. Lock and Key Replacement
            recharge of your hand fire extinguishers              We will pay up to $1,000 in any one
            when they are emptied while fighting fire.            occurrence for the re-keying of locks or the
       f.   Forgery                                               repair or replacement of locks at
            (1) We will pay for loss resulting directly           "scheduled premises" following the theft or
                from forgery or alteration of any check,          the attempted theft of keys by burglars.
                draft, promissory note, or similar written   i.   Money and Securities
                promises, orders or directions to pay a           (1) We will pay for loss of "money" and
                sum certain in "money" that you or your               "securities" used in your business while


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                at a bank or savings institution, within         Undamaged Part
                your living quarters or the Iiving quarters      (a) For loss to the undamaged portion
                of your partners or any employee having              of the Building that requires the
                use and custody of the property, at the              demolition of parts of the same
                "scheduled premises", or in transit                  property not damaged by a
                between any of these places, resulting               Covered Cause of Loss provided
                directly from:                                       that any such ordinance or law
                                                                     resulting in this type of loss:
                (a) “Theft”;
                                                                     (i) Regulates the construction or
                (b) Disappearance; or
                                                                          repair     of    buildings,  or
                (c) Destruction.                                          establishes zoning or land use
            (2) In addition to the Limitations and                        requirements          at    the
                Exclusions applicable to property                         “scheduled premises”; and
                coverage, we will not pay for loss:                  (ii) Is in force at the time of the
                (a) Resulting from accounting or                          loss.
                    arithmetical errors or omissions;                The most we will pay in any one
                (b) Due to the giving or surrendering                occurrence for this coverage is
                    of property in any exchange or                   $25,000 as a Limit of Insurance.
                    purchase; or                                 Demolition Cost
                (c) Of property contained in any                 (b) The cost to demolish and clear the
                    "money"-operated device unless a                 site of undamaged parts of the
                    continuous recording instrument in               property caused by enforcement of
                    the device records the amount of                 a building, zoning or land use
                    "money" deposited in the “money”-                ordinance or law.
                    operated device.
                                                                     The most we will pay in any one
            (3) The most we will pay for loss in any                 occurrence for this coverage is
                one occurrence is:                                   $25,000 as a Limit of Insurance.
                (a) The limit shown in the Declarations          Increased Cost of Construction
                    for Inside the Premises for
                                                                 (c) The increased cost to repair,
                    "money" and "securities" while:
                                                                     rebuild or reconstruct the covered
                    (i) In or on the          "scheduled             property, caused by enforcement
                        premises"; or                                of a building, zoning or land use
                    (ii) Within a bank or savings                    ordinance or law.
                         institution; and                            The most we will pay in any one
                (b) The limit shown in the Declarations              occurrence for this coverage is
                    for Outside the Premises for                     $25,000 as a Limit of Insurance.
                    "money" and "securities" while               “Tenants    Improvements           and
                    anywhere else.                               Betterment”
            (4) All loss:                                        (d) The increased cost to repair,
                                                                     rebuild or reconstruct “tenant’s
                (a) Caused by one or more persons;
                                                                     improvements and betterments”
                    or                                               caused by enforcement of building,
                (b) Involving a single act or series of              zoning or land use ordinance or
                    related acts;                                    law.
                is considered one occurrence.                        The most we will pay in any one
                                                                     occurrence for this coverage is
            (5) You must keep records of all "money"
                                                                     $25,000 as a Limit of Insurance.
                and "securities" so we can verify the
                amount of any loss or damage.                 (2) Additional Exclusions
       j.   Ordinance or Law                                     We will not pay under this Additional
                                                                 Coverage for:
            (1) If a Covered Cause of Loss occurs to
                covered Building property, we will pay           (a) The enforcement of any ordinance
                on a “scheduled premises” any of the                 or law which requires the
                following costs that are caused by                   demolition, repair, replacement,
                enforcement of an ordinance or law:                  reconstruction,  remodeling   or

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                   remediation of property due to             (b) If the Building(s) Full Value
                   contamination by “pollutants and               Endorsement applies and the
                   contaminants” or due to the                    property is repaired or replaced on
                   presence, growth, proliferation,               the same or another premises, we
                   spread of any activity of “fungi”,             will not pay more for physical loss of
                   wet or dry rot, bacteria or virus; or          or physical damage to designated
               (b) The costs associated with the                  Building property, including loss
                   enforcement of any ordinance or                caused by enforcement of an
                   law which requires any insured or              ordinance or law, than:
                   others to test for, monitor, clean             (i) The amount you actually spend
                   up, remove, contain, treat, detoxify               to repair, rebuild or reconstruct
                   or neutralize, or in any way                       the Building, but not for more
                   respond to, or assess the effects                  than the amount it would cost to
                   of “pollutants or contaminants”,                   restore the Building on the same
                   “fungi”, wet or dry rot, bacteria or               premises; and
                   virus.                                         (ii) The amount it would cost to
               (c) Loss caused by, resulting from,                     restore the undamaged portion
                   contributed to or aggravated by                     to the same height, floor area,
                   earthquake or volcanic eruption.                    style and comparable quality of
               (d) Loss due to an ordinance or law                     the original property insured.
                   that:                                      (c) If Replacement Cost or the
                   (i) You were required to comply                Building(s)        Full      Value
                       with before the loss even if the           Endorsement applies and the
                       building was undamaged; and                property is not repaired or
                                                                  replaced, or if Actual Cash Value
                   (ii) You failed to comply with.                applies, then we will not pay more
           (3) Additional Limitations – Loss to                   for physical loss of or physical
               Undamaged Portion of Building                      damage to designated Building
               Subject to the limit stated in Paragraph           property, including loss caused by
               A.5.j.(1)(a), the insurance provided               enforcement of an ordinance or
               under this Additional Coverage for loss            law, than the lesser of:
               in value to the undamaged portion of               (i) The Actual Cash Value of the
               the building is limited as follows:                    Building at the time of loss; or
               (a) If Replacement Cost applies and                (ii) The    Limit   of    Insurance
                   the property is repaired or                         applicable to the covered
                   replaced on the same or another                     Building property stated in
                   premises, we will not pay more for                  Paragraph A.5.j.(1)(a).
                   physical loss of or physical            (4) Additional Limitation – Demolition
                   damage to designated Building               Cost
                   property, including loss caused by
                   enforcement of an ordinance or             We will not pay more than the lesser
                   law, than:                                 of:
                   (i) The amount you actually spend          (a) The amount actually spent to
                       to repair, rebuild or reconstruct          demolish and clear the site of the
                                                                  “scheduled premises”; or
                       the Building, but not for more
                       than the amount it would cost to       (b) The applicable Demolition Cost
                       restore the Building on the same           Limit of Insurance as stated in
                       premises; and                              Paragraph A.5.j.(1)(b).
                   (ii) The amount it would cost to        (5) Additional Limitation – Increased
                        restore the undamaged portion          Cost of Construction
                        to the same height, floor area,       The insurance provided under this
                        style and comparable quality of       Additional Coverage for increased cost
                        the original property insured.        of construction is limited as follows:
                                                              (a) We will not pay:

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                  (i) Until the property is actually     l.   Preservation of Property
                      repaired or replaced, at the            If it is necessary to move Covered
                      same or another premises;               Property from the "scheduled premises" to
                      and                                     preserve it from direct physical loss or
                  (ii) Unless      the   repairs  or          physical damage by a Covered Cause of
                       replacements are made as               Loss, we will pay for any direct physical
                       soon as reasonably possible            loss of or physical damage to that property:
                       after the physical loss or
                       physical damage, not to                (1) While it is being moved or while
                       exceed two years. We may                   temporarily stored at another location;
                       extend this period in writing              and
                       during the two years.                  (2) Only if the direct physical loss or
              (b) If the Building is repaired or                  physical damage occurs within 45
                  replaced at the same premises, or               days after the property is first moved.
                  if you elect to rebuild at another     m. Theft Damage to Building
                  premises, the most we will pay is
                  the lesser of:                              This Additional Coverage applies only to
                  (i) The      increased     cost  of         premises where you are a tenant and are
                       construction at the same               responsible in the lease for physical loss or
                       premises; or                           physical damage to the building you lease,
                                                              rent, or occupy that is caused by or results
                  (ii) The applicable Increased Cost          from “theft”, burglary or robbery.
                       of Construction Limit of
                       Insurance stated in Paragraph          We will pay for direct physical loss or
                       A.5.j.(1)(c).                          physical damage directly resulting from
                                                              “theft”, burglary or robbery (except loss by fire
              (c) If the ordinance or law requires            or explosion) to a building:
                  relocation to another premises, the
                  most we will pay is the lesser of:          (1) You occupy, including personal
                                                                  property that is used to maintain or
                  (i) The    Increased        Cost  of            service the building; or
                      Construction at         the new
                      premises; or                            (2) Containing covered personal property
                                                                  if you are legally liable for such
                  (ii) The applicable Increased Cost              physical loss or physical damage.
                       of Construction Limit of
                       Insurance stated in Paragraph          But we will not pay for such physical loss
                       A.5.j.(1)(c).                          of or physical damage to property that is
                                                              away from the "scheduled premises".
       k. “Pollutants and Contaminants” Clean
          Up and Removal                                 n. Water Damage, Other Liquid, Powder or
                                                            Molten Material Damage
          We will pay your expense to extract
          "pollutants and contaminants" from land or          If direct physical loss or physical damage
                                                              caused by or resulting from covered water
          water at the "scheduled premises" if the
                                                              or other liquid, powder or molten material
          discharge, dispersal, seepage, migration,           damage loss occurs, we will also pay the
          release or escape of the “pollutants and            cost to tear out and replace any part of the
          contaminants” is caused by or results from          building or structure to repair damage to
          a Covered Cause of Loss that occurs                 the system or appliance from which the
          during the policy period. The expenses will         water or other substance escapes.
          be paid only if they are reported to us in          We will not pay the cost to repair any defect
          writing within 180 days of the earlier of:          that caused the direct physical loss or
          (1) The date of direct physical loss or             physical damage except as provided in
              physical damage; or                             paragraph A.5.c., Equipment Breakdown of
          (2) The end of the policy period.                   this coverage form. But we will pay the cost
                                                              to repair or replace damaged parts of fire
          The most we will pay in any one                     extinguishing equipment if the damage:
          occurrence for each location under this
          Additional Coverage is $15,000 for the              (1) Results in discharge of any substance
          sum of all such expenses arising out of                 from an automatic fire protection
          Covered Causes of Loss.                                 system; or


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           (2) Is directly caused by freezing.                   (b) That part or all of the “scheduled
       o. Business Income                                            premises”         is      rendered
                                                                     untentantable as a result of a
           (1) We will pay for the actual loss of                    Covered Cause of Loss if
               Business Income you sustain due to                    coverage for Business Income
               the necessary suspension of your                      applies to the policy.
               "operations" during the "period of
               restoration". The suspension must be       p. Extra Expense
               caused by direct physical loss of or          (1) We will pay reasonable and necessary
               physical damage to property at the                Extra Expense you incur during the
               "scheduled      premises",   including            "period of restoration" that you would
               personal property in the open (or in a            not have incurred if there had been no
               vehicle) within 1,000 feet of the                 direct physical loss or physical
               “scheduled premises”, caused by or                damage to property at the "scheduled
               resulting from a Covered Cause of                 premises", including personal property
               Loss.                                             in the open (or in a vehicle) within
           (2) With respect to the requirements set              1,000 feet, caused by or resulting from
               forth in the preceding paragraph, if you          a Covered Cause of Loss.
               occupy only part of the site at which         (2) With respect to the requirements set
               the “scheduled premises” are located,             forth in the preceding paragraph, if you
               your “scheduled premises” also                    occupy only part of the site at which
               means:                                            the “scheduled premises” are located,
                (a) The portion of the building which            your “scheduled premises” also
                    you rent, lease or occupy; and               means:
                (b) Any area within the building or on           (a) The portion of the building which
                    the site at which the “scheduled                 you rent, lease or occupy; and
                    premises” are located, but only if           (b) Any area within the building or on
                    that area services, or is used to                the site at which the “scheduled
                    gain access to, the “scheduled                   premises” are located, but only if
                    premises”.                                       that area services, or is used to
           (3) We will only pay for loss of Business                 gain access to, the “scheduled
               Income that occurs within 12                          premises”.
               consecutive months after the date of          (3) Extra Expense        means     expense
               direct physical loss or physical                  incurred:
               damage.                                           (a) To avoid or minimize the
                This Additional Coverage is not subject              suspension of business and to
                to the Limits of Insurance.                          continue "operations":
           (4) Business Income means the:                            (i) At the "scheduled premises";
                (a) Net Income (Net Profit or Loss                       or
                    before income taxes) that would                  (ii) At replacement premises or at
                    have been earned or incurred if no                    temporary locations, including:
                    direct physical loss or physical                     (aa)Relocation expenses; and
                    damage had occurred; and
                                                                         (bb)Cost to equip and operate
                (b) Continuing     normal    operating                       the    replacement     or
                    expenses     incurred,   including                       temporary location, other
                    payroll.                                                 than     those      costs
           (5) With respect to the coverage provided                         necessary to repair or to
                                                                             replace damaged stock
               in    this    Additional   Coverage,
                                                                             and equipment.
               suspension means:
                                                                 (b) To minimize the suspension of
                (a) The partial slowdown or complete
                                                                     business if you cannot continue
                    cessation      of your  business
                                                                     "operations".
                    activities; or
                                                                 (c) (i) To repair    or   replace   any
                                                                     property; or

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                  (ii) To research, replace or                     (a) When access is permitted to your
                       restore the lost information on                 "scheduled premises"; or
                       damaged "valuable papers                    (b) 30 consecutive days after the
                       and records";                                   order of the civil authority.
                      to the extent it reduces the        r.   Extended Business Income
                      amount of loss that otherwise
                                                               (1) If the necessary suspension of your
                      would have been payable
                      under this Additional Coverage               "operations" produces a Business
                      or Additional Coverage o.,                   Income loss payable under this policy,
                      Business Income.                             we will pay for the actual loss of
                                                                   Business Income you incur during the
                      We will only pay for Extra                   period that:
                      Expense that occurs within 12
                                                                   (a) Begins on the date property is
                      consecutive months after the
                      date of direct physical loss or                  actually repaired, rebuilt or replaced
                      physical damage.           This                  and "operations" are resumed; and
                      Additional Coverage is not                   (b) Ends on the earlier of:
                      subject to the Limits of                         (i) The date you could restore
                      Insurance.                                           your      "operations"    with
          (4) With respect to the coverage provided                        reasonable speed, to the
              in    this    Additional   Coverage,                         condition that would have
              suspension means:                                            existed if no direct physical
              (a) The partial slowdown or complete                         loss or damage occurred; or
                  cessation      of your  business                     (ii) 30 consecutive days after the
                  activities; or                                            date determined in (1)(a)
              (b) That part or all of the “scheduled                        above.
                  premises”         is      rendered               Loss of Business Income must be
                  untentantable as a result of a                   caused by direct physical loss or
                  Covered Cause of Loss if                         physical damage at the "scheduled
                  coverage for Extra Expense                       premises" caused by or resulting from
                  applies to the policy.                           a Covered Cause of Loss.
          (5) Limitation                                       (2) With respect to the coverage provided in
          This Extra Expense Coverage does not                     this Additional Coverage, suspension
          apply to:                                                means:

              (a) Any deficiencies in                              (a) The partial slowdown or complete
                                              insuring
                  building or business       personal                  cessation of your business activities;
                  property; or                                         and

              (b) Any expense related to any recall                (b) That a part or all of the "scheduled
                  of products you manufacture,                         premises" is rendered untenantable
                  handle or distribute.                                as a result of a Covered Cause of
                                                                       Loss.
       q. Civil Authority
                                                          s. Business Income           from      Dependent
          (1) This insurance is extended to apply to         Properties
              the actual loss of Business Income you
                                                               (1) We will pay for the actual loss of
              sustain when access to your "scheduled
              premises" is specifically prohibited by              Business Income you sustain due to
              order of a civil authority as the direct             direct physical loss or physical damage
              result of a Covered Cause of Loss to                 at the premises of a dependent property
              property in the immediate area of your               caused by or resulting from a Covered
              "scheduled premises".                                Cause of Loss.

          (2) The coverage for Business Income will                The most we will pay under this
              begin 72 hours after the order of a civil            Additional Coverage is $5,000 in any
              authority and coverage will end at the               one occurrence unless a higher Limit
              earlier of:                                          of Insurance is indicated in the
                                                                   Declarations.


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           (2) We will reduce the amount of your                     (a) Regulates the construction, use or
               Business Income loss, other than                          repair, or requires the tearing
               Extra Expense, to the extent you can                      down of any property; or
               resume "operations", in whole or in                   (b) Requires any insured or others to
               part, by using any other available:                       test for, monitor, clean up, remove,
                (a) Source of materials; or                              contain, treat, detoxify, or neutralize,
                (b) Outlet for your products.                            or in any way respond to, or assess
                                                                         the effects "pollutants."
           (3) If you do not resume "operations", or
               do not resume "operations" as quickly             (7) The definition of Business Income
               as possible, we will pay based on the                 contained in the Business Income
               length of time it would have taken to                 Additional Coverage also applies to
               resume "operations" as quickly as                     this Business Income From Dependent
               possible.                                             Properties Additional Coverage.
           (4) Dependent Property means property            t.   Tenant Glass
               owned, leased or operated by others               This Additional Coverage applies only to
               whom you depend on to:                            premises where you are a tenant and are
                (a) Deliver materials or services to             responsible in the lease for such damage.
                    you or to others for your account.           We will cover loss to glass, which is in your
                    But services do not include:                 care, custody or control and for which the
                    (i) Water, communication, power              lease holds you responsible. The glass
                        services or any other utility            must be part of a building described in the
                        services; or                             Declarations or at a location that would be
                                                                 included in Coverage Extension b. Newly
                    (ii) Any type of web site, or                Acquired or Constructed Property.
                         Internet service.
                                                                 The most that we will pay in any one
                (b) Accept your products or services;            occurrence for each location under this
                (c) Manufacture your products for                Additional Coverage is $25,000.
                    delivery to your customers under        u. Leasehold Improvements
                    contract for sale; or
                                                                 If your lease is cancelled in accordance with
                (d) Attract customers to your business           a valid lease provision as the direct result of a
                    premises.                                    Covered Cause of Loss to property at the
                The dependent property must be                   location in which you are a tenant, and you
                located in the coverage territory of this        cannot legally remove “Tenant Improvements
                policy.                                          and Betterments”, we will extend Business
           (5) The coverage period for Business                  Personal Property coverage to apply to the
               Income under this Additional Coverage:            unamortized value of “Tenants Improvement
                                                                 and Betterment” that remain and that you
                (a) Begins 72 hours after the time of
                                                                 were forced to abandon.
                    direct physical loss or physical
                    damage caused by or resulting                The most we will pay in any one
                    from a Covered Cause of Loss at              occurrence for loss under this Additional
                    the premises of the dependent                Coverage is $25,000.
                    property; and                            v. Lease Assessment
                (b) Ends on the date when the property           Your Business Personal Property is extended
                    at the premises of the dependent             to apply to your share of any assessment
                    property should be repaired, rebuilt         charged to all tenants by the building owner
                    or replaced with reasonable speed            as a result of direct physical damage caused
                    and similar quality.                         by or resulting from a Covered Cause of Loss
           (6) The Business Income coverage                      to building property you occupy as agreed to
               period, as stated in Paragraph (5),               in your written lease agreement.
               does not include any increased period             We will pay no more than $2,500 in any one
               required due to the enforcement of any            occurrence for this Additional Coverage.
               ordinance or law that:


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   6. Coverage Extensions                                                representatives,      or      anyone
       Except as otherwise provided, the following                       entrusted with the records of
       Extensions apply to property located in or on                     accounts receivable, whether or
       the building at the "scheduled premises" or in                    not acting alone or in collusion with
       the open (or in a vehicle) within 1,000 feet of                   other persons or occurring during
       the "scheduled premises".        All Coverage                     the hours of employment.
       Extensions are subject to the terms, conditions                   This exclusion does not apply to a
       and exclusions of this policy, except as                          carrier for hire.
       otherwise provided.                                           (b) Alteration, falsification, concealment
       In addition to the Limits of Insurance, you may                   or destruction of records of accounts
       extend the insurance provided by this policy as                   receivable done to conceal the
       follows:                                                          wrongful giving, taking or withholding
       a. Accounts Receivable                                            of "money," "securities," or other
                                                                         property.
           (1) You may extend the insurance that
               applies to your Business Personal                         This exclusion applies only to the
               Property, to apply to your accounts                       extent of the wrongful giving,
               receivable.                                               taking or withholding.
               We will pay for:                                      (c) Bookkeeping, accounting or billing
                                                                         errors or omissions.
               (a) All amounts due from your
                    customers that you are unable to                 (d) Electrical or magnetic injury,
                    collect;                                             disturbance or erasure of electronic
                                                                         recordings.
               (b) Interest charges on any loan
                    required to offset amounts you are                   But we will pay for direct physical
                    unable to collect pending our                        loss or physical damage caused
                    payment of these amounts;                            by Lightning.
               (c) Collection expenses in excess of                  (e) Voluntary parting with any property
                    your normal collection expenses                      by you or anyone entrusted with
                    that are made necessary by the                       the property if induced to do so by
                    physical loss or physical damage;                    any fraudulent scheme, trick,
                    and                                                  device or false pretense.
               (d) Other reasonable expenses that                    (f) Unauthorized       instructions  to
                    you incur to reestablish your                        transfer property to any person or
                    records of accounts receivable;                      to any place.
               that result from direct physical loss of or      (4) We will not pay for direct physical loss
               physical damage to your records of                   or physical damage that requires any
                                                                    audit of records or any inventory
               accounts receivable.
                                                                    computation to prove its factual
           (2) Paragraph A.3., Covered Causes of                    existence.
               Loss, and Section B., Exclusions, do             (5) The most we will pay in any one
               not apply to this Additional Coverage                occurrence for direct physical loss of
               except for:                                          or physical damage to your accounts
               (a) Paragraph B.1.b., Governmental                   receivable    at    each     “scheduled
                    Action;                                         premises” is $25,000.
               (b) Paragraph B.1.c., Nuclear Hazard;            (6) The most we will pay in any one
                   and                                              occurrence for direct physical loss of
                                                                    or physical damage to accounts
               (c) Paragraph B.1.e., War and Military               receivables away from the “scheduled
                   Action.                                          premises”, including while in transit, is
           (3) Additional Exclusions                                $25,000.
               (a) Dishonest acts by you, anyone             b. Arson and “Theft” Reward
                   else with an interest in the records          (1) In the event that a covered fire loss
                   of accounts receivable, or your or                was the result of an act of arson, we
                   their employees or authorized                     will reimburse you for rewards you pay
                                                                     for information leading to convictions
                                                                     for that act of arson.

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          (2) In the event of a covered “theft” loss,           The most we will pay in any one
              we will reimburse you for rewards you             occurrence for loss or damage under
              pay for information leading to                    this Extension is 25% of the Limit of
              convictions for the “theft” loss.                 Insurance for Building shown in the
          The most we will pay to reimburse you in              Declarations, but not more than
          any one occurrence for arson or “theft”               $500,000 at each premises.
          rewards is $10,000.
                                                            (2) You may extend the insurance that
          This is additional insurance. The                     applies to Business Personal Property
          deductible does not apply to these                    to apply to:
          reimbursements.
                                                                (a) Property at any premises you
       c. Data and Software
                                                                    acquire or construct;
           We will pay up to $10,000 in any one
                                                                (b) Business    Personal     Property,
           occurrence to cover your costs to
                                                                    including such property that you
           research, replace or restore "data" or
                                                                    newly acquire, located at your
           "software" which exists or existed on
                                                                    newly constructed building, or
           electronic or magnetic "media" that is lost
           or damaged as a result of direct physical            (c) Business Personal Property that
           loss or physical damage to "computer                     you newly acquire, located at the
           equipment" at the "scheduled premises".                  "scheduled premises".
       d. Garages, Storage Buildings and Other                  This extension does not apply to:
          Appurtenant Structures                                (a) Personal Property         that you
           (1) You may extend the insurance that                    temporarily acquire in the course
               applies to Building to apply to garages,             of installing or performing work on
               storage       buildings    and     other             such property;
               appurtenant structures, except outdoor           (b) Personal property of others that
               fixtures, at the "scheduled premises".               you temporarily acquire in the
                The most we will pay in any one                     course of your wholesaling activity.
                occurrence for direct physical loss or          (c) Merchandise held for sale, except
                physical damage under this Extension                as provided under Paragraph C.6.
                is $50,000 at each "scheduled                       Business Personal Property Limit
                premises".                                          – Seasonal Increase.
           (2) You may extend the insurance that                The most we will pay in any one
               applies to Business Personal Property            occurrence for direct physical loss or
               in garages, storage buildings and other          physical damage under this Extension
               appurtenant     structures    at    the          is $250,000 at each premises.
               "scheduled premises".                        (3) You may extend the insurance that
                The most we will pay in any one                 applies to Business Income and Extra
                occurrence for direct physical loss or          Expense to apply to newly acquired or
                physical damage under this Extension            constructed locations.
                is $5,000 at each "scheduled                    The most we will pay in any one
                premises".                                      occurrence under this Extension is
       e. Newly Acquired or Constructed Property                $50,000.
           (1) You may extend the insurance that            (4) If Covered Property is moved to a new
               applies to Building to apply to:                 premises endorsed onto this policy, from
                                                                a "scheduled premises" being endorsed
                (a) Your new buildings while being built        off this policy, the Limit of Insurance
                    on the "scheduled premises"; and            applicable to that vacated premises will
                (b) Buildings you acquire at locations          apply proportionately to both premises as
                    other    than    the     "scheduled         the property is moved. This coverage
                    premises", intended for:                    applies to up to 180 days after the move
                    (i) Similar use as the Building             begins or upon completion of the move,
                        described in the Declarations; or       whichever is sooner. This coverage
                                                                does not apply to Business Personal
                    (ii) Use as a warehouse.                    Property while in transit.


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            (5) Insurance under this Extension for          The most we will pay in any one
                each newly acquired or constructed          occurrence for physical loss or physical
                property will end when any of the           damage under this Extension is $10,000 at
                following first occurs:                     each "scheduled premises".
               (a) This policy expires;                  h. Property Off-Premises
               (b) 180 days after you acquire or              (1) You may extend the insurance that
                   begin to construct the property, or            applies to Building to apply to such
               (c) You report values to us.                       property that is temporarily at a location
               We will charge you additional premium              you do not own, lease or operate. This
               for values reported from the day                   Extension applies only if physical loss
               construction begins or you acquire the             or physical damage is caused by or
               property.                                          resulting from a Covered Cause of
                                                                  Loss. This Extension does not apply to
       f.   Outdoor Property                                      property in course of transit.
            You may extend the insurance provided by              The most we will pay in any one
            this policy to apply to your outdoor:                 occurrence under this coverage
            (1) Fences, signs (other than signs                   extension is $5,000.
                attached to buildings), trees, shrubs         (2) You may extend the insurance that
                and plants caused by or resulting from            applies to Business Personal Property
                any of the following causes of loss:              to apply to such property, other than
               (a) Fire;                                          Accounts Receivable, "money" and
               (b) Lightning;                                     "securities" while:
               (c) Explosion;                                     (a) In the course of transit and more
                                                                      than 1,000 feet from the "scheduled
               (d) Riot or Civil Commotion; and
                                                                      premises". Property must be in or
               (e) Aircraft.                                          on, but not permanently attached to
               The most we will pay in any one                        or installed in, a motor vehicle you
               occurrence for direct physical loss or                 own, lease or operate while between
               physical damage, including debris                      points in the coverage territory; or
               removal expense, under this Extension              (b) Temporarily at a premises you do
               is $10,000 but not more than $1,000                    not own, lease or operate.
               for any one tree, shrub or plant.
                                                                  (c) At a premises owned, leased,
          (2) Radio      and     television   antennas                operated or used by you and the
               (including satellite dishes) caused by                 Business Personal Property is a
               or resulting from any of the following                 vending machine.
               causes of loss:                                    (d) In or on, but not permanently
               (a) Fire;                                              attached to or installed in, motor
               (b) Lightning;                                         vehicles      operated     by      your
               (c) Windstorm;                                         employees in the course of your
                                                                      business operations.
               (d) Ice, Snow, Sleet or Hail;
                                                                  (e) On temporary public display, or
               (e) Explosion;                                         while being used at fairs,
               (f) Riot or Civil Commotion; and                       exhibitions, expositions, or trade
               (g) Aircraft.                                          shows or while in transit to and
               The most we will pay in any one                        from these temporary sites.
               occurrence for direct physical loss or             The most we will pay in any one
               physical damage, including debris                  occurrence under this Extension is
               removal expense, under this Extension              $2,500.
               is $2,000.                                i.   Valuable Papers and Records - Cost of
       g. Personal Effects                                    Research
          You may extend the insurance that applies           You may extend the insurance that applies
          to Business Personal Property to apply to           to Business Personal Property to apply to
          personal effects owned by you, your                 your costs to research, replace or restore
          officers, your partners, “managers”,                the lost information on lost or damaged
          “members”, or your employees.                       ‘’valuable papers and records’’, for which
                                                              duplicates do not exist.

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           The most we will pay in any one                              (d) All volcanic eruptions that occur
           occurrence under this Extension is                               within any 168-hour period will
           $25,000 at each "scheduled premises". For                        constitute a single occurrence.
           "valuable papers and records" not at the                     Volcanic action does not include the cost
           "scheduled premises", including while in                     to remove ash, dust, or particulate
           transit, the most we will pay in any one                     matter. That does not cause direct
           occurrence is $25,000.                                       physical loss or physical damage to
B. EXCLUSIONS                                                           Covered Property.
   1. We will not pay for loss or damage caused                b. Governmental Action
      directly or indirectly by any of the following.               Seizure or destruction of property by order
      Such loss or damage is excluded regardless of                 of governmental authority.
      any other cause or event that contributes                     But we will pay for acts of destruction ordered
      concurrently or in any sequence to the loss.                  by governmental authority and taken at the
       a. Earth Movement                                            time of a fire to prevent its spread, if the fire
           (1) Earthquake, meaning a shaking or                     would be covered under this policy.
               trembling of the earth’s crust, caused          c. Nuclear Hazard
               by underground tectonic forces                       Nuclear     reaction  or    radiation,  or
               resulting in breaking, shifting, rising,             radioactive     contamination      however
               settling, sinking or lateral movement;               caused.
           (2) Landslide, including any earth sinking,              But if physical loss or physical damage by
               rising or shifting related to such event;            fire results, we will pay for that resulting
           (3) Mine subsidence, meaning subsidence                  physical loss or physical damage.
               of a man-made mine, whether or not              d. Power Failure
               mining activity has ceased;
                                                                    The failure of power or other utility service
           (4) Earth sinking (other than sinkhole                   supplied to the "scheduled premises",
                collapse), rising or shifting including soil        however caused, if the failure occurs away
                conditions which cause settling, cracking
                                                                    from the "scheduled premises". Failure
                or other disarrangement of foundations
                or other parts of realty. Soil conditions           includes lack of sufficient capacity and
                include contraction, expansion, freezing,           reduction in supply necessary to maintain
                thawing, erosion, improperly compacted              normal operations.
                soil, and the action of water under the             But if physical loss or physical damage by
                ground surface;                                     a Covered Cause of Loss results, we will
           But if Earth Movement, as described in                   pay for that resulting physical loss or
           Paragraphs (1) through (4) above, results                physical damage.
           in fire or explosion, we will pay for the           e. War and Military Action
           physical loss or physical damage caused
           by that fire or explosion.                               (1) War, including undeclared or civil war;
           (5) Volcanic eruption, meaning the                       (2) Warlike action by a military force,
               eruption, explosion or effusion of a                     including action in hindering or
               volcano.     But if physical loss or                     defending against an actual or
               physical damage by fire or volcanic                      expected attack, by any government,
               action results, we will pay for that                     sovereign or other authority using
               resulting physical damage.                               military personnel or other agents; or
               Volcanic action means direct physical                (3) Insurrection,  rebellion,   revolution,
               loss or physical damage resulting from                   usurped power, or action taken by
               the eruption of a volcano when the                       governmental authority in hindering or
               physical loss or physical damage is                      defending against any of these.
               caused by:                                      f.   Water
                (a) Airborne volcanic blast or airborne             (1) Flood, including the accumulation of
                    shock waves;                                        surface water, waves, tides, tidal
                (b) Ash, dust, or particulate matter; or                waves, overflow of streams or any
                (c) Lava flow.                                          other bodies of water, or their spray, all
                                                                        whether driven by wind or not;

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           (2) Mudslide or mud flow;                               (6) The following causes of loss                to
           (3) Water that backs up from a sewer or                     personal property:
               drain; or                                               (a) Dampness       or dryness               of
                                                                           atmosphere;
           (4) Water under the ground surface pressing
               on, or flowing or seeping through:                      (b) Changes in or extremes of
                                                                           temperature; or
               (a) Foundations, walls, floors or paved
                   surfaces;                                           (c) Marring or scratching.
               (b) Basements, whether paved or not;                But if physical loss or physical damage by
                   or                                              the "specified causes of loss", building
                                                                   glass breakage or Equipment Breakdown
               (c) Doors, windows or other openings.               Accident results, we will pay for that
               But if loss or damage by fire, explosion            resulting physical loss or physical damage.
               or sprinkler leakage results, we will          d. Frozen Plumbing: Water, other liquids,
               pay for that resulting physical loss or           powder or molten material that leaks or
               physical damage.                                  flows from plumbing, heating, air
           (5) Water damage caused by or resulting               conditioning or other equipment (except
               from earthquake or volcanic eruption:             fire protective systems) caused by or
               (a) Earthquake means a shaking or                 resulting from freezing, unless:
                   trembling of the earth’s crust, caused          (1) You do your best to maintain heat in
                   by underground tectonic forces                      the building or structure; or
                   resulting in breaking, shifting, rising,        (2) You drain the equipment and shut off
                   settling, sinking or lateral movement               the supply if the heat is not maintained.
                   or other movement;
                                                              e. Dishonesty: Dishonest or criminal act by
               (b) Volcanic eruption means the                   you, any of your partners, "members",
                   eruption, explosion or effusion of a          officers, "managers", employees, directors,
                   volcano.                                      trustees, authorized representatives or
       g. Neglect                                                anyone to whom you entrust the property
           Neglect of an insured to use all reasonable           for any purpose:
           means to save and preserve property from                (1) Acting alone or in collusion with others;
           further damage at and after the time of                     or
           loss.                                                   (2) Whether or not occurring during the
   2. We will not pay for physical loss or physical                    hours of employment.
      damage caused by or resulting from:                          This exclusion does not apply to acts of
       a. Consequential Losses: Delay, loss of use                 destruction by your employees; but theft by
          or loss of market.                                       employees is not covered.
       b   Smoke, Vapor, Gas: Smoke, vapor or gas             f. False Pretense: Voluntary parting with
           from agricultural smudging or industrial              any property by you or anyone else to
           operations.                                           whom you have entrusted the property if
       c. Miscellaneous Types of Loss:                           induced to do so by any fraudulent
                                                                 scheme, trick, device or false pretense.
           (1) Wear and tear;
                                                              g. Exposed Property: Rain, snow, ice or
           (2) Rust, corrosion, fungus, decay,                   sleet to personal property in the open,
               deterioration, hidden or latent defect or         except as provided in the Coverage
               any quality in property that causes it to         Extension for Outdoor Property.
               damage or destroy itself;                      h. Collapse: Collapse, except as provided in
           (3) Smog;                                             the Additional Coverage for Collapse. But if
           (4) Settling, cracking, shrinking or                  loss or damage by a Covered Cause of Loss
               expansion;                                        results at the "scheduled premises", we will
                                                                 pay for that resulting loss or damage.
           (5) Nesting or infestation, or discharge or
                                                              i. Pollution: We will not pay for loss or
               release of waste products or
                                                                 damage caused by or resulting from the
               secretions, by insects, birds, rodents,
                                                                 discharge, dispersal, seepage, migration,
               mold, spore or other animals;
                                                                 release or escape of "pollutants and

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          contaminants" unless the discharge,                    5. Equipment Breakdown Exclusion
          dispersal, seepage, migration, release or                  We will not pay for physical loss or physical
          escape is itself caused by any of the                      damage caused by or resulting from any of the
          "specified causes of loss." But if physical                following tests:
          loss or physical damage by the "specified
                                                                     (a) A hydrostatic, pneumatic or gas pressure
          causes of loss" results, we will pay for the
          resulting physical loss or physical damage                     test of any boiler or pressure vessel; or
          caused by the "specified cause of loss."                   (b) An insulation breakdown test of any type of
   3. We will not pay for loss or damage caused by or                    electrical equipment.
      resulting from any of the following. But if physical    C. LIMITS OF INSURANCE
      loss or physical damage by a Covered Cause of              1. The most we will pay for physical loss or
      Loss results, we will pay for that resulting physical         physical damage in any one occurrence is the
      loss or physical damage.                                      applicable Limit of Insurance shown in the
       a. Weather conditions: Weather conditions.                   Declarations.
          This exclusion only applies if weather                 2. The most we will pay for physical loss of or
          conditions contribute in any way with a                   physical damage to outdoor signs attached to
          cause or event excluded in paragraph 1.                   buildings is $5,000 per sign in any one
          above to produce the physical loss or                     occurrence.
          physical damage.
                                                                 3. The limits applicable to:
       b. Acts or Decisions: Acts or decisions,
          including the failure to act or decide, of any             a. Coverage Extensions; and
          person, group, organization or governmental                b. The following Additional Coverages:
          body.                                                          (1) Accounts Receivable,
       c. Negligent Work: Faulty, inadequate or                          (2) Fire Department Service Charges,
          defective:
                                                                         (3) Fire Extinguisher Recharge, and
         (1) Planning,       zoning,     development,
                                                                         (4) "Pollutants and Contaminants” Clean
             surveying, siting;
                                                                             Up and Removal
         (2) Design, specifications, workmanship,
             repair,      construction,     renovation,                  are in addition to the Limits of Insurance.
             remodeling, grading, compaction;                    4. Payments under the following Additional
         (3) Materials used in repair, construction,                Coverages will not increase the applicable
             renovation or remodeling; or                           Limit of Insurance:
         (4) Maintenance of part or all of any property              a. Preservation of Property; or
             on or off the "scheduled premises".                     b. Debris Removal; but if:
   4. Business Income and Extra Expense
                                                                         (1) The sum of direct physical loss or
      Exclusions. We will not pay for:
                                                                             physical damage and Debris Removal
       a. Any Extra Expense, or increase of Business                         expense exceeds the Limit of
          Income loss, caused by or resulting from:                          Insurance; or
           (1) Delay in rebuilding, repairing or replacing               (2) The Debris Removal expense exceeds
               the property or resuming "operations",                        the amount payable under the 25%
               due to interference at the location of the                    limitation in the Debris Removal
               rebuilding, repair or replacement by                          Additional Coverage.
               strikers or other persons; or
                                                                        We will pay up to an additional $10,000 for
           (2) Suspension, lapse or cancellation of any                 each location stated in the Declarations in
               license, lease or contract. But if the                   any one occurrence under the Debris
               suspension, lapse or cancellation is                     Removal Additional Coverage.
               directly caused by the suspension of              5. Building Limit - Automatic Increase
               "operations’, we will cover such loss
                                                                    a. The Limit of Insurance for Buildings will
               that affects your Business Income
                                                                        automatically increase annually by 8%.
               during the "period of restoration".
                                                                    b. The amount of increase will be:
       b. Any other consequential loss.
                                                                         (1) The Limit of Insurance for Buildings that
                                                                             applied on the most recent of the policy


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               inception date, policy anniversary date,            a. Building Glass
               or the date of any other policy change              b. Glass Expense
               amending the Buildings limit, times
                                                                   c. Tenant Glass
           (2) The percentage of annual increase
                                                               4. Unless a separate deductible is shown in the
               shown above, expressed as a decimal
               (.08); times                                       Declarations, the deductible applicable to the
                                                                  following Additional Coverages or Coverage
           (3) The number of days since the beginning             Extensions is $250, whether the coverage is
               of the current policy year or the effective        provided under this coverage form, provided
               date of the most recent policy change              on a separate coverage form or the coverage
               amending the Limit of Insurance for                is provided in a form that includes a package of
               Buildings, divided by 365.                         coverages, such as a Stretch endorsement:
           Example: The applicable Limit of Insurance              a. Accounts Receivable;
           for Buildings is $100,000. The annual
                                                                   b. Fine Arts
           percentage increase is 8%. The number of
           days since the beginning of the policy                  c. Outdoor Signs; and
           period (or last policy change) is 146.                  d. "Valuable Papers and Records";
           The amount of increase is:                          5. Unless a separate deductible is shown in the
           $100,000 X .08 X 146 divided by 365 =                  Declarations, the deductible applicable to the
           $3,200                                                 following Additional Coverages or Coverage
   6. Business Personal           Property     Limit     -        Extensions is $100, whether the coverage is
      Seasonal Increase                                           provided under this coverage form, provided
                                                                  on a separate coverage form or the coverage
       a. The Limit of Insurance for Business                     is provided in a form that includes a package of
          Personal Property will automatically                    coverages, such as a Stretch endorsement:
          increase by 25% to provide for seasonal
                                                                   a. Employee Dishonesy; and
          variations.
       b. This increase will apply only if all Limits of           b. Temperature Change.
          Insurance shown in the Declarations for              6. No deductible applies to the following Coverage
          Business Personal Property at the                       Extensions and Additional Coverages:
          “scheduled premises” is at least 100% of                 a. Fire Extinguisher Recharge;
          your average monthly values during the                   b. Preservation of Property;
          lesser of:
                                                                   c. Fire Department Service Charge;
           (1) The 12 months immediately preceding                 d. Business Income, Extra Expense, Civil
               the date the physical loss or physical                 Authority and Extended Business Income;
               damage occurs; or
                                                                   e. Arson Reward; and
           (2) The period of time you have been in
                                                                   f. Lock and Key Replacement
               business as of the date the physical
               loss or physical damage occurs.                 6. The Deductible applicable to the following
                                                                  Additional Coverages is the policy deductible
D. DEDUCTIBLES
                                                                  or the deductible shown in the Declarations for
   1. We will not pay for physical loss or physical               the following coverage:
      damage in any one occurrence until the
                                                                   a. Equipment Breakdown;
      amount of physical loss or physical damage
      exceeds the Deductible shown in the                          b. Ordinance or Law Coverage; and
      Declarations. We will then pay the amount of                 c. Leasehold Improvements.
      loss or damage in excess of the Deductible up            7. Each deductible applicable to this policy shall be
      to the applicable Limit of Insurance.                       applied separately but only to the coverage
   2. Except as otherwise listed, the deductible                  specified, and the total deductible for all losses in
      applicable to Additional Coverages and                      any one occurrence shall be the highest
      Coverage Extensions is the Special Property                 deductible amount that applies to the occurrence.
      Coverage Form is $250.                                 E. PROPERTY LOSS CONDITIONS
   3. A $250 deductible applies to the following               1. Abandonment
      Glass Coverages, unless Glass Coverage is
                                                                  There can be no abandonment of any property
      provided under a separate coverage form:
                                                                  to us.

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   2. Appraisal                                                 h. Send us a signed, sworn statement of loss
      If we and you disagree on the amount of loss,                containing the information we request to
      either may make written demand for an                        investigate the claim. You must do this
      appraisal of the loss. In that event, each party             within 60 days after our request. We will
      will select a competent and impartial appraiser.             supply you with the necessary forms.
      The two appraisers will select an umpire. If              i. Cooperate with us in the investigation or
      they cannot agree, either may request that                   settlement of the claim.
      selection be made by a judge of a court having            j. Resume part or all of your "operations" as
      jurisdiction. The appraisers will state                      quickly as possible.
      separately the amount of loss.
                                                             4. Legal Action Against Us
       If they fail to agree, they will submit their
                                                                No one may bring a legal action against us
       differences to the umpire. A decision agreed to
                                                                under this insurance unless:
       by any two will be binding. Each party will:
                                                                a. There has been full compliance with all of
       a. Pay its chosen appraiser; and
                                                                   the terms of this insurance; and
       b. Bear the other expenses of the appraisal              b. The action is brought within 2 years after
          and umpire equally.                                      the date on which the direct physical loss
       If there is an appraisal, we will still retain our          or physical damage occurred.
       right to deny the claim.                              5. Loss Payment
   3. Duties In The Event Of Loss Or Damage                     In the event of physical loss or physical
       You must see that the following are done in the          damage covered by this policy:
       event of loss of or damage to Covered Property:          a. At our option we will either:
       a. Notify the police if a law may have been                  (1) Pay the value of physically lost or
          broken.                                                       physically damaged property, as
       b. Give us prompt notice of the physical loss                    described in paragraph d. below;
          or physical damage. Include a description                 (2) Pay the cost of repairing or replacing
          of the property involved.                                     the physically lost or physically
       c. As soon as possible, give us description of                   damaged property, plus any reduction
          how, when and where the physical loss or                      in value of repaired items;
          physical damage occurred.                                 (3) Take all or any part of the property at
       d. Take all reseasonable steps to protect the                    an agreed or appraised value; or
          Covered Property from further damage by                   (4) Repair, rebuild or replace the property
          a Covered Cause of Loss. If feasible, set                     with other property of like kind and
          the damaged property aside in the best                        quality.
          possible order for examination. Also, keep
                                                                b. We will give notice of our intentions within
          a record of your expenses for emergency
                                                                   30 days after we receive the sworn
          and temporary repairs, for consideration in
                                                                   statement of loss.
          the settlement of the claim.
                                                                c. We will not pay you more than your
           This will not increase the Limits of Insurance.         financial interest in the Covered Property.
       e. At our request, give us complete                      d. We will determine the value of Covered
          inventories      of   the    damaged     and             Property as follows:
          undamaged property. Include quantities,
          costs, values and amount of loss claimed.                 (1) At replacement cost (without deduction
                                                                        for depreciation), except as provided in
       f. Permit us to inspect the property and records
                                                                        (2) through (7) below.
          proving the loss or damage. Also permit us to
          take samples of damaged property for                          (a) You may make a claim for physical
          inspection, testing and analysis.                                  loss or physical damage covered
       g. If requested, permit us to question you                            by this insurance on an actual
          under oath at such times as may be                                 cash value basis instead of on a
          reasonably required about any matter                               replacement cost basis. In the
          relating to this insurance or your claim,                          event you elect to have physical
          including your books and records. In such                          loss or physical damage settled on
          event, your answers must be signed.                                an actual cash value basis, you
                                                                             may still make a claim on a

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                  replacement cost basis if you                 (c) Household       contents,     except
                  notify us of your intent to do so                  personal property in apartments or
                  within 180 days after the physical                 rooms furnished by you as landlord.
                  loss or physical damage.                  (4) Glass at the cost of replacement with
              (b) We will not pay on a replacement              safety glazing material if required by
                  cost basis for any physical loss or           law.
                  physical damage:                          (5) “Tenants'        Improvements          and
                  (i) Until the physically lost or              Betterments” at:
                      physically damaged property               (a) Replacement cost if you make
                      is   actually  repaired   or                  repairs promptly.
                      replaced; and                             (b) A proportion of your original cost if
                  (ii) Unless     the   repairs or                  you do not make repairs promptly.
                       replacement are made as                      We will determine the proportionate
                       soon as reasonably possible                  value as follows:
                       after the physical loss or                    (i) Multiply the original cost by the
                       physical damage.                                  number of days from the
                  However, if the cost to repair or                      physical loss or physical
                  replace the damaged property is                        damage to the expiration of
                  $2,500 or less, we will settle the                     the lease; and
                  loss according to the provisions of                (ii) Divide the amount determined
                  Paragraphs d.(1)(a) and d.(1)(b)                        in (i) above by the number of
                  above whether or not the actual                         days from the installation of
                  repair or replacement is complete.                      improvements to the expiration
              (c) We will not pay more for physical                       of the lease.
                  loss or physical damage on a                       If your lease contains a renewal
                  replacement cost basis than the                    option, the expiration of the renewal
                  least of:                                          option period will replace the
                  (i) The cost to replace, on the                    expiration of the lease in this
                      same premises, the physically                  procedure.
                      lost or physically damaged                (c) Nothing, if others pay for repairs or
                      property with other property of               replacement.
                      comparable material and
                                                            (6) "Valuable Papers and Records", at the
                      quality and which is used for             cost of:
                      the same purpose; or
                                                                (a) Blank materials for reproducing the
                  (ii) The amount you actually                      records; and
                       spend that is necessary to
                                                                (b) Labor to transcribe or copy the
                       repair or replace the physically
                       lost or physically damaged                   records.
                       property.                            (7) "Money" and "Securities":
          (2) If the Actual Cash Value - Buildings              (a) "Money" at its face value; and
              option applies, as shown in the
              Declarations, paragraph (1) above                 (b) "Securities" at their value at the
              does not apply to Buildings. Instead,                 close of business on the day the
              we will determine the value of                        loss is discovered.
              Buildings at actual cash value.               (8) The value of United States Government
          (3) The following property at actual cash             Internal Revenue taxes and custom
              value:                                            duties and refundable state and local
              (a) Manuscripts;                                  taxes paid or fully determined on the
                                                                following property held for sale will not be
              (b) Works of art, antiques or rare
                                                                considered in determining the value of
                  articles, including etchings, pictures,
                                                                Covered Property:
                  statuary, objects of marble, bronzes,
                  porcelains and bric-a-brac.                   (a) Distilled spirits;
                                                                (b) Wines;


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                (c) Rectified products; or                     f.   We may elect to defend you against suits
                (d) Beer.                                           arising from claims of owners of property.
                                                                    We will do this at our expense.
           (9) Applicable to Accounts Receivable:
                                                               g. We will pay for covered physical loss or
                (a) If you can not accurately establish           physical damage within 30 days after we
                    the amount of the accounts                    receive the sworn statement of loss, if:
                    receivable outstanding as of the
                    time of physical loss or physical               (1) You have complied with all of the
                    damage the following method will                    terms of this policy; and
                    be used:                                        (2) (a) We have reached agreement with
                    (i) Determine the total of the                          you on the amount of loss, or
                        average monthly value of                        (b) An appraisal award has been made.
                        accounts receivable for 12             h. The following condition applies to any loss
                        months immediately preceding              payment for Extra Expense:
                        the month in which the direct
                        physical loss or physical                   We will deduct from the total Extra
                        damage occurred; and                        Expense to be paid:

                    (ii) Adjust the total determined in             (1) The salvage value that remains of any
                         paragraph (i) above for any                    property bought for temporary use
                         normal fluctuations in the                     during the Period of Restoration, once
                         value of accounts receivable                   business operations are resumed; and
                         for the month in which the                 (2) Any Extra Expense that is paid for by
                         direct physical loss or physical               other insurance.
                         damage occurred for any            6. Recovered Property
                         demonstrated variance from
                                                               If either you or we recover any property after
                         the average of that month.
                                                               loss settlement, that party must give the other
                (b) The following will be deducted             prompt notice. At your option, you may retain
                    from the total value of accounts           the property. But then you must return to us the
                    receivable, however that value is          amount we paid to you for the property. We will
                    established:                               pay recovery expenses and the expenses to
                    (i) The value of the accounts for          repair the recovered property, subject to the
                        which there is no physical loss        Limits of Insurance.
                        or physical damage;                 7. Resumption of Operations
                    (ii) The value of the accounts that        In the event of physical loss or physical
                         you are able to re-establish or       damage at the "scheduled premises" you must
                         collect;                              resume all or part of your "operations" as
                    (ii) A value to allow for probable         quickly as possible.
                         bad debts that you are                We will reduce the amount of your:
                         normally unable to collect; and
                                                               a. Business Income loss, other than Extra
                    (iv) All unearned interest       and          Expense, to the extent you can resume
                         services charged.                        your "operations", in whole or in part, by
       e. Our payment for physical loss of or                     using damaged or undamaged property
                                                                  (including merchandise or stock) at the
          physical damage to personal property of
                                                                  "scheduled premises" or elsewhere.
          others will only be for the account of the
          owners of the property. We may adjust                b. Extra Expense loss to the extent you can
          losses with the owners of physically lost or            return "operations" to normal and
          physically damaged property if other than               discontinue such Extra Expense.
          you. If we pay the owners, such payment           8. Vacancy
          will satisfy your claims against us for the          a. Description of Terms
          owners' property.                                         (1) As used in this Vacancy Condition, the
           We will not pay the owners more than their                   term building and the term vacant have
           financial interest in the Covered Property.                  the meanings set forth in Paragraphs.




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          (a) and (b) below:                             F. PROPERTY GENERAL CONDITIONS
               (a) When this policy is issued to a         1. Control of Property
                   tenant, and with respect to that           Any act or neglect of any person other than
                   tenant’s interest in Covered               you beyond your direction or control will not
                   Property, building means the unit          affect this insurance.
                   or suite rented or leased to the
                                                              The breach of any condition of this Coverage
                   tenant. Such building is vacant
                                                              Form at one or more locations will not affect
                   when it does not contain enough            coverage at any location where, at the time of
                   business personal property to              physical loss or physical damage, the breach
                   conduct customary operations.              of condition does not exist.
              (b) When this policy is issued to the        2. Mortgage Holders
                  owner or general lessee of a
                                                              a. The term mortgage holder includes trustee.
                  building, building means the entire
                  building. Such building is vacant           b. We will pay for covered physical loss of or
                  unless at least 31% of its total               physical damage to buildings or structures
                  square footage is:                             to each mortgage holder shown in the
                                                                 Declarations in their order of precedence,
                  (i) Rented to a lessee or sub-
                                                                 as interests may appear.
                      lessee and used by the lessee
                      or sub-lessee to conduct its            c. The mortgage holder has the right to
                      customary operations; and/or               receive loss payment even if the mortgage
                                                                 holder has started foreclosure or similar
                  (ii) Used by the building owner to
                                                                 action on the building or structure.
                       conduct customary operations.
                                                              d. If we deny your claim because of your acts
       (2) Buildings under construction or renovation
                                                                 or because you have failed to comply with
           are not considered vacant.
                                                                 the terms of this policy, the mortgage
       b. Vacancy Provisions                                     holder will still have the right to receive
         If the building where physical loss or                  loss payment if the mortgage holder:
         physical damage occurs has been vacant                   (1) Pays any premium due under this
         for more than 60 consecutive days before                      policy at our request if you have failed
         that physical loss or physical damage                         to do so;
         occurs:                                                  (2) Submits a signed, sworn statement of
          (1) We will not pay for any physical loss or                 loss within 60 days after receiving notice
              physical damage caused by any of the                     from us of your failure to do so; and
              following even if they are Covered                  (3) Has notified us of any change in
              Causes of Loss:                                          ownership, occupancy or substantial
              (a) Vandalism;                                           change in risk known to the mortgage
                                                                       holder.
              (b) Sprinkler leakage, unless you had               All of the terms of this policy will then apply
                  protected the system against                    directly to the mortgage holder.
                  freezing;
                                                              e. If we pay the mortgage holder for any
              (c) Building glass breakage;                       physical loss or physical damage and deny
              (d) Water damage;                                  payment to you because of your acts or
                                                                 because you have failed to comply with the
              (e) Theft; or
                                                                 terms of this policy:
              (f) Attempted theft.                               (1) The mortgage holder's rights under the
          (2) With respect to Covered Causes of                      mortgage will be transferred to us to
              Loss other than those listed in b.(1)(a)               the extent of the amount we pay; and
              through b.(1)(f) above, we will reduce             (2) The mortgage holder's rights to recover
              the amount we would otherwise pay for                  the full amount of the mortgage holder's
              the physical loss or physical damage                   claim will not be impaired.
              by 15%.
                                                                  At our option, we may pay to the mortgage
                                                                  holder the whole principal on the mortgage
                                                                  plus any accrued interest. In this event,
                                                                  your mortgage and note will be transferred
                                                                  to us and you will pay your remaining
                                                                  mortgage debt to us.
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       f.   If we cancel this policy, we will give written    2. "Computer Equipment" means "computers",
            notice to the mortgage holder at least:              "peripheral devices", "media", and manuals
            (1) 10 days before the effective date of             that are purchased to be used in conjunction
                cancellation if we cancel for your non           with hardware and "software".
                payment of premium; or                        3. "Counterfeit" means an imitation of an actual
            (2) 30 days before the effective date of             valid original which is intended to deceive and
                cancellation if we cancel for any other          to be taken as the original.
                reason.                                       4. "Data" means information or facts stored in a
       g. If we elect not to renew this policy, we will          "computer’s" memory, on "software" or on
          give written notice to the mortgage holder             "media".
          at least 10 days before the expiration date         5. "Finished Stock" means stock you have
          of this policy.                                        manufactured.
   3. No Benefit to Bailee                                       "Finished Stock" does not include stock you
       No person or organization, other than you,                have manufactured that is held for sale on the
       having custody of Covered Property will benefit           premises of any retail outlet insured under this
       from this insurance.                                      policy.
   4. Policy Period, Coverage Territory                       6. "Manager" means a person serving in a
                                                                 directorial capacity for a limited liability
       Under this form:                                          company.
       a. We cover physical loss             or   physical    7. "Media" means the material used solely with
          damage commencing:                                     the "computer" or "peripheral device" upon
            (1) During the policy period shown in the            which "software" or "data" is stored, such as
                Declarations; and                                tapes, CD-ROMs or disks.
            (2) Within the coverage territory or, with        8. "Member" means an owner of a limited liability
                respect to property in transit, while it is      company represented by its membership
                between points in the coverage                   interest, who also may serve as a "manager".
                territory.                                    9. “Messenger” means you, any any of your
            But we do not cover physical loss or                 partners or any employee while having care
            physical damage that is also covered by a            and custody of the property outside your
            preceding policy.                                    premises.
       b. The coverage territory is:                          10. "Money" means:
            (1) The United States of America (including          a. Currency, coins and bank notes whether or
                its territories and possessions);                   not in current use; and
            (2) Puerto Rico; and                                 b. Travelers checks, registered checks and
            (3) Canada.                                             money orders held for sale to the public.
   5. Additional Conditions                                   11. "Operations" means your business activities
                                                                  occurring at the "scheduled premises" and
       The following conditions apply to paragraph
                                                                  tenantability of the "scheduled premises".
       A.5.u., Forgery Additional Coverage:
                                                              12. "Period of Restoration" means the period of
       a. We will treat mechanically reproduced
                                                                  time that:
          facsimile signatures the same as
          handwritten signatures.                                a. Begins with the date of direct physical loss
                                                                    or physical damage caused by or resulting
       b. You must include with your proof of loss
                                                                    from a Covered Cause of Loss at the
          any instrument involved in that loss, or, if
                                                                    "scheduled premises", and
          that is not possible, an affidavit setting
          forth the amount and cause of loss.                    b. Ends on the date when:
       c. The Coverage Territory is revised to cover                 (1) The property at the "scheduled
          loss you sustain anywhere in the world.                        premises" should be repaired, rebuilt
                                                                         or replaced with reasonable speed and
G. PROPERTY DEFINITIONS
                                                                         similar quality;
   1. "Computer" means a programmable electronic
                                                                     (2) The date when your business is
      device that can store, retrieve and process
                                                                         resumed at a new, permanent location.
      "data".

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           "Period of Restoration" does not include         19. "Specified Cause of Loss" means the following:
           any increased period required due to                 Fire; lightning; explosion, windstorm or hail;
           enforcement of any law that:                         smoke; aircraft or vehicles; riot or civil
       a. Regulates the construction, use or repair,            commotion; vandalism; leakage from fire
          or required the tearing down of any                   extinguishing equipment; sinkhole collapse;
          property; or                                          volcanic action; falling objects; weight of snow,
       b. Regulates the prevention, control, repair,            ice or sleet; water damage.
          clean up or restoration of environmental              a. Sinkhole collapse means the sudden
          damage.                                                  sinking or collapse of land into
       The expiration date of this policy will not cut             underground empty spaces created by the
       short the "period of restoration".                          action of water on limestone or dolomite. It
                                                                   does not include the cost of filling
   13. "Peripheral Device" means any physical unit                 sinkholes.
       used to operate the "computer’ that cannot be
       used for purposes other than as part of the              b. Falling objects does not include loss of or
       computer’s system, such as tape or disk                     damage to:
       drives, printers, or modems.                                 (1) Personal property in the open; or
   14. "Perishable Stock" means personal property:                  (2) The interior of a building or structure,
       a. Maintained under controlled conditions for                    or property inside a building or
          its preservation; and                                         structure, unless the roof or an outside
                                                                        wall of the building or structure is first
       b. Susceptible to physical loss or physical                      damaged by a falling object.
          damage if the controlled conditions
          change.                                               c. Water      damage       means      accidental
                                                                   discharge or leakage of water or steam as
   15. "Pollutants and Contaminants" means any                     the direct result of the breaking or cracking
       solid, liquid, gaseous or thermal irritant or               of any part of a system or appliance
       contaminant, including smoke, vapors, soot,                 containing water or steam.
       fumes, acids, alkalis, chemicals and waste, or
       any other material which causes or threatens         20. "Suit" means a civil proceeding and includes:
       to cause physical loss, physical damage,                 a. An arbitration proceeding in which
       impurity to property, unwholesomeness,                      damages are claimed and to which you
       undesirability, loss of marketability, loss of use          must submit or do submit with our consent;
       of property, or which threatens human health                or
       or welfare. Waste includes materials to be               b. Any other alternative dispute resolution
       recycled, reconditioned or reclaimed.                       proceeding in which damages are claimed
   16. "Scheduled Premises" means any premises                     and to which you submit with our consent.
       listed by location address in the Scheduled          21. “Tenant Improvements and Betterments”
       Premises section of the Declarations.                    means fixtures, alterations, installations or
   17. "Securities"    means      negotiable     and            additions made a part of the Building you
       nonnegotiable    instruments   or    contracts           occupy but do not own and that you cannot
       representing either "money" or other property            legally remove; and
       and includes:                                            a. Which are made at your expense; or
       a. Tokens, tickets except Lottery Tickets,               b. That you acquired from the prior tenant at
          revenue and other non-postage stamps                     your expense.
          whether or not in current use; and
                                                            22. “Theft” means the act of stealing.
       b. Evidences of debt issued in connection
                                                            23. "Valuable papers and records" means
          with credit or charge cards, which are not
          of your own issue;                                    inscribed, printed or written documents,
                                                                manuscripts or records, including abstracts,
       but does not include "money."                            books, deeds, drawings, films, maps or
   18. "Software" means instructions or programs that           mortgages.
       are stored on "media" and which instruct the             But "valuable papers and records" does not
       hardware as to how to process "data".                    mean "money" and "securities", "data" and
                                                                "software" or the materials on which the "data"
                                                                and "software" is recorded.

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QUICK REFERENCE
BUSINESS LIABILITY COVERAGE FORM
READ YOUR POLICY CAREFULLY


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                    BUSINESS LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what
is and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The words
"we", "us" and "our" refer to the stock insurance company member of The Hartford providing this insurance.
The word "insured" means any person or organization qualifying as such under Section C. - Who Is An Insured.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section G. - Liability And
Medical Expenses Definitions.


A. COVERAGES                                                                    (a) The "bodily injury" or "property
                                                                                    damage"     is caused by an
    1. BUSINESS LIABILITY COVERAGE (BODILY
                                                                                    "occurrence" that takes place in the
       INJURY, PROPERTY DAMAGE, PERSONAL
                                                                                    "coverage territory";
       AND ADVERTISING INJURY)
                                                                               (b) The "bodily injury" or "property
        Insuring Agreement
                                                                                   damage" occurs during the policy
        a. We will pay those sums that the insured                                 period; and
           becomes legally obligated to pay as                                 (c) Prior to the policy period, no insured
           damages because of "bodily injury",                                     listed under Paragraph 1. of Section
           "property damage" or "personal and                                      C. – Who Is An Insured and no
           advertising injury" to which this insurance                             "employee" authorized by you to give
           applies. We will have the right and duty to                             or receive notice of an "occurrence"
           defend the insured against any "suit"                                   or claim, knew that the "bodily injury"
           seeking those damages. However, we will                                 or "property damage" had occurred,
           have no duty to defend the insured against                              in whole or in part. If such a listed
           any "suit" seeking damages for "bodily                                  insured or authorized "employee"
           injury", "property damage" or "personal and                             knew, prior to the policy period, that
           advertising injury" to which this insurance                             the "bodily injury" or "property
           does not apply.                                                         damage"      occurred,     then    any
            We may, at our discretion, investigate any                             continuation, change or resumption
            "occurrence" or offense and settle any claim                           of such "bodily injury" or "property
            or "suit" that may result. But:                                        damage" during or after the policy
           (1) The amount we will pay for damages is                               period will be deemed to have been
                limited as described in Section D. -                               known prior to the policy period.
                Liability And Medical Expenses Limits                     (2) To "personal and advertising injury"
                Of Insurance; and                                              caused by an offense arising out of your
           (2) Our right and duty to defend ends when                          business, but only if the offense was
                we have used up the applicable limit of                        committed in the "coverage territory"
                insurance in the payment of judgments,                         during the policy period.
                settlements or medical expenses to which               c. "Bodily injury" or "property damage" will be
                this insurance applies.                                    deemed to have been known to have
            No other obligation or liability to pay sums or                occurred at the earliest time when any
            perform acts or services is covered unless                     insured listed under Paragraph 1. of Section
            explicitly provided for under Coverage                         C. – Who Is An Insured or any "employee"
            Extension - Supplementary Payments.                            authorized by you to give or receive notice
                                                                           of an "occurrence" or claim:
        b. This insurance applies:
                                                                           (1) Reports all, or any part, of the "bodily
           (1) To "bodily injury"         and    "property
                                                                               injury" or "property damage" to us or
               damage" only if:
                                                                               any other insurer;



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          (2) Receives a written or verbal demand or         b. We will make these payments regardless of
              claim for damages because of the "bodily          fault. These payments will not exceed the
              injury" or "property damage"; or                  applicable limit of insurance. We will pay
          (3) Becomes aware by any other means that             reasonable expenses for:
              "bodily injury" or "property damage" has          (1) First aid administered at the time of an
              occurred or has begun to occur.                       accident;
       d. Damages because of "bodily injury" include            (2) Necessary medical, surgical, x-ray and
          damages claimed by any person or                          dental services, including prosthetic
          organization for care, loss of services or                devices; and
          death resulting at any time from the "bodily          (3) Necessary        ambulance,  hospital,
          injury".                                                  professional     nursing and funeral
       e. Incidental Medical Malpractice                            services.
          (1) "Bodily injury" arising out of the           3. COVERAGE EXTENSION -
              rendering of or failure to render               SUPPLEMENTARY PAYMENTS
              professional health care services as a         a. We will pay, with respect to any claim or
              physician, dentist, nurse, emergency              "suit" we investigate or settle, or any "suit"
              medical technician or paramedic shall             against an insured we defend:
              be deemed to be caused by an
              "occurrence", but only if:                        (1) All expenses we incur.
               (a) The physician, dentist, nurse,               (2) Up to $1,000 for the cost of bail bonds
                   emergency medical technician or                  required because of accidents or traffic
                   paramedic is employed by you to                  law violations arising out of the use of
                   provide such services; and                       any vehicle to which Business Liability
                                                                    Coverage for "bodily injury" applies. We
               (b) You are not engaged in the
                                                                    do not have to furnish these bonds.
                   business or occupation of providing
                   such services.                               (3) The cost of appeal bonds or bonds to
                                                                    release attachments, but only for bond
          (2) For the purpose of determining the
                                                                    amounts within the applicable limit of
              limits of insurance for incidental medical            insurance. We do not have to furnish
              malpractice, any act or omission                      these bonds.
              together with all related acts or
              omissions in the furnishing of these              (4) All reasonable expenses incurred by the
              services to any one person will be                    insured at our request to assist us in the
              considered one "occurrence".                          investigation or defense of the claim or
                                                                    "suit", including actual loss of earnings
   2. MEDICAL EXPENSES
                                                                    up to $500 a day because of time off
       Insuring Agreement                                           from work.
       a. We will pay medical expenses as described             (5) All costs taxed against the insured in
          below for "bodily injury" caused by an                    the "suit".
          accident:                                             (6) Prejudgment interest awarded against
          (1) On premises you own or rent;                          the insured on that part of the judgment
          (2) On ways next to premises you own or                   we pay. If we make an offer to pay the
              rent; or                                              applicable limit of insurance, we will not
                                                                    pay any prejudgment interest based on
          (3) Because of your operations;
                                                                    that period of time after the offer.
          provided that:
                                                                (7) All interest on the full amount of any
          (1) The accident takes place in the                       judgment that accrues after entry of the
              "coverage territory" and during the                   judgment and before we have paid,
              policy period;                                        offered to pay, or deposited in court the
          (2) The expenses are incurred and reported                part of the judgment that is within the
              to us within three years of the date of               applicable limit of insurance.
              the accident; and                                  Any amounts paid under (1) through (7)
          (3) The injured person submits to                      above will not reduce the limits of insurance.
              examination, at our expense, by
              physicians of our choice as often as we
              reasonably require.


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       b. If we defend an insured against a "suit"                    So long as the above conditions are met,
          and an indemnitee of the insured is also                    attorneys' fees incurred by us in the
          named as a party to the "suit", we will                     defense of that indemnitee, necessary
          defend that indemnitee if all of the                        litigation expenses incurred by us and
          following conditions are met:                               necessary litigation expenses incurred
         (1) The "suit" against the indemnitee                        by the indemnitee at our request will be
             seeks damages for which the insured                      paid as Supplementary Payments.
             has assumed the liability of the                         Notwithstanding the provisions of
             indemnitee in a contract or agreement                    Paragraph 1.b.(b) of Section B. –
             that is an "insured contract";                           Exclusions, such payments will not be
         (2) This insurance applies to such liability                 deemed to be damages for "bodily
             assumed by the insured;                                  injury" and "property damage" and will
                                                                      not reduce the Limits of Insurance.
         (3) The obligation to defend, or the cost of
             the defense of, that indemnitee, has                 Our obligation to defend an insured's
             also been assumed by the insured in                  indemnitee and to pay for attorneys' fees
             the same "insured contract";                         and necessary litigation expenses as
                                                                  Supplementary Payments ends when:
         (4) The allegations in the "suit" and the
             information we know about the                       (1) We have used up the applicable limit
             "occurrence" are such that no conflict                  of insurance in the payment of
             appears to exist between the interests                  judgments or settlements; or
             of the insured and the interest of the              (2) The conditions set forth above, or the
             indemnitee;                                             terms of the agreement described in
         (5) The indemnitee and the insured ask                      Paragraph (6) above, are no longer met.
             us to conduct and control the defense       B. EXCLUSIONS
             of that indemnitee against such "suit"
                                                           1. Applicable To Business Liability Coverage
             and agree that we can assign the
             same counsel to defend the insured               This insurance does not apply to:
             and the indemnitee; and                          a. Expected Or Intended Injury
         (6) The indemnitee:                                     (1) "Bodily injury" or "property damage"
              (a) Agrees in writing to:                              expected or intended from the
                                                                     standpoint of the insured.       This
                  (i) Cooperate with us in the
                                                                     exclusion does not apply to "bodily
                      investigation, settlement or
                                                                     injury" or "property damage" resulting
                      defense of the "suit";
                                                                     from the use of reasonable force to
                  (ii) Immediately send us copies of                 protect persons or property; or
                       any      demands,    notices,
                                                                 (2) "Personal and advertising injury" arising
                       summonses or legal papers
                                                                     out of an offense committed by, at the
                       received in connection with
                                                                     direction of or with the consent or
                       the "suit";
                                                                     acquiescence of the insured with the
                  (iii) Notify any other insurer whose               expectation of inflicting "personal and
                        coverage is available to the                 advertising injury".
                        indemnitee; and
                                                              b. Contractual Liability
                  (iv) Cooperate with us with
                                                                 (1) "Bodily injury" or "property damage"; or
                       respect to coordinating other
                       applicable insurance available            (2) "Personal and advertising injury"
                       to the indemnitee; and                    for which the insured is obligated to pay
              (b) Provides     us     with     written           damages by reason of the assumption of
                  authorization to:                              liability in a contract or agreement.
                  (i) Obtain records and other                    This exclusion does not apply to liability
                      information related to the                  for damages because of:
                      "suit"; and                                     (a) "Bodily injury", "property damage" or
                  (ii) Conduct and control the                            "personal and advertising injury" that
                       defense of the indemnitee in                       the insured would have in the
                       such "suit".                                       absence of the contract or
                                                                          agreement; or


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               (b) "Bodily injury" or "property damage"               (b) Performing duties related to the
                   assumed in a contract or agreement                      conduct of the insured’s business, or
                   that is an "insured contract",                 (2) The spouse, child, parent, brother or
                   provided the "bodily injury" or                    sister of that "employee" as a
                   "property       damage"        occurs              consequence of (1) above.
                   subsequent to the execution of the
                                                                  This exclusion applies:
                   contract or agreement. Solely for
                   the purpose of liability assumed in            (1) Whether the insured may be liable as
                   an "insured contract", reasonable                  an employer or in any other capacity;
                   attorneys' fees and necessary                      and
                   litigation expenses incurred by or for         (2) To any obligation to share damages
                   a party other than an insured are                  with or repay someone else who must
                   deemed to be damages because of                    pay damages because of the injury.
                   "bodily injury" or "property damage"           This exclusion does not apply to liability
                   provided:                                      assumed by the insured under an "insured
                   (i) Liability to such party for, or for        contract".
                       the cost of, that party’s defense     f.   Pollution
                       has also been assumed in the
                       same "insured contract", and               (1) "Bodily injury", "property damage" or
                                                                      "personal and advertising injury"
                   (ii) Such attorneys' fees and                      arising out of the actual, alleged or
                        litigation expenses are for                   threatened       discharge,  dispersal,
                        defense of that party against a               seepage, migration, release or escape
                        civil or alternative dispute                  of "pollutants":
                        resolution proceeding in which
                        damages to which this                          (a) At or from any premises, site or
                        insurance applies are alleged.                     location which is or was at any
                                                                           time owned or occupied by, or
       c. Liquor Liability                                                 rented or loaned to any insured.
           "Bodily injury" or "property damage" for                        However, this subparagraph does
           which any insured may be held liable by                         not apply to:
           reason of:                                                      (i) "Bodily injury" if sustained within
          (1) Causing or contributing           to    the                      a building and caused by
              intoxication of any person;                                      smoke, fumes, vapor or soot
          (2) The furnishing of alcoholic beverages to                         produced by or originating from
              a person under the legal drinking age or                         equipment that is used to heat,
              under the influence of alcohol; or                               cool or dehumidify the building,
                                                                               or equipment that is used to
          (3) Any statute, ordinance or regulation
                                                                               heat water for personal use, by
              relating to the sale, gift, distribution or
                                                                               the building's occupants or their
              use of alcoholic beverages.
                                                                               guests;
          This exclusion applies only if you are in the                    (ii) "Bodily injury" or "property
          business of manufacturing, distributing,
                                                                                damage" for which you may be
          selling, serving or furnishing alcoholic
                                                                                held liable, if you are a
          beverages.
                                                                                contractor and the owner or
       d. Workers' Compensation And Similar                                     lessee of such premises, site or
          Laws                                                                  location has been added to your
          Any obligation of the insured under a                                 policy as an additional insured
          workers' compensation, disability benefits                            with respect to your ongoing
          or unemployment compensation law or                                   operations performed for that
          any similar law.                                                      additional insured at that
       e. Employer’s Liability                                                  premises, site or location and
          "Bodily injury" to:                                                   such premises, site or location
                                                                                is not and never was owned or
          (1) An "employee" of the insured arising
                                                                                occupied by, or rented or
              out of and in the course of:
                                                                                loaned to, any insured, other
               (a) Employment by the insured; or                                than that additional insured; or



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                  (iii) "Bodily injury" or "property                    released as part of the
                        damage" arising out of heat,                    operations being performed
                        smoke or fumes from a                           by such insured, contractor or
                        "hostile fire";                                 subcontractor;
              (b) At or from any premises, site or                 (ii) "Bodily injury" or "property
                  location which is or was at any                       damage" sustained within a
                  time used by or for any insured or                    building and caused by the
                  others for the handling, storage,                     release of gases, fumes or
                  disposal, processing or treatment                     vapors from materials brought
                  of waste;                                             into that building in connection
              (c) Which are or were at any time                         with operations being performed
                  transported,    handled,    stored,                   by you or on your behalf by a
                  treated, disposed of, or processed                    contractor or subcontractor; or
                  as waste by or for:                              (iii) "Bodily injury" or "property
                  (i) Any insured; or                                    damage" arising out of heat,
                                                                         smoke or fumes from a
                  (ii) Any person or organization for                    "hostile fire"; or
                       whom you may be legally
                       responsible;                            (e) At or from any premises, site or
                                                                   location on which any insured or any
              (d) At or from any premises, site or                 contractors       or    subcontractors
                  location on which any insured or                 working directly or indirectly on any
                  any contractors or subcontractors                insured’s behalf are performing
                  working directly or indirectly on                operations if the operations are to
                  any     insured's    behalf    are               test for, monitor, clean up, remove,
                  performing operations if the                     contain, treat, detoxify or neutralize,
                  "pollutants" are brought on or to                or in any way respond to, or assess
                  the premises, site or location in                the effects of, "pollutants".
                  connection with such operations
                  by such insured, contractor or           (2) Any loss, cost or expense arising out
                  subcontractor.     However, this             of any:
                  subparagraph does not apply to:              (a) Request, demand, order or statutory
                  (i) "Bodily injury" or "property                 or regulatory requirement that any
                      damage" arising out of the                   insured or others test for, monitor,
                      escape of fuels, lubricants or               clean up, remove, contain, treat,
                      other operating fluids which are             detoxify or neutralize, or in any way
                      needed to perform the normal                 respond to, or assess the effects of,
                      electrical,      hydraulic      or           "pollutants"; or
                      mechanical              functions        (b) Claim or suit by or on behalf of a
                      necessary for the operation of               governmental        authority    for
                      "mobile equipment" or its parts,             damages because of testing for,
                      if such fuels, lubricants or other           monitoring, cleaning up, removing,
                      operating fluids escape from a               containing, treating, detoxifying or
                      vehicle part designed to hold,               neutralizing, or in any way
                      store or receive them. This                  responding to, or assessing the
                      exception does not apply if the              effects of, "pollutants".
                      "bodily injury" or "property             However, this paragraph does not
                      damage" arises out of the                apply to liability for damages because
                      intentional discharge, dispersal         of "property damage" that the insured
                      or release of the fuels,                 would have in the absence of such
                      lubricants or other operating            request, demand, order or statutory or
                      fluids, or if such fuels,                regulatory requirement, or such claim
                      lubricants or other operating            or "suit" by or on behalf of a
                      fluids are brought on or to the          governmental authority.
                      premises, site or location with
                      the intent that they be
                      discharged,       dispersed     or



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       g. Aircraft, Auto Or Watercraft                          (2) The use of "mobile equipment" in, or
           "Bodily injury" or "property damage" arising             while in practice or preparation for, a
           out of the ownership, maintenance, use or                prearranged     racing,   speed      or
           entrustment to others of any aircraft, "auto"            demolition contest or in any stunting
           or watercraft owned or operated by or rented             activity.
           or loaned to any insured. Use includes          i.   War
           operation and "loading or unloading".                "Bodily injury", "property damage" or
           This exclusion applies even if the claims            "personal and advertising injury", however
           against any insured allege negligence or             caused, arising, directly or indirectly, out of:
           other wrongdoing in the supervision, hiring,         (1) War, including undeclared or civil war;
           employment, training or monitoring of others
           by that insured, if the "occurrence" which           (2) Warlike action by a military force,
           caused the "bodily injury" or "property                  including action in hindering or
           damage"      involved    the     ownership,              defending against an actual or
           maintenance, use or entrustment to others of             expected attack, by any government,
           any aircraft, "auto" or watercraft that is               sovereign or other authority using
           owned or operated by or rented or loaned to              military personnel or other agents; or
           any insured.                                         (3) Insurrection, rebellion, revolution,
          This exclusion does not apply to:                         usurped power, or action taken by
                                                                    governmental authority in hindering or
          (1) A watercraft while ashore on premises                 defending against any of these.
              you own or rent;
                                                           j.   Professional Services
          (2) A watercraft you do not own that is:
                                                                "Bodily injury", "property damage" or
               (a) Less than 51 feet long; and                  "personal and advertising injury" arising
               (b) Not being used to carry persons              out of the rendering of or failure to render
                   for a charge;                                any professional service. This includes
          (3) Parking an "auto" on, or on the ways              but is not limited to:
              next to, premises you own or rent,                (1) Legal, accounting         or    advertising
              provided the "auto" is not owned by or                services;
              rented or loaned to you or the insured;           (2) Preparing, approving, or failing to
          (4) Liability assumed under any "insured                  prepare or approve maps, shop
              contract"     for  the    ownership,                  drawings, opinions, reports, surveys,
              maintenance or use of aircraft or                     field orders, change orders, designs or
              watercraft;                                           drawings and specifications;
          (5) "Bodily injury" or "property damage"              (3) Supervisory, inspection, architectural
              arising out of the operation of any of                or engineering activities;
              the equipment listed in Paragraph f.(2)           (4) Medical, surgical, dental, x-ray or
              or f.(3) of the definition of "mobile                 nursing services treatment, advice or
              equipment"; or                                        instruction;
          (6) An aircraft that is not owned by any              (5) Any health or therapeutic service
              insured and is hired, chartered or loaned             treatment, advice or instruction;
              with a paid crew.         However, this
                                                                (6) Any service, treatment, advice or
              exception does not apply if the insured
                                                                    instruction for the purpose of
              has any other insurance for such "bodily
                                                                    appearance or skin enhancement, hair
              injury" or "property damage", whether
                                                                    removal or replacement or personal
              the other insurance is primary, excess,
                                                                    grooming;
              contingent or on any other basis.
                                                                (7) Optical or hearing aid services
       h. Mobile Equipment
                                                                    including the prescribing, preparation,
           "Bodily injury"   or   "property   damage"               fitting, demonstration or distribution of
           arising out of:                                          ophthalmic     lenses     and     similar
          (1) The transportation of "mobile equipment"              products or hearing aid devices;
              by an "auto" owned or operated by or
              rented or loaned to any insured; or




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         (8) Optometry or optometric services                 Paragraphs (1), (3) and (4) of this
             including but not limited to examination         exclusion do not apply to "property
             of the eyes and the prescribing,                 damage" (other than damage by fire) to
             preparation, fitting,demonstration or            premises, including the contents of such
             distribution of ophthalmic lenses and            premises, rented to you for a period of 7 or
             similar products;                                fewer consecutive days. A separate Limit
         (9) Any:                                             of Insurance applies to Damage To
                                                              Premises Rented To You as described in
              (a) Body piercing (not including ear            Section D. - Limits Of Insurance.
                  piercing);
                                                              Paragraph (2) of this exclusion does not
              (b) Tattooing, including but not limited        apply if the premises are "your work" and
                  to the insertion of pigments into or        were never occupied, rented or held for
                  under the skin; and                         rental by you.
              (c) Similar services;                           Paragraphs (3) and (4) of this exclusion do
         (10) Services in the practice of pharmacy;           not apply to the use of elevators.
              and                                             Paragraphs (3), (4), (5) and (6) of this
         (11) Computer consulting, design or                  exclusion do not apply to liability assumed
              programming services, including web             under a sidetrack agreement.
              site design.                                    Paragraphs (3) and (4) of this exclusion do
          Paragraphs (4) and (5) of this exclusion do         not apply to "property damage" to
          not apply to the Incidental Medical                 borrowed equipment while not being used
          Malpractice coverage afforded under                 to perform operations at a job site.
          Paragraph 1.e. in Section A. - Coverages.           Paragraph (6) of this exclusion does not
       k. Damage To Property                                  apply to "property damage" included in the
          "Property damage" to:                               "products-completed operations hazard".
         (1) Property you own, rent or occupy,           l.   Damage To Your Product
             including any costs or expenses                  "Property damage" to "your             product"
             incurred by you, or any other person,            arising out of it or any part of it.
             organization or entity, for repair,         m. Damage To Your Work
             replacement,           enhancement,
             restoration or maintenance of such               "Property damage" to "your work" arising
             property for any reason, including               out of it or any part of it and included in the
             prevention of injury to a person or              "products-completed operations hazard".
             damage to another's property;                    This exclusion does not apply if the
         (2) Premises you sell, give away or                  damaged work or the work out of which
             abandon, if the "property damage" arises         the damage arises was performed on your
             out of any part of those premises;               behalf by a subcontractor.
         (3) Property loaned to you;                     n. Damage To Impaired Property                   Or
                                                            Property Not Physically Injured
         (4) Personal property in the care, custody
             or control of the insured;                       "Property damage" to "impaired property"
                                                              or property that has not been physically
         (5) That particular part of real property on         injured, arising out of:
             which you or any contractors or
             subcontractors working directly or               (1) A defect, deficiency, inadequacy or
             indirectly on your behalf are performing             dangerous condition in "your product"
             operations, if the "property damage"                 or "your work"; or
             arises out of those operations; or               (2) A delay or failure by you or anyone
         (6) That particular part of any property                 acting on your behalf to perform a
             that must be restored, repaired or                   contract or agreement in accordance
             replaced because "your work" was                     with its terms.
             incorrectly performed on it.                     This exclusion does not apply to the loss
                                                              of use of other property arising out of
                                                              sudden and accidental physical injury to
                                                              "your product" or "your work" after it has
                                                              been put to its intended use.


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       o. Recall Of Products, Work Or Impaired                  (c) Title of any literary or artistic work;
          Property                                         (8) Arising out of an offense committed by
           Damages claimed for any loss, cost or               an insured whose business is:
           expense incurred by you or others for the           (a) Advertising,          broadcasting,
           loss of use, withdrawal, recall, inspection,            publishing or telecasting;
           repair, replacement, adjustment, removal             (b) Designing or determining content
           or disposal of:                                          of web sites for others; or
          (1) "Your product";                                   (c) An Internet search, access,
          (2) "Your work"; or                                       content or service provider.
          (3) "Impaired property";                              However, this exclusion does not
           if such product, work or property is                 apply to Paragraphs a., b. and c.
           withdrawn or recalled from the market or             under the definition of "personal and
           from use by any person or organization               advertising injury" in Section G. –
           because of a known or suspected defect,              Liability And Medical Expenses
           deficiency, inadequacy or dangerous                  Definitions.
           condition in it.                                     For the purposes of this exclusion,
       p. Personal And Advertising Injury                       placing an "advertisement" for or
           "Personal and advertising injury":                   linking to others on your web site, by
                                                                itself, is not considered the business
          (1) Arising out of oral, written or electronic
                                                                of        advertising,     broadcasting,
              publication of material, if done by or at
                                                                publishing or telecasting;
              the direction of the insured with
              knowledge of its falsity;                    (9) Arising out of an electronic chat room
                                                               or bulletin board the insured hosts,
          (2) Arising out of oral, written or electronic
                                                               owns, or over which the insured
              publication of material whose first
                                                               exercises control;
              publication took place before the
              beginning of the policy period;              (10) Arising out of the unauthorized use of
                                                                another's name or product in your e-mail
          (3) Arising out of a criminal act committed
                                                                address, domain name or metatags, or
              by or at the direction of the insured;
                                                                any other similar tactics to mislead
          (4) Arising out of any breach of contract,            another's potential customers;
              except an implied contract to use
                                                           (11) Arising out of the violation of a
              another’s "advertising idea" in your
                                                                person's right of privacy created by
              "advertisement";
                                                                any state or federal act.
          (5) Arising out of the failure of goods,
                                                                However, this exclusion does not
              products or services to conform with
                                                                apply to liability for damages that the
              any     statement   of   quality   or
                                                                insured would have in the absence of
              performance       made    in     your
                                                                such state or federal act;
              "advertisement";
                                                           (12) Arising out of:
          (6) Arising out of the wrong description of
              the price of goods, products or services;         (a) An "advertisement" for others on
                                                                    your web site;
          (7) Arising out of any violation of any
              intellectual property rights such as              (b) Placing a link to a web site of
              copyright, patent, trademark, trade                   others on your web site;
              name, trade secret, service mark or               (c) Content from a web site of others
              other designation of origin or                        displayed within a frame or border
              authenticity.                                         on your web site. Content includes
               However, this exclusion does not                     information, code, sounds, text,
               apply to infringement, in your                       graphics or images; or
               "advertisement", of                              (d) Computer code, software              or
               (a) Copyright;                                       programming used to enable:
               (b) Slogan, unless the slogan is also                (i) Your web site; or
                   a trademark, trade name, service                 (ii) The presentation or functionality
                   mark or other designation of origin                   of an "advertisement" or other
                   or authenticity; or                                   content on your web site;


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            (13) Arising out of a violation of any anti-               (a) May be awarded or incurred by
                 trust law;                                                reason of any claim or suit
            (14) Arising out of the fluctuation in price or                alleging actual or threatened injury
                 value of any stocks, bonds or other                       or damage of any nature or kind to
                 securities; or                                            persons or property which would
                                                                           not have occurred in whole or in
            (15) Arising out of discrimination or                          part but for the "asbestos hazard";
                 humiliation committed by or at the
                 direction of any "executive officer",                 (b) Arise out of any request, demand,
                 director, stockholder, partner or                         order or statutory or regulatory
                 member of the insured.                                    requirement that any insured or
                                                                           others test for, monitor, clean up,
       q. Electronic Data                                                  remove, encapsulate, contain,
            Damages arising out of the loss of, loss of                    treat, detoxify or neutralize or in
            use of, damage to, corruption of, inability                    any way respond to or assess the
            to access, or inability to manipulate                          effects of an "asbestos hazard"; or
            "electronic data".                                         (c) Arise out of any claim or suit for
       r.   Employment-Related Practices                                   damages because of testing for,
            "Bodily injury" or "personal and advertising                   monitoring, cleaning up, removing,
            injury" to:                                                    encapsulating, containing, treating,
                                                                           detoxifying or neutralizing or in any
            (1) A person arising out of any:
                                                                           way responding to or assessing the
                 (a) Refusal to employ that person;                        effects of an "asbestos hazard".
                 (b) Termination of       that   person's     t.   Violation Of Statutes That Govern E-
                     employment; or                                Mails, Fax, Phone Calls Or Other
                 (c) Employment-related         practices,         Methods Of Sending Material Or
                     policies, acts or omissions, such as          Information
                     coercion, demotion, evaluation,               "Bodily injury", "property        damage", or
                     reassignment,              discipline,        "personal and advertising       injury" arising
                     defamation, harassment, humiliation           directly or indirectly out of    any action or
                     or discrimination directed at that            omission that violates or        is alleged to
                     person; or                                    violate:
            (2) The spouse, child, parent, brother or              (1) The Telephone Consumer Protection
                sister   of   that person as           a               Act (TCPA), including any amendment
                consequence of "bodily injury" or                      of or addition to such law;
                "personal and advertising injury" to the
                                                                   (2) The CAN-SPAM Act of 2003, including
                person at whom any of the
                                                                       any amendment of or addition to such
                employment-related            practices
                                                                       law; or
                described in Paragraphs (a), (b), or (c)
                above is directed.                                 (3) Any statute, ordinance or regulation,
                                                                       other than the TCPA or CAN-SPAM Act
            This exclusion applies:
                                                                       of 2003, that prohibits or limits the
            (1) Whether the insured may be liable as                   sending, transmitting, communicating or
                an employer or in any other capacity;                  distribution of material or information.
                and
                                                              Damage To Premises Rented To You –
            (2) To any obligation to share damages            Exception For Damage By Fire, Lightning
                with or repay someone else who must           or Explosion
                pay damages because of the injury.
                                                              Exclusions c. through h. and k. through o. do
       s. Asbestos                                            not apply to damage by fire, lightning or
            (1) "Bodily injury", "property damage" or         explosion to premises rented to you or
                "personal and advertising injury"             temporarily occupied by you with permission of
                arising out of the "asbestos hazard".         the owner. A separate Limit of Insurance
            (2) Any damages, judgments, settlements,          applies to this coverage as described in
                loss, costs or expenses that:                 Section D. - Liability And Medical Expenses
                                                              Limits Of Insurance.




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   2. Applicable To Medical Expenses Coverage                    e. A trust, you are an insured. Your trustees
       We will not pay expenses for "bodily injury":                are also insureds, but only with respect to
                                                                    their duties as trustees.
       a. Any Insured
          To any insured, except "volunteer workers".        2. Each of the following is also an insured:
       b. Hired Person                                           a. Employees And Volunteer Workers
            To a person hired to do work for or on behalf            Your "volunteer workers" only while
            of any insured or a tenant of any insured.               performing duties related to the conduct of
                                                                     your business, or your "employees", other
       c. Injury On Normally Occupied Premises                       than either your "executive officers" (if you
            To a person injured on that part of                      are an organization other than a
            premises you own or rent that the person                 partnership, joint venture or limited liability
            normally occupies.                                       company) or your managers (if you are a
       d. Workers' Compensation And Similar                          limited liability company), but only for acts
          Laws                                                       within the scope of their employment by
                                                                     you or while performing duties related to
            To a person, whether or not an
                                                                     the conduct of your business.
            "employee" of any insured, if benefits for
            the "bodily injury" are payable or must be               However, none of these "employees" or
            provided under a workers' compensation                   "volunteer workers" are insureds for:
            or disability benefits law or a similar law.            (1) "Bodily injury" or        "personal    and
       e. Athletics Activities                                          advertising injury":
            To a person injured while practicing,                        (a) To you, to your partners or
            instructing or participating in any physical                     members (if you are a partnership
            exercises or games, sports or athletic                           or joint venture), to your members
            contests.                                                        (if you are a limited liability
                                                                             company), or to a co-"employee"
       f.   Products-Completed Operations Hazard
                                                                             while in the course of his or her
            Included with the "products-completed                            employment or performing duties
            operations hazard".                                              related to the conduct of your
       g. Business Liability Exclusions                                      business, or to your other
            Excluded under Business Liability Coverage.                      "volunteer      workers"      while
                                                                             performing duties related to the
C. WHO IS AN INSURED                                                         conduct of your business;
   1. If you are designated in the Declarations as:                      (b) To the spouse, child, parent,
       a. An individual, you and your spouse are                             brother or sister of that co-
          insureds, but only with respect to the                             "employee" or that "volunteer
          conduct of a business of which you are the                         worker" as a consequence of
          sole owner.                                                        Paragraph (1)(a) above;
       b. A partnership or joint venture, you are an                     (c) For which there is any obligation
          insured. Your members, your partners, and                          to share damages with or repay
          their spouses are also insureds, but only with                     someone else who must pay
          respect to the conduct of your business.                           damages because of the injury
                                                                             described in Paragraphs (1)(a) or
       c. A limited liability company, you are an
                                                                             (b) above; or
          insured. Your members are also insureds,
          but only with respect to the conduct of your                   (d) Arising out of his or her providing
          business. Your managers are insureds, but                          or failing to provide professional
          only with respect to their duties as your                          health care services.
          managers.                                                      If you are not in the business of
       d. An organization other than a partnership,                      providing professional health care
          joint venture or limited liability company, you                services, Paragraph (d) does not apply
          are an insured. Your "executive officers" and                  to any nurse, emergency medical
          directors are insureds, but only with respect                  technician or paramedic employed by
          to their duties as your officers or directors.                 you to provide such services.
          Your stockholders are also insureds, but only             (2) "Property damage" to property:
          with respect to their liability as stockholders.               (a) Owned, occupied or used by,


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               (b) Rented to, in the care, custody or           b. Coverage under this provision does not
                   control of, or over which physical              apply to:
                   control is being exercised for any              (1) "Bodily injury" or "property damage"
                   purpose by you, any of your                         that occurred; or
                   "employees", "volunteer workers",
                                                                   (2) "Personal and advertising injury"
                   any partner or member (if you are
                   a partnership or joint venture), or                 arising out of an offense committed
                   any member (if you are a limited                 before you acquired         or   formed    the
                   liability company).                              organization.
       b. Real Estate Manager                                4. Operator Of Mobile Equipment
           Any person (other than your "employee" or            With respect to "mobile equipment" registered in
           "volunteer worker"), or any organization             your name under any motor vehicle registration
           while acting as your real estate manager.            law, any person is an insured while driving such
       c. Temporary        Custodians        Of     Your        equipment along a public highway with your
          Property                                              permission. Any other person or organization
                                                                responsible for the conduct of such person is
           Any person or organization having proper             also an insured, but only with respect to liability
           temporary custody of your property if you            arising out of the operation of the equipment, and
           die, but only:                                       only if no other insurance of any kind is available
          (1) With respect to liability arising out of the      to that person or organization for this liability.
              maintenance or use of that property; and          However, no person or organization is an insured
          (2) Until your legal representative has               with respect to:
              been appointed.                                   a. "Bodily injury" to a co-"employee" of the
       d. Legal Representative If You Die                          person driving the equipment; or
           Your legal representative if you die, but            b. "Property damage" to property owned by,
           only with respect to duties as such. That               rented to, in the charge of or occupied by
           representative will have all your rights and            you or the employer of any person who is
           duties under this insurance.                            an insured under this provision.
       e. Unnamed Subsidiary                                 5. Operator of Nonowned Watercraft
           Any subsidiary and subsidiary thereof, of            With respect to watercraft you do not own that
           yours which is a legally incorporated entity         is less than 51 feet long and is not being used
           of which you own a financial interest of             to carry persons for a charge, any person is an
           more than 50% of the voting stock on the             insured while operating such watercraft with
           effective date of this Coverage Part.                your permission.         Any other person or
                                                                organization responsible for the conduct of
           The insurance afforded herein for any
                                                                such person is also an insured, but only with
           subsidiary not shown in the Declarations
                                                                respect to liability arising out of the operation
           as a named insured does not apply to
                                                                of the watercraft, and only if no other
           injury or damage with respect to which an
                                                                insurance of any kind is available to that
           insured under this insurance is also an
                                                                person or organization for this liability.
           insured under another policy or would be
           an insured under such policy but for its             However, no person or organization is an
           termination or upon the exhaustion of its            insured with respect to:
           limits of insurance.                                 a. "Bodily injury" to a co-"employee" of the
   3. Newly Acquired Or Formed Organization                        person operating the watercraft; or
       Any organization you newly acquire or form,              b. "Property damage" to property owned by,
       other than a partnership, joint venture or                  rented to, in the charge of or occupied by
       limited liability company, and over which you               you or the employer of any person who is
       maintain financial interest of more than 50% of             an insured under this provision.
       the voting stock, will qualify as a Named             6. Additional Insureds When Required By
       Insured if there is no other similar insurance           Written Contract, Written Agreement Or
       available to that organization. However:                 Permit
       a. Coverage under this provision is afforded             The person(s) or organization(s) identified in
          only until the 180th day after you acquire            Paragraphs a. through f. below are additional
          or form the organization or the end of the            insureds when you have agreed, in a written
          policy period, whichever is earlier; and


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       contract, written agreement or because of a                  (e) Any failure to make such
       permit issued by a state or political                            inspections, adjustments, tests or
       subdivision, that such person or organization                    servicing as the vendor has
       be added as an additional insured on your                        agreed to make or normally
       policy, provided the injury or damage occurs                     undertakes to make in the usual
       subsequent to the execution of the contract or                   course of business, in connection
       agreement, or the issuance of the permit.                        with the distribution or sale of the
       A person or organization is an additional                        products;
       insured under this provision only for that                   (f) Demonstration,           installation,
       period of time required by the contract,                         servicing or repair operations,
       agreement or permit.                                             except such operations performed
                                                                        at the vendor's premises in
       However, no such person or organization is an                    connection with the sale of the
       additional insured under this provision if such                  product;
       person or organization is included as an
       additional insured by an endorsement issued                  (g) Products which, after distribution
       by us and made a part of this Coverage Part,                     or sale by you, have been labeled
       including all persons or organizations added                     or relabeled or used as a
       as additional insureds under the specific                        container, part or ingredient of any
       additional insured coverage grants in Section                    other thing or substance by or for
       F. – Optional Additional Insured Coverages.                      the vendor; or
       a. Vendors                                                   (h) "Bodily    injury"   or  "property
                                                                        damage" arising out of the sole
           Any person(s) or organization(s) (referred to                negligence of the vendor for its
           below as vendor), but only with respect to                   own acts or omissions or those of
           "bodily injury" or "property damage" arising                 its employees or anyone else
           out of "your products" which are distributed                 acting on its behalf. However, this
           or sold in the regular course of the vendor's                exclusion does not apply to:
           business and only if this Coverage Part
           provides coverage for "bodily injury" or                     (i) The exceptions contained in
           "property damage" included within the                            Subparagraphs (d) or (f); or
           "products-completed operations hazard".                      (ii) Such inspections, adjustments,
          (1) The insurance afforded to the vendor                           tests or servicing as the vendor
              is subject to the following additional                         has agreed to make or normally
              exclusions:                                                    undertakes to make in the usual
                                                                             course      of    business,    in
                This insurance does not apply to:                            connection with the distribution
                (a) "Bodily      injury"   or    "property                   or sale of the products.
                    damage" for which the vendor is            (2) This insurance does not apply to any
                    obligated to pay damages by                    insured person or organization from
                    reason of the assumption of                    whom you have acquired such products,
                    liability in a contract or agreement.          or any ingredient, part or container,
                    This exclusion does not apply to               entering    into,   accompanying   or
                    liability for damages that the                 containing such products.
                    vendor would have in the absence
                    of the contract or agreement;            b. Lessors Of Equipment
                (b) Any       express           warranty       (1) Any person or organization from
                    unauthorized by you;                           whom you lease equipment; but only
                                                                   with respect to their liability for "bodily
                (c) Any physical or chemical change                injury",   "property      damage"       or
                    in the product made intentionally              "personal and advertising injury"
                    by the vendor;                                 caused, in whole or in part, by your
                (d) Repackaging,        except   when              maintenance, operation or use of
                    unpacked solely for the purpose of             equipment leased to you by such
                    inspection, demonstration, testing,            person or organization.
                    or the substitution of parts under
                    instructions from the manufacturer,
                    and then repackaged in the
                    original container;


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         (2) With respect to the insurance afforded       e. Permits Issued By State Or Political
             to these additional insureds, this              Subdivisions
             insurance does not apply to any                   (1) Any state or political subdivision, but
             "occurrence" which takes place after                  only with respect to operations
             you cease to lease that equipment.                    performed by you or on your behalf for
       c. Lessors Of Land Or Premises                              which the state or political subdivision
         (1) Any person or organization from                       has issued a permit.
             whom you lease land or premises, but              (2) With respect to the insurance afforded
             only with respect to liability arising out            to these additional insureds, this
             of the ownership, maintenance or use                  insurance does not apply to:
             of that part of the land or premises                   (a) "Bodily injury", "property damage"
             leased to you.                                             or "personal and advertising
         (2) With respect to the insurance afforded                     injury" arising out of operations
             to these additional insureds, this                         performed for the state or
             insurance does not apply to:                               municipality; or
              (a) Any "occurrence" which takes                      (b) "Bodily injury" or "property damage"
                  place after you cease to lease that                   included within the "products-
                  land or be a tenant in that                           completed operations hazard".
                  premises; or                            f.   Any Other Party
              (b) Structural    alterations,   new             (1) Any other person or organization who
                  construction     or     demolition               is not an insured under Paragraphs a.
                  operations performed by or on                    through e. above, but only with
                  behalf of such person or                         respect to liability for "bodily injury",
                  organization.                                    "property damage" or "personal and
       d. Architects, Engineers Or Surveyors                       advertising injury" caused, in whole or
         (1) Any architect, engineer, or surveyor, but             in part, by your acts or omissions or
             only with respect to liability for "bodily            the acts or omissions of those acting
             injury", "property damage" or "personal               on your behalf:
             and advertising injury" caused, in whole               (a) In the performance        of   your
             or in part, by your acts or omissions or                   ongoing operations;
             the acts or omissions of those acting on               (b) In connection with your premises
             your behalf:                                               owned by or rented to you; or
              (a) In connection with your premises;                 (c) In connection with "your work" and
                  or                                                    included within the "products-
              (b) In the performance of your                            completed operations hazard", but
                  ongoing operations performed by                       only if
                  you or on your behalf.                                (i) The written contract or written
         (2) With respect to the insurance afforded                         agreement requires you to
             to these additional insureds, the                              provide such coverage to
             following additional exclusion applies:                        such additional insured; and
              This insurance does not apply to                          (ii) This Coverage Part provides
              "bodily injury", "property damage" or                          coverage for "bodily injury" or
              "personal and advertising injury"                              "property damage" included
              arising out of the rendering of or the                         within     the      "products-
              failure to render any professional                             completed operations hazard".
              services by or for you, including:               (2) With respect to the insurance afforded
              (a) The preparing, approving, or                     to these additional insureds, this
                  failure to prepare or approve,                   insurance does not apply to:
                  maps, shop drawings, opinions,                    "Bodily injury", "property damage" or
                  reports, surveys, field orders,                   "personal and advertising injury"
                  change    orders,    designs    or                arising out of the rendering of, or the
                  drawings and specifications; or                   failure to render, any professional
              (b) Supervisory,             inspection,              architectural, engineering or surveying
                  architectural    or     engineering               services, including:
                  activities.

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                (a) The preparing, approving, or                 This General Aggregate limit does not
                    failure to prepare or approve,               apply to "property damage" to premises
                    maps, shop drawings, opinions,               while rented to you or temporarily
                    reports, surveys, field orders,              occupied by you with permission of the
                    change    orders,    designs    or           owner, arising out of fire, lightning or
                    drawings and specifications; or              explosion.
                (b) Supervisory,           inspection,    3. Each Occurrence Limit
                    architectural   or    engineering        Subject to 2.a. or 2.b above, whichever
                    activities.                              applies, the most we will pay for the sum of all
       The limits of insurance that apply to additional      damages because of all "bodily injury",
       insureds are described in Section D. – Limits         "property damage" and medical expenses
       Of Insurance.                                         arising out of any one "occurrence" is the
       How this insurance applies when other                 Liability and Medical Expenses Limit shown in
       insurance is available to an additional insured       the Declarations.
       is described in the Other Insurance Condition         The most we will pay for all medical expenses
       in Section E. – Liability And Medical Expenses        because of "bodily injury" sustained by any
       General Conditions.                                   one person is the Medical Expenses Limit
   No person or organization is an insured with              shown in the Declarations.
   respect to the conduct of any current or past          4. Personal And Advertising Injury Limit
   partnership, joint venture or limited liability           Subject to 2.b. above, the most we will pay for
   company that is not shown as a Named Insured in           the sum of all damages because of all
   the Declarations.                                         "personal and advertising injury" sustained by
D. LIABILITY AND MEDICAL EXPENSES                            any one person or organization is the Personal
   LIMITS OF INSURANCE                                       and Advertising Injury Limit shown in the
                                                             Declarations.
   1. The Most We Will Pay
                                                          5. Damage To Premises Rented To You Limit
       The Limits of Insurance shown in the
       Declarations and the rules below fix the most         The Damage To Premises Rented To You
       we will pay regardless of the number of:              Limit is the most we will pay under Business
                                                             Liability Coverage for damages because of
       a. Insureds;                                          "property damage" to any one premises, while
       b. Claims made or "suits" brought; or                 rented to you, or in the case of damage by fire,
       c. Persons or organizations making claims or          lightning or explosion, while rented to you or
          bringing "suits".                                  temporarily occupied by you with permission of
                                                             the owner.
   2. Aggregate Limits
                                                             In the case of damage by fire, lightning or
       The most we will pay for:
                                                             explosion, the Damage to Premises Rented To
       a. Damages because of "bodily injury" and             You Limit applies to all damage proximately
          "property damage" included in the                  caused by the same event, whether such
          "products-completed operations hazard" is          damage results from fire, lightning or explosion
          the    Products-Completed     Operations           or any combination of these.
          Aggregate     Limit   shown     in   the
                                                          6. How Limits Apply To Additional Insureds
          Declarations.
                                                             The most we will pay on behalf of a person or
       b. Damages because of all other "bodily
                                                             organization who is an additional insured
          injury", "property damage" or "personal
                                                             under this Coverage Part is the lesser of:
          and advertising injury", including medical
          expenses, is the General Aggregate Limit           a. The limits of insurance specified in a
          shown in the Declarations.                            written contract, written agreement or
                                                                permit issued by a state or political
           This General Aggregate Limit applies
                                                                subdivision; or
           separately to each of your "locations"
           owned by or rented to you.                        b. The Limits of Insurance shown in the
                                                                Declarations.
           "Location" means premises involving the
           same or connecting lots, or premises              Such amount shall be a part of and not in
           whose connection is interrupted only by a         addition to the Limits of Insurance shown in
           street, roadway or right-of-way of a              the Declarations and described in this Section.
           railroad.


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   If more than one limit of insurance under this                 (1) Immediately send us copies of any
   policy and any endorsements attached thereto                       demands, notices, summonses or
   applies to any claim or "suit", the most we will pay               legal papers received in connection
   under this policy and the endorsements is the                      with the claim or "suit";
   single highest limit of liability of all coverages           (2) Authorize us to obtain records and
   applicable to such claim or "suit". However, this                other information;
   paragraph does not apply to the Medical Expenses
                                                                (3) Cooperate with us in the investigation,
   limit set forth in Paragraph 3. above.
                                                                    settlement of the claim or defense
   The Limits of Insurance of this Coverage Part apply              against the "suit"; and
   separately to each consecutive annual period and to          (4) Assist us, upon our request, in the
   any remaining period of less than 12 months, starting            enforcement of any right against any
   with the beginning of the policy period shown in the             person or organization that may be
   Declarations, unless the policy period is extended               liable to the insured because of injury
   after issuance for an additional period of less than 12          or damage to which this insurance
   months. In that case, the additional period will be              may also apply.
   deemed part of the last preceding period for purposes
   of determining the Limits of Insurance.                   d. Obligations At The Insured's Own Cost
                                                                  No insured will, except at that insured's own
E. LIABILITY AND MEDICAL EXPENSES                                 cost, voluntarily make a payment, assume
   GENERAL CONDITIONS                                             any obligation, or incur any expense, other
   1. Bankruptcy                                                  than for first aid, without our consent.
       Bankruptcy or insolvency of the insured or of         e. Additional Insured's Other Insurance
       the insured's estate will not relieve us of our            If we cover a claim or "suit" under this
       obligations under this Coverage Part.                      Coverage Part that may also be covered
   2. Duties In The Event             Of   Occurrence,            by other insurance available to an
      Offense, Claim Or Suit                                      additional insured, such additional insured
       a. Notice Of Occurrence Or Offense                         must submit such claim or "suit" to the
                                                                  other insurer for defense and indemnity.
           You or any additional insured must see to
                                                                  However, this provision does not apply to
           it that we are notified as soon as
                                                                  the extent that you have agreed in a
           practicable of an "occurrence" or an
                                                                  written contract, written agreement or
           offense which may result in a claim. To
                                                                  permit that this insurance is primary and
           the extent possible, notice should include:
                                                                  non-contributory with the additional
          (1) How, when and where the "occurrence"                insured's own insurance.
              or offense took place;
                                                             f.   Knowledge Of An Occurrence, Offense,
          (2) The names and addresses of any                      Claim Or Suit
              injured persons and witnesses; and
                                                                  Paragraphs a. and b. apply to you or to
          (3) The nature and location of any injury               any additional insured only when such
              or damage arising out of the                        "occurrence", offense, claim or "suit" is
              "occurrence" or offense.                            known to:
       b. Notice Of Claim                                         (1) You or any additional insured that is
           If a claim is made or "suit" is brought                    an individual;
           against any insured, you or any additional             (2) Any partner, if you or an additional
           insured must:                                              insured is a partnership;
          (1) Immediately record the specifics of the             (3) Any manager, if you or an additional
              claim or "suit" and the date received;                  insured is a limited liability company;
              and
                                                                  (4) Any "executive officer" or insurance
          (2) Notify us as soon as practicable.                       manager, if you or an additional
           You or any additional insured must see to                  insured is a corporation;
           it that we receive a written notice of the             (5) Any trustee, if you or an additional
           claim or "suit" as soon as practicable.                    insured is a trust; or
       c. Assistance And Cooperation Of The                       (6) Any elected or appointed official, if you
          Insured                                                     or an additional insured is a political
           You and any other involved insured must:                   subdivision or public entity.


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           This Paragraph f. applies separately to               (3) We have issued this policy in reliance
           you and any additional insured.                           upon your representations.
   3. Financial Responsibility Laws                           b. Unintentional      Failure    To     Disclose
      a. When this policy is certified as proof of               Hazards
         financial responsibility for the future under           If unintentionally you should fail to disclose
         the provisions of any motor vehicle                     all hazards relating to the conduct of your
         financial responsibility law, the insurance             business at the inception date of this
         provided by the policy for "bodily injury"              Coverage Part, we shall not deny any
         liability and "property damage" liability will          coverage under this Coverage Part
         comply with the provisions of the law to                because of such failure.
         the extent of the coverage and limits of          7. Other Insurance
         insurance required by that law.
                                                              If other valid and collectible insurance is
      b. With respect to "mobile equipment" to                available for a loss we cover under this
         which this insurance applies, we will                Coverage Part, our obligations are limited as
         provide any liability, uninsured motorists,          follows:
         underinsured motorists, no-fault or other
         coverage required by any motor vehicle               a. Primary Insurance
         law. We will provide the required limits for            This insurance is primary except when b.
         those coverages.                                        below applies. If other insurance is also
   4. Legal Action Against Us                                    primary, we will share with all that other
                                                                 insurance by the method described in c.
       No person or organization has a right under
                                                                 below.
       this Coverage Form:
                                                              b. Excess Insurance
       a. To join us as a party or otherwise bring us
            into a "suit" asking for damages from an             This insurance is excess over any of the
            insured; or                                          other insurance, whether primary, excess,
       b. To sue us on this Coverage Form unless                 contingent or on any other basis:
            all of its terms have been fully complied            (1) Your Work
            with.                                                    That is Fire, Extended Coverage,
       A person or organization may sue us to recover                Builder's Risk, Installation Risk or
       on an agreed settlement or on a final judgment                similar coverage for "your work";
       against an insured; but we will not be liable for         (2) Premises Rented To You
       damages that are not payable under the terms of
                                                                     That is fire, lightning or explosion
       this insurance or that are in excess of the
                                                                     insurance for premises rented to you
       applicable limit of insurance.         An agreed
                                                                     or temporarily occupied by you with
       settlement means a settlement and release of
                                                                     permission of the owner;
       liability signed by us, the insured and the
       claimant or the claimant's legal representative.          (3) Tenant Liability
   5. Separation Of Insureds                                         That is insurance purchased by you to
                                                                     cover your liability as a tenant for
       Except with respect to the Limits of Insurance,
                                                                     "property damage" to premises rented
       and any rights or duties specifically assigned
                                                                     to you or temporarily occupied by you
       in this policy to the first Named Insured, this
                                                                     with permission of the owner;
       insurance applies:
                                                                 (4) Aircraft, Auto Or Watercraft
       a. As if each Named Insured were the only
          Named Insured; and                                         If the loss arises out of the maintenance
                                                                     or use of aircraft, "autos" or watercraft to
       b. Separately to each insured against whom
                                                                     the extent not subject to Exclusion g. of
          a claim is made or "suit" is brought.
                                                                     Section A. – Coverages.
   6. Representations
                                                                 (5) Property Damage To Borrowed
       a. When You Accept This Policy                                Equipment Or Use Of Elevators
           By accepting this policy, you agree:                      If the loss arises out of "property
          (1) The statements in the Declarations                     damage" to borrowed equipment or
              are accurate and complete;                             the use of elevators to the extent not
          (2) Those statements are based upon                        subject to Exclusion k. of Section A. –
              representations you made to us; and                    Coverages.


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         (6) When You Are Added As An                          When this insurance is excess over other
             Additional Insured To Other                       insurance, we will pay only our share of
             Insurance                                         the amount of the loss, if any, that
              That is other insurance available to             exceeds the sum of:
              you covering liability for damages              (1) The total amount that all such other
              arising out of the premises or                      insurance would pay for the loss in the
              operations, or products and completed               absence of this insurance; and
              operations, for which you have been             (2) The total of all deductible and self-
              added as an additional insured by that              insured amounts under all that other
              insurance; or                                       insurance.
         (7) When You Add Others As An                         We will share the remaining loss, if any, with
             Additional Insured To This                        any other insurance that is not described in
             Insurance                                         this Excess Insurance provision and was not
              That is other insurance available to an          bought specifically to apply in excess of the
              additional insured.                              Limits of Insurance shown in the
              However, the following provisions                Declarations of this Coverage Part.
              apply to other insurance available to         c. Method Of Sharing
              any person or organization who is an             If all the other insurance permits
              additional insured under this Coverage           contribution by equal shares, we will follow
              Part:                                            this method also. Under this approach,
              (a) Primary    Insurance         When            each insurer contributes equal amounts
                  Required By Contract                         until it has paid its applicable limit of
                  This insurance is primary if you             insurance or none of the loss remains,
                  have agreed in a written contract,           whichever comes first.
                  written agreement or permit that             If any of the other insurance does not permit
                  this insurance be primary. If other          contribution by equal shares, we will
                  insurance is also primary, we will           contribute by limits. Under this method, each
                  share with all that other insurance          insurer’s share is based on the ratio of its
                  by the method described in c.                applicable limit of insurance to the total
                  below.                                       applicable limits of insurance of all insurers.
              (b) Primary And Non-Contributory           8. Transfer Of Rights Of Recovery Against
                  To Other Insurance When                   Others To Us
                  Required By Contract                      a. Transfer Of Rights Of Recovery
                  If you have agreed in a written              If the insured has rights to recover all or
                  contract, written agreement or               part     of   any    payment,    including
                  permit that this insurance is                Supplementary Payments, we have made
                  primary and non-contributory with            under this Coverage Part, those rights are
                  the additional insured's own                 transferred to us. The insured must do
                  insurance, this insurance is                 nothing after loss to impair them. At our
                  primary and we will not seek                 request, the insured will bring "suit" or
                  contribution from that other                 transfer those rights to us and help us
                  insurance.                                   enforce them. This condition does not
              Paragraphs (a) and (b) do not apply to           apply to Medical Expenses Coverage.
              other insurance to which the additional       b. Waiver Of Rights Of Recovery (Waiver
              insured has been added as an                     Of Subrogation)
              additional insured.
                                                               If the insured has waived any rights of
          When this insurance is excess, we will               recovery      against    any     person  or
          have no duty under this Coverage Part to             organization for all or part of any payment,
          defend the insured against any "suit" if any         including Supplementary Payments, we
          other insurer has a duty to defend the               have made under this Coverage Part, we
          insured against that "suit". If no other             also waive that right, provided the insured
          insurer defends, we will undertake to do             waived their rights of recovery against
          so, but we will be entitled to the insured's         such person or organization in a contract,
          rights against all those other insurers.             agreement or permit that was executed
                                                               prior to the injury or damage.

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F. OPTIONAL ADDITIONAL                     INSURED         3. Additional Insured - Grantor Of Franchise
   COVERAGES                                                  WHO IS AN INSURED under Section C. is
   If listed or shown as applicable in the Declarations,      amended to include as an additional insured
   one or more of the following Optional Additional           the person(s) or organization(s) shown in the
   Insured Coverages also apply. When any of these            Declarations as an Additional Insured -
   Optional Additional Insured Coverages apply,               Grantor Of Franchise, but only with respect to
   Paragraph 6. (Additional Insureds When Required            their liability as grantor of franchise to you.
   by Written Contract, Written Agreement or Permit)       4. Additional Insured - Lessor Of Leased
   of Section C., Who Is An Insured, does not apply           Equipment
   to the person or organization shown in the                 a. WHO IS AN INSURED under Section C. is
   Declarations. These coverages are subject to the              amended to include as an additional
   terms and conditions applicable to Business                   insured the person(s) or organization(s)
   Liability Coverage in this policy, except as                  shown in the Declarations as an Additional
   provided below:                                               Insured – Lessor of Leased Equipment,
   1. Additional Insured - Designated Person Or                  but only with respect to liability for "bodily
      Organization                                               injury", "property damage" or "personal
       WHO IS AN INSURED under Section C. is                     and advertising injury" caused, in whole or
       amended to include as an additional insured               in part, by your maintenance, operation or
       the person(s) or organization(s) shown in the             use of equipment leased to you by such
       Declarations, but only with respect to liability          person(s) or organization(s).
       for "bodily injury", "property damage" or              b. With respect to the insurance afforded to
       "personal and advertising injury" caused, in              these additional insureds, this insurance
       whole or in part, by your acts or omissions or            does not apply to any "occurrence" which
       the acts or omissions of those acting on your             takes place after you cease to lease that
       behalf:                                                   equipment.
       a. In the performance of your ongoing               5. Additional Insured - Owners Or Other
          operations; or                                      Interests From Whom Land Has Been
       b. In connection with your premises owned              Leased
          by or rented to you.                                a. WHO IS AN INSURED under Section C. is
   2. Additional Insured - Managers Or Lessors                   amended to include as an additional
      Of Premises                                                insured the person(s) or organization(s)
                                                                 shown in the Declarations as an Additional
       a. WHO IS AN INSURED under Section C. is                  Insured – Owners Or Other Interests From
          amended to include as an additional insured            Whom Land Has Been Leased, but only
          the person(s) or organization(s) shown in the          with respect to liability arising out of the
          Declarations as an Additional Insured -                ownership, maintenance or use of that part
          Designated Person Or Organization; but only            of the land leased to you and shown in the
          with respect to liability arising out of the           Declarations.
          ownership, maintenance or use of that part of
                                                              b. With respect to the insurance afforded to
          the premises leased to you and shown in the
          Declarations.                                          these additional insureds, the following
                                                                 additional exclusions apply:
       b. With respect to the insurance afforded to
          these additional insureds, the following                This insurance does not apply to:
          additional exclusions apply:                           (1) Any "occurrence" that takes place
           This insurance does not apply to:                         after you cease to lease that land; or

          (1) Any "occurrence" which takes place                 (2) Structural      alterations,     new
              after you cease to be a tenant in that                 construction or demolition operations
              premises; or                                           performed by or on behalf of such
                                                                     person or organization.
          (2) Structural      alterations,     new
                                                           6. Additional Insured - State Or Political
              construction or demolition operations
                                                              Subdivision – Permits
              performed by or on behalf of such
              person or organization.                         a. WHO IS AN INSURED under Section C. is
                                                                 amended to include as an additional
                                                                 insured the state or political subdivision
                                                                 shown in the Declarations as an Additional


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           Insured – State Or Political Subdivision -                  (e) Any failure to make such
           Permits, but only with respect to                               inspections, adjustments, tests or
           operations performed by you or on your                          servicing as the vendor has agreed
           behalf for which the state or political                         to make or normally undertakes to
           subdivision has issued a permit.                                make in the usual course of
       b. With respect to the insurance afforded to                        business, in connection with the
          these additional insureds, the following                         distribution or sale of the products;
          additional exclusions apply:                                 (f) Demonstration,             installation,
           This insurance does not apply to:                               servicing or repair operations,
                                                                           except such operations performed
          (1) "Bodily injury", "property damage" or                        at the vendor's premises in
              "personal and advertising injury"                            connection with the sale of the
              arising out of operations performed for                      product;
              the state or municipality; or
                                                                       (g) Products which, after distribution
          (2) "Bodily injury" or "property damage"                         or sale by you, have been labeled
              included in the "product-completed                           or relabeled or used as a
              operations" hazard.                                          container, part or ingredient of any
   7. Additional Insured – Vendors                                         other thing or substance by or for
       a. WHO IS AN INSURED under Section C. is                            the vendor; or
          amended to include as an additional                          (h) "Bodily    injury"   or  "property
          insured the person(s) or organization(s)                         damage" arising out of the sole
          (referred to below as vendor) shown in the                       negligence of the vendor for its
          Declarations as an Additional Insured -                          own acts or omissions or those of
          Vendor, but only with respect to "bodily                         its employees or anyone else
          injury" or "property damage" arising out of                      acting on its behalf. However, this
          "your products" which are distributed or                         exclusion does not apply to:
          sold in the regular course of the vendor's                       (i) The exceptions contained in
          business and only if this Coverage Part                              Subparagraphs (d) or (f); or
          provides coverage for "bodily injury" or
          "property damage" included within the                            (ii) Such               inspections,
          "products-completed operations hazard".                               adjustments, tests or servicing
                                                                                as the vendor has agreed to
       b. The insurance afforded to the vendor is                               make or normally undertakes
          subject to the following additional exclusions:                       to make in the usual course of
          (1) This insurance does not apply to:                                 business, in connection with
               (a) "Bodily      injury"   or    "property                       the distribution or sale of the
                   damage" for which the vendor is                              products.
                   obligated to pay damages by                    (2) This insurance does not apply to any
                   reason of the assumption of                        insured person or organization from
                   liability in a contract or agreement.              whom you have acquired such
                   This exclusion does not apply to                   products, or any ingredient, part or
                   liability for damages that the                     container,       entering       into,
                   vendor would have in the absence                   accompanying or containing such
                   of the contract or agreement;                      products.
               (b) Any       express           warranty     8. Additional Insured – Controlling Interest
                   unauthorized by you;                        WHO IS AN INSURED under Section C. is
               (c) Any physical or chemical change             amended to include as an additional insured
                   in the product made intentionally           the person(s) or organization(s) shown in the
                   by the vendor;                              Declarations as an Additional Insured –
               (d) Repackaging, unless unpacked                Controlling Interest, but only with respect to
                   solely for the purpose of inspection,       their liability arising out of:
                   demonstration, testing, or the              a. Their financial control of you; or
                   substitution    of   parts     under        b. Premises they own, maintain or control
                   instructions from the manufacturer,            while you lease or occupy these premises.
                   and then repackaged in the original
                   container;


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      This insurance does not apply to structural            The limits of insurance that apply to additional
      alterations, new construction and demolition           insureds are described in Section D. – Limits Of
      operations performed by or for that person or          Insurance.
      organization.                                          How this insurance applies when other insurance
   9. Additional Insured – Owners, Lessees Or                is available to an additional insured is described in
      Contractors – Scheduled Person Or                      the Other Insurance Condition in Section E. –
      Organization                                           Liability   And Medical         Expenses General
       a. WHO IS AN INSURED under Section C. is              Conditions.
          amended to include as an additional              G. LIABILITY AND MEDICAL EXPENSES
          insured the person(s) or organization(s)
                                                              DEFINITIONS
          shown in the Declarations as an Additional
          Insured – Owner, Lessees Or Contractors,           1. "Advertisement" means the widespread public
          but only with respect to liability for "bodily        dissemination of information or images that
          injury", "property damage" or "personal               has the purpose of inducing the sale of goods,
          and advertising injury" caused, in whole or           products or services through:
          in part, by your acts or omissions or the              a. (1)   Radio;
          acts or omissions of those acting on your                 (2)   Television;
          behalf:
                                                                    (3)   Billboard;
          (1) In the performance of your ongoing
                                                                    (4)   Magazine;
              operations     for the    additional
              insured(s); or                                        (5)   Newspaper;
          (2) In connection with "your work"                     b. The Internet, but only that part of a web
              performed for that additional insured                 site that is about goods, products or
              and included within the "products-                    services for the purposes of inducing the
              completed operations hazard", but                     sale of goods, products or services; or
              only if this Coverage Part provides                c. Any other publication that          is   given
              coverage for "bodily injury" or                       widespread public distribution.
              "property damage" included within the              However, "advertisement" does not include:
              "products-completed        operations
                                                                 a. The design, printed material, information
              hazard".
                                                                    or images contained in, on or upon the
       b. With respect to the insurance afforded to                 packaging or labeling of any goods or
          these additional insureds, this insurance                 products; or
          does not apply to "bodily injury", "property
                                                                 b. An interactive conversation between or
          damage" or "personal an advertising
                                                                    among persons through a computer network.
          injury" arising out of the rendering of, or
          the failure to render, any professional            2. "Advertising idea" means any idea for an
          architectural, engineering or surveying               "advertisement".
          services, including:                               3. "Asbestos hazard" means an exposure or
          (1) The preparing, approving, or failure to           threat of exposure to the actual or alleged
              prepare or approve, maps, shop                    properties of asbestos and includes the mere
              drawings, opinions, reports, surveys,             presence of asbestos in any form.
              field orders, change orders, designs or        4. "Auto" means a land motor vehicle, trailer or
              drawings and specifications; or                   semi-trailer designed for travel on public
          (2) Supervisory, inspection, architectural            roads, including any attached machinery or
              or engineering activities.                        equipment.     But "auto" does not include
                                                                "mobile equipment".
   10. Additional Insured – Co-Owner Of Insured
       Premises                                              5. "Bodily injury" means physical:
       WHO IS AN INSURED under Section C. is                     a. Injury;
       amended to include as an additional insured               b. Sickness; or
       the person(s) or Organization(s) shown in the
                                                                 c. Disease
       Declarations as an Additional Insured – Co-
       Owner Of Insured Premises, but only with                  sustained by a person and, if arising out of the
       respect to their liability as co-owner of the             above, mental anguish or death at any time.
       premises shown in the Declarations.                   6. "Coverage territory" means:



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                                                                  BUSINESS LIABILITY COVERAGE FORM

       a. The United States of America (including its        b. You have failed to fulfill the terms of a
          territories and possessions), Puerto Rico             contract or agreement;
          and Canada;                                        if such property can be restored to use by:
       b. International waters or airspace, but only if      a. The repair, replacement, adjustment or
          the injury or damage occurs in the course             removal of "your product" or "your work";
          of travel or transportation between any               or
          places included in a. above;
                                                             b. Your fulfilling the terms of the contract or
       c. All other parts of the world if the injury or         agreement.
          damage arises out of:
                                                          12. "Insured contract" means:
          (1) Goods or products made or sold by you
                                                             a. A contract for a lease of premises.
              in the territory described in a. above;
                                                                However, that portion of the contract for a
          (2) The activities of a person whose home             lease of premises that indemnifies any
              is in the territory described in a.               person or organization for damage by fire,
              above, but is away for a short time on            lightning or explosion to premises while
              your business; or                                 rented to you or temporarily occupied by
          (3) "Personal and advertising injury"                 you with permission of the owner is
              offenses that take place through the              subject to the Damage To Premises
              Internet or similar electronic means of           Rented To You limit described in Section
              communication                                     D. – Liability and Medical Expenses Limits
       provided the insured's responsibility to pay             of Insurance.
       damages is determined in the United States of         b. A sidetrack agreement;
       America (including its territories and                c. Any easement or license agreement,
       possessions), Puerto Rico or Canada, in a                including an easement or license
       "suit" on the merits according to the                    agreement in connection with construction
       substantive law in such territory, or in a               or demolition operations on or within 50
       settlement we agree to.                                  feet of a railroad;
   7. "Electronic data" means information, facts or          d. Any obligation, as required by ordinance,
      programs:                                                 to indemnify a municipality, except in
       a. Stored as or on;                                      connection with work for a municipality;
       b. Created or used on; or                             e. An elevator maintenance agreement; or
       c. Transmitted to or from                             f.   That part of any other contract or
       computer software, including systems and                   agreement pertaining to your business
       applications software, hard or floppy disks,               (including an indemnification of a
       CD-ROMS, tapes, drives, cells, data                        municipality in connection with work
       processing devices or any other media which                performed for a municipality) under which
       are used with electronically controlled                    you assume the tort liability of another
       equipment.                                                 party to pay for "bodily injury" or "property
                                                                  damage" to a third person or organization,
   8. "Employee" includes a "leased worker".
                                                                  provided the "bodily injury" or "property
      "Employee" does not include a "temporary
                                                                  damage" is caused, in whole or in part, by
      worker".
                                                                  you or by those acting on your behalf.
   9. "Executive officer" means a person holding                  Tort liability means a liability that would be
      any of the officer positions created by your                imposed by law in the absence of any
      charter, constitution, by-laws or any other                 contract or agreement.
      similar governing document.
                                                                  Paragraph f. includes that part of any
   10. "Hostile fire" means one which becomes                     contract or agreement that indemnifies a
       uncontrollable or breaks out from where it was             railroad for "bodily injury" or "property
       intended to be.                                            damage" arising out of construction or
   11. "Impaired property" means tangible property,               demolition operations within 50 feet of any
       other than "your product" or "your work", that             railroad property and affecting any railroad
       cannot be used or is less useful because:                  bridge or trestle, tracks, road-beds, tunnel,
       a. It incorporates "your product" or "your work"           underpass or crossing.
          that is known or thought to be defective,                However, Paragraph f. does not include
          deficient, inadequate or dangerous; or                   that part of any contract or agreement:


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          (1) That   indemnifies     an architect,                     (1) Power cranes, shovels,        loaders,
              engineer or surveyor for injury or                           diggers or drills; or
              damage arising out of:                                   (2) Road construction or resurfacing
                (a) Preparing, approving or failing to                     equipment such as graders, scrapers
                    prepare or approve maps, shop                          or rollers;
                    drawings,     opinions,  reports,             e. Vehicles not described in a., b., c., or d.
                    surveys, field orders, change                    above that are not self-propelled and are
                    orders, designs or drawings and                  maintained primarily to provide mobility to
                    specifications; or                               permanently attached equipment of the
                (b) Giving directions or instructions,               following types:
                    or failing to give them, if that is the            (1) Air    compressors,      pumps    and
                    primary cause of the injury or                         generators,      including   spraying,
                    damage; or                                             welding,        building     cleaning,
          (2) Under which the insured, if an                               geophysical exploration, lighting and
              architect, engineer or surveyor,                             well servicing equipment; or
              assumes liability for an injury or                       (2) Cherry pickers and similar devices
              damage arising out of the insured's                          used to raise or lower workers;
              rendering or failure to render
                                                                  f.   Vehicles not described in a., b., c., or d.
              professional services, including those
              listed in (1) above and supervisory,                     above maintained primarily for purposes
              inspection,       architectural     or                   other than the transportation of persons or
              engineering activities.                                  cargo.

   13. "Leased worker" means a person leased to                        However, self-propelled vehicles with the
       you by a labor leasing firm under an                            following types of permanently attached
       agreement between you and the labor leasing                     equipment are not "mobile equipment" but
       firm, to perform duties related to the conduct of               will be considered "autos":
       your business. "Leased worker" does not                         (1) Equipment, of at least 1,000 pounds
       include a "temporary worker".                                       gross vehicle weight, designed
   14. "Loading or unloading" means the handling of                        primarily for:
       property:                                                           (a) Snow removal;
       a. After it is moved from the place where it is                     (b) Road maintenance, but not
          accepted for movement into or onto an                                construction or resurfacing; or
          aircraft, watercraft or "auto";                                  (c) Street cleaning;
       b. While it is in or on an aircraft, watercraft or              (2) Cherry pickers and similar devices
          "auto"; or                                                       mounted on automobile or truck
       c. While it is being moved from an aircraft,                        chassis and used to raise or lower
          watercraft or "auto" to the place where it is                    workers; and
          finally delivered;                                           (3) Air    compressors,      pumps    and
       but "loading or unloading" does not include the                     generators,      including   spraying,
       movement of property by means of a mechanical                       welding,        building     cleaning,
       device, other than a hand truck, that is not                        geophysical exploration, lighting and
       attached to the aircraft, watercraft or "auto".                     well servicing equipment.
   15. "Mobile equipment" means any of the following          16. "Occurrence" means an accident, including
       types of land vehicles, including any attached             continuous or repeated exposure to substantially
       machinery or equipment:                                    the same general harmful conditions.
       a. Bulldozers, farm machinery, forklifts and           17. "Personal and advertising injury" means injury,
          other vehicles designed for use principally             including consequential "bodily injury", arising
          off public roads;                                       out of one or more of the following offenses:
       b. Vehicles maintained for use solely on or                a. False arrest, detention or imprisonment;
          next to premises you own or rent;                       b. Malicious prosecution;
       c. Vehicles that travel on crawler treads;
       d. Vehicles, whether self-propelled or not, on
          which are permanently mounted:



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       c. The wrongful eviction from, wrongful entry              Work that may need service, maintenance,
          into, or invasion of the right of private               correction, repair or replacement, but
          occupancy of a room, dwelling or                        which is otherwise complete, will be
          premises that the person occupies,                      treated as completed.
          committed by or on behalf of its owner,                 The "bodily injury" or "property damage"
          landlord or lessor;                                     must occur away from premises you own
       d. Oral, written or electronic publication of              or rent, unless your business includes the
          material that slanders or libels a person or            selling, handling or distribution of "your
          organization or disparages a person's or                product" for consumption on premises you
          organization's goods, products or services;             own or rent.
       e. Oral, written or electronic publication of          b. Does not include "bodily injury"          or
          material that violates a person's right of             "property damage" arising out of:
          privacy;                                                (1) The transportation of property, unless
       f. Copying, in your "advertisement", a                         the injury or damage arises out of a
          person’s or organization’s "advertising                     condition in or on a vehicle not owned
          idea" or style of "advertisement";                          or operated by you, and that condition
       g. Infringement of copyright, slogan, or title of              was created by the "loading or
          any literary or artistic work, in your                      unloading" of that vehicle by any
          "advertisement"; or                                         insured; or
       h. Discrimination or humiliation that results in           (2) The existence of tools, uninstalled
          injury to the feelings or reputation of a                   equipment or abandoned or unused
          natural person.                                             materials.
   18. "Pollutants" means any solid, liquid, gaseous or    20. "Property damage" means:
       thermal irritant or contaminant, including smoke,      a. Physical injury to tangible property,
       vapor, soot, fumes, acids, alkalis, chemicals and         including all resulting loss of use of that
       waste. Waste includes materials to be recycled,           property. All such loss of use shall be
       reconditioned or reclaimed.                               deemed to occur at the time of the
   19. "Products-completed operations hazard";                   physical injury that caused it; or
       a. Includes all "bodily injury" and "property          b. Loss of use of tangible property that is not
          damage" occurring away from premises                   physically injured. All such loss of use
          you own or rent and arising out of "your               shall be deemed to occur at the time of
          product" or "your work" except:                        "occurrence" that caused it.
          (1) Products that are still in your physical        As used in this definition, "electronic data" is
              possession; or                                  not tangible property.
          (2) Work that has not yet been completed         21. "Suit" means a civil proceeding in which
              or abandoned. However, "your work"               damages because of "bodily injury", "property
              will be deemed to be completed at the            damage" or "personal and advertising injury"
              earliest of the following times:                 to which this insurance applies are alleged.
                                                               "Suit" includes:
               (a) When all of the work called for in
                   your contract has been completed.          a. An arbitration proceeding in which such
                                                                 damages are claimed and to which the
               (b) When all of the work to be done at
                                                                 insured must submit or does submit with
                   the job site has been completed if
                                                                 our consent; or
                   your contract calls for work at
                   more than one job site.                    b. Any other alternative dispute resolution
                                                                 proceeding in which such damages are
               (c) When that part of the work done at
                                                                 claimed and to which the insured submits
                   a job site has been put to its
                                                                 with our consent.
                   intended use by any person or
                   organization other than another         22. "Temporary worker" means a person who is
                   contractor    or     subcontractor          furnished to you to substitute for a permanent
                   working on the same project.                "employee" on leave or to meet seasonal or
                                                               short-term workload conditions.
                                                           23. "Volunteer worker" means a person who:
                                                              a. Is not your "employee";



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       b. Donates his or her work;                             (2) The providing of or failure to provide
       c. Acts at the direction of and within the                  warnings or instructions.
          scope of duties determined by you; and           c. Does not include vending machines or
       d. Is not paid a fee, salary or other                  other property rented to or located for the
          compensation by you or anyone else for              use of others but not sold.
          their work performed for you.                 25. "Your work":
   24. "Your product":                                     a. Means:
       a. Means:                                               (1) Work or operations performed by you
          (1) Any goods or products, other than real               or on your behalf; and
              property, manufactured, sold, handled,           (2) Materials,    parts   or     equipment
              distributed or disposed of by:                       furnished in connection with such work
                (a) You;                                           or operations.
                (b) Others trading under your name;        b. Includes:
                    or                                         (1) Warranties or representations made at
                (c) A person or organization whose                 any time with respect to the fitness,
                    business or assets you have                    quality, durability, performance or use
                    acquired; and                                  of "your work"; and
          (2) Containers (other than vehicles),                (2) The providing of or failure to provide
              materials,   parts or   equipment                    warnings or instructions.
              furnished in connection with such
              goods or products.
       b. Includes:
          (1) Warranties or representations made at
              any time with respect to the fitness,
              quality, durability, performance or use
              of "your product"; and




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  BUSINESS LIABILITY COVERAGE FORM
                            AMENDATORY ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                     BUSINESS LIABILITY COVERAGE FORM


A. Sub-subparagraphs 1.p. (7), (8), (15) of Paragraph                     (c) An Internet search, access, content or
   2., of Section B. Exclusions are deleted and                               service provider.
   replaced with the following:                                               However, this exclusion does not
   p. Personal and Advertising Injury:                                        apply to Paragraphs a., b. and c. of
       (7) (a) Arising out of any actual or alleged                           the definition of "personal and
           infringement or violation of any intellectual                      advertising     injury"   under     the
           property right, such as copyright, patent,                         Definitions Section.
           trademark, trade name, trade secret,                               For the purposes of this exclusion, the
           service mark or other designation of origin                        placing of frames, borders or links, or
           or authenticity; or                                                advertising, for you or others
           (b) Any injury or damage alleged in any                            anywhere on the Internet, is not by
                claim or "suit" that also alleges an                          itself, considered the business of
                infringement or violation of any                              advertising, broadcasting, publishing
                intellectual property right, whether                          or telecasting.
                such allegation of infringement or                    (15) Arising out of any access to or disclosure
                violation is made by you or by any                        of any person's or organization's
                other party involved in the claim or                      confidential or personal information,
                "suit", regardless of whether this                        including     patents,    trade     secrets,
                insurance would otherwise apply.                          processing methods, customer lists,
       However, this exclusion does not apply if the                      financial    information,    credit    card
       only allegation in the claim or "suit" involving                   information, health information or any
       any intellectual property right is limited to:                     other type of nonpublic information.This
           (1) Infringement, in your "advertisement",                     exclusion applies even if damages are
                of:                                                       claimed for notification costs, credit
                                                                          monitoring expenses, forensic expenses,
                (a) Copyright;                                            public relations expenses or any other
                (b) Slogan; or                                            loss, cost or expense incurred by you or
                (c) Title of any literary or artistic work;               others arising out of any access to or
                     or                                                   disclosure     of    any     person's     or
                                                                          organization's confidential or personal
           (2) Copying, in your "advertisement", a
                                                                          information.
                person's or organization's "advertising
                idea" or style of "advertisement".            B. Subparagraph 1.r. of Section B. Exclusions is
       (8) Arising out of an offense committed by an             deleted and replaced with the following:
           insured whose business is:                            r.   Employment-Related Practices
           (a) Advertising, broadcasting, publishing                  "Personal and advertising injury" to:
                or telecasting;                                       (1) A person arising out of any "employment–
           (b) Designing or determining content of                        related practices"; or
                web sites for others; or


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       (2) The spouse, child, parent, brother or sister      However, unless Paragraph (1) above applies, this
           of that person as a consequence of                exclusion does not apply to damages because of
           "personal and advertising injury" to that         "bodily injury".
           person at whom any "employment-related            As used in this exclusion, electronic data means
           practices" are directed.                          information, facts or computer programs stored as
              This exclusion applies:                        or on, created or used on, or transmitted to or
              (a) Whether the injury-causing event           from computer software (including systems and
                  described in the definition of             applications software), on hard or floppy disks,
                  "employment-related      practices"        CD-ROMs, tapes, drives, cells, data processing
                  occurs before employment, during           devices or any other repositories of computer
                  employment or after employment of          software which are used with electronically
                  that person;                               controlled equipment. The term computer
                                                             programs, referred to in the foregoing description
              (b) Whether the insured may be liable as       of electronic data, means a set of related
                  an employer or in any other capacity;      electronic instructions which direct the operations
                  and                                        and functions of a computer or device connected
              (c) To any obligation to share damages         to it, which enable the computer or device to
                  with or repay someone else who must        receive, process, store, retrieve or send data.
                  pay damages because of the injury.      D. Sub-subparagraph 7.b.(1) Other Insurance of
C. Subparagraph 1.q. "Electronic Data" of Section B.         Section E. Liability and Medical Expenses
   Exclusions is deleted and replaced with the               General Conditions is deleted and replaced with
   following:                                                the following:
   q. Access Or Disclosure Of Confidential Or                b. Excess Insurance
      Personal Information And Data-related                      (1) Your Work
      Liability
                                                                     That is Fire, Extended Coverage, Builder's
       (1) Damages, other than damages because                       Risk, Installation Risk, Owner Controlled
           of "personal and advertising injury",                     Insurance Program or OCIP, Wrap Up
           arising out of any access to or disclosure                Insurance or similar coverage for "your
           of any person's or organization's                         work".
           confidential or personal information,
                                                          E. Subparagraph 17. c. "Personal and Advertising
           including     patents,    trade     secrets,
                                                             Injury" of Section G, Liability and Medical
           processing methods, customer lists,
           financial    information,    credit     card      Expenses Definitions is deleted and replaced
           information, health information or any            with the following:
           other type of nonpublic information; or           "Personal and advertising injury" means injury,
       (2) Damages arising out of the loss of, loss of       including consequential "bodily injury", arising out
                                                             of one or more of the following offenses:
            use of, damage to, corruption of, inability
            to access, or inability to manipulate            c. The wrongful eviction from, wrongful entry
            electronic data.                                    into, or invasion of the right of private
   This exclusion applies even if damages are                   occupancy of a room, dwelling or premises
   claimed for notification costs, credit monitoring            that a person or organization occupies,
   expenses, forensic expenses, public relations                committed by or on behalf of its owner,
   expenses or any other loss, cost or expense                  landlord or lessor;
   incurred by you or others arising out of that which    F. Subparagraph 17.h. of Section G, Liability and
   is described in Paragraph (1) or (2) above.               Medical Expenses Definitions deleted.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                        SPECIAL PROPERTY COVERAGE
                         AMENDATORY ENDORSEMENT

This endorsement modifies insurance provided under the following:

                                    SPECIAL PROPERTY COVERAGE FORM


A. The following changes are made to Paragraph                         (4) For the purpose of this Coverage
   A.5., Additional Coverages:                                             Extension, check includes a substitute
   1. Paragraph f., Forgery is deleted and replaced                        check as defined in the Check
      with the following:                                                  Clearing for the 21st Century Act and
                                                                           will be treated the same as the
       f.   Forgery                                                        original it replaced.
            (1) We will pay for loss resulting directly                (5) We will treat mechanically reproduced
                from forgery or alteration of any                          facsimile signatures the same as
                check, draft, promissory note, or bill of                  handwritten signatures.
                exchange or similar written promise of
                payment in "money" that you or your                    (6) The most we will pay in any one
                agent has issued, or that was issued                       occurrence, including legal expenses,
                by someone who impersonates you or                         under this Additional Coverage is
                your agent. This includes written                          $5,000, unless a higher Limit of
                instruments required in conjunction                        Insurance     is   shown     in   the
                with any credit, debit, or charge card                     Declarations.
                issued to you or any employee for              2. Paragraph i.(2)(c) of the Money and
                business purposes.                                Securities Additional Coverage is deleted and
            (2) If you are sued for refusing to pay the           replaced with the following:
                check, draft, promissory note, or bill of                  (c) Loss or damage to "money" and
                exchange or similar written promise of                         "securities" following and directly
                payment in "money" on the basis that                           related to the use of any
                it has been forged or altered, and you                         "computer" to fraudulently cause
                have our written consent to defend                             a transfer of that property.
                against the "suit", we will pay for any     B. The following changes are made to Section B.,
                reasonable expenses that you incur             EXCLUSIONS
                and pay in that defense.
                                                               1. Paragraph 1.a., Earth Movement is amended
            (3) We will pay for loss resulting directly           to add the following:
                from your having accepted in good
                faith, in exchange for merchandise,                   This Exclusion applies regardless of
                "money" or services:                                  whether any of the following is caused by
                                                                      weather, an act of nature, by an artificial,
                (a) Money       orders,     including                 man-made or other cause.
                    counterfeit money orders, issued
                    by any post office, express                2. The following is exclusion is added to
                    company or bank that are not paid             Paragraph 1.:
                    upon presentation; and                             Electronic Vandalism or Corruption of
                (b) Counterfeit United States         or               "Electronic Data" or Corruption of
                    Canadian paper currency.                           "Computer Equipment"




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              This exclusion does not apply to                        pay for that resulting direct physical loss
              Electronic Vandalism, form SS 14 29 or                  or direct physical damage. Mere loss of
              Electronic Vandalism, form SS 40 08 if                  use or loss of functionality of any property
              either form has been made part of this                  is not considered physical loss or physical
              policy.                                                 damage.
              (1) Destruction or corruption of "electronic     3. Paragraph 2. is deleted and replaced with the
                  data" caused by a virus, malicious              following:
                  code or similar instruction introduced          We will not pay for loss or damage caused by
                  into or enacted on a computer system            or resulting from:
                  (including "electronic data") or a
                  network to which it is connected,               a. Consequential Losses: Delay, loss of
                  designed to damage or destroy any                  use or loss of market.
                  part of the system or disrupt its               b. Smoke, Vapor, Gas: Smoke, vapor or
                  normal operation.                                  gas from agricultural smudging or
              (2) Unauthorized viewing, copying or use               industrial operations.
                  of electronic data (or any proprietary          c. Miscellaneous Types of Loss:
                  or     confidential   information   or              (1) Wear and tear;
                  intellectual property in any form) by
                  any person, even if such activity is                (2) Rust, corrosion, fungus, decay,
                  characterized as "theft";                               deterioration, hidden or latent defect
                                                                          or any quality in property that causes
              (3) Errors or omissions in programming                      it to damage or destroy itself;
                  or processing "electronic data";
                                                                      (3) Smog;
              (4) Errors or deficiency in design,
                  installation, maintenance, repair or                (4) Settling, cracking,      shrinking   or
                  modification of your computer system                    expansion;
                  or any computer system or network to                (5) Nesting or infestation, or discharge or
                  which your system is connected or on                    release of waste products or
                  which your system depends (including                    secretions, by insects, birds, rodents,
                  "electronic data");                                     mold, spore or other animals;
              (5) Manipulation of your computer                       (6) The following causes of loss to
                  system, including "electronic data", by                 personal property:
                  an employee, volunteer worker or
                                                                          (a) Dampness    or       dryness     of
                  contractor, for the purpose of diverting
                                                                              atmosphere;
                  or destroying "electronic data" or
                  causing fraudulent or illegal transfer of               (b) Changes in or        extremes    of
                  any property;                                               temperature; or
              (6) Interruption in normal computer                         (c) Marring or scratching.
                  function or network service or function             But if physical loss or physical damage by
                  due to insufficient capacity to process             the "specified causes of loss", building
                  transactions or to an overload of                   glass breakage or Equipment Breakdown
                  activity on the system or network;                  Accident results, we will pay for that
              (7) Unexplained or indeterminable failure,              resulting physical loss or physical
                  malfunction or slowdown of a                        damage.
                  computer        system,     including           d. Frozen Plumbing: Water, other liquids,
                  "electronic data" and the inability to             powder or molten material that leaks or
                  access or properly manipulate the                  flows from plumbing, heating, air
                  "electronic data";                                 conditioning or other equipment (except
              (8) Complete or substantial failure,                   fire protective systems) caused by or
                  disablement or shutdown of the                     resulting from freezing, unless:
                  Internet, regardless of the cause;                  (1) You do your best to maintain heat in
              (9) The inability of a computer system to                   the building or structure; or
                  correctly       recognize,       process,           (2) You drain the equipment and shut off
                  distinguish, interpret or accept one or                 the supply if the heat is not
                  more dates or times.                                    maintained.
              But if direct physical loss or direct physical      e. Dishonesty: Dishonest or criminal act by
              damage occurs to Covered Property from                 you, any of your partners, "members",
              a resulting Covered Cause of Loss, we will             officers,  "managers",       employees,


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            directors,      trustees,        authorized    C. Definition 4., "Data", of Section G., PROPERTY
            representatives or anyone to whom you             DEFINITIONS is deleted and replaced with the
            entrust the property for any purpose:             following.
            (1) Acting alone or in collusion with             4. "Electronic data" means information, facts or
                others; or                                       computer programs stored as or on, created
            (2) Whether or not occurring during the              or used on, or transmitted to or from computer
                hours of employment.                             software (including systems and applications
                                                                 software), on hard or floppy disks, CD-ROMs,
            This exclusion does not apply to acts of             tapes, drives, cells, data processing devices
            destruction by your employees; but theft             or any other repositories of computer software
            by employees is not covered.                         which are used with electronically controlled
       f.   False Pretense: Voluntary parting with               equipment. The term computer programs,
            any property by you or anyone else to                referred to in the foregoing description of
            whom you have entrusted the property if              electronic data, means a set of related
            induced to do so by any fraudulent                   electronic instructions which direct the
            scheme, trick, device or false pretense.             operations and functions of a "computer" or
       g. Exposed Property: Rain, snow, ice or                   device connected to it, which enable the
          sleet to personal property in the open,                "computer" or device to receive, process,
          except as provided in the Coverage                     store, retrieve or send data.
          Extension for Outdoor Property.                         "Electronic data" it is not considered physical
       h. Collapse: Collapse, except as provided in               property under this Coverage Part and is
          the Additional Coverage for Collapse. But               covered only as expressly provided for in this
          if loss or damage by a Covered Cause of                 Coverage Part. Any such coverage does not
          Loss results at the "scheduled premises",               indicate that "electronic data" is considered to
          we will pay for that resulting loss or                  be tangible property subject to physical loss or
          damage.                                                 physical damage for purposes of any business
                                                                  interruption coverage or other coverage that
       i.   Pollution: We will not pay for loss or                requires physical loss or physical damage.
            damage caused by or resulting from the
            discharge, dispersal, seepage, migration,
            release or escape of "pollutants and
            contaminants" unless the discharge,
            dispersal, seepage, migration, release or
            escape is itself caused by any of the
            "specified causes of loss." But if physical
            loss or physical damage by the "specified
            causes of loss" results, we will pay for the
            resulting physical loss or physical damage
            caused by the "specified cause of loss."




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 BUSINESS LIABILITY COVERAGE FORM
                    AMENDATORY ENDORSEMENT-
                     SUPPLEMENTARY PAYMENTS

This endorsement modifies insurance provided under the following:

                                  BUSINESS LIABILITY COVERAGE FORM



A. Sub-subparagraph 3.a.(5) of Paragraph 3., Section A. Coverages is deleted and replaced with the following:
   3. Coverage Extension - Supplementary Payments:
       a. (5) All court costs taxed against the insured in the "suit". However, these payments do not include
              attorneys' fees or attorneys' expenses taxed against the insured.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                PENNSYLVANIA CHANGES

This endorsement modifies insurance provided under the following:

                                       COMMON POLICY CONDITIONS
                                    SPECIAL PROPERTY COVERAGE FORM
                                   STANDARD PROPERTY COVERAGE FORM

I.   The following provisions modify the COMMON                                days before     the   effective   date   of
     POLICY CONDITIONS.                                                        cancellation.
     A. The Cancellation Condition is deleted and                         c. A condition, factor or loss experience
        replaced by the following:                                           material to insurability has changed
        Cancellation                                                         substantially or a substantial condition,
                                                                             factor or loss experience material to
        1. Cancellation by the First Named Insured                           insurability has become known during
           The first Named Insured shown in the                              the policy period. Notice of cancellation
           Declarations may cancel this policy by                            will be mailed or delivered at least 60
           writing or giving notice of cancellation.                         days before the effective date of
        2. Cancellation Of Policies In Effect For                            cancellation.
           Less Than 60 Days                                              d. Loss of reinsurance or a substantial
           We may cancel this policy by mailing or                           decrease in reinsurance has occurred,
           delivering to the first Named Insured written                     which loss or decrease, at the time of
           notice of cancellation at least 30 days                           cancellation, shall be certified to the
           before the effective date of cancellation.                        Insurance Commissioner as directly
                                                                             affecting inforce policies.   Notice of
        3. Cancellation Of Policies In Effect For 60
                                                                             cancellation will be mailed or delivered
           Days Or More
                                                                             at least 60 days before the effective
           If this policy has been in effect for 60 days                     date of cancellation.
           or more or if this policy is a renewal of a
                                                                          e. Material failure to comply with policy
           policy we issued, we may cancel this policy
                                                                             terms, conditions or contractual duties.
           only for one or more of the following
                                                                             Notice of cancellation will be mailed or
           reasons:
                                                                             delivered at least 60 days before the
           a. You      have     made     a    material                       effective date of cancellation.
              misrepresentation which affects the
                                                                          f.   Other reasons that the Insurance
              insurability of the risk.     Notice of
                                                                               Commissioner may approve. Notice of
              cancellation will be mailed or delivered
                                                                               cancellation will be mailed or delivered
              at least 15 days before the effective
                                                                               at least 60 days before the date of
              date of cancellation.
                                                                               cancellation.
           b. You have failed to pay a premium when
                                                                          This policy may also be cancelled from
              due, whether the premium is payable
                                                                          inception upon discovery that the policy was
              directly to us or our agents or indirectly
                                                                          obtained through fraudulent statements,
              under a premium finance plan or
                                                                          omissions or concealment of facts material
              extension of credit.          Notice of
                                                                          to the acceptance of the risk or to the
              cancellation will be mailed at least 15
                                                                          hazard assumed by us.

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      4. We will mail or deliver our notice to the first           while acting within the scope of duties as your
         Named Insured's last mailing address                      legal representative.        Until your legal
         known to us. Notice of cancellation will                  representative is appointed, anyone having
         state the specific reasons for cancellation               proper temporary custody of your property will
      5. Notice of cancellation will state the effective           have your rights and duties but only with respect
         date of cancellation. The policy period will              to that property.
         end on that date.                                         If you die, this Policy will remain in effect as
      6. If this policy is canceled, we will send the              provided in 1. or 2. below, whichever is later:
         first Named Insured any premium refund                    1. For 180 days after your death regardless of
         due. If we cancel, the refund will be pro rata               the policy period shown in the Declarations,
         and will be returned within 10 business days                 unless the insured property is sold prior to
         after the effective date of cancellation. If the             that date; or
         first Named Insured cancels, the refund may               2. Until the end of the policy period shown in
         be less than pro rata and will be returned                   the Declarations, unless the insured
         within 30 days after the effective date                      property is sold prior to that date.
         cancellation.     The cancellation will be
         effective even if we have not made or                     Coverage during the period of time after your
         offered a refund.                                         death is subject to all provisions of this policy
                                                                   including payment of any premium due for the
      7. If notice is mailed, it will be by registered or          policy period shown in the Declarations and any
         first class mail. Proof of mailing will be                extension of that period.
         sufficient proof of notice.
                                                            II. The following provisions modify the STANDARD or
   B. The following are added and supersede any                 SPECIAL PROPERTY COVERAGE FORM.
      provisions to the contrary:
                                                               A. The following is added to the Loss Payment
      1. NONRENEWAL                                               PROPERTY          LOSS CONDITION and
          If we decide not to renew this policy, we will          supersedes any provision to the contrary:
          mail or deliver written notice of nonrenewal,            Notice Of Acceptance Or Denial Of Claim
          stating the specific reasons for nonrenewal,
                                                                   1. Except as provided in 3. below, we will give
          to the first Named Insured at least 60 days
          before the expiration date of the policy.                   you notice, within 15 working days after we
                                                                      receive a properly executed proof of loss,
      2. INCREASE OF PREMIUM                                          that we:
          If we increase your renewal premium, we                      a. Accept your claim
          will mail or deliver to the first Named
                                                                       b. Deny your claim; or
          Insured written notice of our intent to
          increase the premium at least 30 days                        c. Need more time to determine whether
          before the effective date of premium                            your claim should be accepted or
          increase.                                                       denied.
          Any notice of nonrenewal or renewal                          If we deny your claim, such notice will be in
          premium increase will be mailed or                           writing, and will state any policy provision,
          delivered to the first Named Insured's last                  condition or exclusion used as a basis for
          known address. If notice is mailed, it will be               the denial.
          by registered or first class mail. Proof of                  If we need more time to determine whether
          mailing will be sufficient proof of notice.                  your claim should be accepted or denied,
   C. The Transfer Of Your Rights And Duties                           the written notice will state the reason why
      Under This Policy Condition is deleted and                       more time is required.
      replaced by the following:                                   2. If we have not completed our investigation,
      Transfer Of Your Rights And Duties Under                        we will notify you again in writing, within 30
      This Policy                                                     days after the date of the initial notice as
      Your rights and duties under this policy may not                provided in 1.c. above, and thereafter every
      be transferred without our written consent                      45 days. The written notice will state why
      except in the case of death of an individual                    more time is needed to investigate your
      Named Insured.                                                  claim and when you may expect us to reach
                                                                      a decision on your claim.
      If you die, your rights and duties will be
      transferred to your legal representative but only


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       3. The notice procedures in 1. and 2. above do
          not apply if we have a reasonable basis,
          supported by specific information, to
          suspect that an insured has fraudulently
          caused or contributed to the loss by arson
          or other illegal activity.      Under such
          circumstances, we will notify you of the
          disposition of your claim within a period of
          time reasonable to allow full investigation of
          the claim, after we receive a properly
          executed proof of loss.
   B. The following is added to any provision which
      uses the term Actual Cash Value:
       Actual cash value is calculated as the amount it
       would cost to repair or replace Covered
       Property, at the time of loss or damage, with
       material of like kind and quality, subject to
       deduction for deterioration, depreciation and
       obsolescence. Actual cash value applies to
       valuation of Covered Property regardless or
       whether the property has sustained partial or
       total loss damage.
       The actual cash value of the lost or damaged
       property may be significantly less than its
       replacement cost.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                   DELAWARE CHANGES
This endorsement modifies insurance provided under the following:

                                       COMMON POLICY CONDITIONS
                                    BUSINESS LIABILITY COVERAGE FORM
                                     EMPLOYMENT PRACTICES LIABILITY


A. Business Liability Coverage Form and the                                c. Covers buildings that contain no more
   Employment Practices Liability Form (Claims                                than 4 dwelling units, one of which is
   Made) is amended as follows:                                               the principal place of residence of the
   The term "spouse" is replaced by the following:                            insured, we may cancel this policy
                                                                              only for one or more of the following
   Spouse or party to a civil union recognized under                          reasons:
   Delaware law.
                                                                               (1) Nonpayment of premium;
B. Common Policy Conditions is amended as follows:
                                                                               (2) Discovery of fraud or material
   1. Cancellation paragraph A.2. is amended as                                    misrepresentation made by you or
      follows:                                                                     with your knowledge in obtaining
       2. We may cancel this policy by mailing or                                  the policy, continuing the policy, or
          delivering to the first Named Insured a                                  in presenting a claim under this
          written notice of cancellation at least:                                 policy;
           a. 10 days before the effective date of                             (3) Discovery of willful or reckless
              cancellation if   we cancel      for                                 acts or omissions on your part that
              nonpayment of premium; or                                            increase any hazard insured
           b. 60, but not more than 120, days                                      against;
              before    the    effective    date   of                          (4) The occurrence of a change in the
              cancellation if we cancel for any other                              risk that substantially increases
              permissible reason.                                                  any hazard insured against after
   2. The following paragraph is added:                                            insurance coverage has been
                                                                                   issued or renewed;
       7. If this policy:
                                                                               (5) A violation of any local fire, health,
           a. Has been in effect for more than 60
                                                                                   safety, building, or construction
              days; or
                                                                                   regulation or ordinance with
           b. Is renewal of a policy we issued; and                                respect to any covered property or
                                                                                   its occupancy that substantially
                                                                                   increases any hazard insured
                                                                                   against;




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              (6) A determination by the Insurance    M. NONRENEWAL
                  Commissioner        that     the      1. If we decide not to renew this policy,
                  continuation of the policy would         we will mail or deliver to the first
                  place us in violation of the             Named Insured written notice of
                  Delaware insurance laws; or              nonrenewal, along with the reasons
              (7) Real property taxes owing on the         for nonrenewal, at least 60 , but not
                  insured property have been               more than 120, days before the
                  delinquent for two or more years         expiration date or the anniversary date
                  and continue delinquent at the           if this is a policy written for a term of
                  time notice of cancellation is           more than one year or with no fixed
                  issued.                                  expiration date.
              Notice of cancellation will state the     2. We will mail or deliver this notice to
              specific reason for cancellation.            the first Named Insured's last mailing
   3. The following paragraph is added:                    address known to us.




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POLICY NUMBER: 39 SBA AA3300




        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        UNMANNED AIRCRAFT - LIABILITY ENDORSEMENT
This endorsement modifies insurance provided under the following:

                                       BUSINESS LIABILITY COVERAGE FORM

                                                       SCHEDULE

         Option 1: If an "X" is shown in this box, Bodily Injury and Property Damage coverage for Unmanned Aircraft
         applies and the Unmanned Aircraft Exclusion in Paragraph A.1.g.(1) of this endorsement does not apply.

         Option 2: If an "X" is shown in this box, Personal And Advertising Injury coverage for Unmanned Aircraft
         applies and the Unmanned Aircraft - Personal And Advertising Injury Exclusion in Paragraph A.2. of this
         endorsement does not apply.


Except as otherwise stated in this endorsement or the                       owned or operated by or rented or
schedule above, the terms and conditions of the policy                      loaned to any insured. Use includes
apply to the insurance stated below.                                        operation and "loading or unloading".
A. The following changes are made to Section B.1.,                          This Paragraph g.(2) applies even if the
    EXCLUSIONS:                                                             claims against any insured allege
    1. Paragraph g., Aircraft, Auto or Watercraft, is                       negligence or other wrongdoing in the
         deleted and replaced with the following:                           supervision, hiring, employment, training
                                                                            or monitoring of others by that insured, if
         g. Aircraft, Auto or Watercraft                                    the "occurrence" which caused the
             (1) Unmanned Aircraft                                          "bodily injury" or "property damage"
                 "Bodily injury" or "property damage"                       involved the ownership, maintenance,
                 arising     out     of  the   ownership,                   use or entrustment to others of any
                 maintenance, use or entrustment to                         aircraft (other than "unmanned aircraft),
                 others of any aircraft that is an                          "auto" or watercraft that is owned or
                 "unmanned aircraft". Use includes                          operated by or rented or loaned to any
                 operation and "loading or unloading".                      insured.
                 This Paragraph g.(1) applies even if the                   Paragraph g. (2) does not apply to:
                 claims against any insured allege                          (a) A watercraft while ashore on
                 negligence or other wrongdoing in the                           premises you own or rent;
                 supervision, hiring, employment, training
                                                                            (b) A watercraft you do not own that is:
                 or monitoring of others by that insured, if
                 the "occurrence" which caused the                               (i) Less than 51 feet long; and
                 "bodily injury" or "property damage"                            (ii) Not being used to carry persons
                 involved the ownership, maintenance,                                 for a charge;
                 use or entrustment to others of any                        (c) Parking an "auto" on, or on the
                 aircraft that is an "unmanned aircraft".                        ways next to, premises you own or
             (2) Aircraft (Other Than Unmanned                                   rent, provided the "auto" is not
                 Aircraft), Auto Or Watercraft                                   owned by or rented or loaned to you
                 "Bodily injury" or "property damage"                            or the insured;
                 arising     out     of  the   ownership,                   (d) Liability assumed         under   any
                 maintenance, use or entrustment to                              "insured contract" for the ownership,
                 others of any aircraft (other than                              maintenance or use of aircraft or
                 "unmanned aircraft), "auto" or watercraft                       watercraft;



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Process Date: 04/03/20                                                        Policy Expiration Date: 04/23/21
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              (e) "Bodily injury" or "property damage"        B. The following changes apply to          Section G.
                  arising out of the operation of any of         LIABILITY    AND     MEDICAL            EXPENSES
                  the equipment listed in Section G              DEFINITIONS:
                  Liability and Medical Expenses                 1. The following definition is added:
                  Definitions, Paragraph 15 f. (2) or f.
                  (3) of the definition of "mobile                   "Unmanned aircraft" means an aircraft that is
                  equipment"; or                                     not:
              (f) An aircraft (other than unmanned                   a. Designed;
                  aircraft) that is not owned by any                 b. Manufactured; or
                  insured and is hired, chartered or                 c. Modified after manufacture
                  loaned with a paid crew. However,
                  this exception does not apply if the               to be controlled directly by a person from within
                  insured has any other insurance for                or on the aircraft.
                  such "bodily injury" or "property
                  damage",      whether   the    other
                  insurance is primary, excess,
                  contingent or on any other basis.
   2. The following is added to Section B.
      EXCLUSIONS Paragraph p., Personal and
      Advertising Injury:
              Unmanned Aircraft - Personal and
              Advertising Injury
              Arising   out    of    the    ownership,
              maintenance, use or entrustment to
              others of any aircraft that is an
              "unmanned aircraft". Use includes
              operation and "loading or unloading".
              This exclusion applies even if the claims
              against any insured allege negligence or
              other wrongdoing in the supervision,
              hiring,   employment,      training     or
              monitoring of others by that insured, if
              the offense which caused the "personal
              and advertising injury" involved the
              ownership,    maintenance,      use     or
              entrustment to others of any aircraft that
              is an "unmanned aircraft".
              However, this exclusion does not apply
              if the only allegation in the claim or "suit"
              involves an intellectual property right
              which is limited to:
              (a) Infringement,        in             your
                  "advertisement", of:
                  (i) Copyright;
                  (ii) Slogan; or
                  (iii) Title of any literary or artistic
                        work; or
              (b) Copying, in your "advertisement", a
                  person's      or     organization's
                  "advertising idea" or style of
                  "advertisement".




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



      BUSINESS INCOME EXTENSION FOR OFF-PREMISES
                   UTILITY SERVICES

This endorsement modifies insurance provided under the following:


                                    SPECIAL PROPERTY COVERAGE FORM



This insurance applies only when Business Income and        C. LIMIT OF INSURANCE
Extra Expense is shown in the Declarations as                   The most we will pay in any one occurrence for loss
applicable.     Except as otherwise stated in this              under this extension is the limit of insurance shown
endorsement, the terms and conditions of the policy             in the Declarations at each "scheduled premises".
apply to the insurance stated below.
                                                            D. ADDITIONAL DEFINITIONS
A. BUSINESS INCOME EXTENSION FOR OFF-
    PREMISES UTILITY SERVICES                                   1. "Water Supply Services", meaning the
                                                                   following types of property supplying water to
   This Coverage Extension applies only when the
                                                                   the "scheduled premises":
   Business Income Additional Coverage is included in
   this policy.                                                    a. Pumping stations; and
   We will pay for loss of Business Income or Extra                 b. Water mains.
   Expense at the "scheduled premises" caused by the            2. "Communication Supply Services", meaning
   interruption of service to the "scheduled premises".            property, including overhead transmission lines
   The interruption must result from direct physical loss          supplying communication services, including
   or physical damage by a Covered Cause of Loss to                telephone, radio, microwave or television
   the following property not on "scheduled premises":             services, to the "scheduled premises", such as:
   1. "Water Supply Services";                                     a. Communication            transmission      lines,
                                                                       including optic fiber transmission lines;
   2. "Communication Supply Services"; or
                                                                   b. Coaxial cables; and
   3. "Power Supply Services".                                     c. Microwave radio relays except satellites.
B. WAITING PERIOD                                               3. "Power Supply Services", meaning the
   We will only pay for loss you sustain after the first           following types of property supplying electricity,
   12 consecutive hours following the direct physical              steam or gas, including overhead transmission
   loss of or physical damage to the off-premises                  lines to the "scheduled premises":
   property to which this endorsement applies. We will             a. Utility generating plants;
   not pay for any reduction in business income or
                                                                   b. Switching stations;
   extra expense after electricity, steam or gas has
   been restored to the "scheduled premises".                      c. Substations;
                                                                   d. Transformers; and
                                                                   e. Transmission Lines.

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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                                FINE ARTS

This endorsement modifies insurance provided under the following:

                                     SPECIAL PROPERTY COVERAGE FORM



This insurance applies only when the property is                4. Section B. EXCLUSIONS do not apply to
covered under the Special Property Coverage Form.                  coverage afforded under this endorsement,
Except as otherwise stated in this endorsement, the                except for:
terms and conditions of the policy apply to the insurance
                                                                    (1) Governmental Action;
stated below.
The following changes are made to the Special Property              (2) Nuclear Hazard; and
Coverage Form:                                                      (3) War and Military Action.
A. Under A. Coverage:                                           5. Additional Exclusions
    1. The following paragraph is added to 1. Covered               We will not pay for physical loss or physical
       Property:                                                    damage caused by or resulting from:
        Fine Arts listed and described           in   the           a. Delay, loss of use, loss of market, or any
        Declarations or Schedule which are:                            other causes of consequential loss;
        a. Owned by you; or                                         b. Wear    and         tear,    depreciation     or
                                                                       obsolescence;
        b. Owned by others, and in your care, custody
           and control; and                                         c. Rust,      corrosion,     fungus,       decay,
                                                                       deterioration, hidden or latent defect, or any
        c. Located at the “scheduled premises”, or in
                                                                       quality in property that causes it to damage
           transit to and from the “scheduled
                                                                       or destroy itself;
           premises”, or at your residence.
                                                                    d. Insects, birds, rodents or other animals.
    2. The following is added to Paragraph 2.
                                                                    e. Dishonest acts by:
       Property Not Covered with respect to coverage
       afforded by this endorsement:                                    (1) You or any of your partners;
        Property on exhibition at fairgrounds or at any                 (2) Your directors or trustees;
        type of exposition, unless such locations are                   (3) Your authorized        representatives   or
        listed and described in the Declarations or                         employees; or
        Schedule.                                                       (4) Anyone, other than a carrier for hire, to
    3. The following special       Limitation provision                     whom you entrusted the Covered
       applies  to  property       covered    by    this                    Property, including their employees, for
       endorsement:                                                         any purpose:
        Art glass windows, glassware, statuary,                         Whether acting alone or in collusion with
        marbles, bric-a-brac, porcelains and other                      others; and
        articles of fragile or brittle nature are covered               Whether or not occurring during the hours of
        against loss by breakage only if loss or damage                 employment.
        is caused by "specified causes of loss."




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       f.   Voluntary parting with any property whether        2. Pair or Set
            or not induced to do so by any fraudulent              In case of total loss to an item of Covered
            scheme, trick, device or false pretense.               Property which is part of a pair or set, we agree
       g. Unauthorized instructions to transfer                    to pay you the full amount of the pair or set as
          property to any person or to any place.                  shown in the Declarations or Schedule and you
       h. Theft from any unattended vehicle unless at              agree to surrender the remaining item(s) of the
          the time of theft its windows, doors and                 pair or set to us.
          compartments were closed and locked and              3. Packing
          there are visible signs that the theft was the           You agree that Covered Property will be packed
          result of forced entry.                                  and unpacked by competent packers.
            But this exclusion does not apply to property   E. Additional Definition
            in the custody of a carrier for hire.
                                                               The following definition is added to Section H.
       i.   Processing or work performed upon the              DEFINITIONS:
            property.
                                                               "Fine Arts" meaning paintings, etchings, pictures,
B. Limits of Insurance                                         tapestries, art glass windows, valuable rugs,
                                                               statuary, marbles, bronzes, antique furniture, rare
   Section C. LIMITS OF INSURANCE is replaced by
                                                               books, antique silver, manuscripts, porcelains, rare
   the following:
                                                               glass, bric-a-brac, and similar property of rarity,
   The most we will pay for physical loss or physical          historical value or artistic merit.
   damage in any one occurrence for property covered        F. Recovered Property
   under this endorsement is the Limit of Insurance
                                                               If either you or we recover any property after loss
   shown in the Declarations for “Fine Arts”, but no
                                                               settlement, that party must give the other prompt
   more than $25,000 for any one item of “Fine Arts”.
                                                               notice. At your option, you may retain the property.
C. Deductible                                                  But then you must return to us the amount we paid
                                                               to you for the property. We will pay recovery
   We will adjust loss in any one occurrence under this        expenses and the expenses to repair the Covered
   endorsement as a single loss. The only deductible           Property, subject to the Limit of Insurance.
   amount that applies under this coverage is the larger
   of:
   1. $250; or
   2. The amount shown in the Declarations as a
      deductible applicable to this coverage.
D. Additional Conditions
   1. Valuation
       The following is added to Section              E.
       PROPERTY LOSS CONDITIONS:
       The value of Covered Property will be the
       amount shown in the Declarations or Schedule
       for each item of Covered Property, which is
       agreed to be the value of the item.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



       TRANSIT COVERAGE – PROPERTY IN THE CARE OF
                   CARRIERS FOR HIRE

This endorsement modifies insurance provided under the following:

                                    SPECIAL PROPERTY COVERAGE FORM


Except as otherwise stated in this endorsement the             2. The Transit Coverage – Property in the Care of
terms and conditions of the policy and of the Special             Carriers for Hire also applies to:
Property Coverage Form apply to the insurance stated                a. Expenses to Inspect, Repackage and
below.                                                                 Reship Damaged Shipments
A. With respect to this Transit Coverage – Property in                 The necessary additional expenses you incur
   the Care of Carriers for Hire only, the following                   to inspect, repackage and reship Covered
   changes are made to the Special Property Coverage                   Property which is physically damaged as a
   Form:                                                               result of a Covered Cause of Loss.
   1. Under A.4. Limitations, subparagraph c.(3)                    b. Expenses to Protect Covered Property
      which limits coverage for patterns, dies, molds                  from Spoilage or Change in Temperature
      and forms, is deleted.                                           The necessary additional expense you incur
   2. Under B. Exclusions                                              to temporarily store Covered Property in a
       a. Exclusions 1.a. (Earth Movement) and 1.f.                    temperature controlled environment in order
          (Water) do not apply to property in transit.                 to avoid or minimize physical loss or
                                                                       physical damage to such property from
       b. Exclusions 2.e. (Dishonesty) and 2.g.                        spoilage or change in temperature. Such
          (Exposed Property) do not apply to property                  temporary storage must be made necessary
          in custody of a carrier for hire.                            by the sudden and accidental breakdown of
       c. Exclusion 2.f. (False Pretense) does not                     heating    or   refrigeration  unit(s)   on
          apply to loss or damage caused by your                       transporting conveyances.
          good faith acceptance of false bills of lading               This additional expense will not include:
          or shipping receipts.
                                                                       (1) Expenses to repair or replace heating or
       d. The following Exclusion is added:                                refrigeration unit(s);
           We will not pay for physical loss or physical               (2) Costs or penalties due to detention or
           damage caused by or resulting from poor or                      delay of any vehicles, trailers,
           insufficient packaging or packing.                              conveyances or containers; or
B. Transit Coverage – Property in the Care of                          (3) Costs for additional wages, room, board
   Carriers for Hire                                                       or meals.
   1. The insurance that applies to your Business                   c. F.O.B. Shipments
      Personal Property and Personal Property of
      Others is extended to apply to shipments of that                 Outgoing shipments where the risk of
      property while in transit at your risk, by motor                 physical loss or physical damage is
      vehicle, railroad car or aircraft between points                 transferred to the buyer when such property
      within the Coverage Territory. This includes                     leaves your premises.
      property you have sold and for which your                        You must use all reasonable means to
      responsibility continues until it is delivered.                  collect the amount due you from the buyer

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           before making a claim under this Transit         E. Deductible
           Coverage. We will not make payment until            We will not pay for physical loss or physical damage
           you grant us the right of recovery against          in any one occurrence until the amount of physical
           the buyer.                                          loss or physical damage exceeds $250. We will
       d. Loading and Unloading                                then pay the amount of physical loss or physical
           Shipments during loading or unloading and           damage in excess of $250 up to the applicable Limit
           within 500 feet of any transporting                 of Insurance.
           conveyance.                                      F. Additional Conditions
       e. Return Shipments                                     1. Valuation
           Outgoing shipments which have been                      Property Loss Condition E.5. is deleted and
           rejected by the consignee or are not                    replaced by the following:
           deliverable, while:                                     a. Valuation
           (1) In due course of transit, being returned                (1) Property You Own
               to you; or
                                                                            The value of Covered Property will be
           (2) Up to 10 days after delivery or                              the amount of invoice plus accrued
               attempted delivery awaiting return                           charges, prepaid charges and charges
               shipment to you.                                             since shipment; or
           Payment under paragraphs a., b., c., d. and                 (2) In the absence of an invoice, the value
           e. above will not increase the Transit                          of Covered Property will be its actual
           Coverage Limit of Insurance.                                    cash value, with proper deduction for
C. Under this Transit Coverage – Property in the                           depreciation, at the point of destination
   Care of Carriers for Hire, we will not pay for:                         on the date of expected arrival.
   1. Property in the care, custody or control of your             b. Property of Others
      salespersons.                                                    The most we will pay for Covered Property
   2. Mail shipments in the custody of the U.S. Postal                 owned by others is the lesser of:
      Service.                                                         (1) Your legal liability for direct physical
   3. Property of Others for which you are responsible                     loss or physical damage to such
      as a:                                                                property; or
       a. Carrier for hire; or                                         (2) What we would pay if you had owned
       b. Carloader, consolidator, broker, freight                         the property.
          forwarder, shipping association, or other            2. Impairment of Rights of Recovery
          arranger of transportation.                              We will not pay for physical loss or physical
   4. Property in or on a motor vehicle you own, lease             damage, if you impair our rights to recover
      or operate.                                                  damages from any carrier for hire. But you may
D. Limit of Insurance                                              accept from carriers for hire bills of lading,
                                                                   receipts or contracts of transportation which
   The Limit of Insurance shown in the Declarations for            contain a limitation of value.
   Transit Coverage – Property in the Care of Carriers
   for Hire is the most we will pay for all physical loss
   or physical damage in any one occurrence to
   property insured under this endorsement.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                 ACCOUNTS RECEIVABLE

                         This endorsement modifies insurance provided under the following:

                                   STANDARD PROPERTY COVERAGE FORM
                                    SPECIAL PROPERTY COVERAGE FORM


This coverage applies only when it is indicated in the     D. Additional Conditions
Declarations. The provisions of this policy apply to the       (1) If you cannot accurately establish the value of
coverage stated in this endorsement, except as                     accounts receivable outstanding as of the time
indicated below.                                                   of direct physical loss or physical damage the
A. When shown in the Declarations as applicable, the               following method will be used:
   Limit of Insurance stated in paragraph A.5.a.(1),               (a) Determine the total of the average monthly
   Accounts Receivable, in the Standard Property                       value of accounts receivable for the 12
   Coverage     Form    and     A.6.a.(1),  Accounts                   months immediately preceding the month in
   Receivable, in the Special Property Coverage Form                   which the direct physical loss or physical
   is replaced by the Limit of Insurance for Accounts                  damage occurred; and
   Receivable shown in the Declarations. All other
                                                                   (b) Adjust that total for any normal fluctuations
   terms and conditions of the Accounts Receivable
   Coverage Extension apply to this Optional                           in the value of accounts receivable for the
   Coverage.                                                           month in which the direct physical loss or
                                                                       physical damage occurred or for any
B. Limit of Insurance                                                  demonstrated variance from the average for
    The most we will pay under this coverage extension                 that month.
    in any one occurrence is the Limit of Insurance            (2) The following will be deducted from the total
    shown in the Declarations for Accounts Receivable.             value of accounts receivable, however that
C. Deductible                                                      value is established:
    We will not pay for loss in any one occurrence                 (a) The value of the accounts for which there is
    unless the amount of loss exceeds the policy                       no loss or damage;
    deductible stated in the Declarations. We will then            (b) The value of the accounts that you are able
    pay the amount of loss in excess of the Deductible,                to reestablish or collect;
    up to the Limit of Insurance.
                                                                   (c) A value to allow for probable bad debts that
                                                                       you are normally unable to collect; and
                                                                   (d) All unearned interest and service charges.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  COMPUTERS AND MEDIA

This endorsement modifies insurance provided under the following:

                                    STANDARD PROPERTY COVERAGE FORM
                                     SPECIAL PROPERTY COVERAGE FORM

The provisions of this policy apply to the coverage                      (2) Power Failure;
stated in this endorsement, except as indicated below.                   (3) Airport security check, or radio or
A. Computer Equipment, Electronic Data and                                    telephone line interference; or
   Software                                                              (4) Electromagnetic disturbance outside
    1. Coverage                                                               the "computer system".
        We will pay for direct physical loss of or                  b. Head crash, meaning physical damage to
        physical damage, to "computer equipment"                         disks, tapes or hardware caused by a
        and the cost to research, replace or restore                     contact of electromagnetic heads (which
        physically lost or physically damaged                            read or write information) with such disks
        "electronic data" and "software" subject to the                  or tapes;
        Limit of Insurance shown in the Declarations                c. Damage caused by a "computer virus";
        for Computers and Media while anywhere                           and
        within the coverage territory, and while in                 d. Theft of "computer equipment" away from
        transit, but only if:                                            the "scheduled premises". Theft means
        a. Owned by you; or                                              an act of stealing or an attempt to steal.
        b. Owned by others but in your care, custody                     Theft includes loss of property from a
           and control regardless of whether you use                     known place when it is likely that the
           it for personal or business needs.                            property has been stolen.
                                                                 4. Exclusion
    2. Property Not Covered
                                                                    We will not pay to research, replace or restore
       "Computer Equipment" as used in this optional
                                                                    physically lost or physically damaged
       coverage does not include:
                                                                    "electronic data" or "software" which is
       a. Source documents, other than manuals                      licensed, leased or rented to others.
            purchased with hardware or "software";
                                                                 5. Deductible
       b. Worksheets and printouts;
                                                                    We will not pay for loss or damage in any one
       c. Property held for sale or lease;                          occurrence to "computer equipment" until the
       d. Property leased or rented to others; or                   amount of loss or damage exceeds $250,
       e. "Money", deeds, notes, "securities" or                    unless a separate deductible is stated in the
            other financial instruments, including such             Declarations for Computers and Media
            instruments in electronic form.                         Coverage.
    3. Extended Causes of Loss                                B. Additional Coverage
       Direct physical loss or physical damage to your           1. Business Income and Extra Expense
       "computer equipment", "electronic data" or                    Coverage
       "software",     or     "computer     equipment",             If Business Income and Extra Expense
       "electronic data" or "software" of others in your            Coverage is included in this policy then the
       care, custody or control is extended to include              following applies.
       the following:                                               a. Coverage
       a. Electromagnetic injury caused by:                              (1) Coverage under this endorsement
            (1) Blackout or brownout;                                         applies to the following Additional


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             Coverages and Coverage Extensions                   "electronic data", and "software" when this
             in the Standard or Special Property                 endorsement is attached to the Special
             Coverage Form with respect to                       Property Coverage Form and Equipment
             "computer equipment", "electronic                   Breakdown Additional Coverage is included on
             data" and "software":                               the policy.
             (a) Business Income;                        C. Exclusion of Certain Computer Related Losses
             (b) Extra Expense;                             The provisions of this endorsement do not override
             (c) Civil Authority;                           or in any way affect the application of the Exclusion
                                                            of Certain Computer Related Losses if such
             (d) Extended Business Income; and
                                                            exclusion is endorsed to or otherwise made a part
             (e) Newly Acquired or Constructed              of this policy. That exclusion addresses the
                  Property Coverage.                        inability of a "computer system" to correctly
         (2) Coverage under this endorsement                recognize process, distinguish, interpret or accept
             does not apply to any other Additional         one or more dates or times.
             Coverage or Coverage Extension.             D. Exclusions
      b. Coverage Limitations                               1. Section B. Exclusions, of the Standard or
         The following limitations apply only if the             Special Property Coverage Form do not apply
         physical loss or physical damage is a                   to coverage provided by this endorsement,
         direct result of the Extended Causes of                 except for the exclusions of:
         Loss for "computer equipment", "software"               a. Earth Movement;
         and "electronic data" as indicated below.               b. Governmental Action;
         (1) Limit of Insurance                                  c. Nuclear Hazard;
             This Additional Coverage is included                d. War and Military Action; and
             in the Limit of Insurance for
             Computers and Media shown in the                    e. Water.
             Declarations when the actual loss of           2. Additional Exclusions
             business income and extra expense                   We will not pay for loss or damage caused by
             you incur due to the necessary                      or resulting from:
             suspension (slowdown or cessation) of
                                                                 a. Input, programming or processing errors;
             your operations is a result of:
                                                                 b. Mechanical breakdown or failure, however
             (a) A cause of loss included in A.3.a.,
                                                                      head crash will not be considered as a
                  b. or c., Extended Causes of                        mechanical breakdown or failure.
                  Loss, of this endorsement; or
                                                                      This exclusion does not apply to
             (b) Physical damage or physical loss                     "computer equipment", "electronic data",
                  to      "computer      equipment",                  and "software" when this endorsement is
                  "electronic data", and "software"                   attached to the Special Property Coverage
                  that was away from the scheduled                    Form      and     Equipment      Breakdown
                  premises at the time of loss.                       Additional Coverage is included on the
             This is not an additional limit of                       policy;
             insurance.                                          c. Faulty       construction,     materials     or
         (2) Waiting Period                                           workmanship;
             We will not pay for any covered                     d. Error, omission or deficiency in design;
             Business Income loss you sustain                    e. Rust, corrosion, deterioration, hidden or
             under this provision due to physical loss                latent defect or any quality in property that
             or physical damage to "electronic data",                 causes it to damage or destroy itself;
             or "software" caused by a "computer
             virus" which results in the necessary               f. Dryness or dampness of atmosphere;
             suspension (slowdown or cessation) of                    changes in or extremes of temperature;
             your business described in the                      g. Wear and tear, marring or scratching;
             Declarations during the first 12 hours              h. Insects, birds, rodents, or other animals;
             that immediately follow the start of such
                                                                 i. Obsolescence;
             suspension. This Waiting Period
             applies independent of the deductible               j. Dishonest or criminal acts by you, any of
             applicable to "Computer Equipment".                      your partners, employees, trustees,
                                                                      authorized representatives or anyone to
   2. Equipment Breakdown Coverage
                                                                      whom you entrust the property for any
      The Additional Coverage for Equipment                           purpose, whether acting alone or in
      Breakdown applies to "computer equipment",                      collusion with others;

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       k. Unexplained disappearance, however we                     property with upgraded processing or
          will cover theft of "computer equipment" as               performance characteristics. This Optional
          provided in provision A.3.d.;                             Upgrade Allowance will, at our option, be
       l.   Unlawful trade, or seizure by orders of                 payable after you have purchased the
                                                                    replacement property and have provided us
            governmental authority;
                                                                    with written proof of such purchases; or
       m. Delay or loss of market; and
                                                                c. If the item is not repaired or replaced, we
       n. Theft of laptop, palmtop or similar portable             will not pay more than the actual cash
          property while in transit as checked                     value of the item at the time of physical
          baggage.                                                 loss or physical damage. If you elect this
E. Limit of Insurance                                              option, you have the right to make further
                                                                   claim within 180 days after loss for any
   The most we will pay for physical loss or physical
                                                                   additional payment on a replacement cost
   damage in any one occurrence is the Limit of
                                                                   basis.
   Insurance for Computers and Media shown in the
   Declarations.                                            2. In the event of physical loss or physical
                                                               damage to "electronic data" or "software", we
F. Loss Payment
                                                               will pay the reasonable amount you actually
   This Loss Payment condition is applicable to the            spend to reproduce, restore, or replace the
   "computer equipment", "electronic data", and                physically lost or physically damaged
   "software" coverage provided by this endorsement.           "electronic data" or "software". This includes
   We will determine the value of Covered Property             the cost of computer consultation services for
   as follows:                                                 restoration and the cost of research to
   1. ''Computers,'' ''peripheral devices", ''media'',         reconstruct lost or damaged information. But
      and manuals at the full cost to repair or                we will not pay more than the Limit of
      replace the property subject to the Limit of             Insurance for Computers and Media specified
      Insurance. However, we will not pay more for             in the Declarations.
      physical loss or physical damage on a                 3. In the event of physical loss or physical
      replacement cost basis than the lesser of and            damage to any part of "computer equipment",
      the following:                                           "electronic data" or "software", we will pay only
       a. The amount necessary to replace the item             what it would cost to replace, reproduce, or
          with similar property possessing the                 restore the physically lost or physically
          minimum characteristics necessary to                 damaged part.
          perform the same functions when                G. Additional Definitions
          replacement with identical property is not
                                                            1. "Computer Virus" means a program, which is
          possible or practical.
                                                               intentionally created to cause damage or
       b. The amount necessary to repair or replace            disruption in the computer operations of a
          the item with one substantially identical to         party using or coming in contact in any way
          the physically lost or physically damaged            with the program.
          item. In the event of a covered total loss
                                                            2. "Computer System" includes "computer",
          to one or more items, we will allow up to
          20% over the current replacement cost as             "peripheral      devices",    "software", and
                                                               "electronic data" necessary for the "computer"
          described in this provision, as an Optional
          Upgrade Allowance for the purchase of new            to function for its intended purpose.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     EMPLOYEE DISHONESTY COVERAGE

This endorsement modifies insurance provided under the following:

                                    STANDARD PROPERTY COVERAGE FORM
                                     SPECIAL PROPERTY COVERAGE FORM


Except as otherwise stated in this endorsement, the                          Cause of Loss caused by any
terms and conditions of the policy apply to the insurance                    "employee"      while    temporarily
stated below.                                                                outside the Coverage Territory for a
                                                                             period of not more than 90 days.
A. COVERAGE
                                                                          (b) We will pay for any loss of Covered
    1. The following is added to Paragraph A.5.,                              Property arising out of a Covered
       Additional Coverages, of the Special Property                          Cause of Loss caused by your
       Coverage Form:                                                         "employee" while at the premises of
            Employee Dishonesty Coverage                                      your client or customer.
            (1) We will pay for loss of, and loss from                       Any claim for loss sustained by any
                damage to, Covered Property resulting                        client or customer and covered by
                directly from the Covered Causes of                          this policy may only be made by you
                Loss.                                                        in your Proof of Loss. No third party
                                                                             has a direct right against this
                Covered Property, solely as used in this
                                                                             insurance and no third party may
                Additional Coverage, means "money",
                                                                             make a direct claim against us as
                "securities", and other tangible property
                                                                             the writer of your insurance.
                of intrinsic value and not otherwise
                excluded.                                              (3) Coverage under the Employee
                                                                           Retirement Income Security Act of
                Covered Causes of Loss means
                dishonest acts committed by an                             1974, as amended ("ERISA")
                "employee", except you, whether                           (a) We will pay for loss of, and loss
                identified or not, acting alone or in                         from damage to, Covered Property
                collusion with other persons, with the                        resulting directly from the Covered
                manifest intent to:                                           Causes of Loss.
                (a) Cause you to sustain loss; and also                       Covered       Property,  solely  as
                (b) Obtain financial benefit (other than                      applicable to ERISA coverage,
                                                                              means the funds or other property
                    salaries,   commissions,       fees,
                    bonuses, promotions, awards, profit                       of any employee pension benefit
                                                                              plan or employee welfare benefit
                    sharing or pensions or other
                    employee benefits earned in the                           plan that:
                    normal course of employment) for:                         (i) Is subject to (and not exempt
                                                                                   from) the bond requirement set
                    (i) That "employee"; or
                                                                                   forth in Section 412 of ERISA,
                    (ii) Any person or organization                                and
                         intended by the "employee" to                        (ii) You establish and maintain for
                         receive that benefit.                                     your employees (a "Plan")
            (2) Employee Dishonesty           Additional                      and which is not otherwise
                Coverages:                                                    excluded.
                (a) We will pay for loss of Covered                           Covered Causes of Loss, solely as
                    Property arising out of a Covered                         applicable to ERISA coverage,


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                 means an act of fraud or dishonesty                    paid promptly into such plan for
                 committed by an "employee",                            the use and benefit of the
                 except you, whether identified or                      Plan(s) sustaining the loss.
                 not, acting alone or in collusion with             (v) If two or more Plans are insured
                 other persons, that results in a loss                  under this insurance, any
                 to a Plan of funds or other property                   payment we make for loss
                 which is used or may be used to                        either sustained by two or more
                 pay benefits under the Plan.                           plans, or of commingled funds
                 "Covered Causes of Loss" does not                      or other property of two or more
                 include investment losses or any                       Plans that arises out of one
                 other loss resulting from a breach of                  occurrence, is to be shared by
                 fiduciary duty under ERISA or a                        each Plan sustaining loss in the
                 prohibited transaction as defined by                   proportion that the amount of
                 ERISA and for which coverage is                        insurance required for each
                 not required by Section 412 of                         such     Plan    under    ERISA
                 ERISA.                                                 provisions bears to the total of
              (b) Welfare and Pension Plan ERISA                        those amounts.
                  Compliance                                 (4) Theft Limitation Exception
                 In    compliance     with        certain       Limitation A.4.c., of the Special Property
                 provisions of the ERISA:                       Coverage Form does not apply to
                 (i) For the purposes of this                   coverage provided by this endorsement.
                     insurance, the Plans you                (5) Additional Exclusions
                     establish and maintain for the
                     benefit of your employees shall            (a) Employee     Terminated        Under
                     be Named Insureds under this                   Prior Insurance
                     Employee            Dishonesty                 We will not pay for loss caused by
                     Coverage.                                      any "employee" of yours, or
                 (ii) ''Employee''      includes      any           predecessor in interest of yours, for
                       natural person you employ and                whom similar prior insurance has
                       any owner, officer, trustee or               been terminated and not reinstated
                       director of your company who                 since the last such termination.
                       "handles" the funds or other             (b) Insurance Operations
                       property of the Plan (as defined             We will not pay for direct or indirect
                       in 29 C.F.R. 2580.412-6)                     loss resulting from contractual or
                       including, but not limited to, the           extra-contractual liability sustained
                       Plan Administrator. "Employee"               by you in connection with the
                       does not include any third party             issuance of contracts or purported
                       (including but not limited to a              contracts of insurance, indemnity or
                       broker, independent contractor,              suretyship.
                       record keeper, payroll provider,
                       trustee or other fiduciary) who          (c) Inventory Shortages
                       provides services to you or to a             We will not pay loss, or that part of
                       Plan.                                        any loss, the proof of which as to its
                 (iii) If any Plan is insured jointly with          existence or amount is dependent
                       any other entity under this                  upon:
                       insurance, you or the Plan                   (i) An inventory computation; or
                       Administrator must select a                  (ii) A profit and loss computation.
                       Limit of Insurance under this
                       Employee Dishonesty Coverage             (d) Partners
                       Form that is sufficient to provide           We will pay only for loss caused by
                       an amount of insurance for                   any partner or member of a limited
                       each Plan that is at least equal             liability corporation that is in excess
                       to that required if each Plan                of the sum of:
                       were separately insured.                     (i) Any amounts you owe that
                 (iv) If the insured first named in the                 partner or member; and
                       Declarations is an entity other
                                                                    (ii) The value of that partner's or
                       than a Plan, any payment we
                                                                         member's ownership interest
                       make to that insured for loss
                                                                         determined by the closing of
                       sustained by any Plan must be

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                      you organization's books on the      (7) Limit of Insurance
                      date of discovery of the loss by        The most we will pay for each
                      anyone in your organization not         occurrence of loss under this Additional
                      involved in the Employee                Coverage is the Employee Dishonesty
                      Dishonesty; and                         Limit of Insurance stated in the
                 (iii) Any   applicable     deductible        Declarations.
                       amount.                             (8) Deductible
              (e) Trading Loss                                We will not pay for loss in any one
                 We will not pay for loss resulting           occurrence unless the amount of loss
                 directly or indirectly from trading,         exceeds     the     Deductible      shown
                 whether in your name or in a                 Paragraph D.5. the Special Property
                 genuine or fictitious account if such        Coverage Form, unless a separate
                 loss does not result from dishonesty         Deductible for Employee Dishonesty
                 or fraud.                                    applies and is stated in the
          (6) Additional Conditions                           Declarations. We will then pay the
                                                              amount of the loss in excess of the
              (a) Termination      As      To      Any        Deductible, up to the Limit of Insurance.
                  "Employee"
                                                              No deductible applies to the coverage
                 This insurance is terminated as to           granted in Paragraph A.1.(3) of this
                 any "employee":                              endorsement.
                 (i) Immediately upon discovery by         (9) Occurrence Definition
                     you, or any of your partners,
                     officers or directors not in             As used in this Additional Coverage,
                     collusion with the "employee", of        occurrence means all loss caused by, or
                     any dishonest or fraudulent act          involving, one or more "employees",
                     committed by that "employee"             whether the result of a single act or
                     whether     before    or   after         series of acts.
                     becoming employed by you; or
                 (ii) On the date specified in a notice
                      mailed to you. That date will be
                      at least 30 days after the date of
                      mailing.
                      The mailing of notice to you at
                      the last mailing address known
                      to us will be sufficient proof of
                      notice. Delivery of notice is the
                      same as mailing.




Form SS 04 42 03 17                                                                       Page 3 of 3
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                         OUTDOOR SIGNS

This endorsement modifies insurance provided under the following:

                                   STANDARD PROPERTY COVERAGE FORM
                                    SPECIAL PROPERTY COVERAGE FORM



This coverage applies only when it is indicated in the      C. Additional Exclusion
Declarations. The provisions of this policy apply to the        We will not pay for physical loss or physical damage
coverage stated in this endorsement, except as                  caused by or resulting from:
indicated below.
A. We will pay for direct physical loss of or physical          (1) Wear and tear;
    damage to all outdoor signs at the “scheduled               (2) Hidden or latent defect;
    premises”:
                                                                (3) Rust;
    (1) Owned by you; or
                                                                (4) Corrosion; or
    (2) Owned by others but in your care, custody and
        control.                                                (5) Mechanical breakdown.
B. Paragraph A.3., Covered Causes of Loss, and              D. Limit of Insurance
   Section B., Exclusions, do not apply, to this Optional       The most we will pay for physical loss or physical
   Coverage, except for:                                        damage in any one occurrence is the Limit of
                                                                Insurance for Outdoor Signs shown in the
    (1) Governmental Action;
                                                                Declarations.
    (2) Nuclear Hazard; and                                 E. The provisions of this Optional Coverage supersede
    (3) War and Military Action.                               all other references to outdoor signs in this policy.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                       PERSONAL PROPERTY OF OTHERS

This endorsement modifies insurance provided under the following:

                                    STANDARD PROPERTY COVERAGE FORM
                                     SPECIAL PROPERTY COVERAGE FORM



This coverage applies only when it is indicated in the Declarations. The provisions of this policy apply to the coverage
stated in this endorsement, except as indicated below.

We will pay, on replacement cost basis, for direct physical loss or physical damage by a Covered Cause of Loss to
Personal Property of Others that is in your care, custody and control.
The most we will pay for direct physical loss or physical damage in any one occurrence is the Limit of Insurance
applicable to Personal Property of Others shown in the Declarations.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                   TEMPERATURE CHANGE

This endorsement modifies insurance provided under the following:

                                     STANDARD PROPERTY COVERAGE FORM
                                      SPECIAL PROPERTY COVERAGE FORM

This coverage applies only when it is indicated in the                (a) Ordinance or Law;
Declarations. The provisions of this policy apply to the              (b) Power Failure; and
coverage stated in this endorsement, except as
indicated below.                                                      (c) Mechanical Breakdown in the Standard
                                                                          Property Coverage Form.
A. We will pay for direct physical loss of or physical
   damage to ''perishable stock'' at the "scheduled               2. The following exclusions are added:
   premises" caused by or resulting from:                             We will not pay for direct physical loss or
    1. A change in temperature or humidity resulting                  physical damage caused by or resulting from:
       from:                                                          (a) The disconnecting of any of the following
        (a) Mechanical breakdown or failure of:                           systems from the source of power:
            (1) Stationary heating plants; or                             (1) Refrigerating;
            (2) Refrigerating, cooling or humidity control                (2) Cooling; or
                apparatus or equipment;                                   (3) Humidity control.
            But only while such plants, equipment or                  (b) The loss of electrical power caused by the
            apparatus are at the "scheduled premises".                    shutting off of any switch or other device
        (b) Complete or partial failure of electric power,                used to control the flow of electric power or
            either on or away from your "scheduled                        current.
            premises". Such failure of power must be                  (c) The inability of an electrical utility company,
            due to conditions beyond your control; or                     your stationary heating plant or any other
    2. Contamination by a refrigerant.                                    power source to provide sufficient heat or
                                                                          power due to:
B. SELLING PRICE
                                                                          (1) Lack of fuel;
    We will determine the value of finished "perishable
    stock" in the event of direct physical loss or physical               (2) Lack of capacity to make enough heat
    damage at the selling price, as if no physical loss or                    or power; or
    physical damage had occurred less discounts and                       (3) Order of the government.
    expenses you otherwise would have had.
                                                                      (d) Breaking of any glass that is a
C. We will not pay for direct physical loss of or physical                permanent part of a refrigerating, cooling
   damage to "perishable stock" located:                                  or humidity control unit.
    1. On buildings;                                          E. DEDUCTIBLE
    2. In the open; or                                            We will not pay for loss in any one occurrence unless
    3. In vehicles, other than trailers used for storage          the amount of loss exceeds the deductible stated in
    located within 1000 feet of the "scheduled premises’.         paragraph D.5. of the Standard Property Coverage
                                                                  Form or D.5. of the Special Property Coverage Form.,
D. EXCLUSIONS
                                                                  unless a different deductible is stated in the
    1. The following exclusions under SECTION B -
       EXCLUSIONS are deleted:




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Declarations for Temperature Change. We will then pay       H. ADDITIONAL DEFINITIONS
the amount of loss in excess of the deductible, up to the      For the purpose of this insurance:
Limit of Insurance.
                                                               1. ''Mechanical breakdown'' means:
F. LIMIT OF INSURANCE
                                                                   (a) Breaking     or  separation    of   any
    The most we will pay for direct physical loss or                   mechanical part(s) other than gas pipes
    physical damage in any one occurrence is the                       or lines; or
    Limit of Insurance for Temperature Change
    shown in the Declarations.                                     (b) Burning out of any electrical motor
                                                                        servicing such unit; and
G. ADDITIONAL CONDITIONS
                                                                   requiring replacement of the damaged parts
    1. We will pay for direct physical loss or                     to become functional.
       physical damage under this Optional
       Coverage only when:                                         But ''mechanical breakdown'' does not mean
                                                                   faulty operation or failure of equipment which
        (a) Such physical loss or physical damage                  results in temperature change but does not
            is not covered elsewhere in this policy or             require replacement of broken parts.
            any other policy that insures the
            ''perishable stock'' at the "scheduled                 We will not pay for direct physical loss or
            premises"; and                                         physical damage to "perishable stock"
                                                                   caused by such faulty operation or failure of
        (b) This Temperature Change coverage is                    equipment.
            shown as a specific item of insurance in
            the Declarations.                                  2. ''Perishable stock'' means personal property:
    2. In the event of physical loss or physical                   (a) Maintained under controlled conditions
       damage, none of the other coverages under                       for its preservation; and
       this policy or any other policy will share in its           (b) Susceptible to direct physical loss or
       payment unless the provisions of the policy                     physical damage if the controlled
       are similar to the provisions of this Optional                  conditions change.
       Coverage.
    3. We will not pay more than the Limit of
       Insurance shown in the Declarations for the
       Temperature Change.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         VALUABLE PAPERS AND RECORDS
This endorsement modifies insurance provided under the following:

                                        STANDARD PROPERTY COVERAGE FORM
                                         SPECIAL PROPERTY COVERAGE FORM

This coverage applies only when it is indicated in the      D. Under this Optional Coverage we will not pay for
Declarations. The provisions of this policy apply to the       property:
coverage stated in this endorsement, except as                   (1) Held as samples or for delivery after sale;
indicated below.
                                                                 (2) In storage away from the premises shown in the
A. We will pay for direct physical loss of or physical               Declarations; or
   damage to the following types of property at the
                                                                 (3) If such property can not be replaced with other
   "scheduled premises" that is your property or
   property of others in your care, custody or control:              property of like kind and quality.
                                                            E. With respect to this Optional Coverage, Coverage
    Valuable Papers and Records, meaning inscribed,
    printed or written:                                        Extension A.5.h., Property Off-Premises in the
                                                               Standard Property Coverage Form and Coverage
    (1) Documents;                                             Extension A.6.h., Property Off-Premises in the Special
    (2) Manuscripts;                                           Property Coverage Form are replaced by the following:
    (3) Records including patient records; or                    1. You may apply the insurance provided under
    (4) X-Rays                                                      this Optional Coverage to Valuable Papers and
                                                                    Records while such property is not at the
    including abstracts, books, deeds, drawings, films,             "scheduled premises", including while in transit.
    maps or mortgages.                                              The most we will pay for direct physical loss or
    But Valuable Papers and Records does not                        physical damage under this Coverage Extension
    include:                                                        is 25% of the Limit of Insurance shown in the
    (1) Property that cannot be reproduced, replaced or             Declarations for Valuable Papers and Records
        restored;                                                   but not more than $25,000.
    (2) ''Money'' and ''Securities'';                            2. However, if Valuable Papers and Records – Off-
                                                                    Premises is scheduled in the Declarations, then
    (3) Converted data; or
                                                                    the limit in E.1. above is replaced by the limit of
    (4) Programs or instructions used in your data                  insurance shown in the Declarations for
        processing operations, including the material on            Valuable Papers and Records – Off-Premises.
        which the data is recorded.
                                                            F. The Valuable Papers and Records Coverage
B. Limit of Insurance                                          Extension, paragraph A.5.i. in the Standard Property
    The most we will pay for direct physical loss or           Coverage Form and paragraph A.6.i. in the Special
    physical damage in any one occurrence is the Limit         Property Coverage Form., do not apply to any
    of Insurance for Valuable Papers and Records               premises where this Optional Coverage applies.
    shown in the Declarations.                              G.    With respect to coverage provided by this
C. Deductible                                                     endorsement, paragraph E.5.d.(6) in the Standard
    We will not pay for loss in any one Occurrence                Property Coverage Form and in the Special Property
    unless the amount of loss exceeds the policy                  Coverage Form are replaced by the following:
    deductible stated in the Declarations. We will then          (6) We will determine the value of "Valuable Papers
    pay the amount of loss in excess of the Deductible,              and Records" at the cost of:
    up to the Limit of Insurance.                                    a. Blank materials for reproducing the records;
                                                                        and


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         b. The reasonable cost to research, replace or          (c) Anyone else to whom the property is
            restore the lost information.                            entrusted.
H. Section B. Exclusions does not apply to this                      This exclusion applies whether or not such
   Optional Coverage except for:                                     persons are acting alone or in collusion with
     (1) Governmental Action;                                        other persons or such acts occur during the
                                                                     hours of employment.
     (2) Nuclear Hazard; and
                                                                 But this exclusion does not apply to a carrier for
     (3) War and Military Action.
                                                                 hire.
I.   Additional Exclusions                                   (2) Errors or omissions in processing or copying.
     We will not pay for direct physical loss or physical        But we will pay for direct physical loss or
     damage caused by or resulting from any of the               physical damage caused by resulting fire or
     following:                                                  explosion.
     (1) Dishonest acts by:                                  (3) Electrical or magnetic injury, disturbance or
         (a) You, or your employees or authorized                erasure of electronic recordings.
             representatives;                                    But we will pay for direct physical loss or
         (b) Anyone else with an interest in the property,       physical damage caused by lightning.
             or   their   employees     or     authorized    (4) Voluntary parting with any property by you or
             representatives; or                                 anyone entrusted with the property if induced to
                                                                 do so by any fraudulent scheme, trick, device or
                                                                 false pretense.
                                                             (5) Unauthorized instructions to transfer property to
                                                                 any person or to any place.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                           SUPER STRETCH

This endorsement modifies insurance provided under the following:

                                     STANDARD PROPERTY COVERAGE FORM
                                      SPECIAL PROPERTY COVERAGE FORM

Except as otherwise stated in this endorsement, the                      loss of or physical damage to your computer
terms and conditions of the policy apply to the insurance                systems.
stated below.                                                            This Additional Coverage is subject to the
A. The following changes apply to the Standard                           provisions of Computers and Media, Form
    Property Coverage Form, Additional Coverages,                        SS 04 41, with the exception of the Limit of
    A.4., or to the Special Property Coverage Form,                      Insurance provision contained in that form.
    Additional Coverages, A.5.:                                          Computers and Media, Form SS 04 41 is
    1. Blanket Coverage Limit of Insurance                               made a part of this policy whether or not
                                                                         Computers and Media coverage is indicated
        The following Additional Coverage is added:
                                                                         in the Declarations.
        We will pay up to $150,000 in any one
        occurrence as a Blanket Coverage Limit of                    c. Debris Removal
        Insurance to apply at each "scheduled premises"                  Within the Blanket Coverage Limit of
        to apply to sum of all covered loss under the                    Insurance, we will pay for increases under
        coverages described in this section A.1.a.                       Debris Removal additional limit, C.4.b.
        through A.1.f. arising out of a single Covered               d. Personal Property of Others
        Cause of Loss occurrence. You may apportion
                                                                         Within the Blanket Coverage Limit of
        this Limit among these coverages as you choose.
                                                                         Insurance, we will pay for direct physical
        This Limit of Insurance is in addition to any other              loss of or physical damage to personal
        Limit of Insurance that may be provided by this                  property of others that is in your care,
        policy for these coverages.                                      custody or control.
        a. Accounts Receivable                                           This Additional Coverage is subject to the
             Within the Blanket Coverage Limit of                        provisions of Personal Property of Others,
             Insurance, we will pay for direct physical                  Form SS 04 45, with the exception of the
             loss of or physical damage to your records                  statement concerning Limit of Insurance
             of accounts receivable receivable on or                     applicable to Personal Property of Others
             away from your "scheduled premises",                        shown in the Declarations, contained in that
             including while in transit.                                 form. Personal Property of Others, Form
             This Additional Coverage is subject to the                  SS 04 45 is made a part of this policy
             provisions of Accounts Receivable, Form                     whether or not Personal Property of Others
             SS 04 39, with the exception of the Limit of                coverage is indicated in the Declarations.
             Insurance provision contained in that form.             e. Temperature Change
             Accounts Receivable, Form SS 04 39 is
                                                                         Within the Blanket Coverage Limit of
             made a part of this policy whether or not
                                                                         Insurance, we will pay for direct physical
             Accounts Receivable coverage is indicated
                                                                         loss of or physical damage to perishable
             in the Declarations.
                                                                         stock caused by or resulting from a change
        b. Computers and Media                                           of temperature or contamination by a
             Within the Blanket Coverage Limit of                        refrigerant.
             Insurance, we will pay for direct physical

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           This additional coverage is subject to the          b. The determination of the amount of loss,
           provisions of the Temperature Change,                  such as taking inventory, or auditing
           Form SS 04 46, with the exception of the               business records.
           Limit of Insurance provision contained in        4. Computer Fraud
           that form.      Temperature Change, Form
                                                               The following Additional Coverage is added:
           SS 04 46 is made a part of this policy
           whether or not Temperature Change                   We will pay up to $5,000 in any one occurrence for
           coverage is indicated in the Declarations.          physical loss of or physical damage to "money",
                                                               "securities", and other property having intrinsic
      f. Valuable Papers and Records
                                                               value resulting directly from computer fraud.
           Within the Blanket Coverage Limit of                Computer fraud means any act of stealing property
           Insurance, we will pay for direct physical          following and directly related to the use of any
           loss of or physical damage to your valuable         computer to fraudulently cause a transfer of that
           papers and records on or away from your             property from inside your premises or from a
           "scheduled premises", including while in            banking institution or similar safe depository, to a
           transit.                                            person (other than a "messenger") outside those
           This Additional Coverage is subject to the          premises or to a place outside those premises.
           provisions of the Valuable Papers and               This Limit of Insurance is in addition to any other
           Records Coverage in form SS 04 47, with the         Limit of Insurance that may be provided by this
           exception of the Limit of Insurance provision       policy for this coverage.
           contained in that form. Valuable Papers and
           Records Coverage, Form SS 04 47 is made          5. Employee Dishonesty (including ERISA)
           a part of this policy whether or not Valuable       The following Additional Coverage is added:
           Papers and Records coverage is indicated in         We will pay up to $25,000 in any one
           the Declarations.                                   occurrence as a Limit of Insurance to cover loss
   2. Brands and Labels                                        from employee dishonesty.           This includes
      The following Additional Coverage is added:              ERISA coverage. This Limit of Insurance is in
      In the event of covered physical loss or physical        addition to any other Limit of Insurance that may
      damage to merchandise that is branded or                 be provided by this policy for this coverage.
      labeled, we will take all or part of the physically      This Additional Coverage is subject to the
      damaged property at an agreed or appraised               provisions of the Employee Dishonesty
      value and we will pay for:                               Coverage, Form SS 04 42, with the exception of
      a. Expenses you incur to:                                the Limit of Insurance provision contained in that
                                                               form. Employee Dishonesty Coverage, Form
           (1) Stamp salvage on the merchandise or
                                                               SS 04 42 is made a part of this policy whether
                its containers, if the stamp will not
                                                               or not Employee Dishonesty Coverage is
                physically damage the merchandise; or
                                                               indicated in the Declarations.
           (2) Remove the brands or labels, if doing
                                                            6. Fine Arts
                so will not physically damage the
                merchandise. You must relabel the              The following Additional Coverage is added:
                merchandise and its containers to              We will pay up to $25,000 in any one
                comply with the law.                           occurrence as a Limit of Insurance at each
      b. Any reduction in the salvage value of the             "scheduled premises" to apply to Fine Arts. This
           physically damaged merchandise as the               Limit of Insurance is in addition to any other
           result of the removal of the brand or label.        Limit of Insurance that may be provided by this
      This Additional Coverage is included within the          policy for this coverage.
      Business Personal Property Limit of Insurance.           This Additional Coverage is subject to the
   3. Claim Expenses                                           provisions of Fine Arts Coverage Form, Form
                                                               SS 04 22, with the exception of the following:
      The following Additional Coverage is added:
      In the event of covered loss or physical damage,         a. The requirement contained under Paragraph
      we will pay up to $10,000 in any one occurrence             A.1., Under A. Coverage, to list and describe
      as an additional Limit of Insurance to cover                Fine Arts in the Declarations or Schedule is
      reasonable expenses incurred by you at our                  deleted when Fine Arts are covered under
      specific request to assist us in:                           this Stretch endorsement; and
      a. The investigation of a claim or suit; or              b. The Limit of Insurance provision does not
                                                                  apply.


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      c. Paragraph D.1. Valuation is deleted and                 This additional coverage is subject to the
           replaced by the following:                            provisions of Off-Premises Utility Services -
           The value of Fine Arts will be the market             Direct Damage, Form SS 40 18, with the
           value at the time of physical loss or physical        exception of the Utility Services Limit of
           damage.                                               Insurance contained in that form. Off-Premises
                                                                 Utility Services – Direct Damage, Form SS 40
      Fine Arts Coverage, Form SS 04 22 is made a
                                                                 18 is made a part of this policy, whether or not
      part of this policy whether or not Fine Arts
                                                                 Off-Premises Utility Services – Direct Damage
      Coverage is indicated in the Declarations.
                                                                 coverage is indicated in the Declarations.
   7. Forgery
                                                             10. Outdoor Signs
      The following Additional Coverage is added:
                                                                 The following Additional Coverage is added and
      We will pay up to $25,000 in any one                       supersedes any other coverage for signs in this
      occurrence as a Limit of Insurance to cover loss           policy:
      from forgery of covered instruments, money
                                                                 We will pay up to full value of outdoor signs at
      orders, credit cards, and counterfeit money.
                                                                 each "scheduled premises" to cover direct
      This Limit of Insurance is in addition to any other
                                                                 physical loss of or physical damage to outdoor
      Limit of Insurance that may be provided by this
                                                                 signs.
      policy for this coverage.
                                                                 This Additional Coverage is subject to the
      This Additional Coverage is subject to the
                                                                 provisions of Outdoor Signs, Form SS 04 44,
      provisions of Forgery Coverage, Form SS 04
                                                                 with the exception of the Limit of Insurance
      86, with the exception of the Limit of Insurance
                                                                 provision and paragraph E. of that form.
      provision contained in that form.           Forgery
                                                                 Outdoor Signs, Form SS 04 44 is made a part of
      Coverage, Form SS 04 86 is made a part of this
                                                                 this policy whether or not Outdoor Signs
      policy, whether or not Forgery Coverage is
                                                                 coverage is indicated in the Declarations.
      indicated in the Declarations.
                                                             11. Pairs or Sets
   8. Laptop Computers - Worldwide Coverage
                                                                 The following Additional Coverage is added:
      The following Additional Coverage is added:
                                                                 If pairs or sets of stock are damaged by a
      We will pay up to $10,000 in any one occurrence
                                                                 Covered Cause of Loss, we will pay any
      as a Limit of Insurance to apply to laptop, palmtop,
                                                                 reduction in value of the undamaged parts of
      personal digital assistants (PDAs), and similar
                                                                 such damaged pairs or sets.
      portable computer equipment and accessories
      anywhere in the world, including while in transit.         As used in this Additional Coverage, the term
      This Limit of Insurance is in addition to any other        stock means merchandise held in storage or for
      Limit of Insurance that may be provided by this            sale, raw materials, and goods in-process or
      policy for this coverage.                                  finished.
      Limitation: We will not pay for direct physical            This coverage is included within the Business
      loss or physical damage caused by, resulting               Personal Property Limit of Insurance.
      from, arising out of the theft of this property        12. Property at Other Premises
      which in transit as checked baggage.                       The following Additional Coverage is added:
      This Additional Coverage is subject to the                 We will pay up to $10,000 in any one
      provisions       of    Computers      and    Media,        occurrence to extend coverage for Business
      Form SS 04 41, with the exception of the Limit             Personal Property at any premises not
      of Insurance provision contained in that form.             described in the Declarations.
      Computers and Media, Form SS 04 41 is made
                                                                 This includes property that you have sold under
      a part of this policy whether or not Computers
                                                                 an installation agreement and your responsibility
      and Media coverage is indicated in the
                                                                 continues until the property is accepted by the
      Declarations.
                                                                 customer.
   9. Off-Premises Utility Services - Direct Damage
                                                                 This Extension does not apply to:
      The following Additional Coverage is added:
                                                                 a. Property in the care, custody or control of
      We will pay up to $25,000 in any one                            your salespersons;
      occurrence as a Limit of Insurance to apply at             b. Property at any fair or exhibition;
      each "scheduled premises" to cover direct
      physical loss of or physical damage to Covered             c. Property in transit; or
      Property caused by or resulting from the                   d. Property temporarily stored at any premises
      interruption of utility services.                               not described in the Declarations.


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       This Limit of Insurance is in addition to any other       This Additional Coverage is subject to the terms
       Limit of Insurance that may be provided by this           and conditions of this policy with the exception
       policy for this coverage.                                 of:
   13. Salespersons' Samples                                     Paragraph B.1.f., Power Failure, of the
       The following Additional Coverage is added:               Standard Property Coverage Form and
                                                                 a. Paragraph B.1.d., Power Failure, of the
       We will pay up to $5,000 in any one occurrence
       as an additional Limit of Insurance to extend                 Special Property Coverage Form; and
       Business Personal Property to cover:                      b. Paragraph B.1.h.(4), Water, of the Standard
       a. Samples of your stock in trade (including                 Property Coverage Form and Paragraph
                                                                    B.1.f.(4), Water, of the Special Property
          containers); and
                                                                    Coverage Form.
       b. Similar property of others;
                                                                 THIS IS NOT FLOOD INSURANCE
       but only while such property is in:
                                                                 We will not pay for water or other materials that
       a. Your custody while acting as a sales                   overflow from a sump when the overflow is
          representative; or                                     caused by any flood. This applies regardless of
       b. In the custody of your sales representatives           the proximity of the flood to Covered Property.
          or agents.                                             Flood includes the accumulation of surface
   14. Sewer and Drain Back Up                                   water, waves, tides, tidal waves, overflow of
                                                                 streams or other bodies of water, or their spray,
       The following Additional Coverage is added:               all whether driven by wind or not that enters the
       We will pay for direct physical loss or physical          sewer or drain system.
       damage to Covered Property at the "scheduled          16. Tenant Building and Business Personal
       premises" solely caused by water that backs up            Property Coverage - Required by Lease
       from a sewer or drain.                                    The following Additional Coverage is added:
       This coverage is included within the Covered              The maximum we will pay in any one
       Property Limits of Insurance.                             occurrence is $20,000 as a Limit of Insurance to
       THIS IS NOT FLOOD INSURANCE                               apply to direct physical loss of or physical
                                                                 damage to Building and Business Personal
       We will not pay for water or other materials that         Property for which you have a contractual
       back up from any sewer or drain when it is                responsibility to insure. This includes building
       caused by any flood. This applies regardless of           fixtures, machinery and equipment.
       the proximity of the flood to Covered Property.       17. Transit Property in the Care of Carriers for
       Flood includes the accumulation of surface                Hire
       water, waves, tides, tidal waves, overflow of
       streams or other bodies of water, or their spray,         The following Additional Coverage is added:
       all whether driven by wind or not.                        We will pay up to $10,000 in any one
   15. Sump Overflow or Sump Pump Failure                        occurrence as a Limit of Insurance to apply to
                                                                 direct physical loss of or physical damage to
       The following Additional Coverage is added:
                                                                 property while in transit at your risk.
       The maximum we will pay is $25,000 in any one             This Additional Coverage is subject to the
       occurrence for any loss, including loss of                provisions of Transit Property in the Care of
       Business Income or Extra Expense, resulting               Carriers for Hire, Form SS 04 30, with the
       from physical loss or physical damage to                  exception of the Limit of Insurance provision
       Covered Property that is caused by or resulting           contained in that form. Transit Property in the
       from water that overflows due to the failure of a         Care of Carriers for Hire, Form SS 04 30 is
       sump pump, sump pump well, or any other type              made a part of this policy whether or not Transit
       of system designed to remove subsurface water             Property in the Care of Carriers for Hire is
       from the foundation area to operate if the failure        indicated in the Declarations.
       is directly or indirectly the result of a Covered     18. Unauthorized Business Card Use
       Cause of Loss. Failure means an abrupt
       cessation of normal functioning. This Limit of            The following Additional Coverage is added:
       Insurance is the maximum we will pay                      The maximum we will pay in any one
       regardless of any other coverage provided                 occurrence is $5,000 as a Limit of Insurance to
       under this policy.



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       cover loss resulting from the theft or                            available for this coverage under this
       unauthorized use of your Business Credit, Debit                   policy.
       or Charge Cards, including the reasonable legal       2. Outdoor Property
       expenses you incur.
                                                                 In the Outdoor Property Coverage Extension,
       The Business Credit, Debit or Charge Cards                the most we will pay in any one occurrence is
       must be issued to you or registered in your               increased to $25,000, but not more than $1,000
       name or the business name.                                for any one tree, shrub or plant.
       Limitation. We will not pay for the theft or          3. Personal Effects
       unauthorized use of Business Credit, Debit or
       Charge Cards entrusted to others or your                  In the Personal Effects Coverage Extension, the
       employees.                                                most we will pay in any one occurrence is
                                                                 increased from $10,000 to $25,000 at each
B. The following changes apply to the Standard
                                                                 "scheduled premises."
   Property Coverage Form, Coverage Extensions,
   A.5., or to the Special Property Coverage Form,              The Limit of Insurance stated above is the
   Coverage Extensions, A.6. The Limits of Insurance            maximum Limit of Insurance available for this
   stated in the paragraphs below replace the Limits of         coverage under this policy.
   Insurance stated in the Standard Property Coverage        4. Property Off-Premises
   Form or the Special Property Coverage Form for the            In the Personal Property Off-Premises
   coverages provided under this section. Except as              Coverage Extension, the most we will pay in any
   otherwise stated, any other Limit of Insurance                one occurrence in subparagraph A.6.h.(2) is
   purchased under this policy as an option for the              increased from $2,500 to $25,000.
   following coverages is in addition to the Limit of
                                                          C. The following changes apply only if Business
   Insurance stated below:
                                                             Income and Extra Expenses are covered under this
   1. Newly Acquired or Constructed Property                 policy. These changes apply to the Standard
       The following changes are made to Newly               Property Coverage Form, Additional Coverages,
       Acquired or Constructed Property:                     A.4., or to the Special Property Coverage Form,
       a. Building                                           Additional Coverages, A.5.:
           (1) The most we will pay in any one               1. Business Income Extension for Off-Premises
               occurrence in subparagraph (1) is                Utility Services
               increased from $500,000 to $1,000,000             The following Additional Coverage is added:
               at each premises.
                                                                 We will pay up to $25,000 in any one
           (2) The Limit of Insurance stated above is            occurrence as a Limit of Insurance to apply at
               the maximum Limit of Insurance                    each "scheduled premises" to cover loss of
               available for this coverage under this            Business Income and Extra Expense caused by
               policy.                                           or resulting from the interruption of utility
       b. Business Personal Property                             services. This Limit of Insurance is in addition
                                                                 to any other Limit of Insurance that may be
           (1) The most we will pay in any one
                                                                 provided by this policy for this coverage.
               occurrence in subparagraph (2) is
               increased from $250,000 to $500,000 at            This additional coverage is subject to the
               each premises.                                    provisions of Business Income Extension for
                                                                 Off-Premises Utility Services, Form SS 04 19,
           (2) The Limit of Insurance stated above is
                                                                 with the exception of the Limit of Insurance
               the maximum Limit of Insurance
                                                                 provision contained in that form. Business
               available for this coverage under this
                                                                 Income Extension For Off-Premises Utility
               policy.
                                                                 Services, Form SS 04 19 is made a part of this
       c. Business Income and Extra Expense                      policy whether or not Business Income
           (1) If Business Income or Extra Expense is            Extension For Off-Premises Utility Services
               provided under this policy, the most we           coverage is indicated in the Declarations.
               will pay in any one occurrence in             2. Business Income Extension for Web Sites
               subparagraph (3) is increased from
                                                                 The following Additional Coverage is added:
               $50,000 to $500,000 at each premises.
           (2) The Limit of Insurance stated above is            We will pay up to $50,000 in any one occurrence
               the maximum Limit of Insurance                    as a Limit of Insurance to cover loss of Business
                                                                 Income you sustain due to the necessary


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       interruption of business operations caused by or      D. The following changes apply to Paragraph E.5.d.,
       resulting from direct physical loss of or physical       Loss Payment, of the Standard Property Coverage
       damage to your Web Site operation at the                 Form and the Special Property Coverage Form:
       premises of a vendor acting as your service              1. Valuation Changes
       provider. Such interruption must be caused by or
       result from a Covered Cause of Loss.                         The following are added to Paragraph E.5.d.:

       a. Coverage Time Period                                      (10)Commodity Stock

              We will only pay for loss you sustain during              We will determine the value of merchandise
              the 7 day period immediately following the                and raw materials that are bought and sold
              first 12 hours after the Covered Cause of                 at an established market exchange. We will
              Loss.                                                     determine the value at:

       b. Conditions                                                    (a) The posted market price as of the time
                                                                            and place of loss;
              This coverage applies only:
                                                                        (b) Less discounts given and expenses you
              (1) If you have a back-up copy of your Web                    otherwise would have had.
                  Page stored at a location other than the
                                                                    (11)"Finished Stock"
                  site of the Web Site vendor.
              (2) To the extent that Business Income is                 We will determine the value of goods that
                  permanently lost.                                     you have manufactured at the selling price
                                                                        less discounts given and expenses you
       This Limit of Insurance is in addition to any other              otherwise would have had.
       Limit of Insurance that may be provided by this
                                                                    (12)Mercantile Stock - Sold
       policy for this coverage.
   3. Business Income From Dependent Properties                         We will determine the value of goods you
                                                                        have sold but not delivered at the selling
       The following Additional Coverage is added:                      price less discounts given and expenses
       We will pay up to $50,000 in any one                             you otherwise would have had.
       occurrence as a Limit of Insurance to apply loss
       of Business Income and Extra Expense due to
       direct physical damage at the premises of a
       dependent property caused by or resulting from a
       Covered Cause of Loss. This Limit of Insurance
       is in addition to any other Limit shown in the
       Declarations for specific Dependent Properties.
       This additional coverage is subject to the
       provisions of Business Income from Dependent
       Properties, Form SS 04 78, with the exception
       of the Limit of Insurance provision contained in
       that form. Business Income from Dependent
       Properties, Form SS 04 78 is made a part of this
       policy whether or not Business Income from
       Dependent Properties coverage is indicated in
       the Declarations.
       There is no requirement for Dependent
       Properties to be scheduled for the coverages
       provided by this Stretch endorsement to apply.
   4. Extended Business Income
       Extended     Business       Income    Additional
       Coverage, paragraph 4.j.(1)(b)(ii) of the
       Standard Property Coverage Form and
       paragraph 5.r.(1)(b)(ii) of the Special Property
       Coverage Form is amended to read as follows:
       (b) 90 consecutive days          after   the   date
           determined in (a) above.



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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    BUSINESS INCOME FROM DEPENDENT PROPERTIES

This endorsement modifies insurance provided under the following:

                                   STANDARD PROPERTY COVERAGE FORM
                                    SPECIAL PROPERTY COVERAGE FORM

Except as otherwise stated in this endorsement, the                     detoxify, or neutralize, or in any way
terms and conditions of this policy apply to the                        respond to, or assess the effects of
insurance stated below                                                  "pollutants or contaminants".
A. Coverage                                                    4. The definition of Business Income contained
    1. Dependent Properties                                        in Paragraph g., Business Income Additional
                                                                   Coverage, of the Standard Property Coverage
        a. We will pay the actual loss of Business
                                                                   Form and Paragraph o., Business Income
             Income you sustain due to physical loss or
                                                                   Additional Coverage, of the Special Property
             physical damage at the premises of a
                                                                   Coverage Form also applies to this Business
             Dependent Property caused by or
                                                                   Income from Dependent Properties Additional
             resulting from a Covered Cause of Loss.
                                                                   Coverage.
        b. We will reduce the amount of your
                                                               5. Paragraph A.5.s.(5)(a), Business Income from
             Business Income loss, other than Extra
                                                                   Dependent Properties of the Special Property
             Expense, to the extent you can resume
                                                                   Coverage Form is deleted and replaced with
             "operations", in whole, or in part, by using
                                                                   the following:
             any other available:
                                                                   (a) Begins on the date of direct physical loss
             (1) Sources of materials; or
                                                                        or physical damage caused by or resulting
             (2) Outlet for your products.                              from a Covered Cause of Loss at the
        c. If you do not resume "operations", or do                     premises of the Dependent Property
             not resume "operations" as quickly as          C. Limit of Insurance
             possible, we will pay based on the length
                                                               The most we will pay for each occurrence of loss
             of time it would have taken to resume
                                                               under this Additional Coverage is the Limit of
             "operations" as quickly as possible.
                                                               Insurance for this coverage stated in the
B. Additional Conditions                                       Declarations.
    The following conditions also apply:                       When shown in the Declarations as applicable, the
    1. Coverage provisions respecting direct physical          Limit of Insurance stated in Paragraph A.5.s.(1) of
        loss or physical damage will apply separately          the Additional Coverage entitled Business Income
        to each Dependent Property premises.                   from Dependent Properties in the Special Property
    2. This Additional Coverage will end when the              Coverage Form is replaced by the Limit of
        Dependent Property should be rebuilt or                Insurance for Business Income from Dependent
        replaced with reasonable speed and similar             Properties shown in the Declarations.
        quality.                                            D. Definitions
    3. The Business Income coverage period does                1. Dependent         Property       means      property
        not include any increased period required due              operated by others that you depend on to:
        to the enforcement of any ordinance or law                 a. Deliver materials or services to you or to
        that:                                                           others for your account. This does not
        a. Regulates the construction, use or repair,                   include:
             or requires the tearing down of any                        (1) Water, communication, power supply
             property; or                                                    or any other utility service, or
        b. Requires any insured or others to test for,                  (2) Any type of web site or internet
             monitor, clean up, remove, contain, treat,                      service.


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       b. Accept your products or services;
       c. Manufacture products for delivery to your
          customers under contract of sale; or
       d. Attract customers     to   your     business
          premises.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



              CRIME COMMON CONDITIONS AND EXCLUSIONS

This endorsement modifies insurance provided under the following:

                                       STANDARD PROPERTY COVERAGE FORM
                                        SPECIAL PROPERTY COVERAGE FORM


The following conditions are added the Standard Property            3.     Joint Insured
Coverage Form and the Special Property Coverage                            a.   If more than one Insured is named in the
Form.                                                                           Declarations, the first named Insured will act
A. CRIME COMMON CONDITIONS                                                      for itself and for every other Insured for all
                                                                                purposes of this insurance. If the first named
    1.   Consolidation - Merger
                                                                                Insured ceases to be covered, then the next
         If through consolidation or merger with,         or                    named Insured will become the first named
         purchase of assets of, some other entity:                              Insured.
         a.   Any additional persons become “employees” ;                  b.   If any Insured or partner or officer of that
              or                                                                Insured has knowledge of any information
         b.   You acquire the use and control of any                            relevant to this insurance, that knowledge is
              additional premises;                                              considered knowledge of every Insured.
         any insurance afforded for “ employees” or                        c.   An “ employee” of any Insured is considered to
         premises also applies to those additional                              be an “employee” of every Insured.
         “employees” and premises, but only if you:                        d.   If this insurance or any of its coverages is
              (1) Give us written notice within 60 days                         canceled or terminated as to any Insured, loss
                  thereafter; and                                               sustained by that Insured is covered only if
                                                                                discovered no later than one year from the
              (2) Pay us an additional premium.
                                                                                date of that cancellation or termination.
    2.   Discovery Period for Loss
                                                                           e.   We will not pay more for loss sustained by
         We will pay only for covered loss discovered no                        more than one Insured than the amount we
         later than one year from the end of the policy                         would pay if all the loss had been sustained
         period.                                                                by one Insured.
         Discovery of loss occurs when you first become             4.     Legal Action Against Us
         aware of facts which would cause a reasonable
         person to assume that a loss covered by this                      The following replaces the Legal Action Against Us
         policy has been, or may be incurred even though                   in the Property Loss Conditions:
         the exact amount or the details of the loss may not               No one may bring a legal action against us under
         then be known.                                                    this Coverage Part unless:
         Discovery also occurs when you receive notice of                  a.   There has been full compliance with all of the
         an actual or potential claim against you alleging                      terms of this Coverage Part; and
         facts, which if true, would be a covered loss under               b.   The action is brought within 2 year s after the
         this policy.                                                           date on which you discover the loss .




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   5.   Loss Sustained During Prior Insurance                                 We will also apply any deductible under that
                                                                              prior policy to the extent it exceeds the
        a.    If you, or any predecessor in interest,
                                                                              deductible under this policy.
              sustained loss during the period of any prior
              insurance that you or the predecessor in              8.   Ownership of Property, Interests Covered
              interest could have recovered under that                   The property covered under this insurance           is
              insurance except that the time within which to             limited to property:
              discover loss had expired, we will pay for it
              under this insurance, provided:
                                                                         a.   That you own or hold; or

              (1) This insurance became effective at the                 b.   For which you are legally liable.
                  time of cancellation or termination of the             However, this insurance is for your benefit only. It
                  prior insurance; and                                   provides no rights or benefits to any other person
                                                                         or organization.
              (2) The loss would have been covered by this
                  insurance had it been in effect when the          9.   Policy Period
                  acts or events causing the loss were                   a.   The Policy      Period     is   stated   in   the
                  committed or occurred.                                      Declarations.
        b.    The insurance under this Condition is part of,             b.   Subject to the Loss Sustained During Prior
              not in addition to, the Limits of Insurance                     Insurance condition, A.5. above, we will pay
              applying to this insurance and is limited to the                only for loss that you sustain through acts
              lesser of the amount recoverable under:                         committed or events occurring during the
              (1) This insurance as of its effective date; or                 Policy Period.
              (2) The prior insurance had it remained in            10. Recoveries
                  effect.                                                The following replaces the Recovered Property in
   6.   Non-Cumulation of Limit of Insurance                             the Property Loss Conditions:
        Regardless of the number of years this insurance                 a.   Any recoveries less the cost of obtaining
        remains in force or the number of premiums paid,                      them, made after settlement of loss covered
        no Limit of Insurance cumulates from year to year                     by this insurance will be distributed as follows:
        or period to period.                                                  (1) To you, until you are reimbursed for any
   7.   Loss Covered Under This Insurance and Prior                               loss that you sustain that exceeds the
        Insurance Issued by Us or Any Affiliate                                   Limit of Insurance and the Deductible
                                                                                  Amount, if any;
        If any loss is covered under this policy and under
        any prior canceled or terminated insurance that we                    (2) Then to us, until we are reimbursed for
        or any affiliate had issued to you or any                                 the settlement made;
        predecessor in interest, we will not pay more that                    (3) Then to you, until you are reimbursed for
        the highest single Limit of Insurance.     We will                       that part of the loss equal to             the
        settle such claim as follows:                                            Deductible Amount, if any.
        a.    We will first pay the Limit of Insurance                   b.   Recoveries do not include any recovery:
              applicable under this policy subject to this                    (1) From insurance, suretyship, reinsurance,
              policy's applicable deductible; then                                security or indemnity taken for our benefit;
        b.    If the Limit of Insurance under that prior policy                   or
              is equal to or less than the Limit of Insurance                 (2) Of original “securities” after duplicat es of
              under this policy, we will make no further                          them have been issued.
              payment; or
                                                                  B. CRIME COMMON EXCLUSIONS
        c.    If the Limit of Insurance under that prior policy
              is higher than the Limit of Insurance under this      The following are Exclusions replace the Exclusions in
              policy, we will then pay for any remaining part       Section B:
              of the loss.                                          1.   Governmental Action
              But in no event will our total payment for loss            We will not pay for loss resulting from seizure or
              be more than would be payable under the                    destruction of property by order of governmental
              policy with the highest Limit of Insurance.                authority.




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   2.   Indirect Loss                                            3.   Any natural person who is your partner or member
        We will not pay for loss that is an indirect result of        of a limited liability corporation.
        any act or occurrence covered by this insurance          4.   Any natural person, whether or not compensa ted,
        including, but not limited to, loss resulting from:           while performing services for you as the chairman
        a.   Your inability to realize income that you would          or a member of any committee;
             have realized had there been no loss of, or         5.   Any natural person who is a non-compensated
             loss from damage to, Covered Property.                   officer;
        b.   Payment of damages of any type for which            6.   Any natural person who is a director or trustee
             you are legally liable.     But, we will pay             while acting as a member of any of your elected or
             compensatory damages arising directly from a             appointed committees or while acting within the
             loss covered under this insurance.                       scope of the usual duties of an "employee";
        c.   Payment of costs, fees or other expenses you        7.   Any natural person who is a non-compens ated
             incur in establishing either the existence or the        volunteer, other than one who is a fund solicitor,
             amount of loss under this insurance.                     while performing services for you that are usual to
   3.   Legal Expenses                                                the duties of an "employee";

        We will not pay for expenses related to any legal        8.   Any natural person who is a former employee,
        action.                                                       director, partner, member, representative       or
                                                                      trustee retained as a consultant while performing
   4.   Nuclear Hazard                                                services for you;
        We will not pay for loss resulting from nuclear
                                                                 9.   Any natural person who is a student intern who is
        reaction,   nuclear    radiation   or     radioactive
                                                                      pursuing studies or acting within the scope of the
        contamination, or any related act or incident.
                                                                      usual duties of an “employee” ;
   5.   War and Similar Actions
                                                                 10. Any natural person, who is a student enrolled in
        We will not pay for loss resulting from war,                  your facility, while handling or has possession of
        whether     or not declared,         warlike  action,         property or funds in connection with sanctioned
        insurrection, rebellion or revolution, or any related         student activities;
        act or incident.
                                                                 11. The spouses of and children over 18 years old
C. CRIME COMMON DEFINTIONS                                            who reside with any "employee" who is a building
   The following is added to Definitions                              manager, superintendent or janitor.

   "Employee" means:                                                  Each family is deemed to be, collectively, one
                                                                      "employee" for the purposes of this insurance,
   1.   Any natural person:
                                                                      except that any Termination Condition applies
        a.   While in your service (and for 60 days after             individually to the spouse and children.
             termination of service); and
                                                                 "Employee" does not mean:
        b.   Whom you compensate directly by salary,
                                                                 (1) An agent, broker, factor, commission merchant,
             wages or commissions; and
                                                                      consignee,      independent      contractor      or
        c.   Whom you have the right to direct and control            representative of the same general character; or
             while performing services for you;
                                                                 (2) Any manager, director, partner, member or trustee,
   2.   Any natural person employed by an employment                  except while acting within the scope of the usual
        contractor while that person is subject to your               duties of an “ employee” .
        direction and control and performing services for
        you excluding, however, any such person while
        having care and custody of property outside the
        premises;




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                        FORGERY COVERAGE
                           (Including Credit Cards, Currency and Money Orders)

This endorsement modifies insurance provided under the following:


                                        STANDARD PROPERTY COVERAGE FORM
                                         SPECIAL PROPERTY COVERAGE FORM


Except as otherwise stated in this endorsement, the                       will pay for any reasonable legal expenses that
terms and conditions of the policy apply to the                           you incur and pay in that defense.          This
insurance stated below.                                                   payment is in addition to the applicable Limit of
The following is added to Additional Coverages:                           Insurance. The Deductible does not apply to
A. FORGED OR ALTERED INSTRUMENTS                                          this Coverage Extension.
   COVERAGE                                                         4.    Additional Conditions
    1.   Covered Property                                                 The following conditions apply in addition to
         Covered    Property    means    the   following                  the Common Policy Conditions and the Crime
         instruments:                                                     Common Conditions and Exclusions Form.
         a.   Checks, drafts, promissory notes, or                        a.   We will treat mechanically      reproduced
              similar written    promises,    orders or                        facsimile   signatures  the     same    as
              directions to pay a sum certain in "money"                       handwritten signatures.
              that are:                                                   b.   You must include with your proof of loss
              (1) Made or drawn by or drawn upon you;                          any instrument involved in that loss, or, if
                                                                               that is not possible, an affidavit setting
              (2) Made or drawn by one acting as your
                                                                               forth the amount and cause of loss.
                  agent;
                                                                          c.   The Coverage Territory is revised to cover
              or that are purported to have been so
                                                                               loss you sustain anywhere in the world.
              made or drawn; and
                                                                    5.    Exclusion
         b.   Written    instruments     required in
              conjunction with any credit, debit or                       The following Exclusion applies in addition to
              charge card issued to you or any                            the Exclusions in the Crime Common
              "employee" for business purposes.                           Conditions and Exclusions.
    2.   Covered Causes of Loss                                           We will not pay for loss resulting from any
                                                                          dishonest or criminal act committed by any of
         Covered Causes of Loss means forgery or
                                                                          your "employees” , directors, or trustees:
         alteration.
                                                                          a.   Acting alone or in collusion with other
    3.   Legal Expense Additional Coverage
                                                                               persons; or
         If you are sued for refusing to pay any
                                                                          b.   While performing    services   for you    or
         Covered Instrument on the basis that it has
                                                                               otherwise.
         been forged or altered, and you have our
         written consent to defend against the suit, we




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B. COUNTERFEIT CURRENCY AND MONEY                                    b.   We will not pay for loss resulting from the
   ORDERS COVERAGE                                                        giving or surrendering of property in any
                                                                          exchange or purchase.
   1.   Covered Property
        Covered Property means the following:                        c.   We will not pay for loss resulting from
                                                                          your, or anyone acting on your express or
        We will pay for loss directly resulting from                      implied authority, being induced by any
        a.   Money orders, including counterfeit money                    dishonest act to voluntarily part with title to
             orders, of any United States or Canadian                     or possession of any property.
             post office, express company or national       C   DEDUCTIBLE
             or state (or Canadian) chartered bank that
             are not paid upon presentation; and                     We will not pay for loss in any one Occurrence
                                                                     unless the amount of loss exceeds the
        b.   Counterfeit United States or Canadian                   Deductible stated in the Declarations. We will
             paper currency.                                         then pay the amount of loss in excess of the
   2.   Covered Causes of Loss                                       Deductible, up to the Limit of Insurance.
        Covered   Causes    of Loss means        the        D. LIMIT OF INSURANCE
        acceptance of Covered Property in good faith,           The most we will pay for each Occurrence of loss
        in exchange for merchandise, money or                   under this Endorsement is the Forgery Limit of
        services, during the regular course of                  Insurance stated in the Declarations.
        business.
                                                                The Additional Coverages are included in this Limit
   3.   Exclusions                                              of Insurance.
        The following Exclusion applies in addition to      E. OCCURRENCE DEFINITION
        the Exclusions in the Crime Common
        Conditions and Exclusions.                              1.   For Forged or Altered Instruments Coverage,
                                                                     Occurrence means all loss caused by any
        a.   We will not pay for loss resulting from any
                                                                     person or in which that person is involved,
             dishonest or criminal act committed by any              whether the loss involves one or more
             of your "employees” , directors, trustees or
                                                                     instruments of Covered Property.
             authorized representatives:
                                                                2.   For Counterfeit Currency and Money Order
             (1) Acting alone or in collusion with other
                                                                     Coverage, Occurrence means an:
                 persons; or
                                                                     a.   Act or series of related acts involving one
             (2) While performing services for you or
                                                                          or more persons; or
                 otherwise.
                                                                     b.   Act or event, or series of related acts or
                                                                          events not involving any person.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



           BLANKET BUILDING AND BUSINESS PERSONAL
                 PROPERTY AT ALL LOCATIONS

This endorsement modifies insurance provided under the following:

                                     SPECIAL PROPERTY COVERAGE FORM

Except as otherwise stated in this endorsement, the terms and conditions of the policy apply to the insurance stated
below.
This change applies only to the premises stated in the Declarations for Blanket Limit.
In the event of covered loss or damage to Buildings and/or Business Personal Property, the applicable Limit of
Insurance is revised to be equal to the sum of all the Limits of Insurance for Building and Business Personal Property
at the premises designated for Blanket Limit.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  ELECTRONIC VANDALISM

This endorsement modifies insurance provided under the following:


                                    STANDARD PROPERTY COVERAGE FORM
                                     SPECIAL PROPERTY COVERAGE FORM

This coverage applies only when your policy includes                    a. That originate anywhere in the world; and
Business Income and Extra Expense Coverages and                         b. Whether or not there has been any
only when it is indicated in the Declarations that the                     physical    damage   to  "computer
Electronic Vandalism endorsement is made a part of                         equipment".
this policy. The provisions of this policy apply to the
coverage stated in this endorsement, except as                      2. Waiting Period: We will not pay for any
indicated below.                                                       Business Income loss that you sustain during
A. Web Site and Internet Services                                      the first 12 hours that immediately follow the
                                                                       time when you first discovered the "Denial of
    We will pay for the actual loss of Business Income                 Service Attack".
    and reasonable and necessary Extra Expense you
    sustain due to the necessary interruption of your               3. Limit of Insurance: The most we will pay for
    Internet business operations caused by direct                      the sum of all loss in each occurrence under
    physical loss or physical damage by a Covered                      this coverage is $10,000.
    Cause of Loss to property that you depend on for          C. Web Site Vandalism
    "Web Site and Internet Services", anywhere in the
                                                                 We will pay up to $2,500 for the actual loss of
    world, but only to the extent that the income from
                                                                 Business Income and Extra Expense you incur
    such interruption is permanently lost.
                                                                 due to the willful or malicious alteration of your
    1. Waiting Period: We will not pay for any                   web site by others without your knowledge or
       Business Income loss under this coverage that             permission. However, this coverage does not
       you sustain during the first 12 hours that                apply to alterations made by your software
       immediately follow the time when you first                contractor or web site vendor.
       discovered the Covered Cause of Loss.                     This is an additional amount of insurance.
                                                              D. Good Faith Advertising Expense
    2. Condition: With respect to web sites, this
       coverage applies only if you have a back-up                  If we make payment for a covered loss under this
       copy of your web page stored at a location                   endorsement, we will pay for advertising expenses
       other than the site of the web site vendor.                  you incur solely to regain customer faith and
                                                                    approval.
    3. Limit of Insurance: The most we will pay for                 1. Limit of Insurance: The most we will pay for
       each occurrence of covered loss under this                      the sum of all expenses under this Additional
       coverage is $50,000.                                            Coverage in any 12 month time period is
B. Denial of Service                                                   $5,000.
    We will pay for the actual loss of Business Income               This is an additional amount of insurance.
    due to a "Denial of Service Attack".                      E. The provisions of this endorsement do not override
    1. This coverage applies to "Denial of Service               or in any way affect the application of the
       Attacks":                                                 Exclusion Of Certain Computer Related Losses if
                                                                 such exclusion is endorsed to or otherwise made a



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   part of this policy. That exclusion addresses the       2. "Web Site and Internet Services" means
   inability of a computer system to correctly                services that enable your Internet access,
   recognize, process, distinguish, interpret or accept       including e-mail and operation of a web site.
   one or more dates or times.                                This includes:
F. Additional Definitions                                     (a) Web hosting application software service;
   1. "Denial of Service Attack" means a type of              (b) Communications infrastructure services,
      attack designed to overload a computer or                   including radio, telephone and wireless,
      network system, with useless traffic, denying               excluding satellites, outside the insured
      or limiting legitimate electronic mail or web site          premise boundary, including telephone
      usage.                                                      and cable transmission lines.
                                                              (c) Web/Internet     infrastructure   Servers,
                                                                  switching or relay locations, cable and
                                                                  transmission lines that are used for or are
                                                                  dependent upon to conduct Intranet,
                                                                  Extranet and Internet operations.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     OFF-PREMISES UTILITY SERVICES – DIRECT DAMAGE

This endorsement modifies insurance provided under the following:

                                    STANDARD PROPERTY COVERAGE FORM
                                     SPECIAL PROPERTY COVERAGE FORM


Except as otherwise stated in this endorsement, the            B. ADDITIONAL DEFINITIONS
terms and conditions of the policy apply to the                   1. "Water Supply Services", meaning the
insurance stated below.                                              following types of property supplying water to
                                                                     the “scheduled premises”:
A. DIRECT DAMAGE EXTENSION                 FOR     OFF-
                                                                     a. Pumping stations; and
   PREMISES UTILITY SERVICES
                                                                       b. Water mains.
   This Coverage Extension applies only to the
   “scheduled premises” shown in the Declarations                   2. "Communication            Supply       Services",
   with a Utility Services Limit of Insurance. The                     meaning property supplying communication
   Utility Services Limit of Insurance is part of, not in              services,      including      telephone,    radio,
   addition to, the Limit of Insurance stated in the                   microwave or television services, including
   Declarations as applicable to the Covered                           overhead transmission lines to the “scheduled
   Property.                                                           premises”, such as:
                                                                       a. Communication           transmission      lines,
   We will pay for direct physical loss of or physical
                                                                            including optic fiber transmission lines;
   damage to Covered Property described in the
   Declarations caused by the interruption of utility                  b. Coaxial cables; and
   service to the “scheduled premises”.             The                c. Microwave radio relays except satellites.
   interruption must result from direct physical loss or            3. "Power Supply Services", meaning the
   physical damage by a Covered Cause of Loss to                       following types of property supplying
   the following property, not on the “scheduled                       electricity, steam or gas, including overhead
   premises”:                                                          transmission lines         to the “scheduled
   1. "Water Supply Services";                                         premises”:
   2. "Communication Supply Services"; or                              a. Utility generating plants;
   3. "Power Supply Services".                                         b. Switching stations;
                                                                       c. Substations;
                                                                       d. Transformers; and
                                                                       e. Transmission Lines.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                      CYBERFLEX COVERAGE

This endorsement modifies insurance provided under the following:

                                         BUSINESS LIABILITY COVERAGE FORM


This endorsement modifies coverage under the                                       (2) Copying in your "advertisement", a
Business Liability Coverage Form for your web site or                                  person's        or        organization's
internet related activities.                                                           "advertising idea" or style of
A. Exclusion 1.p. "Personal and Advertising Injury"                                    "advertisement".
     (Section B. - EXCLUSIONS) is modified as follows:                2. Paragraph (9) does not apply.
     1. Paragraphs (4), (5) and (7) are deleted and                   3. Subparagraphs (a), (b) and (c) of Paragraph
         replaced by the following:                                      (12) do not apply.
              (4) Arising out of any breach of contract,           B. Section G. - LIABILITY AND MEDICAL
                   except an implied contract to use                  EXPENSES DEFINITIONS is amended as follows:
                   another's "advertising idea" in your               1. Paragraph b. of definition 1. "advertisement" is
                   "advertisement" or on "your web site";                deleted and replaced by:
              (5) Arising out of the failure of goods,                   "Advertisement" means the widespread public
                   products or services to conform with                  dissemination of information or images that
                   any       statement    of      quality   or           has the purpose of inducing the sale of goods,
                   performance          made       in     your           products or services through:
                   "advertisement" or on "your web site";
                                                                         b. The Internet;
              (7) (a) Arising out of any actual or alleged
                                                                      2. Paragraphs f. and g. of the definition of
                        infringement or violation of any
                                                                         "personal and advertising injury" are deleted
                        intellectual property rights, such as
                                                                         and replaced by the following:
                        copyright, patent, trademark, trade
                        name, trade secret, service mark or              "Personal and advertising injury" means injury,
                        other designation of origin or                   including consequential "bodily injury", arising
                        authenticity; or                                 out of one or more of the following offenses:
                   (b) Any injury or damage alleged in any               f. Copying, in your "advertisement" or on "your
                        claim or "suit" that also alleges an                  web site", a person's or organization's
                        infringement or violation of any                      "advertising idea" or style of "advertisement";
                        intellectual property right, whether             g. Infringement of copyright, slogan, or title of
                        such allegation of infringement or                    any literary or artistic work, in your
                        violation is made against you or any                  "advertisement" or on "your web site"; or
                        other party involved in the claim or          3. The following is added to the definition of
                        "suit", regardless of whether this               "personal and advertising injury":
                        insurance would otherwise apply.
                                                                         As used in this definition, oral, written or electronic
              However, this exclusion does not apply if                  publication includes publication of material in your
              the only allegation in the claim or "suit"                 care, custody or control by someone not
              involving any intellectual property right is               authorized to access or distribute that material.
              limited to:
                                                                      4. The following definition is added:
                   (1) Infringement            in         your
                                                                         "Your web site" means a web page or set of
                        "advertisement", of:
                                                                         interconnected web pages prepared and
                        (a) Copyright;                                   maintained by you, or by others on your behalf, for
                        (b) Slogan; or                                   the purposes of promoting your goods or services,
                        (c) Title of any literary or artistic            that is accessible over a computer network.
                              work; or

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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



          EMPLOYEE BENEFITS LIABILITY - OCCURRENCE

This endorsement modifies insurance provided under the following:

                                     BUSINESS LIABILITY COVERAGE FORM


If shown in the Declarations as applicable, the following             b. This insurance applies to an "employee
coverage applies. This coverage is subject to the                        benefits injury" only if:
provisions of the Business Liability Coverage Form
except as provided below.                                                  (1) The "employee benefits injury" is
                                                                               committed in the "coverage territory";
A. SECTION A – COVERAGES is amended as follows                                 and
                                                                           (2) The "employee benefits injury"        is
    1. The following is added:       EMPLOYEE
       BENEFITS LIABILITY Insuring Agreement                                   committed during the policy period.
                                                                      c. All "claims" for damages made by an
        a. We will pay those sums that the insured
                                                                         "employee" because of an "employee
           becomes legally obligated to pay as
                                                                         benefits injury", or a series of related
           damages because of "employee benefits
                                                                         "employee benefits injuries", including
           injury" committed by the insured, or of any
                                                                         damages claimed by such "employee's"
           other person for whose acts the insured is
                                                                         dependents and beneficiaries, will be
           legally liable, to which this insurance
                                                                         deemed to constitute a single "claim" for
           applies. We will have the right and duty to
                                                                         purposes of application of the Each Claim
           defend the insured against any "suit"
                                                                         Limit of liability.
           seeking those damages. However, we will
           have no duty to defend the insured against             2. For purposes of the coverage provided by this
           any "suit" seeking damages to which this                  endorsement,     subsection   3.    Coverage
           insurance does not apply. We may at our                   Extension    –    Supplementary    Payments,
           discretion, investigate any act, error or                 paragraphs 3.a.(2) and 3.b. (SECTION A –
           omission and settle any "claim" or "suit"                 COVERAGES) do not apply.
           that my result. But:                               B. EXCLUSIONS
            (1) The amount we will pay for "damages"              SECTION B – EXCLUSIONS is amended to add the
                is limited as described in SECTION D -            following:
                LIMITS OF INSURANCE; and                          3. Applicable to Employee Benefits Liability
            (2) Our right and duty to defend ends when                This insurance does not apply to:
                we have used up the applicable limit of               a. ERISA
                insurance in the payment of judgments
                or settlements.                                            Damages for which any insured is liable
                                                                           because of liability imposed on a fiduciary
                No other obligation or liability to pay                    by the Employee Retirement Income
                sums or perform acts or services is                        Security Act of 1974, as now or hereafter
                covered unless explicitly provided for                     amended, or by any similar federal, state or
                under    subsection     3.    Coverage                     local laws.
                Extension - Supplementary Payments
                (SECTION A – COVERAGES) of the
                Business Liability Coverage Form.


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      b. Bodily Injury, Property Damage                or           j.   Employment-Related Practices
         Personal and Advertising Injury                                 Damages arising out of any wrongful
                                                                         termination of employment, discrimination,
           "Bodily    injury,"    "property     damage,"
                                                                         or other employment-related practices.
           "personal injury" or "advertising injury."
                                                            C. SECTION C - WHO IS AN INSURED is amended
      c. Dishonest, Fraudulent,           Criminal     or      as follows:
         Malicious Act
                                                               Paragraphs 2. and 3. are deleted and replaced by
           Damages arising out of any intentional,             the following:
           dishonest, fraudulent, criminal or malicious        2. Each of the following is also an insured:
           act, error or omission, committed by any                 a. Each of your "employees" who is or was
           insured, including the willful or reckless                  authorized to administer your "employee
           violation of any statute.                                   benefit program".
      d. Inadequacy       of Performance   of                       b. Any persons, organizations or "employees"
         Investment Advice Given With Respect                          having     temporary      authorization to
         to Participation                                              administer your "employee benefit program"
                                                                       if you die, but only until your legal
           Any claim based on:                                         representative is appointed.
           (1) Failure of any investment to perform;                c. Your legal representative if you die, but only
                                                                       with respect to his, her or its duties as such.
           (2) Errors in providing information on past                 That representative will have all your rights
               performance of investment vehicles; or                  and duties under this Endorsement.
           (3) Advice given to any person with respect         3. Any organization you newly acquire or form,
               to that person's decision to participate           other than a partnership, joint venture or limited
               or not to participate in any plan included         liability company, and over which you maintain
               in the "employee benefit program."                 ownership or majority interest, will qualify as a
      e. Available Benefits                                       Named Insured if no other similar insurance
                                                                  applies to that organization. However:
           Any "claim" for benefits to the extent that
           such benefits are available with reasonable              a. Coverage under this provision is afforded
           effort of the insured from the applicable                   until the ninetieth (90th) day after you
           funds accrued or other collectible insurance.               acquire or form the organization or the end
                                                                       of the policy period, whichever is earlier.
      f.   Insufficiency of Funds                                   b. Coverage under this provision does not
                                                                       apply to any "employee benefits injury" that
           Damages arising out of an insufficiency of                  was committed before you acquired or
           funds to meet any obligations under any                     formed the organization.
           plan included in the "employee benefit
                                                            D. SECTION D - LIMITS OF INSURANCE is deleted
           program".
                                                               and replaced with the following:
      g. Failure to Perform a Contract                         D.   LIMITS OF INSURANCE
           Damages arising out of the failure of                    1. The Limits of Insurance shown in the
           performance of any contract by any insurer.                 Declarations and the rules below fix the most
                                                                       we will pay regardless of the number of:
      h. Worker's      Compensation       and    Similar                 a. Insureds;
         Laws
                                                                         b. "Claims" made or "suits" brought;
           Any "claim" arising out of your failure to                    c. Persons or organizations          making
           comply with the mandatory provisions of                          "claims" or bringing "suits";
           any worker's compensation, unemployment                       d. "Employee benefits injury"; or
           compensation insurance, social security or
                                                                         e. Benefits included in your "employee
           disability benefits law or similar law.
                                                                            benefit program".
      i.   Taxes, Fines or Penalties
                                                                    2. The Employee Benefits Liability Aggregate
           Taxes, fines or penalties, including those                  Limit is the most we will pay for all damages
           imposed under the Internal Revenue Code                     because of "employee benefits injury"
           or any similar law.                                         negligently committed in the "administration"
                                                                       of your "employee benefit program".

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       3. Subject to the Employee Benefits Liability                 (3) Notify us immediately of such "suit".
          Aggregate Limit, the Each Claim Limit is the           c. You and any other involved insured must:
          most we will pay for all damages sustained
          by any one "employee", including damages                   (1) Immediately send us copies of any
          sustained by such "employee's" dependents                      demands, notices, summonses or legal
          and beneficiaries, as a result of:                             papers received in connection with the
          a. An "employee benefits injury"; or                           "claim" or "suit";
          b. A series of related "employee benefits                  (2) Authorize us to obtain records and other
             injuries"                                                   information;
          negligently committed in the "administration"              (3) Cooperate with us in the investigation,
          of your "employee benefit program".                            settlement or defense of the "claim" or
                                                                         "suit"; and
          However, the amount paid under this
          Endorsement shall not exceed, and will be                  (4) Assist us, upon our request, in the
          subject to, the limits and restrictions that                   enforcement of any right against any
          apply to the payment of benefits in any plan                   person or organization which may be
          included in the "employee benefit program".                    liable to the insured because of
                                                                         "employee benefits injury" to which this
          The Limits of Insurance of this Endorsement                    insurance may also apply.
          apply separately to each consecutive                   d. No insureds will, except at their own cost,
          annual period and to any remaining period                 voluntarily make a payment, assume any
          of less than twelve (12) months, starting                 obligation or incur any expense, without our
          with the beginning of the policy period                   consent.
          shown in the Declarations, unless the policy
                                                          F. SECTION G – LIABILITY AND MEDICAL
          period is extended after issuance for an
                                                             EXPENSES DEFINITIONS is amended as follows:
          additional period of less than twelve (12)
          months. In that case the additional period         1. Solely with respect to coverage provided by this
          will be deemed part of the last preceding             Endorsement, the definitions of "employee" and
          period for purposes of determining the                "suit" are deleted and replaced by the following:
          Limits of Insurance.                                   a. "Employee" means a person actively
                                                                    employed, on leave of absence, disabled, or
E. SECTION E – LIABILITY AND MEDICAL
                                                                    retired.  "Employee" includes a "leased
   EXPENSES GENERAL CONDITIONS is amended
                                                                    worker". "Employee" does not include a
   as follows:
                                                                    "temporary worker".
   Subsection 2. is deleted and replaced by the
                                                                 b. "Suit" means a civil proceeding in which
   following:
                                                                    damages because of an "employee benefits
   2. Duties in The Event of "Employee Benefits                     injury" to which this insurance applies are
      Injury", "Claim" or "Suit"                                    alleged. "Suit" includes:
       a. You must see to it that we are notified as                 (1) An arbitration proceeding in which such
          soon as practicable of an "employee                            damages are claimed and to which you
          benefits injury" which may result in a                         must submit or do submit with our
          "claim."   To the extent possible, notice                      consent; or
          should include:
                                                                     (2) Any other alternative dispute resolution
          (1) What the "employee benefits injury" was                    proceeding in which such damages are
              and when it occurred; and                                  claimed and to which the insured
          (2) The names and addresses of anyone                          submits with our consent.
              who may suffer damages as a result of          2. Solely with respect to coverage provided by this
              the "employee benefits injury".                   Endorsement, the following definitions are
       b. If a "claim" is made or "suit" is brought             added:
          against any insured, you must:                         a. "Administration" means:
          (1) Immediately record the specifics of the                (1) Providing information to "employees",
              "claim" or "suit" and the date received;                   including      their dependents and
          (2) Notify us as soon as practicable of such                   beneficiaries, with respect to eligibility
              "claim"; and                                               for or scope of your "employee benefits
                                                                         programs";

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         (2) Handling records in connection with         (2) Profit sharing plans, employee savings
             "employee benefits programs"; or                plans, employee stock ownership plans,
         (3) Effecting, continuing or terminating any        pension plans and stock subscription
             "employee's" participation in any benefit       plans, provided that no other than an
             plan included in the "employee benefits         "employee" may subscribe to such
             program."                                       benefits and such benefits are made
                                                             generally        available to    those
      b. "Cafeteria plans" means plans authorized by         "employees" who satisfy the plan's
         applicable law to allow employees to elect          eligibility requirements;
         to pay for certain benefits with pre-tax
         dollars.                                        (3) Unemployment     insurance,       social
                                                             security      benefits,        workers'
      c. "Claim" means any demand, or "suit", made           compensation and disability benefits;
         by any "employee" or an "employee's"
         dependents and beneficiaries, for damages       (4) Vacation plans, including buy and sell
         as a result of an "employee benefits injury.        programs; leave of absence programs,
                                                             including military, maternity, family and
      d. "Employee benefits injury" means injury that        civil leave; tuition assistance plans;
         arises out of any negligent act, negligent          transportation     and    health      club
         error or negligent omission in the                  subsidies; and
         "administration" of your "employee benefits
         program."                                       (5) Any other similar benefits designated in
                                                             the Declarations or added thereto by
      e. "Employee benefit program" means a                  endorsement.
         program providing some or all of the
         following benefits to "employees", whether
         provided through a "cafeteria plan" or
         otherwise:
         (1) Group life insurance, group accident,
             group health insurance, group dental
             insurance       group vision and group
             hearing plans, and flexible spending
             accounts, provided that no one other
             than an "employee" may subscribe for
             such benefits and such benefits are
             made generally available to those
             "employees" who satisfy the plan's
             eligibility requirements;




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         LIMITED FUNGI, BACTERIA OR VIRUS COVERAGE
This endorsement modifies insurance provided under the following:

                                     SPECIAL PROPERTY COVERAGE FORM
                                    STANDARD PROPERTY COVERAGE FORM
                                       PERSONAL PROPERTY OF OTHERS
                                      COMPUTERS AND MEDIA COVERAGE


A. Fungi, Bacteria or Virus Exclusions                                  i.   "Fungi", Wet Rot, Dry Rot, Bacteria And
   1. Paragraph A.5.i.(5). of the Increased Cost of                          Virus
      Construction Additional Coverage of the                                We will not pay for loss or damage caused
      Standard Property Coverage Form is replaced                            directly or indirectly by any of the
      by the following:                                                      following. Such loss or damage is
           (5) Under this Additional Coverage, we                            excluded regardless of any other cause or
               will not pay for:                                             event that contributes concurrently or in
                                                                             any sequence to the loss:
               (a) The enforcement of any ordinance
                   or law which requires demolition,                         (1) Presence,       growth,       proliferation,
                   repair, replacement, reconstruction,                          spread or any activity of "fungi", wet
                   remodeling, or remediation of                                 rot, dry rot, bacteria or virus.
                   property due to contamination by                          (2) But if "fungi", wet rot, dry rot, bacteria
                   "pollutants" or due to the presence,                          or virus results in a "specified cause of
                   growth, proliferation, spread or any                          loss" to Covered Property, we will pay
                   activity of "fungi", wet or dry rot,                          for the loss or damage caused by that
                   bacteria or virus; or                                         "specified cause of loss".
               (b) Any costs associated with the                             This exclusion does not apply:
                   enforcement of an ordinance or                            (1) When "fungi", wet or dry rot, bacteria
                   law which requires any insured or                             or virus results from fire or lightning; or
                   others to test for, monitor, clean
                                                                             (2) To the extent that coverage is
                   up, remove, contain, treat, detoxify
                   or neutralize, or in any way                                  provided in the Additional Coverage –
                   respond to or assess the effects of                           Limited Coverage for "Fungi", Wet
                   "pollutants", "fungi", wet or dry rot,                        Rot, Dry Rot, Bacteria and Virus with
                   bacteria or virus.                                            respect to loss or damage by a cause
                                                                                 of loss other than fire or lightning.
   2. The following exclusion is added to Paragraph
      B.1. Exclusions of the Standard Property                      This exclusion applies whether or not the loss
      Coverage Form and the Special Property                        event results in widespread damage or affects a
      Coverage Form; Paragraph F., Additional                       substantial area.
      Exclusions of Computers and Media, form                 B. The following Additional Coverage is added to
      SS 04 41, and to form SS 04 45, Personal                   Paragraph A.4. of the Standard Property Coverage
      Property of Others:                                        Form or Paragraph A.5. of the Special Property
                                                                 Coverage Form, and applies to the optional coverage
                                                                 form SS 04 41, Computers and Media and SS 04 45,
                                                                 Personal Property of Others and form:



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   1. Limited Coverage For "Fungi", Wet Rot,                           (1) occurrences of "specified causes of
      Dry Rot, Bacteria and Virus                                          loss" (other than fire or lightning); and
       a. The coverage described in 1.b. below only                    (2) Equipment Breakdown Accident that
          applies when the "fungi", wet or dry rot,                        occurs to Equipment Breakdown
          bacteria or virus is the result of one or                        Property;
          more of the following causes that occurs                         which take place in a 12-month period
          during the policy period and only if all                         (starting with the beginning of the
          reasonable means were used to save and                           present annual policy period).
          preserve the property from further damage
          at the time of and after that occurrence.                    With respect to a particular occurrence of
                                                                       loss which results in "fungi", wet or dry rot,
              (1) A "specified cause of loss" other than               bacteria or virus, we will not pay more
                  fire or lightning;                                   than the total of $50,000 unless a higher
              (2) Equipment       Breakdown     Accident               Limit of Insurance is shown in the
                  occurs to Equipment Breakdown                        Declarations, even if the "fungi", wet or dry
                  Property, if Equipment Breakdown                     rot, bacteria, or virus continues to be
                  applies to the affected premises.                    present or active, or recurs, in a later
       b. We will pay for loss or damage by "fungi",                   policy period.
          wet rot, dry rot, bacteria and virus. As                d. The coverage provided under this Limited
          used in this Limited Coverage, the term                    Coverage does not increase the applicable
          loss or damage means:                                      Limit of Insurance on any Covered
              (1) Direct physical loss or direct physical            Property. If a particular occurrence results
                  damage to Covered Property caused by               in loss or damage by "fungi", wet rot, dry
                  "fungi", wet rot, dry rot, bacteria or virus,      rot, bacteria or virus, and other loss or
                  including the cost of removal of the               damage, we will not pay more, for the total
                  "fungi", wet rot, dry rot, bacteria or virus;      of all loss or damage, than the applicable
                                                                     Limit of Insurance on the affected Covered
              (2) The cost to tear out and replace any part          Property.
                  of the building or other property as
                  needed to gain access to the "fungi", wet            If there is covered loss or damage to
                  rot, dry rot, bacteria or virus; and                 Covered Property, not caused by "fungi",
              (3) The cost of testing performed after                  wet rot, dry rot, bacteria or virus, loss
                  removal, repair, replacement or                      payment will not be limited by the terms of
                  restoration of the damaged property is               this Limited Coverage, except to the extent
                  completed, provided there is a reason                that "fungi", wet or dry rot, bacteria or virus
                  to believe that "fungi", wet rot, dry rot,           causes an increase in the loss. Any such
                  bacteria or virus are present.                       increase in the loss will be subject to the
                                                                       terms of this Limited Coverage.
       c. Unless a higher Limit of Insurance is shown
          in the Declarations for Limited "Fungi",                e. The terms of this Limited Coverage do not
          Bacteria or Virus Coverage, the coverage                   increase or reduce the coverage for Water
          described under this Limited Coverage is no                Damage provided under provision B.1.h.,
          more than the Limit of Insurance stated in the             Exclusion – Water Damage of the Standard
          Declarations for Building and Business                     Property Coverage Form or Additional
          Personal Property, but not greater than                    Coverage provision A.5.n., Water Damage,
          $50,000.                                                   Other Liquid, Powder or Molten Material
                                                                     Damage of the Special Property Coverage
              If form SS 04 41, Computers and Media,                 Form.
              and form SS 04 45, Personal Property of
              Others, are made a part of this policy, then        f.   The following applies only if a Time Element
              the Limits of Insurance for Computers and                Coverage applies to the "scheduled
              Media, and Personal Property of Others is                premises" and only if the suspension of
              included within this coverage limit. This                "operations" satisfies all the terms and
              coverage is made applicable to separate                  conditions of the applicable Time Element
              "scheduled premises" as described in the                 Coverage.
              Declarations. Regardless of the number                   (1) If the loss which resulted in "fungi",
              of claims, this limit is the most we will pay                wet or dry rot, bacteria or virus does
              per "scheduled premises" for the total of                    not in itself necessitate a suspension
              all loss or damage arising out of all                        of "operations", but such suspension
                                                                           is necessary due to loss or damage to

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          property caused by "fungi", wet or dry rot,
          bacteria or virus, then our payment under
          the Time Element Coverage is limited to
          the amount of loss and expense sustained
          in a period of not more than 30 days
          unless another number of days is
          indicated in the Declarations. The days
          need not be consecutive. If a covered
          suspension of "operations" was caused by
          loss or damage other than "fungi", wet or
          dry rot, bacteria or virus, but remediation
          of "fungi", wet or dry rot, bacteria or virus
          prolongs the "period of restoration", we will
          pay for loss and expense sustained during
          the delay (regardless of when such a
          delay occurs during the "period of
          restoration"), but such coverage is limited
          to 30 days unless another number of days
          is indicated in the Declarations. The days
          need not be consecutive.
C. Fungi Definition
   1. "Fungi" means any type or form of fungus,
      including mold or mildew, and any mycotoxins,
      spores, scents or by-products produced or
      released by fungi.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



HEARING AID ESTABLISHMENT PROFESSIONAL SERVICES
                    COVERAGE

This endorsement modifies insurance provided under the following:

                                     BUSINESS LIABILITY COVERAGE FORM


The coverage granted by this endorsement is subject to       B. Deleted Exclusions
all of the provisions of the Business Liability Coverage         Exclusion 1.j.(7) (Section B. – EXCLUSIONS) does
Form not expressly modified herein.                              not apply.
Solely with respect to the coverage provided by this         C. Clarification As Respects The Liability And
endorsement, the Business Liability Coverage Form is            Medical Expenses Limits of Insurance
amended as follows:
                                                                 The Limits of Insurance for any “occurrence”
                                                                 covered by this endorsement are within, and not in
A. Amended Coverages                                             addition to, the otherwise applicable Limits of
    1. The Insuring Agreement (Section A. -                      Insurance, as provided by Section D. – LIABILITY
       COVERAGES) is amended to add the following:               AND     MEDICAL      EXPENSES       LIMITS    OF
        Coverage is extended to include “bodily injury”,         INSURANCE.
        “property damage” or “personal and advertising           Any damages we pay on your behalf for a covered
        injury” due to the rendering of or failure to            “occurrence” will erode the General Aggregate limit
        render professional hearing aid services in              as respects the Limits of Insurance available to
        connection with hearing aid services.                    make payments for other claims covered by the
    2. Paragraph 2.a.(1)(d) (Section C. – WHO IS AN              Business Liability Coverage Form. Consequently,
       INSURED) is deleted and replaced by the                   any payment made on your behalf for covered
       following:                                                losses other than those provided by this
                                                                 endorsement will also erode the General Aggregate
            However, none of these “employees” or                limit.
            “volunteer workers” are insureds for:
                                                                 For the purpose of determining the limits of
            (1) “Bodily injury” or       “personal    and        insurance for the coverage provided by this
                advertising injury”:                             endorsement, any act or omission together with all
                (d) Arising out of his or her providing of       related acts or omissions in the furnishing of hearing
                    or failure to provide professional           aid services to any one person will be considered
                    hearing aid services.       However,         one “occurrence” with respect to “bodily injury” or
                    your “employees” or “volunteer               “property damage” and one offense with respect to
                    workers” are insureds with respect           “personal and advertising injury”.
                    to their providing or failing to
                    provide professional hearing aid
                    services in connection with your
                    business.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


IDENTITY RECOVERY COVERAGE FOR BUSINESSOWNERS
                AND EMPLOYEES
         IDENTITY THEFT CASE MANAGEMENT SERVICE AND EXPENSE
                            REIMBURSEMENT

This endorsement modifies insurance provided under the following:

                                    SPECIAL PROPERTY COVERAGE FORM

A. The following is added to paragraph 5. Additional       B. The following additional exclusions are added to
   Coverages (Section A. - Coverage):                         Section B. - Exclusions and apply to this coverage:
   IDENTITY RECOVERY COVERAGE                                  EXCLUSIONS
   We will provide the Case Management Service and             We do not cover loss or expense arising from any
   Expense Reimbursement Coverage indicated                    of the following:
   below if all of the following requirements are met:         1. Theft of a professional or business identity.
   1. There has been an "identity theft" involving the         2. Any fraudulent, dishonest or criminal act by an
      personal identity of an "identity recovery                  "identity recovery insured" or any person aiding
      insured" under this policy; and                             or abetting an "identity recovery insured", or by
   2. Such "identity theft" is first discovered by the            any authorized representative of an "identity
      "identity recovery insured" during the policy               recovery insured", whether acting alone or in
      period for which this Identity Recovery                     collusion with others. However, this exclusion
      coverage is applicable; and                                 shall not apply to the interests of an "insured"
   3. Such "identity theft" is reported to us as soon             who has no knowledge of or involvement in
      as practicable but in no event later than 60                such fraud, dishonesty or criminal act.
      days after it is first discovered by the "identity       3. Loss other than "identity recovery expenses".
      recovery insured."                                       4. An "identity theft" that is first discovered by the
   If all three of the requirements listed above have             "identity recovery insured" prior to or after the
   been met, then we will provide the following to the            policy period for which this coverage applies.
   "identity recovery insured":                                   This exclusion applies whether or not such
   1. Case Management Service                                     "identity theft" began or continued during the
                                                                  period of coverage.
       Services of an "identity recovery case
       manager" as needed to respond to the "identity          5. An "identity theft" that is not reported to us
       theft"; and                                                within 60 days after it is first discovered by the
                                                                  "identity recovery insured."
   2. Expense Reimbursement
                                                               6. An "identity theft" that is not reported in writing
       Reimbursement of necessary and reasonable                  to the police.
       "identity recovery expenses" incurred as a
       direct result of the "identity theft."
   This coverage is additional insurance.




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C. LIMITS OF INSURANCE                                     E. The following additional conditions are added to
   1. Case Management Service is available as                 Section F. - Property General Conditions and apply
      needed for any one "identity theft" for up to 12        to this coverage:
      consecutive months from the inception of the            CONDITIONS
      service. Expenses we incur to provide Case              1. Assistance and Claims
      Management Service do not reduce the
      amount of limit available for Expense                       For assistance, the "identity recovery insured"
      Reimbursement coverage.                                     should call the Identity Recovery Help Line at
                                                                  1-866-989-2905.
   2. Expense Reimbursement coverage is subject
      to a limit of $15,000 annual aggregate per                  The Identity Recovery Help Line can provide
      "identity recovery insured." Regardless of the              the "identity recovery insured" with:
      number of claims, this limit is the most we will            a. Information and advice for how to respond
      pay for the total of all loss or expense arising               to a possible "identity theft"; and
      out of all "identity thefts" to any one "identity
                                                                  b. Instructions for how to submit a service
      recovery insured" which are first discovered by
                                                                      request for Case Management Service
      the "identity recovery insured" during a 12-
                                                                      and/or a claim form for Expense
      month period starting with the beginning of the
                                                                      Reimbursement Coverage.
      present annual policy period. If an "identity
      theft" is first discovered in one policy period             In some cases, we may provide Case
      and continues into other policy periods, all loss           Management services at our expense to an
      and expense arising from such "identity theft"              "identity recovery insured" prior to a
      will be subject to the aggregate limit applicable           determination that a covered "identify theft" has
      to the policy period when the "identity theft" was          occurred. Our provision of such services is not
      first discovered.                                           an admission of liability under the policy. We
                                                                  reserve the right to deny further coverage or
       a. Legal costs as provided under paragraph d.
                                                                  service if, after investigation, we determine that
          of the definition of "identity recovery
                                                                  a covered "identify theft" has not occurred.
          expenses" are part of, and not in addition to,
          the Expense Reimbursement coverage limit.               As     respects      Expense      Reimbursement
                                                                  Coverage, the "identity recovery insured" must
       b. Lost Wages and Child and Elder Care
                                                                  send to us, within 60 days after our request,
          Expenses as provided under paragraphs e.                receipts, bills or other records that support his
          and f. of the definition of "identity recovery          or her claim for "identity recovery expenses."
          are jointly subject to a sublimit of $250 per
          day, not to exceed $5,000 in total. This            2. Services
          sublimit is part of, and not in addition to,            The following conditions apply as respects any
          the Expense Reimbursement coverage                      services provided by us or our designees to
          limit. Coverage is limited to lost wages and            any "identity recovery insured" under this
          expenses incurred within 12 months after                endorsement:
          the first discovery of the "identity theft" by          a. Our ability to provide helpful services in the
          the "identity recovery insured".                           event of an "identity theft" depends on the
       c. Mental Health Counseling as provided                       cooperation, permission and assistance of
          under paragraph g. of the definition of                    the "identity recovery insured."
          "identity recovery expenses" is subject to a            b. All services may not be available or
          sublimit of $1,000. This sublimit is part of,              applicable to all individuals. For example,
          and not in addition to, the Expense                        "identity recovery insureds" who are minors or
          Reimbursement coverage limit. Coverage                     foreign nationals may not have credit records
          is limited to counseling that takes place                  that can be provided or monitored. Service in
          within 12 months after the first discovery of              Canada will be different from service in
          the "identity theft" by the "identity recovery             United States and Puerto Rico in accordance
          insured".                                                  with local conditions.
D. DEDUCTIBLE                                                     c. We do not warrant or guarantee that our
   Case Management Service is not subject to a                       services will end or eliminate all problems
   deductible.                                                       associated with an "identity theft" or
   Expense Reimbursement coverage is subject to a                    prevent future "identity thefts."
   deductible of $250. Any one "identity recovery
   insured" shall be responsible for only one
   deductible under this Identity Recovery Coverage
   during any one policy period.


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F. With respect to the provisions of this endorsement                         (2) Removing          any civil  judgment
   only, the following definitions are added to Section                           wrongfully entered against an "identity
   G. - Property Definitions:                                                     recovery insured" as a result of the
    DEFINITIONS                                                                   "identity theft."
    1. "Identity Recovery Case Manager" means one                        e. Lost Wages
       or more individuals assigned by us to assist an                        Actual lost wages of the "identity recovery
       "identity       recovery         insured"     with                     insured" for time         reasonably and
       communications we deem necessary for re-                               necessarily take away from work and away
       establishing the integrity of the personal identity                    from the work premises. Time away from
       of the "identity recovery insured." This includes,                     work includes partial or whole work days.
       with the permission and cooperation of the                             Actual lost wages may include payment for
       "identity recovery insured," written and                               vacation days, discretionary days, floating
       telephone        communications        with    law                     holidays and paid personal days. Actual
       enforcement         authorities,      governmental                     lost wages does not include sick days or
       agencies, credit agencies and individual                               any loss arising from time taken away from
       creditors and businesses.                                              self employment. Necessary time off does
    2. "Identity Theft" means the fraudulent use of the                       not include time off to do tasks that could
                                                                              reasonably have been done during non-
       social security number or other method of
                                                                              working hours.
       identifying an "identity recovery insured." This
       includes fraudulently using the personal identity                 f.   Child and Elder Care Expenses
       of an "identity recovery insured" to establish                         Actual costs for supervision of children or
       credit accounts, secure loans, enter into                              elderly or infirm relatives or dependents of
       contracts or commit crimes.                                            the "identity recovery insured" during time
        "Identity theft" does not include the fraudulent                      reasonably and necessarily taken away
        use of a business name, d/b/a or any other                            from such supervision. Such care must be
        method of identifying a business activity.                            provided by a professional care provider
    3. "Identity Recovery Expenses" means the                                 who is not a relative of the "identity
                                                                              recovery insured".
       following when they are reasonable and
       necessary expenses that are incurred in the                       g. Mental Health Counseling
       United States or Canada as a direct result of                          Actual costs for counseling from a licensed
       an "identity theft":                                                   mental health professional. Such care
        a. Costs for re-filing applications for loans,                        must be provided by a professional care
           grants or other credit instruments that are                        provider who is not a relative of the "identity
           rejected solely as a result of an "identity theft."                recovery insured".
        b. Costs for notarizing affidavits or other                  4. "Identity Recovery         Insured"    means     the
           similar documents, long distance telephone                   following:
           calls and postage solely as a result of your                  a. A full time employee of the entity insured
           efforts to report an "identity theft" or amend                   under this policy; or
           or rectify records as to your true name or
                                                                         b. The owner of the entity insured under this
           identity as a result of an "identity theft."
                                                                            policy who meets any of the following
        c. Costs for up to twelve (12) credit reports                       criteria:
           from established credit bureaus dated
           within 12 months after your knowledge or                           (1) A sole proprietor of the insured entity;
           discovery of an "identity theft."                                  (2) A partner in the insured entity; or
        d. Legal Costs                                                        (3) An individual having an ownership
            Fees and expenses            for   an   attorney                      position of 20% or more of the insured
            approved by us for:                                                   entity.
            (1) Defending any civil suit brought against                 An "identity recovery insured" must always be
                an "identity recovery insured" by a                      an individual person. The entity insured under
                creditor or collection agency or entity                  this policy is not an "identity recovery insured."
                acting on behalf of a creditor for non-          All other provisions of this policy apply.
                payment of goods or services or
                default on a loan as a result of an
                "identity theft"; and




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



        BUILDING LIMIT- AUTOMATIC INCREASE REVISION

This endorsement modifies insurance provided under the following:

                                     SPECIAL PROPERTY COVERAGE FORM
                                    STANDARD PROPERTY COVERAGE FORM


Except as otherwise stated in this endorsement, the                 (3) The number of days since the beginning of
terms and conditions of the policy apply to the insurance               the current policy year or the effective date
stated below.                                                           of the most recent policy change amending
A. Paragraph C.5 Building Limit-Automatic Increase                      the Limit of Insurance for Buildings, divided
    of the SPECIAL PROPERTY COVERAGE FORM or                            by 365.
    STANDARD PROPERTY COVERAGE FORM is                              Example:
    deleted.                                                        The applicable Limit of Insurance for Buildings is
B. The following is added to Additional Coverages,                  $100,000. The automatic increase percentage is
   paragraph A.5 of the SPECIAL PROPERTY                            8%. The number of days since the beginning of
   COVERAGE FORM or paragraph A.4. of the                           the policy period (or last policy change) is 146.
   STANDARD PROPERTY COVERAGE FORM:                                 The amount of increase is:
    Building Limit - Automatic Increase                             $100,000 X .08 X 146 divided by 365 = $3,200
    a. If the covered loss or damage to Building
       property at a “scheduled premises” exceeds the
       Limit of Insurance stated in the Declarations, the
       Limit of Insurance available for the covered loss
       or damage in that occurrence will automatically
       increase by up to 8%.
    b. The amount of increase will be:
        (1) The Limit of Insurance for Buildings that
            applied on the most recent of the policy
            inception date, policy anniversary date, or
            the date of any other policy change
            amending the Building limit, multiplied by
        (2) The 8% annualized percentage of Automatic
            Increase, expressed as a decimal
                (08), multiplied by




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




     AMENDMENT - DEFINITION OF INSURED CONTRACT
This endorsement modifies insurance provided under the following:

                                        BUSINESS LIABILITY COVERAGE FORM


Paragraph f. of the definition of "insured contract" in the Liability And Medical Expenses Definitions Section is
replaced by the following:
f. That part of any other contract or agreement pertaining to your business (including an indemnification of a
    municipality in connection with work performed for a municipality) under which you assume the tort liability of
    another party to pay for "bodily injury" or "property damage" to a third person or organization. Tort liability
    means a liability that would be imposed by law in the absence of any contract or agreement.

    Paragraph f. includes that part of any contract or agreement that indemnifies a railroad for "bodily injury" or
    "property damage" arising out of construction or demolition operations within 50 feet of any railroad property
    and affecting any railroad bridge or trestle, tracks, road-beds, tunnel, underpass or crossing.
    However, Paragraph f. does not include that part of any contract or agreement:
    (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
        (a) Preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports surveys,
            field orders, change orders, designs or drawings and specifications; or
        (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
             damage; or
    (2) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
        arising out of the insured's rendering or failure to render professional services, including those listed in (1)
        above and supervisory, inspection, architectural or engineering activities.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     SUPPLEMENTAL COVERAGE ENDORSEMENT- DATA
                     BREACH
This endorsement modifies insurance provided under the following:

                              DATA BREACH COVERAGE - RESPONSE EXPENSE


I.   BUSINESS INCOME AND EXTRA EXPENSE                                          no slowdown or cessation of
     The following provisions apply only if you have                            "business operations" due to a
     selected the Business Income And Extra                                     covered "data breach".
     Expense coverage and a Business Income And                            b. Continuing       normal      operating
     Extra Expense Sub-limit is stated in the                                   expenses incurred, including payroll.
     Coverage Part Declarations.                                           "Business income" does not include
     A. The following paragraph is added to the                            interest or investment income.
         definition of "data breach expenses" in                       o   "Business operations" means your
         SECTION H. DEFINTIONS:                                            routine and normal activities conducted
         o Actual loss of "business income" you                            in the course of your business.
           sustain and "extra expense" you incur                       o   "Extra expense" means the reasonable
           during the "period of restoration" directly                     and necessary expenses you incur
           resulting from a "data breach" if such                          during the "period of restoration":
           "data breach" results in an actual
           slowdown or cessation of your "business                         a. To continue or attempt to continue
           operations" during the "policy period".                             "business operations" that have
                                                                               been interrupted due to a covered
     B. The following definitions are added to                                 "data breach" and such expenses
        SECTION H. DEFINTIONS:                                                 would not have been incurred if
         o   "Breach restoration expenses" means:                              there had been no "data breach"; or
             The     reasonable      and     necessary                     b. To avoid or minimize the slowdown
             expenses you incur with our prior written                         or cessation of your "business
             consent for the costs relating to the                             operations"
             actual transcription and/or copying of                        "Extra expense" also includes "breach
             "personally identifiable information" from                    restoration expenses".
             a back-up copy in order to reproduce
             such "personally identifiable information"                    "Extra expense" does not include any
             in an electronic format of comparable                         costs of updating, upgrading or
             kind or quality that existed prior to the                     remediation of your systems that are not
             "data breach".                                                otherwise covered under this Coverage
                                                                           Part.
             "Breach restoration expenses" does not
             mean, and we will not be obligated to                     o   "Period of restoration" means:
             pay, any amounts to research,                                 a. The period of time that begins after
             recapture, or develop the "personally                             the number of hours stated as the
             identifiable information" that was the                            Business     Income     And     Extra
             subject of the "data breach".                                     Expense Waiting Period Deductible
         o   "Business income" means your:                                     in the Coverage Part Declarations,
                                                                               immediately following the time the
             a. Net income (Net profit or loss before                          actual slowdown or cessation of
                income taxes) that would have been                             "business operations" first occurs.
                earned or incurred if there had been



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              b. The "period of restoration" ends on       E. The following conditions are added to
                 the earlier of the following:                SECTION G. CONDITIONS:
                 (1) The date "business operations"           o   With respect to coverage provided
                     are restored to the condition that           under this endorsement for loss of
                     would have existed had there                 "business income" you sustain and/or
                     been no slowdown or cessation;               "extra expense" you incur:
                     or                                           a. You have the duty to provide us with
                 (2) Sixty (60) days after the date                   all evidence that we request relating
                     the     actual      slowdown     or              to any loss of "business income"
                     cessation         of      "business              and "extra expense". This includes
                     operations" first occurs;                        but is not limited to any applicable
         The expiration date of this Policy or                        business      records,    accounting
         Coverage Part will not affect the                            procedures, invoices, and contracts.
         duration of the "period of restoration".                 b. The amount of "business income"
   C. The following paragraph is added to                             will be determined based on
      SECTION B. LIMIT OF INSURANCE:                                  consideration of:
       We will pay up to the Business Income And                      (1) The net income generated from
       Extra Expense Sub-limit stated in the                               your    "business    operations"
       Coverage Part Declarations for all loss of                          before the      "data breach"
       "business income" and "extra expense"                               occurred;
       incurred as provided in this endorsement.                      (2) The likely net income generated
       Amounts paid for all loss of "business                              by your "business operations" if
       income" and "extra expense" incurred will be                        no "data breach" had occurred;
       aggregated for purposes of meeting the                         (3) The      operating      expenses,
       aforementioned     Sub-limit.   Additionally,                      including payroll, necessary to
       amounts paid under the Business Income                             resume        your       "business
       And Extra Expense Sub-limit will be included                       operations" with the same
       within and reduce the Data Breach -                                quality of service that existed
       Response Expenses Limit of Insurance.                              before the "data breach"; and
   D. The following paragraph is             added    to              (4) Other relevant sources of
      SECTION D. DEDUCTIBLES:                                             information, including but not
       We will pay loss of "business income" and                          limited to, your financial records,
       "extra expense" under this endorsement that                        accounting procedures, bills,
       exceeds the loss of "business income" you                          invoices, vouchers, debts, liens
       sustain and "extra expense" you incur during                       and contracts.
       the number of hours designated in the                         However, the amount of "business
       Coverage Part Declarations as the Business                    income" will be reduced to the
       Income And Extra Expense Waiting Period                       extent that the reduction in the
       Deductible.    The Business Income And                        volume of business from the
       Extra Expense Waiting Period Deductible                       affected "business operations" is
       starts at the beginning of the actual                         offset by an increase in the volume
       slowdown or cessation of your "business                       of business from other channels of
       operations". The deductible shown in the                      commerce such as telephone, mail
       Coverage Part Declarations under Data                         or other sources.
       Breach - Response Expenses will not apply
       to loss of "business income" and "extra                    c. The amount of "extra expense" will
       expense" provided under this endorsement.                     be determined based on:
       We will pay "business income" and "extra                      (1) Necessary      expenses      that
       expense" up to the Business Income And                            exceed the normal      operating
       Extra Expense Sub-limit shown in the                              expenses that would have been
       Coverage Part Declarations.                                       incurred in the course of your
                                                                         "business operations" during the
                                                                         "period of restoration" if no




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                cessation or slowdown of                 C. The following definitions are added to
                "business     operations"     had           SECTION H. DEFINITIONS:
                occurred. We will deduct from               o   "Extortion expenses" means:
                the total of such expenses the
                salvage value that remains of                   a. Fees and costs of:
                any     property     bought     for                 (1) A security firm; or
                temporary use during the                            (2) A person or organization;
                "period of restoration" once your
                                                                   hired with our prior consent to
                "business      operations"     are
                                                                   determine the validity and severity
                resumed; and
                                                                   of a threat made against you;
            (2) Necessary        expenses     that
                                                                b. Interest costs paid by you for any
                reduce the "business income"
                                                                   loan from a financial institution taken
                loss that otherwise would have
                                                                   by you to pay a "ransom payment";
                been incurred during the "period
                of restoration".                                c. Reward money paid by you to an
II. EXTORTION THREATS                                              "informant" which leads to the arrest
                                                                   and conviction of any party or
   The following provisions apply only if you have                 parties responsible for committing
   selected the Extortion Threats coverage and an                  the threat; and
   Extortion Threats Sub-limit is stated in the
                                                                d. Any other reasonable expenses
   Coverage Part Declarations. The coverage
                                                                   incurred by you with our prior written
   provided under this Section applies only to the
                                                                   consent, including fees and costs of
   extent that such coverage is not already
                                                                   independent negotiators.
   provided under the definition of "legal and
   forensic services".                                      o   "Informant" means a person, other than
   A. The following paragraphs are added to the                 an employee, providing information not
       definition of "data breach expenses" in                  otherwise obtainable.
       SECTION H. DEFINTIONS:                               o   "Ransom payments" means             monies
                                                                extorted from and paid by you.
       o   "Extortion expenses" and "ransom
           payments" resulting directly from a           D. The following paragraph is added            to
           threat or connected series of threats to         SECTION B. LIMIT OF INSURANCE:
           commit an act that if so committed,              We will pay up to the Extortion Threats Sub-
           would result in the loss, theft, release or      limit stated in the Coverage Part
           publication of "personally identifiable          Declarations for all "extortion expenses"
           information".                                    and/or "ransom payments" incurred as
           We will not pay for "extortion expenses"         provided in this endorsement. Amounts paid
           or "ransom payments" unless the threat           for all "extortion expenses" and/or "ransom
           was communicated to you during the               payments" will be aggregated for purposes
           "policy period".                                 of meeting the aforementioned Sub-limit.
           We will not pay for "extortion expenses"         Additionally, amounts paid under the
                                                            Extortion Threats Sub-limit will be included
           or "ransom payments" which are part of
                                                            within and reduce the Data Breach -
           a series of related threats that began
                                                            Response Expenses Limit of Insurance.
           prior to the "policy period".
                                                         E. The following paragraph is         added    to
   B. With respect to the coverage provided for
                                                            SECTION D. DEDUCTIBLES:
      "extortion      expenses"       and   "ransom
      payments" under this endorsement, the                 We will not pay for "extortion expenses" and
      following paragraph is added to the                   "ransom payments" under this endorsement
      definition of "data breach" in SECTION H.             until the amount of loss incurred under this
      DEFINITIONS:                                          Coverage Part exceeds the deductible
       "Data breach" includes a threat or                   shown in the Coverage Part Declarations
       connected series of threats to commit an act         under Data Breach - Response Expenses.
                                                            Subject to the terms and conditions of this
       that if so committed, would result in the loss,
                                                            Policy, we will pay the amount of "extortion
       theft, release or publication of "personally
                                                            expenses" and "ransom payments" in
       identifiable information".
                                                            excess of the deductible shown in the




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   Coverage Part Declarations under Data Breach -        e. Any "extortion expenses" and/or
   Response Expenses up to the Extortion Threats            "ransom payments" paid must only
   Sub-limit shown in the Coverage Part                     be made to terminate or end the
   Declarations.                                            threat;
   F. The following conditions are added to              f. The threat must be one which, if
      SECTION G. CONDITIONS:                                carried out, would have led to a
       o      With respect to coverage provided             "data breach" that would have been
              under this endorsement for "extortion         covered under this Coverage Part
              expenses" and/or "ransom payments":           had the monies not been paid;
              a. You must notify the appropriate law     g. You must make reasonable efforts
                  enforcement officials of the threat       to access the "personally identifiable
                  prior to any payment of "extortion        information" at issue from backup;
                  expenses"       and/or       "ransom   h. You must approve any "ransom
                  payments";                                payments" paid under this Coverage
              b. You must receive approval from us          Part;
                  prior to the payment of any            i. You must make every reasonable
                  "extortion expenses" and/or "ransom       effort to keep this coverage
                  payments";                                confidential and not to divulge the
              c. You must make all reasonable               existence of this coverage.
                  efforts to determine that the threat   j. You agree to keep confidential any
                  has actually occurred;                    amounts      paid     as    "extortion
              d. You must make every reasonable             expenses"         and/or     "ransom
                  effort to immediately notify an           payments" except for any disclosure
                  associate of the security firm hired      we approve in advance of that
                  under this Coverage Part, if any,         disclosure. This condition does not
                  before     making    any     "ransom      apply to the extent that any law or
                  payments";                                court order requires the disclosure
                                                            of such "extortion expenses" and/or
                                                            "ransom payments".




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    BUSINESS INCOME EXTENSION FOR CLOUD SERVICE
                   INTERRUPTION
This endorsement modifies insurance provided under the following:


                                   SPECIAL PROPERTY COVERAGE FORM


This insurance applies only when Business Income and                   (5) With respect to the coverage provided
Extra Expense is shown in the Declarations as                              in this Additional Coverage, Extra
applicable. Except as otherwise stated in this                             Expense means expense incurred:
endorsement, the terms and conditions of the policy                        (a) To avoid or minimize the
apply to the insurance stated below.                                           suspension of business and to
A. COVERAGE                                                                    continue "operations"; or
   The following is added to Paragraph A.5.,                               (b) To minimize the suspension of
   Additional Coverages, of the Special Property                                business if you cannot continue
   Coverage Form:                                                               "operations"
       Business Income Extension for           Cloud                       to the extent it reduces the amount of
       Service Interruption                                                loss that otherwise would have been
           (1) We will pay for the actual loss of                          payable      under    this   Additional
                                                                           Coverage.
               Business Income you sustain due to
               the necessary suspension of your                        (6) With respect to the coverage provided
               "operations" during the "cloud failure                      in    this    Additional     Coverage,
               period of restoration". The suspension                      suspension     means      the   partial
               must be caused by a "cloud failure".                        slowdown or complete cessation of
           (2) We will also pay reasonable and                             your business activities.
               necessary Extra Expense you incur          B. EXCLUSIONS
               during the "cloud failure period of            With respect to the coverage provided by this
               restoration" that you would not have           endorsement only, Section B., EXCLUSIONS, of
               incurred if there had been no "cloud           the Special Property Coverage Form is deleted in
               failure".                                      its entirety.
           (3) The most we will pay in any one            C. DEFINITIONS
               occurrence under this Additional
               Coverage is $25,000.                           With respect to the coverage provided by this
                                                              endorsement only, the following changes are made
           (4) With respect to the coverage provided          to Section G., PROPERTY DEFINITIONS, of the
               in this Additional Coverage, Business          Special Property Coverage Form:
               Income means the:
                                                              1. The definition of "operations" in Paragraph
               (a) Net Income (Net Profit or Loss                G.11. is deleted and replaced with the
                   before income taxes) that would               following:
                   have been earned or incurred if no
                   "cloud failure" had occurred; and                "Operations" means your business activities
                                                                    occurring at or away from the "scheduled
               (b) Continuing     normal    operating               premises" but within the coverage territory.
                   expenses     incurred,   including
                   payroll.




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   2. The following definition is added:                                (a) The date when the "cloud service
      "Cloud Failure" means any unannounced and                             provider" regains full functionality;
      unplanned failure of a "cloud service provider",                      or
      located anywhere in the world, to provide you                      (b) The date when the "cloud failure"
      access to the computing resources described                            is no longer impacting your ability
      in a "vendor agreement" within the parameters                          to resume "operations".
      described in such "vendor agreement". "Cloud              The expiration date of this policy will not cut
      failure" includes, but is not limited to:                 short the "cloud failure period of restoration".
       a. A failure of any "computer", "computer            4. The following definition is added:
          equipment",       or telecommunication
          hardware under the control of a "cloud               "Cloud Service Provider" means an entity not
          service provider";                                   owned, operated, or controlled by you that
                                                               provides its customers with on-demand access
       b. A failure or violation of the security of the        to hosted computer infrastructure or computing
          "cloud service provider" including, but not          platforms including cloud computing services
          limited to that which is caused by the               provided on an Infrastructure as a Service
          receipt of a "computer virus", malicious             (IaaS), Platform as a Service (PaaS), or
          code or a "denial of service attack";                Software as a Service (SaaS) model.
       c. The insolvency or other financial difficulties    5. The following definition is added:
          of the "cloud service provider"; or
                                                               "Computer Virus" means a program which is
       d. Law enforcement, regulatory or court order           intentionally created to cause damage or
          disrupting the business of the "cloud                disruption in the computer operations of a party
          service provider".                                   using or coming in contact in any way with the
   3. The following definition is added:                       program.
       "Cloud Failure Period of Restoration" means:         6. The following definition is added:
       a. The period of time that:                              "Denial of Service Attack" means a type of
              (1) Begins:                                       attack designed to overload a computer or
                                                                network system with useless traffic, denying or
                  (a) The twelve (12) hours after a             limiting legitimate electronic mail or web site
                      "cloud failure" for Business Income       usage.
                      for Interruption of Cloud Services
                      coverage; or                          7. The following definition is added:
                                                               "Vendor Agreement" means a contract
                  (b) Immediately after the time of a
                                                               between you and a "cloud service provider"
                      "cloud failure" for Extra Expense
                                                               pursuant to which the "cloud service provider"
                      for Interruption of Cloud Services
                                                               provides on-demand access to hosted
                      coverage;
                                                               computing      infrastructure   or  computing
                  and                                          platforms to you for a fee.
              (2) Ends on the earlier of:




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      FRAUDULENT TRANSFER COVERAGE
This endorsement modifies insurance provided under the following:

                                          SPECIAL PROPERTY COVERAGE FORM


Except as otherwise stated in this endorsement, the                                use of credit, debit, charge, access,
terms and conditions of the policy apply to the insurance                          convenience, identification, stored-
stated below.                                                                      value or other cards or the
A. COVERAGE                                                                        information contained on such
                                                                                   cards.
    The following is added to Paragraph A.5.,
    Additional Coverages, of the Special Property                              (b) Loss, or that part of any loss, that
    Coverage Form:                                                                 the proof of which as to its
                                                                                   existence or amount is dependent
        Fraudulent Transfer Coverage                                               upon:
            (1) We will pay for loss of or damage to
                                                                                   (i) An inventory computation; or
                "money",       "securities"    and    "other
                property" following and directly related                           (ii) A profit or loss computation.
                to the use of any electronic, telegraphic,     B. DEFINITIONS
                cable,      teletype,    telefacsimile    or
                                                                   With respect to the coverage provided by this
                telephone instruction to fraudulently
                                                                   endorsement only, the following changes are made
                cause a transfer of that property from
                                                                   to Section G., PROPERTY DEFINITIONS, of the
                the "scheduled premises", bank or
                                                                   Special Property Coverage Form:
                savings institution to a person (other
                than a "messenger") or place outside               1. The following definition is added:
                those premises.                                        "Fraudulent instruction" means:
            (2) We will pay for loss of "money" and                    a. An electronic, telegraphic, cable, teletype,
                "securities" resulting directly from a                    telefacsimile or telephone instruction which
                "fraudulent instruction" directing a                      purports to have been transmitted by you,
                financial institution to transfer, pay or                 but which was in fact fraudulently
                deliver "money" and "securities" from                     transmitted by someone else without your
                your "transfer account".                                  knowledge or consent;
            (3) The most we will pay for loss in any one               b. A written instruction (other than those
                occurrence is the applicable Limit of
                                                                          described in Additional Coverage A.5.f.)
                Insurance for Fraudulent Transfer
                                                                          issued by you, which was forged or altered
                Coverage shown in the Declarations.
                                                                          by someone other than you without your
            (4) All loss:                                                 knowledge or consent or which purports to
                (a) Caused by one or more persons; or                     have been issued by you, but was in fact
                (b) Involving a single act or series of                   fraudulently issued without your knowledge
                     related acts;                                        or consent; or
                is considered one occurrence.                          c. An electronic, telegraphic, cable, teletype,
                                                                          telefacsimile, telephone or written instruction
            (5) Limitation A.4.a.(2) and Exclusion B.2.f.
                                                                          initially received by you which purports to
                do not apply to this additional coverage.
                                                                          have been transmitted by an employee but
            (6) Additional Exclusions                                     which was in fact fraudulently transmitted by
                Under this Additional Coverage, we will                   someone else without your or the
                not pay for:                                              employee's knowledge or consent.
                (a) Loss or damage caused by or
                     resulting from the use or purported

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   2. The following definition is added:
       "Other property" means any tangible Covered
       Property other than "money" and "securities"
       that has intrinsic value.
   3. The following definition is added:
       "Transfer account" means an account
       maintained by you at a financial institution from
       which you can initiate the transfer, payment or
       delivery of "money" and "securities":
       a. By means of electronic, telegraphic, cable,
          teletype,    telefacsimile    or   telephone
          instructions communicated directly through
          an electronic funds transfer system; or
       b. By means of written instructions (other than
          those described in Additional Coverage
          A.5.f.) establishing the conditions under
          which such transfers are to be initiated by
          such financial institution through an
          electronic funds system.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                             PERILS SPECIFICALLY EXCEPTED

As used herein, "Peril" means a cause of physical loss or            This exception A. does not reduce the insurance for
damage to property. It has this meaning whether or not it            loss or damage caused directly by a Covered Peril.
is called a "Peril" or a "Cause of Loss" in this policy.
                                                                     As used in this endorsement:
Even if any of the terms of this policy might be construed
otherwise, the following Perils, as described in Paragraphs          1.   If this policy is written to cover the risk of loss from
A. and B. below, are SPECIFICALLY EXCEPTED FROM                           specifically named causes.            "Covered Peril"
THIS POLICY. WE DO NOT COVER OR INSURE                                    means any Peril specifically named as covered; or
AGAINST LOSS OR DAMAGE DIRECTLY OR                                   2.   If written to cover the risk of loss without
INDIRECTLY CAUSED BY, RESULTING FROM,                                     specifying specifically named causes, "Covered
CONTRIBUTED TO OR AGGRAVATED BY, OR WHICH                                 Peril" means any Peril not described above and
WOULD NOT HAVE OCCURRED BUT FOR, EITHER OF                                not otherwise excluded or excepted from the
THESE PERILS:                                                             causes of loss covered by this policy.
A. ACTS, ERRORS OR OMISSIONS by you or others in:                B. COLLAPSE,        "CRACKING" OR "SHIFTING" of
    1.   Planning, zoning, developing, surveying, testing or         buildings, other structures or facilities, or their parts, if
         siting property;                                            the collapse, "cracking" or "shifting":
    2.   Establishing or enforcing any building code, or any         1.   Occurs during "earth movement,"           "volcanic
         standard, ordinance or law about the construction,               eruption" or "flood" conditions or within 72 hours
         use or repair of any property or materials, or                   after they cease; and
         requiring the tearing down of any property,                 2.   Would not have occurred but for                  "earth
         including the removal of its debris;                             movement," "volcanic eruption" or "flood."
    3.   The design, specifications, workmanship, repair,
                                                                     But if loss or damage by a covered Peril ensues at the
         construction, renovation, remodeling, grading or
                                                                     covered premises, we will pay for that ensuing loss or
         compaction of all or any part of the following:
                                                                     damage.
         a.   Land or buildings or other structures;
                                                                     This exception B. applies whether or not there are
         b.   Roads, water or gas mains, sewers, drainage
                                                                     other provisions in this policy relating to collapse,
              ditches, levees, dams, or other facilities; or
                                                                     "cracking" or "shifting" of buildings, other structures or
         c.   Other improvements        or changes     in   or       facilities, or their parts. Any such provision is revised
              additions to land or other property.                   by this endorsement to include this exception.
    4.   The furnishing of work, materials, parts or             But if this policy specifically covers (by endorsement or in
         equipment in connection        with the design,         any other way) loss or damage caused by one or more of
         specifications, workmanship, repair, construction,      the following Perils:
         renovation, remodeling, grading or compaction of             1. Earthquake;
         any of the above property or facilities; or
                                                                     2.   Flood;
    5.   The maintenance      of any of such property or
                                                                     3.   Volcanic action;
         facilities.
                                                                     4.   Volcanic eruption; or
    This exception A. applies whether or not the property
                                                                     5.   Sinkhole collapse,
    or facilities described above are:
                                                                     this exception B. will not reduce that coverage.
    1.   Covered under this policy; or
                                                                     As used in this exception B.:
    2.   On or away from the covered premises.



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    1.   "Cracking" means cracking, separating, shrinking,          5.   "Volcanic eruption" means the eruption, explosion
         bulging, or expanding;                                          or effusion of a volcano.        It does not include
    2.   "Shifting" means shifting, rising, settling, sinking,           volcanic action if loss by volcanic action is
         or lateral or other movement;                                   specifically covered in this policy;

    3.   "Earth movement" means any earth movement,                 6.   "Flood" means:
         including but not limited to "earthquake," landslide,           a.   Flood, surface water, waves, tides, tidal water,
         mudflow, erosion, contraction or expansion,                          tidal waves, high water, and overflow of any
         subsidence, any movement of earth resulting from                     body of water, or their spray, all whether
         water combining with the ground or soil, and any                     driven by wind or not;
         other "shifting" of earth; all whether or not                   b.   Release of water held by a dam, levy or dike
         combined with "flood" or "volcanic eruption." It                     or by a water or flood control device;
         does not include sinkhole collapse if loss by
                                                                         c.   Water that backs up from a sewer or drain; or
         sinkhole collapse is specifically covered in this
         policy;                                                         d.   Water under the ground surface pressing on,
                                                                              or flowing, leaking or seeping through:
    4.   "Earthquake" means a shaking or trembling of the
         earth's crust, caused by underground volcanic or                     (1) Foundations,    walls,   floors   or   paved
         tectonic forces or by breaking or "shifting" of rock                     surfaces;
         beneath the surface of the ground from natural                       (2) Basements, whether paved or not; or
         causes.     An "Earthquake" includes all related
                                                                              (3) Doors, windows or other openings.
         shocks and after shocks;




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               EXCLUSION - NUCLEAR ENERGY LIABILITY
1. This insurance does not apply:                                    (3) The injury or damage arises out of the
   a. To any injury or damage:                                           furnishing by any insured of any "technology
                                                                         services" in connection with the planning,
       (1) With respect to which an insured under the                    construction, maintenance, operation or use
           policy is also an insured under a nuclear                     of any "nuclear facility"; or
           energy liability policy issued by Nuclear
           Energy Liability Insurance Association,                   (4) The injury or damage arises out of the
           Mutual Atomic Energy Liability Underwriters                   furnishing by an insured of services,
           or Nuclear Insurance Association of                           materials, parts or equipment in connection
           Canada, or any of their successors, or                        with       the      planning,       construction,
           would be an insured under any such policy                     maintenance, operation or use of any
           but for its termination upon exhaustion of its                "nuclear facility"; but if such facility is located
           limit of liability; or                                        within the United States of America, its
                                                                         territories or possessions or Canada, this
       (2) Resulting from the "hazardous properties" of                  exclusion (4) applies only to "property
           "nuclear material" and with respect to which:                 damage" to such "nuclear facility" and any
           (a) Any person or organization is required                    property thereat.
               to maintain financial protection pursuant     2. As used in this exclusion:
               to the Atomic Energy Act of 1954, or any
               law amendatory thereof; or                        a. "Byproduct material", "source material" and
                                                                    "special nuclear material" have the meanings
           (b) The insured is, or had this policy not               given them in the Atomic Energy Act of 1954 or
               been issued would be, entitled to                    in any law amendatory thereof.
               indemnity from the United States of
               America, or any agency thereof, under             b. "Computer system and network" means:
               any agreement entered into by the                     (1) Leased or owned computer hardware
               United States of America, or any agency                   including mobile, networked, and data
               thereof, with any person or organization.                 storage computing equipment;
   b. Under any Medical Payments or Medical                          (2) Owned or licensed software;
      Expenses Coverage, to expenses incurred with                   (3) Owned websites;
      respect to "bodily injury" resulting from the
      "hazardous properties" of "nuclear material" and               (4) Leased or owned wireless input and output
      arising out of the operation of a "nuclear facility"               devices; and
      by any person or organization.                                 (5) Electronic backup facilities and data storage
   c. To any injury or damage resulting from the                         repositories employed in conjunction with
      "hazardous properties" of "nuclear material"; if:                  items 1 through 4 above.
       (1) The "nuclear material":                               c. "Hazardous properties" include radioactive, toxic
                                                                    or explosive properties.
           (a) Is at any "nuclear facility" owned by, or
               operated by or on behalf of, an insured;          d. "Nuclear facility" means:
               or                                                    (1) Any "nuclear reactor";
           (b) Has been discharged or dispersed                      (2) Any equipment or device designed or used
               therefrom;                                                for:
       (2) The "nuclear material" is contained in "spent                 (a) Separating the isotopes of uranium or
           fuel" or "waste" at any time possessed,                           plutonium;
           handled,     used,    processed,      stored,                 (b) Processing or utilizing "spent fuel"; or
           transported or disposed of by or on behalf of
           an insured; or                                                (c) Handling,     processing      or    packaging
                                                                             "waste",


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        (3) Any equipment or device used for the                  b. Integration of systems;
            processing, fabricating or alloying of "special       c. Processing of, management of, mining
            nuclear material" if at any time the total               or warehousing of data;
            amount of such material in the custody of
            the insured at the premises where such                d. Administration, management, operation
            equipment or device is located consists of or            or hosting of: another party's systems,
            contains more than 25 grams of plutonium                 technology or computer facilities;
            or uranium 233 or any combination thereof,            e. Website development; website hosting;
            or more than 250 grams of uranium 235;                f.   Internet access services; intranet,
        (4) Any structure, basin, excavation, premises                 extranet or electronic information
            or place prepared or used for the storage or               connectivity     services;       software
            disposal of "waste";                                       application connectivity services;
        and includes the site on which any of the                 g. Manufacture,        sale,      licensing,
        foregoing is located, all operations conducted on            distribution, or marketing of: software,
        such site and all premises used for such                     wireless      applications,    firmware,
        operations.                                                  shareware,       networks,      systems,
   e. "Nuclear material" means "byproduct material",                 hardware, devices or components;
      "source material" or "special nuclear material".            h. Design and development of: code,
   f.   "Nuclear reactor" means any apparatus                        software or programming;
        designed or used to sustain nuclear fission in a          i.   Providing      software        application:
        self-supporting chain reaction or to contain a                 services, rental or leasing;
        critical mass of fissionable material.
                                                                  j.   Screening, selection, recruitment or
   g. Injury or damage and "property damage" include                   placement of candidates for temporary
      all forms of radioactive contamination of                        or permanent employment by others as
      property.                                                        information technology professionals;
   h. "Spent fuel" means any fuel element or fuel                 k. "Telecommunication services"; and
      component, solid or liquid, which has been used
                                                                  l.   "Telecommunication products".
      or exposed to radiation in a "nuclear reactor".
                                                               2. web-related software and connectivity
   i.   "Technology services" means:
                                                                  services performed for others; and
        1. the following services performed for others:
                                                               3. activities on the "named             insured's"
              a. Consulting, analysis, design, installation,      "computer system and network".
                 training, maintenance, support and
                 repair of or on: software, wireless
                 applications,   firmware,     shareware,
                 networks, systems, hardware, devices
                 or components;




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         EXCLUSION - UNMANNED AIRCRAFT (PROPERTY)
This endorsement modifies insurance provided under the following:

                                     SPECIAL PROPERTY COVERAGE FORM

Except as otherwise stated in this endorsement, the                 to be controlled directly by a person from within
terms and conditions of the policy apply to the insurance           or on the aircraft and which is owned by you or
stated below.                                                       owned by others but in your care, custody, or
A. COVERAGE                                                         control.
    Paragraph   A.2.,   Property    Not    Covered,                 "Unmanned aircraft" includes equipment
                                                                    designed for and used exclusively with the
    Subparagraph a. is deleted and replaced with the
                                                                    "unmanned aircraft", provided such equipment is
    following:
                                                                    essential for operation of the "unmanned
        a. Aircraft (including "unmanned aircraft"),                aircraft" or for executing "unmanned aircraft
           automobiles, motor trucks and other                      operations".
           vehicles     subject to  motor   vehicle
                                                               2. The following definition is added:
           registration.
                                                                    "Unmanned aircraft operations" means your
C. DEFINITIONS
                                                                    business activities in support of the specific
    The following changes are made to Section G.,                   operations listed in the Description of Business
    PROPERTY DEFINITIONS:                                           section of the Declarations.
    1. The following definition is added:
        "Unmanned aircraft" means an aircraft that is
        not:
        a. Designed;
        b. Manufactured; or
        c. Modified after manufacture




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



  CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:

                                 BUSINESS LIABILITY COVERAGE FORM
                    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
                                 SPECIAL PROPERTY COVERAGE FORM
                                STANDARD PROPERTY COVERAGE FORM
                                   UMBRELLA LIABILTY PROVISIONS


A. Disclosure Of Federal Share Of Terrorism Losses                 2. The act results in damage within the United
   The United States Department of the Treasury will                  States, or outside the United States in the case
   reimburse insurers for a portion of such insured                   of certain air carriers or vessels or the premises
   losses, as indicated in the table below that exceeds               of an United States mission; and
   the applicable insurer deductible:                              3. The act is a violent act or an act that is
        Calendar Year        Federal Share of                         dangerous to human life, property or
                             Terrorism Losses                         infrastructure and is committed by an individual or
                                                                      individuals acting as part of an effort to coerce
             2015                   85%                               the civilian population of the United States or to
             2016                   84%                               influence the policy or affect the conduct of the
             2017                   83%                               United States Government by coercion.
             2018                   82%                            If aggregate industry insured losses attributable to
                                                                   "certified acts of terrorism" under TRIA exceed $100
            2019                    81%                            billion in a calendar year, and we have met, or will
         2020 or later              80%                            meet, our insurer deductible under TRIA, we shall
                                                                   not be liable for the payment of any portion of the
   However, if aggregate industry insured losses,                  amount of such losses that exceed $100 billion. In
   attributable to "certified acts of terrorism" under the         such case, your coverage for terrorism losses may
   federal Terrorism Risk Insurance Act, as amended                be reduced on a pro-rata basis in accordance with
   (TRIA), exceed $100 billion in a calendar year, the             procedures established by the Treasury, based on
   Treasury shall not make any payment for any                     its estimates of aggregate industry losses and our
   portion of the amount of such losses that exceeds               estimate that we will exceed our insurer deductible.
   $100 billion. The United States government has not              In accordance with the Treasury's procedures,
   charged any premium for their participation in                  amounts paid for losses may be subject to further
   covering terrorism losses.                                      adjustments based on differences between actual
B. Cap On Insurer Liability for Terrorism Losses                   losses and estimates.
   A "certified act of terrorism" means an act that is         C. Application Of Exclusions
   certified by the Secretary of the Treasury, in
                                                                   The terms and limitations of any terrorism exclusion,
   accordance with the provisions of federal Terrorism
                                                                   the inapplicability or omission of a terrorism
   Risk Insurance Act, to be an act of terrorism under
                                                                   exclusion, or the inclusion of terrorism coverage, do
   TRIA. The criteria contained in TRIA for a "certified
                                                                   not serve to create coverage for any loss which
   act of terrorism" include the following:
                                                                   would otherwise be excluded under this Coverage
   1. The act results in insured losses in excess of $5            Form or Policy, such as losses excluded by the
        million in the aggregate, attributable to all types        Pollution Exclusion, Nuclear Hazard Exclusion and
        of insurance subject to TRIA; and                          the War And Military Action Exclusion.



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       POLICY NUMBER: 39 SBA AA3300



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


ADDITIONAL INSURED - MANAGER/LESSOR




LOC 016 BLDG 001
KENNETH GROSS INVESTMENT GROUP, INC
PO BOX 490
CONCORDVILLE, PA 19331




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  EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM
                 (CLAIMS MADE)




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QUICK REFERENCE

EMPLOYMENT PRACTICES LIABILITY
COVERAGE FORM (CLAIMS MADE)


READ YOUR POLICY CAREFULLY

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 SECTION II: DEFINITIONS                                                         1

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EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM




   EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM
                  (CLAIMS MADE)

NOTICE: COVERAGE PROVIDED BY THIS COVERAGE PART IS CLAIMS MADE COVERAGE. EXCEPT AS
OTHERWISE SPECIFIED HEREIN: COVERAGE APPLIES ONLY TO A CLAIM FIRST MADE AGAINST THE
INSUREDS DURING THE POLICY PERIOD AND WHICH HAS BEEN REPORTED TO US IN ACCORDANCE
WITH THE APPLICABLE NOTICE PROVISIONS. COVERAGE IS SUBJECT TO THE INSURED’S PAYMENT OF
THE APPLICABLE DEDUCTIBLE. PAYMENTS OF CLAIM EXPENSES ARE SUBJECT TO, AND REDUCE, THE
AVAILABLE LIMITS OF LIABILITY. PLEASE READ THE COVERAGE PART CAREFULLY AND DISCUSS THE
COVERAGE WITH YOUR INSURANCE AGENT OR BROKER. UPON TERMINATION OF THIS COVERAGE
PART, EXTENDED REPORTING PERIOD COVERAGE IS AVAILABLE.



Various provisions in this policy restrict coverage. Please read the entire policy carefully to determine your rights,
duties and what is and is not covered.
Throughout this Coverage Part the words you and your refer to the "Named Insured" in the Declarations. The words
we, us and our refer to the stock insurance company member of THE HARTFORD shown on the Declarations Page.
Words and phrases that appear in quotation marks are defined in SECTION II - DEFINITIONS of this Coverage Part.
In consideration of, and subject to, the payment of the premium by you and in reliance upon the accuracy and
completeness of the "application", including but not limited to the statements, attachments and exhibits contained in
and submitted with the "application", we agree with you, subject to all terms, exclusions and conditions of this
Coverage Part, as follows:


SECTION I - INSURING AGREEMENT                                         salaries, wages, or bonuses as a component
Employment Practices Liability                                         of a front or back pay award).
We shall pay "loss" on behalf of the "insureds"                    C. "Claim" means any "employment practices
resulting from an "employment practices claim" first                  claim".
made against the "Insureds" during the "policy period"             D. "Claims expenses" means:
or Extended Reporting Period, if applicable, for an                    1. reasonable and necessary legal fees and
"employment practices wrongful act" by the "insureds".                    expenses, including, but not limited to, e-
SECTION II - DEFINITIONS                                                  discovery expenses, incurred in the
    A. "Application" means the application for this                       defense or appeal of a "claim";
       Coverage Part, including any materials or                       2. "Extradition costs"; or
       information submitted therewith or made                         3. the costs of appeal, attachment or similar
       available to us during the underwriting                            bonds, provided that we shall have no
       process, which application shall be on file with                   obligation to furnish such bonds.
       us. Such "application" shall be deemed a part
       of this Coverage Part and attached hereto. In                   However, "claim expenses" shall not include:
       addition, "application" includes any warranty,                      a. salaries,   wages,       remuneration,
       representation or other statement provided to                          overhead    or    benefit    expenses
       us within the past three years in connection                           associated with any "insureds";
       with any policy or coverage part of which this                      b. any fees, expenses or costs which are
       Coverage Part is a renewal or replacement.                             incurred by or on behalf of a party
    B. "Benefits" means perquisites, fringe benefits,                         which is not a covered "insured"; or
       deferred compensation, severance pay and                            c. any fees, expenses or costs which
       any other form of compensation (other than                             were incurred prior to the date on


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                                                           EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM

                which we received written notice of the           H. "Domestic partner" means any natural person
                "claim" from the "insured".                          qualifying as a domestic partner under the
   E. "Controlled partnership" means a limited                       provisions of any applicable federal, state or
      partnership in which and so long as the "named                 local law or any domestic partner relationship
      insured" owns or controls, directly or indirectly,             arrangement recognized outside of the United
      more than 50% of the limited partnership                       States and under the Human Resource policy
      interest and an "insured entity" is the sole                   of the "insured entity".
      general partner.                                            I.   "Employee" means any natural person who
   F. "Damages" means the amounts, other than                          was, is or shall become a(n):
      "claim expenses", that the "insureds" are                        1. employee of an "insured entity" including
      legally liable to pay solely as a result of a                       any part time, seasonal, temporary,
      "claim" covered by this       Coverage Part,                        leased, or loaned employee; or
      including:                                                       2. volunteer or intern with an "insured entity".
       1. compensatory damages, including front                   J. "Employee data privacy wrongful act" means:
          pay and back pay;
                                                                       1. the failure to prevent any unauthorized
       2. settlement amounts;                                             access to or use of data containing "Private
       3. pre- and post-judgment interest;                                Employment          Information"      of     any
       4. costs awarded pursuant to judgments;                            "Employee" or applicant for employment
                                                                          with the "Insured Entity" including any such
       5. punitive and exemplary damages;                                 failure that directly results in a violation with
       6. the multiple portion of any multiplied                          respect to the privacy of such
          damage award; or                                                "Employee’s" or applicant’s medical
       7. liquidated damages under the Age                                information under the Health Insurance
          Discrimination in Employment Act and the                        Portability and Accountability Act (HIPAA)
          Family and Medical Leave Act.                                   or credit information under the Fair Credit
                                                                          Reporting Act (FCRA); or
       However, "damages" shall not include:
                                                                       2. the failure to notify any "employee" or
           a. taxes, fines or penalties imposed by                        applicant for employment with the "insured
              law;                                                        entity" of any actual or potential
           b. non-monetary relief;                                        unauthorized access to or use of "private
           c. "Benefits";                                                 employment information" of any "employee"
                                                                          or applicant for employment with the
           d. future compensation for any person                          "insured entity", if such notice was required
              hired,    promoted,     or     reinstated                   by state or federal regulation or statute.
              pursuant to a judgment, settlement,
                                                                  K. "Employment practices claim" means any:
              order or other resolution of a "claim";
           e. "Stock benefits";                                        1. written demand for monetary damages or
                                                                          other civil non-monetary relief commenced
           f.   costs associated with providing any                       by the receipt of such demand, including,
                accommodations required by the                            without limitation, a written demand for
                Americans with Disabilities Act or any                    employment reinstatement;
                similar law; or
                                                                       2. civil proceeding, including an arbitration or
           g. any     other     matters   uninsurable                     other     alternative    dispute     resolution
              pursuant to any applicable law;                             proceeding, commenced by the service of
              provided, however, that with respect to                     a complaint, filing of a demand for
              punitive and exemplary damages, or                          arbitration, or similar pleading; or
              the multiple portion of any multiplied
                                                                       3. formal     administrative    or    regulatory
              damage award, the insurability of such
              damages shall be governed by the                            proceeding, including, without limitation, a
              internal laws of any applicable                             proceeding before the Equal Employment
              jurisdiction that most favors coverage                      Opportunity Commission           or similar
              of such damages.                                            governmental agency, commenced by the
                                                                          filing of a notice of charges, formal
   G. "Debtor in possession" means a "debtor in                           investigative order or similar document;
      possession" as such term is defined in
                                                                       by or on behalf of an "employee", an applicant
      Chapter 11 of the United States Bankruptcy
                                                                       for employment with an "insured entity", or an
      Code as well as any equivalent status under
                                                                       "independent contractor".
      any similar law.


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       "Employment practices claim" also means the                 b. failure to create, provide for or enforce
       receipt of a notice of violation, order to show                adequate or consistent employment-
       cause, or a written demand for monetary or                     related policies and procedures;
       injunctive relief that is the result of an audit            c. negligent retention, supervision, hiring
       conducted by the United States Office of                       or training;
       Federal Contract Compliance Programs.
                                                                   d. employment-related     invasion          of
       "Employment practices claim" also means a                      privacy,        defamation,              or
       written request to the "insureds" to toll or waive             misrepresentation; or
       a statute of limitations regarding a potential
       "Employment practices claim" as described                   e. an "employee data privacy wrongful
       above. Such "claim" shall be commenced by                      act".
       the receipt of such request.                         M. "ERISA" means the Employee Retirement
       However, "employment practices claim" shall             Income Security Act of 1974.
       not include any labor or grievance proceeding        N. "Extradition costs" means reasonable and
       or arbitration that is subject to a collective          necessary fees and expenses directly resulting
       bargaining agreement.                                   from a "claim" in which an "insured person"
   L. "Employment practices wrongful act" means:               lawfully opposes, challenges, resists or
                                                               defends against any request for the extradition
       1. wrongful     dismissal,     discharge,    or
                                                               of such "insured person" from his or her
          termination of employment (including
                                                               current country of employ and domicile to any
          constructive dismissal, discharge, or
                                                               other country for trial or otherwise to answer
          termination), wrongful failure or refusal to
                                                               any criminal accusation, including the appeal
          employ or promote, wrongful discipline or
                                                               of any order or other grant of extradition of
          demotion, failure to grant tenure, negligent
                                                               such "insured person".
          employment evaluation, or wrongful
          deprivation of career opportunity;                O. "Financial insolvency" means the status of an
                                                               "insured entity" as a result of:
       2. sexual or other workplace harassment,
          including bullying in the workplace, quid            1. the appointment of any conservator,
          pro quo and hostile work environment;                   liquidator, receiver, rehabilitator, trustee, or
                                                                  similar official to control, supervise,
       3. employment       discrimination,  including
                                                                  manage or liquidate such "insured entity";
          discrimination based upon age, gender,                  or
          race, color, creed, marital status, sexual
          orientation or preference, gender identity           2. such "insured entity" becoming a "debtor in
          or expression, genetic makeup, or refusal               possession".
          to submit to genetic makeup testing,              P. "Independent contractor" means any natural
          pregnancy, disability, HIV or other health           person working in the capacity of an
          status, Vietnam Era Veteran or other                 independent contractor pursuant to an
          military status, or other protected status           "independent contractor agreement".
          established under federal, state, or local
                                                            Q. "Independent contractor agreement" means
          law;
                                                               any express contract or agreement between
       4. "Retaliation";                                       an "independent contractor" and an "insured
       5. breach of any oral, written, or implied              entity" specifying the terms of the "insured
          employment contract, including, without              entity’s" engagement of such "independent
          limitation, any obligation arising from a            contractor".
          personnel manual, employee handbook, or           R. "Insured entity" means:
          policy statement; or
                                                               1. the "named insured"; or
       6. violation of the Family and Medical Leave
                                                               2. any "subsidiary".
           Act.
                                                               "Insured entity" shall include any such entity as
       "Employment practices wrongful act" also
                                                               a "debtor in possession".
       means the following, but only when alleged in
       addition to or as part of any "employment               "Insured entity" shall also include any such
       practices wrongful act" described above:                entity in its capacity as a general partner of a
                                                               "controlled partnership".
           a. employment-related wrongful infliction
              of mental anguish or emotional                S. "Insured person" means any:
              distress;                                        1. "Employee";
                                                               2. "Manager"; or


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       3. regarding the Employment Practices                      BB."Retaliation" means adverse treatment of an
          Liability    Insuring     Agreement,        an             "employee" or "independent contractor" based
          "independent contractor" provided that                     upon such person:
          within 30 days of an "employment                           1. exercising any rights under law, including,
          practices claim" having been made against                      without limitation, rights under any workers
          such "independent contractor" that the                         compensation laws, the Family and
          "insured entity" agrees in writing to                          Medical Leave Act, "ERISA",            or the
          indemnify such "independent contractor"                        Americans with Disabilities Act;
          for any "loss" arising out of such "claim".
                                                                     2. refusing to violate any law;
   T. "Insureds" means any:
                                                                     3. assisting, testifying, or cooperating with a
       1. "Insured entity"; or                                           proceeding or investigation regarding
       2. "Insured person".                                              alleged violations of law by any "insured";
   U. "Interrelated wrongful acts" means "wrongful                   4. disclosing or threatening to disclose
      acts" that have as a common nexus any fact,                        alleged violations of law to a superior or to
      circumstance, situation, event, transaction,                       any governmental agency; or
      goal, motive, methodology, or cause or series                  5. filing any whistle blower claim against any
      of causally connected facts, circumstances,                        "insured" under the federal False Claims
      situations,   events,   transactions,  goals,                      Act, the Sarbanes-Oxley Act of 2002, or
      motives, methodologies or causes.                                  any similar law.
   V. "Loss" means         "claim    expenses"      and           CC."Stock benefits" means any offering, plan or
      "damages".                                                     agreement between an "insured entity" and
                                                                     any "employee" that grants stock, stock
   W. "Manager" means any natural person who
                                                                     options or stock appreciation rights in the
      was, is or shall become a(n):
                                                                     "insured entity" to such person, including,
       1. duly elected or appointed director, advisory               without limitation, restricted stock or any other
          director, board observer, advisory board                   stock grant. "Stock benefits" shall not include
          member, officer, member of the board of                    employee stock ownership plans or employee
          managers or management committee                           stock purchase plans.
          member of an "insured entity";                          DD."Subsidiary" means any:
       2. "Employee" in his/her capacity as legal                    1. corporation in which and so long as the
          counsel to an "insured entity"; or                             "named insured" owns or controls, directly
       3. executive of an "insured entity" created                       or indirectly, more than 50% of the
          outside the United States to the extent that                   outstanding securities representing the
          such executive holds a position equivalent                     right to vote for the election of the board of
          to those described in 1. or 2. above.                          directors of such corporation;
   X. "Named insured" means the individuals,                         2. limited liability company in which and so
      partnerships or corporations designated in the                     long as the "named insured" owns or
      Declarations.                                                      controls, directly or indirectly, the right to
                                                                         elect, appoint or designate more than 50%
   Y. "Notice manager" means the natural persons                         of such entity’s managing members;
      in the offices of the chief executive officer,
      chief financial officer, general counsel, risk                 3. a "controlled partnership";
      manager, human resources manager or any                        4. corporation operated as a joint venture in
      equivalent position to the foregoing, of an                        which and so long as the "named insured"
      "Insured Entity".                                                  owns or controls, directly or indirectly,
   Z. "Policy period" means the period from the                          exactly 50% of the issued and outstanding
      Effective Date to the Expiration Date set forth                    voting stock and which, pursuant to a
      in the Declarations or any earlier cancellation                    written agreement with the owner(s) of the
      date.                                                              remaining issued and outstanding voting
                                                                         stock of such corporation, the "named
   AA. "Private employment information" means any                        insured" solely controls the management
       information regarding an "employee" or                            and operation of such corporation; or
       applicant for employment with the "insured
                                                                     5. foundation, charitable trust or political
       entity", which is collected or stored by an
                                                                         action committee in which and so long as
       "insured" for the purposes of establishing,
                                                                         such entity or organization is controlled by
       maintaining or terminating an employment
                                                                         the "named insured" or any "subsidiary" as
       relationship.
                                                                         defined in 1. through 4. above.


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   EE. "Wage and hour violation" means any actual or            4. in connection with any "claim" based upon,
       alleged violation of the duties and                         arising from, or in any way related to any
       responsibilities that are imposed upon an                   fact, circumstance, or situation that, before
       "insured" by any federal, state or local law or             the Effective Date in the Declarations, was
       regulation anywhere in the world, including but             the subject of any notice given under any
       not limited to the Fair Labor Standards Act or              other employment practices liability policy,
       any similar law (except the Equal Pay Act),                 management liability policy or other
       which govern wage, hour and payroll practices.              insurance policy which insures "wrongful
       Such practices include but are not limited to:              acts" covered under this Coverage Part;
       1. the calculation and payment of wages,                 5. in connection with any "claim" based upon,
           overtime wages, minimum wages and                       arising from, or in any way related to the
           prevailing wage rates;                                  liability of others assumed by an "insured"
       2. the calculation and payments of benefits;                under any contract or agreement;
                                                                   provided, however, this exclusion shall not
       3. the classification of any person or
                                                                   apply to liability that would have been
           organization for wage and hour purposes;
                                                                   incurred in the absence of such contract or
       4. reimbursing business expenses;                           agreement;
       5. the use of child labor; or                            6. for breach of any "independent contractor
       6. garnishments, withholdings and other                     agreement"; or
           deductions from wages.                               7. for a lockout, strike, picket line, hiring of
   FF. "Wrongful act" means any actual or alleged                  replacement workers or similar action in
       "employment practices wrongful act".                        connection with any labor dispute, labor
SECTION III - EXCLUSIONS                                           negotiation or collective bargaining
   A. We shall not pay "Loss":                                     agreement.
       1. for bodily injury, sickness, disease, death,      B. We shall not pay "loss" in connection with any
           false arrest or imprisonment, abuse of              "claim" based upon, arising from, or in any way
           process, malicious prosecution, trespass,           related to:
           nuisance or wrongful entry or eviction, or for       1. any claims for unpaid wages (including
           injury to or destruction of any tangible                overtime pay), workers’ compensation
           property including loss of use or diminution            benefits, unemployment compensation,
           of value thereof; provided, however, that               disability benefits, or social security
           this exclusion shall not apply to that portion          benefits;
           of "loss" that directly results from mental          2. any actual or alleged violation of the
           anguish or emotional distress when alleged              Worker Adjustment and Retraining
           in connection with an otherwise covered                 Notification Act, the National Labor
           "employment practices wrongful act";                    Relations Act, the Occupational Safety and
       2. for any actual or alleged "wrongful act" by              Health Act, the Consolidated Omnibus
           "insured persons" of any "subsidiary" in                Budget Reconciliation Act of 1985,
           their capacities as such, or by any                     "ERISA", or any similar law; or
           "subsidiary", if such "wrongful act" actually
                                                                3. any "wage and hour Violation"
           or allegedly occurred when such entity was
           not a "subsidiary";                                  Provided, however, that this exclusion B. shall
       3. in connection with any "claim" based upon,            not apply to that portion of "loss" that
           arising from, or in any way related to any:          represents a specific amount the "insureds"
                                                                become legally obligated to pay solely for a
           a. prior or pending demand, suit, or                 "wrongful act" of "retaliation".
                proceeding against any "insured" as
                of, or                                      C. We shall not pay "loss" in connection with any
                                                               "claim" based upon, arising from, or in any way
           b. audit initiated by the United States             related to liability incurred for breach of any
                Office of Federal Contract Compliance          oral, written, or implied employment contract;
                Programs before,                               provided, however, that this exclusion shall not
           the effective date of the first Employment          apply to liability that would have been incurred
           Practices Liability Coverage Part issued and        in the absence of such contract nor shall it
           continuously renewed by us, or the same or          apply to the portion of "loss" representing
           substantially similar fact, circumstance, or        "claim expenses" incurred to defend against
           situation underlying or alleged in such             such liability.
           demand, suit, proceeding, or audit;


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SECTION IV - DISCOVERY CLAUSE                                         F. Extended Reporting Periods do not extend the
   If, during the "policy period", the "insureds"                        "policy period" or change the scope of coverage
   become aware of a "wrongful act" that may                             provided. They apply only to "wrongful acts"
   reasonably be expected to give rise to a "claim",                     that occur before the end of the "policy period".
   and, if written notice of such "wrongful act" is given                 "Claims" for such injury which are first received
   to us during the "policy period", including the                        within sixty (60) days after the "policy period",
   reasons for anticipating such a "claim", the nature                    or during the Extended Reporting Period if in
   and date of the "wrongful act", the identity of the                    effect, will be deemed to have been made on
   "insureds" allegedly involved, the alleged injuries                    the last date of the "policy period".
   or damages sustained, the names of potential                       G. Once in effect, Extended Reporting Periods
   claimants, and the manner in which the "insureds"                     may not be canceled by us.
   first became aware of the "wrongful act", then any
   "claim" subsequently arising from such "wrongful                SECTION VI -COVERAGE TERRITORY
   act" shall be deemed to be a "claim" first made                    Coverage under this Coverage Part applies
   during the "policy period" on the date that we                     worldwide, provided that the "claim" is made and
   receive the above notice.                                          any legal action is pursued within the Unites
SECTION V - EXTENDED REPORTING PERIOD                                 States,    its   territories,  possessions    or
                                                                      commonwealths, or Canada.
   Subject to provisions A. through G. below, if this
   Coverage Part is canceled or non-renewed other                  SECTION VII      -   LIMITS    OF    LIABILITY    AND
   than for non-payment of premium, you shall have                 DEDUCTIBLE
   the right to purchase an extended period to report                 A. The maximum we will pay for each "claim"
   "claims" under this Coverage Part for any "claim"                     under this Coverage Part is the Each Claim
   first made during the period of time set forth in the                 Limit of Liability stated in the Declarations,
   Supplemental          Extended       Reporting    Period              subject to the Annual Aggregate Limit of
   Endorsement, and following the effective date of                      Liability stated in the Declarations.
   such cancellation or nonrenewal and reported in
                                                                          The maximum we will pay for all "claims"
   writing during such period or within sixty (60) days
                                                                          under this Coverage Part is the Annual
   thereafter, but only with respect to any "wrongful
                                                                          Aggregate Limit of Liability stated in the
   act" which takes place prior to the effective date of
                                                                          Declarations, regardless of the number of
   such cancellation or nonrenewal.
                                                                          "claims".
   A. The Extended Reporting Period shall be
         effective only upon the payment of an                            If the applicable Limit of Liability for this
         additional premium. The additional premium                       Coverage Part is exhausted, the premium for
        will be 200% of the annual advance premium                        this Coverage Part shall be deemed fully
         for this coverage. At the commencement of                        earned. "Claim expenses" shall be part of, and
         the Extended Reporting Period, the entire                        not in addition to, the Limits of Liability.
         premium thereof shall be deemed fully earned                     Payment of "claim expenses" by us shall
         and non-refundable.                                              reduce each Limit of Liability.
   B. The quotation of a different premium or                         B. We shall pay "loss" in excess of the Deductible
         deductible or limit of liability for renewal is not             applicable to each "claim" as specified on the
         a cancellation or refusal to renew for the                      Declarations.
         purposes of this provision.                                  C. All Deductibles shall be borne by the
   C. You shall have no right to purchase the                            "insureds" at their own risk; they shall not be
         Extended Reporting Period, unless you have                      insured.
         satisfied all conditions of the Coverage Part                D. The Deductible shall apply to "claim expenses"
         and all premiums and deductibles outstanding                    covered hereunder. If, any "claim expenses"
         have been paid.                                                 are incurred by us prior to the "insured’s"
   D. Your right to purchase the Extended Reporting                      complete payment of the Deductible, then the
         Period shall terminate unless written notice                    "insureds" shall reimburse us therefor upon
         together with full payment of the premium for                   our request.
         the Extended Reporting Period is given to us                 E. No Deductible shall apply to "loss" incurred by
         no later than sixty (60) days following the                     any "insured person" that an "insured entity" is
         effective date of cancellation or nonrenewal.                   not permitted by common or statutory law to
   E. The fact that the period of time to report "claims"                indemnify, or is permitted or required to
         is extended by virtue of the Extended Reporting                 indemnify, but is not able to do so by reason of
         Period shall not increase or reinstate the Limit of             "financial insolvency".
         Liability stated in the Declarations.


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   F. If an "insured entity" is permitted or required by       admission, assumption, settlement offer or
      common or statutory law to indemnify an                  agreement, stipulation, or "claim expenses" to
      "insured person" for any "loss", or to advance           which we have not consented.
      "claim expenses" on their behalf, and does not       D. We shall have the right to associate ourself in
      do so other than because of "financial                  the defense and settlement of any "claim" that
      insolvency", then such "insured entity" and the         appears reasonably likely to involve this
      "named insured" shall reimburse and hold us             Coverage Part.        We may make any
      harmless for our payment or advancement of              investigation we deem appropriate in
      such "loss" up to the amount of the Deductible          connection with any "claim". We may, with the
      that would have applied if such indemnification         written consent of the "insureds", settle any
      had been made.                                          "claim" for a monetary amount that we deem
   G. If a "subsidiary" is unable to indemnify an             reasonable.
      "insured person" for any "loss", or to advance       E. The "insureds" shall give to us all information
      "claim expenses" on their behalf, because of            and cooperation as we may reasonably
      "financial insolvency", then the "named                 request. However, if we are, in our sole
      insured" shall reimburse and hold us harmless           discretion, able to determine coverage
      for our payment or advancement of such "loss"           for cooperating "insureds", the failure of
      up to the amount of the applicable Deductible           one "insured person" to cooperate with us shall
      that would have applied if such indemnification         not impact coverage provided to cooperating
      had been made.                                          "insureds".
       The Limit of Liability for this Coverage   Part     F. With respect to a covered "claim" for which we
       applies separately to each consecutive annual          do not have the duty to defend, we shall
       period and to any remaining period of less             advance "claim expenses" in accordance with
       than twelve (12) months starting with the              Section VIII I. that we believe to be covered
       beginning of the "policy period" shown in the          under this Coverage Part until a different
       Declarations, unless the "policy period" is            allocation is negotiated, arbitrated or judicially
       extended after issuance for an additional              determined.
       period of less than twelve (12) months. In that
       case, the additional period will be deemed part     G. Required Notice to Us
       of the last preceding period for purposes of            As a condition precedent to coverage under
       determining the Limit of Liability.                     this Coverage Part, the "insureds" shall give us
SECTION VIII - DUTIES IN THE EVENT OF CLAIM;                   written notice of any "claim" as soon as
DEFENSE AND SETTLEMENT                                         practicable after a "notice manager" becomes
                                                               aware of such "claim", but in no event later
   A. We shall have the right and duty to defend               than:
      "claims" covered under this Coverage Part,
      even if such "claim" is groundless, false or             1. if this Coverage Part expires or is
      fraudulent, provided that:                                  otherwise terminated without being
                                                                  renewed with us, ninety (90) days after the
       1. the "insureds" give notice to us in                     effective date of said expiration or
          accordance with the applicable notice                   termination; or
          provisions; and
                                                               2. subject to SECTION V, the expiration of
       2. such "claim" does not involve allegations,              the Extended Reporting Period, if
           in whole or in part, of a "wage and hour               applicable;
           violation".
                                                               provided, however, that if the Coverage Part is
       For any "claim" involving allegations, in whole         cancelled for non-payment of premium, the
       or in part, of a "wage and hour violation", it          "insured" will give us written notice of such
       shall be the duty of the "insureds", and not our        "claim", prior to the effective date of
       duty, to defend such "claim".                           cancellation.
   B. If we have the duty to defend a "claim", our             However, with regard to any "employment
      duty to defend such "claim" shall cease upon             practices claim" which is brought as a formal
      exhaustion of any applicable Limit of Liability.         administrative or regulatory proceeding,
   C. The "insureds" shall not admit or assume any             including, without limitation, a proceeding
      liability, make any settlement offer or enter into       before the Equal Employment Opportunity
      any settlement agreement, stipulate to any               Commission or similar governmental agency,
      judgment, or incur any "claim expenses"                  commenced by the filing of a notice of
      regarding any "claim" without our prior written          charges, formal investigative order or similar
      consent, such consent not to be unreasonably             document, as a condition precedent to
      withheld. We shall not be liable for any                 coverage under this Coverage Part the

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        "insureds" shall give us written notice of any                1. with respect to a covered "claim" for which
        "claim" as soon as practicable after a "notice                   we have the duty to defend:
        manager" becomes aware of such "claim", but                        a. 100% of the "insured’s" "claim
        in no event later than:                                               expenses" shall be allocated to
        3. if this Coverage Part is renewed, no more                          covered "loss"; and
           than 180 days after a "notice manager"                          b. All other "loss" shall be allocated
           becomes aware of such "claim"; or                                  between covered "loss" and non-
        4. if this Coverage Part expires or is                                covered loss based upon the relative
           otherwise terminated without being                                 legal exposure of all parties to such
           renewed with us, ninety (90) days after the                        matters.
           effective date of said expiration or                       2. with respect to a covered "claim" for which
           termination; or                                               we do not have the duty to defend, all
        5. subject to SECTION V, the expiration of                       "loss" shall be allocated between covered
            the Extended Reporting Period, if                            "loss" and non-covered loss based upon
            applicable;                                                  the relative legal exposure of all parties to
        provided, if the Coverage Part is cancelled for                  such matters.
        non-payment of premium, the "insured" will              SECTION IX - CONDITIONS
        give us written notice of such "claim", prior to           A. Coverage Part Priority; Headings
        the effective date of cancellation.
                                                                      If any provision in this Coverage Part is
   H. Subrogation                                                     inconsistent or in conflict with the terms and
        1. We shall be subrogated to all of the                       conditions of any provisions in this Policy, the
           "insureds’" rights of recovery regarding any               terms and conditions of this Coverage Part
           payment of "loss" by us under this                         shall control only for purposes of determining
           Coverage Part.         The "insureds" shall                coverage hereunder. The headings of the
           execute all papers required and do                         various sections of this Coverage Part are
           everything necessary to secure and                         intended for reference only and shall not be
           preserve such rights, including the                        part of the terms and conditions of coverage.
           execution of any documents necessary to                 B. Notice Addresses
           enable us to effectively bring suit in the
           name of the "insureds". The "insureds"                     1. All notices to the "insureds" shall be sent
           shall do nothing to prejudice our position                    to the first "named insured" at the address
           or any potential or actual rights of                          specified in the Declarations.
           recovery.                                                  2. All notices to us shall be sent to the
        2.   We shall not exercise our rights of                         address specified in the Declarations. Any
             subrogation against an "insured person"                     such notice shall be effective upon receipt
             under this Coverage Part unless such                        by us at such address.
             "insured person" has:                                 C. Spousal/Domestic         Partner        Liability
             a.   obtained     any   personal    profit,              Coverage
                  remuneration or advantage to which                  Coverage shall apply to the lawful spouse or
                  such "insured person" was not legally               "domestic partner" of an "insured person" for a
                  entitled, or                                        "claim" made against such spouse or
             b. committed a criminal or deliberately                  "domestic partner", provided that:
                fraudulent act or omission or any willful             1. such "claim" arises solely out of:
                violation of law,
                                                                          a. such person’s status as the spouse or
             if a judgment or other final adjudication                       "domestic partner" of an "insured
             establishes    such    personal     profit,                     person"; or
             remuneration, advantage, act, omission, or
                                                                          b. such spouse or "domestic partner’s"
             violation.
                                                                             ownership of property sought as
   I.   Allocation                                                           recovery for a "wrongful act";
        Where "insureds" who are afforded coverage                    2. the "insured person" is named in such
        for a "claim" incur an amount consisting of                      "claim" together with the spouse or
        both "loss" that is covered by this Coverage                     "domestic partner"; and
        Part and also loss that is not covered by this
                                                                      3. coverage of the spouse or "domestic
        Coverage Part, because such "claim" includes
                                                                         partner" shall be on the same terms and
        both covered and uncovered matters, then
                                                                         conditions, including any applicable
        coverage shall apply as follows:

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             Deductible , that applies to coverage of the         1. any of such "claims" was first made,
             "insured person" for such "claim".                      regardless of whether such date is before
             No coverage shall apply to any "claim" for              or during the "policy period";
             a "wrongful act" of such spouse or                   2. notice of any "wrongful act" described
             "domestic partner".                                     above was given to us under this
   D.   Estates and Legal Representatives                            Coverage Part pursuant to Sections IV or
        In the event of the death, incapacity or                     VIII; or
        bankruptcy of an "insured person", any "claim"            3. notice of any "wrongful act" described
        made against the estate, heirs, legal                        above was given under any prior
        representatives or assigns of such "insured                  insurance policy.
        person" for a "wrongful act" of such "insured        H. Deductible Waiver
        person" shall be deemed to be a "claim" made
        against such "insured person". No coverage                Regarding a "claim" that is a class action civil
        shall apply to any "claim" for a "wrongful act" of        proceeding, no Deductible shall apply to "claim
        such estate, heirs, legal representatives or              expenses" incurred in connection with such
        assigns.                                                  "claim", and we shall reimburse the "insureds"
                                                                  for any covered "claim expenses" paid by the
   E.   Minimum Standards                                         "insureds" within the Deductible otherwise
        In the event that there is an inconsistency               applicable to such "claim", if a:
        between:
                                                                  1. final adjudication with prejudice pursuant
        1. the terms and conditions that are required                to a trial, motion to dismiss or motion for
             to meet minimum standards of a state’s law              summary judgment; or
             (pursuant      to   a     state   amendatory
                                                                  2. complete and final settlement with
             endorsement attached to this Coverage
             Part ), and                                               prejudice;
        2. any other term or condition of this Coverage           establishes that none of the "insureds" in such
             Part,                                                "claim" are liable for any "loss".
        it is understood and agreed that, where              I.   Application
        permitted by law, we shall apply those terms              1. The "insureds" represent that the
        and conditions of 1. or 2. above that are more               Declarations and statements contained in
        favorable to the "insured".                                  the "application" are true, accurate and
   F.   Other Insurance                                              complete. This Coverage Part is issued in
                                                                     reliance upon the "application".
        1. The coverage provided under this
             Coverage Part for any "employment                    2. If the "application" contains intentional
             practices claim" shall be primary.                      misrepresentations or misrepresentations
        2. Notwithstanding the above, the coverage                   that materially affect the acceptance of the
             provided under this Coverage Part for any               risk by us no coverage shall be afforded
                                                                     under this Coverage Part for any
             "employment practices claim" made
             against a temporary, leased or loaned                   "insureds" who knew on the Effective Date
                                                                     of this Coverage Part of the facts that were
             "employee" or an "independent contractor"
             shall be excess of the amount of any                    so misrepresented, provided that:
             deductible, retention and limits of liability            a. knowledge possessed by any "insured
             under any other policy or policies                          person" shall not be imputed to any
             applicable to such "claim", whether such                    other "insured person"; and
             other policy or policies are stated to be                b. knowledge possessed by any of your
             primary, contributory, excess, contingent                   chief executive officer, general
             or otherwise, unless such other insurance                   counsel, chief financial officer, human
             is written specifically excess of this Policy               resources director or any position
             by reference in such other policy or                        equivalent to the foregoing of the
             policies to this Policy's Policy Number.                    "named insured", or anyone signing
   G.   Interrelationship of Claims                                      the "application", shall be imputed to
        All "claims" based upon, arising from or in any                  all "insured entities".       No other
        way related to the same "wrongful act" or                        person’s knowledge shall be imputed
        "interrelated wrongful acts" shall be deemed to                  to an "insured entity".
        be a single "claim" for all purposes under this
        Coverage Part first made on the earliest date
        that:


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   J. Changes in Exposure                                                then, as a condition precedent to coverage
       1. Acquisitions or Created Subsidiaries                           hereunder, the "insureds" shall give us
                                                                         written notice and full, written details of the
          If, before or during the "policy period", any                  merger as soon as practicable (but, in all
          "insured entity" acquires or creates a                         cases, within ninety (90) days of such
          "subsidiary", then such acquired or created                    merger). There shall be no coverage
          entity and its subsidiaries, and any natural                   under any renewal or replacement of this
          persons that would qualify as "insured                         Coverage Part for any newly merged entity
          persons" thereof, shall be "insureds" to the                   or any of its subsidiaries, and any natural
          extent such entities and persons would                         persons that would qualify as "insured
          otherwise qualify as "insureds" under this                     persons" thereof, unless the "insureds"
          Coverage Part,, but only for "wrongful                         comply with the terms of this provision.
          acts" occurring after such acquisition or
          creation. No coverage shall be available                    3. Takeover of Named Insured
          for any "wrongful act" of such "insureds"                      If, before or during the "policy period":
          occurring before such acquisition or                           a. the "named insured" merges into or
          creation, or for any "interrelated wrongful                       consolidates with another entity such
          acts" thereto.                                                    that the "named insured" is not the
          However, if the fair value of the assets of                       surviving entity; or
          any such acquired or created entity                            b. more than 50% of the securities
          exceed 25% of the total assets of the                                representing the right to vote for the
          "named insured" as reflected in its most                             "named insured's" board of directors
          recent consolidated financial statements                             or managers is acquired by another
          prior to such acquisition or creation, then,                         person or entity, group of persons or
          as a condition precedent to coverage                                 entities, or persons and entities acting
          hereunder, the "insureds" shall give us                              in concert,
          written notice and full, written details of the
          acquisition or creation as soon as                             then coverage shall continue under this
          practicable (but, in all cases, within ninety                  Coverage Part, but only for "wrongful acts"
          (90) days of such acquisition or creation).                    occurring before any such transaction. No
          There shall be no coverage under any                           coverage shall be available for any
          renewal or replacement of this Coverage                        "wrongful act" occurring after such
          Part for any such new "subsidiary" and its                     transaction. Upon such transaction, this
          subsidiaries, and any natural persons that                     Coverage Part shall not be cancelled and
          would qualify as "insured persons" thereof,                    the entire premium for this Coverage Part
          unless the "insureds" comply with the                          shall be deemed fully earned.             The
          terms of this provision.                                       "insured" shall give us written notice and
                                                                         full, written details of such transaction as
       2. Mergers                                                        soon as practicable (but, in all cases,
           If, before or during the "policy period", any                 within ninety (90) days of such
           "insured entity" merges with another entity                   transaction). If any transaction described
           such that the "insured entity" is the                         herein occurs, then we will not be
           surviving entity, then such merged entity                     obligated to offer any renewal or
           and its subsidiaries, and any natural                         replacement of this Coverage Part.
           persons that would qualify as "insured                     4. Loss of Subsidiary Status
           persons" thereof, shall be "insureds" to the
           extent such entities and persons would                        If, before or during the "policy period", any
           otherwise qualify as "insureds" under this                    entity ceases to be a "subsidiary", then
           Coverage Part, but only for "wrongful acts"                   coverage shall be available under this
           occurring after such merger. No coverage                      Coverage Part for such "subsidiary" and its
           shall be available for any "wrongful act" of                  "insured persons", but only for a "wrongful
           such "insureds" occurring before such                         act" of such "insureds" occurring before
           merger or for any "interrelated wrongful                      such transaction. No coverage shall be
           acts" thereto.                                                available for any "wrongful act" of such
                                                                         "insureds"      occurring      after    such
           However, if the fair value of the assets of                   transaction.
           any newly merged entity exceed 25% of
           the total assets of the "named insured" as              K. References To Laws
           reflected in its most recent consolidated                  1. Wherever this Coverage Part mentions
           financial statements prior to such merger,                    any law, including, without limitation, any
                                                                         statute, Act or Code of the United States,

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           such mention shall be deemed to include       N. Bankruptcy or Insolvency
           all amendments of, and all rules or              Bankruptcy or insolvency of any "insureds"
           regulations promulgated under, such law.         shall not relieve us of any of our obligations
       2. Wherever this Coverage Part mentions              under this Coverage Part.
          any law or laws, including, without            O. Authorization of First Named Insured
          limitation, any statute, Act or Code of the
          United States, and such mention is                The first "named insured" shall act on behalf of
          followed by the phrase "or any similar law",      all "Insureds" with respect to all matters under
          such phrase shall be deemed to include all        this Coverage Part, including, without
          similar laws of all jurisdictions throughout      limitation, giving and receiving of notices
          the world, including, without limitation,         regarding "claims", cancellation, election of the
          statutes and any rules or regulations             Extended Reporting Period, payment of
          promulgated under such statutes as well           premiums, receipt of any return premiums, and
          as common law.                                    acceptance of any endorsements to this
                                                            Coverage Part.
   L. Action Against Us
                                                         P. When We Do Not Renew
       1. No action shall be taken against us unless
          there shall have been full compliance with        1. If we decide not to renew this Coverage
          all the terms and conditions of this                 Part, we will mail or deliver to the first
          Coverage Part.                                       "named      insured"    shown    in   the
                                                               Declarations written notice of the
       2. No person or organization shall have any             nonrenewal not less than thirty (30) days
          right under this Coverage Part to join us as         before the expiration date.
          a party to any "claim" against the
          "insureds" nor shall we be impleaded by           2. If notice is mailed, proof of mailing will be
          the "insureds" in any such "claim".                  sufficient proof of notice.
   M. Entire Agreement                                      3. Any state amendatory endorsement
                                                               changing Nonrenewal Conditions for any
       This Coverage Part, the "application" and any           part of this policy shall also apply to this
       written endorsements attached hereto, along             Coverage Part.
       with the Declarations constitute the entire
       agreement between you and us relating to this
       Coverage Part’s insurance.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


 PENNSYLVANIA CHANGES - EMPLOYMENT PRACTICES
                  LIABILITY
This endorsement modifies insurance provided under the following:

                             EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM


1. SECTION IX – CONDITIONS is amended to add                          b. In other circumstances:
   the following Condition:                                               If we receive a written request from the
   Your Right To Claim And Wrongful Act                                   first "named insured" within sixty (60)
   Information                                                            days after the end of the "policy period"
       a. When we cancel or non-renew:                                    we will provide the first "named insured",
                                                                          within forty-five (45) days after receipt of
           Midterm cancellation or nonrenewal                             the request, the following information
           notices shall state that, at the "insured’s"                   relating to this and any preceding
           request, we shall provide "claim" and                          employment practices liability claims-
           "wrongful act" information to the                              made coverage form we have issued to
           "insured" for the lesser of:                                   you during the previous three years:
           (1) Three years; or                                            (1) A list or other record of each
           (2) The period of time during which we                              "wrongful act," not previously
               have provided coverage to the                                   reported to any other insurer, of
               "insured".                                                      which     we     were      notified   in
           This information shall contain:                                     accordance with SECTION VIII -
                                                                               DUTIES IN THE EVENT OF
               (a) Information on closed "claims",
                                                                               CLAIM;          DEFENSE             AND
                    including      the    date    and                          SETTLEMENT. We will include the
                    description of "wrongful acts"                             date and brief description of the
                    and the amounts of payments, if                            "wrongful act" if that information was
                    any.                                                       in the notice we received.
               (b) Information on open "claims",                          (2) A summary by policy year of
                    including the date and description
                                                                               payments made and amounts
                    of "wrongful acts" and the amount                          reserved.
                    of reserves, if any.
                                                                      Amounts reserved are based on our
               (c) Information on notices of
                                                                      judgment. They are subject to change and
                    "wrongful acts", including the
                                                                      should not be regarded as ultimate
                    date     and      description   of
                                                                      settlement values.
                    occurrences and the amount of
                    reserves, if any.                                 We compile "claim" and "wrongful act"
                                                                      information for our own business purpose
               The "insured’s" written request for                    and exercise reasonable care in doing so.
               information must be made within ten                    In providing this information to the first "named
               (10) days of the "insured’s" receipt                   insured", we make no representations or
               of the midterm cancellation or
                                                                      warranties to "insureds", insurers or others to
               nonrenewal notice. We have thirty
                                                                      whom this information is furnished by or on
               (30) days from the date of receipt of                  behalf of any "insured".        Cancellation or
               the "insured’s" written request to                     nonrenewal will be effective even if we
               provide the requested information.                     inadvertently provide inaccurate information.



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2. Paragraph 3. of the definition of "damages" in
   SECTION II - DEFINITIONS, is deleted and
   replaced by the following:
   3. post-judgment interest;
3. The first paragraph of SECTION               V -
   EXTENDED REPORTING PERIOD is deleted
   and replaced by the following:
   Subject to provisions A. through G. below, if this
   policy is cancelled or non-renewed, you shall
   have the right to purchase an extended period to
   report "claims" under this Coverage Part for any
   "claim" first made during the period of time set
   forth in the Supplemental Extended Reporting
   Period Endorsement, and following the effective
   date of such cancellation or nonrenewal and
   reported in writing during such period or within
   sixty (60) days thereafter, but only with respect
   to any "wrongful act" which takes place prior to
   the effective date of such cancellation or
   nonrenewal.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


THIRD PARTY LIABILITY ENDORSEMENT - EMPLOYMENT
               PRACTICES LIABILITY
This endorsement modifies insurance provided under the following:
                          EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM


I.   SECTION I - INSURING AGREEMENT of this                            3. formal administrative or regulatory
     Coverage Part is amended to include the                              proceeding commenced by the filing of a
     following:                                                           notice of charges, formal investigative
     Third Party Liability                                                order or similar document;
    We shall pay "loss" on behalf of the "insureds"                    by or on behalf of a "third party".
    resulting from a "third party claim" first made                    "Third party claim" also means a written
    against the "insureds" during the "policy period"                  request to the "insureds" to toll or waive a
    or the Extended Reporting Period, if applicable,                   statute of limitations regarding a potential
    for a "third party wrongful act" by the "insureds."                "third party claim" as described above.
II. SECTION II - DEFINITIONS of this Coverage                          Such "claim" shall be commenced by the
    Part is amended in the following manner:                           receipt of such request.
    A. The definition of "claim" is amended to                        "Third party wrongful act" means:
         include the following:                                       1. discrimination against a "third party"
        "Claim" also means any "third party claim."                        based upon age, gender, race, color,
                                                                           national origin, religion, creed, marital
     B. The definition of "wrongful act" is amended                        status, sexual orientation or preference,
        to include the following:                                          pregnancy, disability, HIV or other
        "Wrongful act" also means any actual or                            health status, Vietnam Era Veteran or
        alleged "third party wrongful act".                                other military status, or other protected
     C. The following definitions are added:                               status established under federal, state
                                                                           or local law; or
        "Third party" means any natural person who                    2. sexual harassment or other harassment
        is a customer, vendor, service provider or                         of a "third party", including unwelcome
        other business invitee of an "insured entity".                     sexual advances, requests for sexual
        "Third party" shall not include "employees".                       favors or other conduct of a sexual
        "Third party claim" means any:                                     nature.
        1. written demand for monetary damages               III. The following exclusion is added to SECTION III
            or other civil non-monetary relief                    - EXCLUSIONS:
            commenced by the receipt of such                     We shall not pay "loss" in connection with any
            demand;                                              "third party claim" based upon, arising from or in
        2. civil proceeding, including an arbitration            any way related to any price discrimination or
            or other alternative dispute resolution              violation of any anti-trust law or any similar law
            proceeding, commenced by the service
                                                                 designed to protect competition or prevent unfair
            of a complaint, filing of a demand for
                                                                 trade practices.
            arbitration, or similar pleading; or
                                                                 All other terms and conditions of this Coverage
                                                                 Part remain unchanged.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


     RETROACTIVE DATE ENDORSEMENT - EMPLOYMENT
                 PRACTICES LIABILITY

This endorsement modifies insurance provided under the following:


                          EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM



I.   SECTION I - INSURING AGREEMENT of this                II. The following definition is added to SECTION II -
     Coverage Part is amended to include the                   DEFINITIONS of this Coverage Part:
     following:                                                "Retroactive date" means the date specified in
     This Coverage Part applies only to "claims" for           the Declarations. If no date is specified, the
     "wrongful acts" that occurred on or after the             "retroactive date" will be the same as the
     "retroactive date" set forth in the Declarations          Effective Date of this Coverage Part.
     and before the end of the "policy period",
     regardless of whether such "claim" is made
     during the "policy period" or the Extended                All other terms and conditions of this Coverage
     Reporting Period, if applicable.                          Part remain unchanged.




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Insurer:     TWIN CITY FIRE INSURANCE COMPANY
             8910 PURDUE RD, INDIANAPOLIS, IN 46268
This Declarations Page, with Common Policy Conditions, Data Breach Coverage Form and Endorsements, if any,
issued to form a part thereof, shall together constitute this Data Breach Coverage Part, which in turn forms a part of
the Policy Number shown below.
The Common Policy Conditions and Nuclear Energy Liability Exclusion of the policy to which this Coverage Part is
attached also apply to this Coverage Part. But if there is any conflict between the policy and this Coverage Part, then
this Coverage Part will govern.
"Coverage part" means this Declarations page and all Data Breach forms listed herein and attached hereto.
         POLICY NUMBER: 39 SBA AA3300


DATA BREACH COVERAGE DECLARATIONS
PLEASE READ YOUR POLICY. IF YOU HAVE PURCHASED DATA BREACH - DEFENSE AND LIABILITY, NOTE
THAT CLAIM EXPENSES ARE PAYABLE WITHIN THE LIMITS OF LIABILITY.
Named Insured and Mailing Address: ULTIMATE HEARING SOLUTIONS, LLC
                                   SEE FORM SS 12 35
                                   435 BALTIMORE PIKE
                                   SPRINGFIELD        PA 19064
Policy Period           Effective Date: 04/23/20            Expiration Date: 04/23/21
12:01 A.M., Standard time at the address of the named insured as stated herein.
Premium:                                                   $398
Minimum Premium:                                            $35
Data Breach - Response Expenses                                       Data Breach - Response            Expenses
Limit Of Insurance:                                      50,000       Deductible: 2,500
 Retroactive Date:                                     04/23/18
 If no date is entered, the Retroactive Date is
 the same as the effective date of this Coverage
 Part.

Business Income And Extra Expense                                     Business Income And Extra Expense
Sub-limit:                                               25,000       Waiting Period Deductible: 24 Hours
Extortion Threats Sub-limit:                             25,000       Data Breach - Response Expenses
                                                                      deductible shown above also applies to
                                                                      Extortion Threats coverage.
Data Breach - Defense and Liability
(THIS IS CLAIMS FIRST MADE AND
REPORTED IN WRITING INSURANCE)
Limit Of Insurance:                                     100,000       Data Breach - Defense and Liability
                                                                      Deductible:    2,500
Retroactive Date:                                      04/23/18
 If no date is entered, the Retroactive Date is the
 same as the effective date of this Coverage Part.

Fines and Penalties Sub-limit:                        NOT INCLD       PCI Loss Sub-limit: NOT INCLD
Form Numbers Of Forms and Endorsements that apply: Common Policy Conditions: Form SS 00 05, Exclusion -
Nuclear Energy Liability: SS 05 47
SS41810316          SS00470316     SS00480316       SS10570711




                                   Countersigned by
                                                                                                       04/03/20
                            (where required by law)               Authorized Representative            Date

Form SS 00 46 09 19                                                                                        Page 1 of 1
Process Date: 04/03/20                                                             Policy Expiration Date: 04/23/21
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       DATA BREACH COVERAGE - RESPONSE EXPENSE




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                              QUICK REFERENCE
                  DATA BREACH COVERAGE - RESPONSE EXPENSE


                         READ YOUR POLICY CAREFULLY

                                                                     Beginning on Page
 SECTION A: INSURING AGREEMENT                                                    1


 SECTION B: LIMIT OF INSURANCE                                                   1

 SECTION C: WHO IS AN INSURED                                                    1

 SECTION D: DEDUCTIBLES                                                          1


 SECTION E: DUTIES IN THE EVENT OF LOSS                                          2


 SECTION F: EXCLUSIONS                                                           2

 SECTION G: CONDITIONS                                                           2

 SECTION H: DEFINITIONS                                                          3




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       DATA BREACH COVERAGE - RESPONSE EXPENSE

PLEASE READ ALL PROVISIONS CAREFULLY, AND CONTACT YOUR AGENT OR BROKER IF YOU HAVE ANY
QUESTIONS. YOUR COVERAGE APPLIES WHEN A "DATA BREACH" OCCURS ON OR AFTER THE "RETROACTIVE
DATE" AND BEFORE THE END OF THE "POLICY PERIOD", AND THE "DATA BREACH" IS FIRST DISCOVERED DURING
THE "POLICY PERIOD". COVERED "DATA BREACH EXPENSES" WITHIN THE DEDUCTIBLE AMOUNT MUST BE PAID
BY YOU AND DO NOT REDUCE THE LIMITS OF LIABILITY. COVERED "DATA BREACH EXPENSES" ABOVE THE
DEDUCTIBLE ARE PAYABLE UNDER THIS COVERAGE PART AND REDUCE THE LIMITS OF LIABILITY. SOME
PROVISIONS IN THIS COVERAGE PART RESTRICT COVERAGE. READ THE ENTIRE POLICY CAREFULLY TO
DETERMINE RIGHTS, DUTIES AND WHAT IS AND WHAT IS NOT COVERED.


Throughout this Coverage Part, the words "you" and "your" refer to the Named Insured shown in the Coverage Part
Declarations. The words "we" "us" and "our" refer to the stock insurance company member of The Hartford providing
this insurance.


Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. DEFINITIONS.


A. INSURING AGREEMENT                                           2. Regardless of when expenses are incurred,
   We will pay for "data breach expenses" that you                 we will not pay "data breach expenses" in
   incur as a result of a "data breach" of "personally             excess of the limit of insurance that is
   identifiable information", subject to the limit of              applicable to the "policy period" when the
   insurance, if the following conditions are met:                 "data breach" was first discovered.
                                                             C. WHO IS AN INSURED
   1. The "data breach" occurs on or after the
       "retroactive date" and before the end of the             If you are designated in the Policy Declarations as:
       "policy period".                                         1. An individual, you and your spouse are
   2. The insured first becomes aware of the "data                   insureds, but only with respect to the conduct
       breach" during the "policy period".                           of a business of which you are the sole owner.
   3. At the time you applied for this insurance you            2. A partnership or joint venture, you are an
       had no knowledge of the "data breach".                        insured. Your members, your partners, and
                                                                     their spouses are also insureds, but only with
   4. The "data breach" is reported to us as soon as                 respect to the conduct of your business.
       practicable, but in no event later than 30 days
       after it is first discovered by the insured.             3. A limited liability company, you are an insured.
                                                                     Your members are also insureds, but only with
   5. The "data breach" must involve "personally                     respect to the conduct of your business. Your
       identifiable information" that was held by you                managers are insureds, but only with respect
       or on your behalf in the “ coverage territory” .              to their duties as your managers.
   We will have no duty to pay for any damages for              4. An organization, other than a partnership, joint
   which this insurance does not apply.                              venture or limited liability company, you are an
B. LIMIT OF INSURANCE                                                insured. Your executive officers and directors
   1. We will pay up to the applicable limit of                      are insureds, but only with respect to their
      insurance for "data breach expenses" stated in                 duties as your executive officers or directors.
      the Coverage Part Declarations. A sub-limit               5. A trust, you are an insured. Your trustees are
      may apply for certain coverages as described                   also insureds, but only with respect to their
      in the Coverage Part Declarations.                             duties as trustees.
       We will not pay "data breach expenses" in             D. DEDUCTIBLES
       excess of the applicable limit of insurance for           We will not pay for "data breach expenses" until
       Data Breach - Response Expenses that is                   the amount of loss exceeds the applicable
       shown on the Coverage Part Declarations.                  deductible shown in the Coverage Part

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DATA BREACH COVERAGE - RESPONSE EXPENSE

   Declarations. Subject to the terms and conditions         4. Take all reasonable steps to protect
   of the Policy, we will pay the amount of loss in             "personally identifiable information" remaining
   excess of the applicable deductible up to the                in your care, custody or control.
   applicable limit of insurance shown in the                5. Preserve, and permit us to inspect, all
   Coverage Part Declarations.                                  evidence of the "data breach".
E. DUTIES IN THE EVENT OF LOSS                               6. If requested, permit us to question you under
   1. You must report the "data breach" to us on or             oath, orally or in writing, at such times as may
      within 30 days of your discovery of the "data             be reasonably required about any matter
      breach" and, you must:                                    relating to this insurance or the loss, including
      a. Immediately record the specifics of the                copies of your books and records. In
           "data breach", and the date discovered.              answering questions in writing, your answers
                                                                must be signed.
      b. Cooperate with us in the investigation of
           the "data breach".                             F. EXCLUSIONS
      c. Assist us, upon our request in the                   This insurance does not cover:
           enforcement of any right against any               1. "Data breach expenses" relating to any "data
           person or organization which may have                  breach" arising out of a criminal, fraudulent or
           accessed, lost, stolen or disclosed the                dishonest act, error or omission, or any
           information or data giving rise to a "data             intentional or knowing violation of the law by
           breach".                                               an insured.
      d. You may not, except at your own cost,                2. "Data      breach    expenses"     incurred    in
           voluntarily make a payment, assume any                 connection with any criminal investigations or
           obligation, or incur any expense without               proceedings, or any civil investigations or
           our prior written consent.                             proceedings initiated by a governmental
   2. You have up to one year from the date of                    agency or authority.
      reporting a "data breach" to initiate the               3. Any costs to correct a deficiency in your
      services provided to you.                                   systems, including but not limited to, data
   3. As soon as possible, give us, and/or our                    security, data storage or physical security and
      agent, a description of how, when and where                 procedures.
      the "data breach" occurred, including but not           4. "Data breach expenses" related to a "data
      limited to all of the following information as it           breach" arising out of any failure to apply or
      becomes known to you:                                       improper application of necessary software
      a. The method of "data breach";                             patches.
       b. The approximate date and time of the                5. Any fines, penalties, or surcharges.
          "data breach";                                     6. Costs or losses incurred by a person whose
       c. The approximate number of files                       "personally identifiable information" was the
          compromised as a result of the "data                  subject of a "data breach" except as provided
          breach";                                              under "data breach expenses".
       d. A detailed description of the type and             7. "Data breach expenses" relating to any "data
          nature of the information that was                    breach" that was known to an insured prior to
          compromised;                                          the "policy period".
       e. Whether or not the information was                 8. "Data breach expenses" arising from a failure
          encrypted, and, if so, the level of                   to comply with any state, federal, foreign or
          encryption;                                           self-regulatory requirement around minimum
                                                                data security standards.
       f. Whether or not law enforcement has been
          notified;                                       G. CONDITIONS
       g. If available, the place of domicile for all           1. The first named insured must pay all
          persons whose "personally identifiable                   premiums when due. We will pay any return
          information" was the subject of a "data                  premium to the first named insured.
          breach";                                              2. Our obligation to pay "data breach
       h. If available, who received the information               expenses" will only be in excess of the
          contained in the "data breach" and                       applicable deductible as stated in the
                                                                   Coverage Part Declarations.
       i. Any other access, information or
          documentation we reasonably require to                3. To the extent “ data breach expenses” are
          investigate or adjust the loss                           paid for services provided by a third-party
                                                                   provider, you must use a third party provider

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DATA BREACH COVERAGE - RESPONSE EXPENSE

      4. that we designate or approve prior to the            b. Crisis management expenses to perform
         start of any services. You will have a direct            services by any public relations firm, crisis
         relationship with the provider and all                   management firm or law firm to minimize
         services providers work for you.                         potential harm to the insured. Crisis
          We are not liable for any act or omission by            management expenses also includes the
          any third party provider of services.                   fees and costs of a company hired to
                                                                  operate a call center to handle inquiries
     5. All "data breach(es)" that occur at the same              from the parties affected by a “ data
        time, or are caused by the same act, error,               breach” .
        omission, defect or deficiency, or series of
        related acts, errors, omissions, defects or           c. Monitoring service expenses to provide
        deficiencies, shall be considered to be a                 “ data breach” victims with credit, fraud,
        single "data breach", regardless of the                   public records or other monitoring alerts
        number of claimants, victims, or the number               for up to one year, if determined to be
        of entities that obtained access to the                   warranted by us or the service provider.
        "personally identifiable information" involved        d."Good faith advertising services".
        in the breach.                                        e. "Legal and forensic services".
H. DEFINITIONS                                             4. “ Good faith advertising services” means
    The following definitions only apply to this form         services provided to assist in organizing the
    and any supplemental coverages or amendatory              insured’ s media responses in relation to a
    endorsements added to it by endorsement.                  “ data breach” .
    1. “ Coverage territory” means all parts of the        5. “ Legal and forensic services”            means
       world, provided that no trade or economic              reimbursement for the verification of
       sanction, embargo, insurance or other laws or          compliance with data breach notification laws.
       regulations prohibit us from paying “ data             “ Legal and forensic services” also provides
       breach expenses” in relation to the “ data             coverage for the investigation of computer
       breach” . Payment of “ data breach expenses”           hacking incidents, lost and stolen property,
       relating to notification expenses is only              cyber     extortion,   database     fraud    and
       available in jurisdictions or countries that           determinations as to whether or not data was
       maintain data breach notice laws that requires         accessed.
       notification of victims of a “ data breach” .       6. "Personally identifiable information" means an
    2. "Data breach" means the loss, theft,                   individual’ s social security number, bank
       accidental release or accidental publication of        account number, credit and debit card account
       "personally identifiable        information",  or      numbers, PIN numbers or transaction history,
       circumstances objectively giving rise to a             driver’ s license number, medical diagnosis,
       substantial risk that such a loss, theft, release      patient history and medications and any other
       or publication has occurred.                           applicable private information that may be
   3. "Data breach expenses" means reasonable:                defined by state, federal or applicable foreign
                                                              law.
       a. Notification expenses to notify a person
            whose "personally identifiable information"    7. "Policy period" means the time beginning with
            was the subject of a “ data breach” in            the effective date shown in the Coverage Part
            compliance with mandatory "data breach"           Declarations and ending with the earlier of:
            notification statutes or regulations.                  a.The date of cancellation; or
                                                                  b.The expiration date shown in the
                                                                     Coverage Part Declarations.
                                                           8. "Retroactive date" means the date displayed
                                                              on the Coverage Part Declarations. If no date
                                                              is entered on the Coverage Part Declarations,
                                                              the "retroactive date" is the same as the
                                                              effective date.




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    DATA BREACH COVERAGE - DEFENSE AND LIABILITY
                  (CLAIMS MADE)




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                       QUICK REFERENCE
    DATA BREACH COVERAGE - DEFENSE AND LIABILITY (CLAIMS MADE)


                         READ YOUR POLICY CAREFULLY

                                                                     Beginning on Page
 SECTION A: INSURING AGREEMENT                                                    1


 SECTION B: LIMIT OF INSURANCE AND DEDUCTIBLE                                    1

 SECTION C: NOTICE OF CLAIM                                                      2

 SECTION D: YOUR DUTIES WITH RESPECT TO DATA BREACH CLAIMS                       2


 SECTION E: EXCLUSIONS                                                           3


 SECTION F: WHO IS AN INSURED                                                    4

 SECTION G: CONDITIONS                                                           4

 SECTION H: BASIC EXTENDED REPORTING PERIOD                                      4

 SECTION I: SUPPLEMENTAL EXTENDED REPORTING PERIOD                               4

 SECTION J: DEFINITIONS                                                          5




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DATA BREACH COVERAGE - DEFENSE AND LIABILITY




    DATA BREACH COVERAGE - DEFENSE AND LIABILITY
                  (CLAIMS MADE)

THIS IS CLAIMS FIRST MADE AND REPORTED IN WRITING COVERAGE. PLEASE READ ALL PROVISIONS
CAREFULLY, AND CONTACT YOUR AGENT OR BROKER IF YOU HAVE ANY QUESTIONS. YOUR COVERAGE APPLIES
ONLY TO "DATA BREACH CLAIMS" WHEN THE "DATA BREACH" OCCURS ON OR AFTER THE "RETROACTIVE
DATE" AND BEFORE THE END OF THE "POLICY PERIOD". ADDITIONALLY, YOUR COVERAGE APPLIES ONLY IF THE
"DATA BREACH CLAIM" IS FIRST MADE DURING THE "POLICY PERIOD" AND REPORTED TO US WITHIN 3O DAYS OF
YOUR FIRST NOTICE OF THE CLAIM, AND IN NO EVENT LATER THAN 30 DAYS AFTER THE END OF THE "POLICY
PERIOD". PAYMENT OF DEFENSE COSTS REDUCES THE LIMIT OF LIABILITY. COVERED "LOSS" WITHIN THE
DEDUCTIBLE AMOUNT MUST BE PAID BY YOU AND DOES NOT REDUCE THE LIMIT OF LIABILITY. COVERED "LOSS"
ABOVE THE DEDUCTIBLE AMOUNT IS PAYABLE UNDER THIS COVERAGE PART AND REDUCES THE LIMIT OF
LIABILITY. SOME PROVISIONS IN THIS COVERAGE PART RESTRICT COVERAGE. READ THE ENTIRE POLICY
CAREFULLY TO DETERMINE RIGHTS, DUTIES AND WHAT IS AND WHAT IS NOT COVERED.

Throughout this Coverage Part the words "you" and "your" refer to the Named Insured shown in the Coverage Part
Declarations. The words "we" "us" and "our" refer to the stock insurance company member of The Hartford providing
this insurance.


Other words and phrases that appear in quotation marks have special meaning. Refer to Section J. DEFINITIONS.

A. INSURING AGREEMENT                                         B. LIMIT OF INSURANCE AND DEDUCTIBLE
   We will pay for "loss" on behalf of the Insured(s)             1. The DATA BREACH - DEFENSE AND
   resulting from a "data breach claim" subject to the               LIABILITY limit of insurance that is stated in
   limit of insurance, if the following conditions are               the Coverage Part Declarations is the most
   met:                                                              that we shall pay for all "loss" resulting from
   1. The "data breach claim" is first made against                  "data breach claims".
        you during the "policy period". A "data breach            2. We will not pay for "loss" until the amount of
        claim" will be deemed to have been made                      "loss" exceeds the applicable deductible
        when notice of such "data breach claim" is                   shown in the Coverage Part Declarations.
        received by you or by us, whichever comes                    Subject to the terms and conditions of the
        first.                                                       policy, we will pay the amount of "loss" in
   2. At the time you applied for this insurance you                 excess of the applicable deductible up to the
        had no knowledge of the "data breach" out of                 DATA BREACH - DEFENSE AND LIABILITY
        which the "data breach claim" arises.                        limit of insurance that is stated in the
                                                                     Coverage Part Declarations.
   3. The "data breach claim" is reported to us
        within 30 days after you receive notice of the            3. The terms of this Coverage Part, including
        claim, but in no event later than 30 days after              those with respect to our right and duty to
        the end of the "policy period".                              defend "data breach claims" and your duties in
                                                                     the event of a "data breach claim", apply
   4. The "data breach claim" arises out of a "data                  irrespective of the application of the
        breach" that occurs in the "coverage territory",             deductible.
        and the "data breach" occurs on or after the
        "retroactive date" and before the end of the              4. We may pay "loss" under this coverage part in
        "policy period".                                             the investigation or settlement of any "data
                                                                     breach claim" prior to your payment of any
   5. The "data breach" must involve "personally                     part or all of the deductible amount. Upon
        identifiable information" that was held by you               notification of the action we have taken, you
        or on your behalf in the "coverage territory".




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                                                 © 2016, The Hartford
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DATA BREACH COVERAGE - DEFENSE AND LIABILITY

        shall reimburse us for that part of the              4. If, during the "policy period", you become
        deductible amount you owe within sixty (60)             aware of any "data breach" that may lead to a
        days. We will be entitled to recover reasonable         "data breach claim" and if written notice of
        attorney's fees and other costs incurred in             such "data breach" is provided to us during the
        collecting the deductible amount you owe.               "policy period", then any "data breach claims"
   5. The limit of liability will not be reduced by the         arising from that "data breach" shall be
      amount of any "loss" within the deductible                deemed to be a "data breach claim" first made
      amount unless (but only to the extent that)               during the "policy period", on the date when
      such "loss" has been paid by us and not                   we receive such notice, provided that the
      reimbursed by you.                                        notice to us contains all of the following
                                                                information:
   6. If you agree with a request we make to submit
      a "data breach claim" made against you to                 a. The method of "data breach";
      mediation or binding arbitration under the                b. The approximate date and time of the
      terms and conditions we specify, and the "data               "data breach";
      breach claim" is resolved through such                    c. The approximate number of files
      mediation or binding arbitration, then we will               compromised as a result of the "data
      reduce the deductible amount stated in the                   breach";
      Coverage Part Declarations by fifty percent
      (50%). While the right to submit a "data breach           d. A detailed description of the type and
      claim" to mediation or binding arbitration shall             nature of the information that was
      be ours, no "data breach claim" shall be                     compromised;
      submitted to mediation or binding arbitration             e. Whether or not the information was
      under this paragraph without your prior written              encrypted, and, if so, the level of
      consent. In the case of such resolution                      encryption;
      through mediation or binding arbitration, the             f. Whether or not law enforcement has been
      maximum dollar amount by which the                           notified;
      deductible will be reduced under this
                                                                g. If available, the place of domicile for all
      paragraph is $10,000.
                                                                   persons whose "personally identifiable
C. NOTICE OF CLAIM                                                 information" was the subject of a "data
    1. As a condition precedent to coverage, the                   breach";
       Insured(s) shall provide us with notice of any           h. If available, who received the information
       "data breach claim" within 30 days after you                contained in the "data breach".
       receive notice of the claim, and in no event
                                                          D. YOUR DUTIES WITH RESPECT TO "DATA
       later than 30 days after the "policy period".
                                                             BREACH CLAIMS"
    2. All "data breach claims" arising from the same
                                                             1. You must cooperate with us in the
       "data breach" shall be considered as one "data
       breach claim", first made on the earliest date           investigation, settlement or defense of the
       that:                                                    "data breach claim", and assist us, upon our
                                                                request in the enforcement of any right of
       a. any such "data breach claim" was first                recovery regarding any payment of "loss"
            made, whether such date is before or                under this Coverage Part. You shall execute
            during the "policy period";                         any and all papers required, and do everything
       b. notice of the "data breach" was provided              necessary to secure and preserve such rights,
            to us pursuant to section C. 4., below; or,         including the execution of any documents
       c. notice of the "data breach" was provided              needed to enable us to bring suit in your
            pursuant to any other insurance policy.             name. You shall do nothing to prejudice our
                                                                position or any potential or actual rights of
    3. All "data breach(es)" that occur at the same             recovery.
       time, or are caused by the same act, error,
       omission, defect or deficiency, or series of          2. You may not, except at your own cost,
       related acts, errors, omissions, defects or              voluntarily make a payment, assume any
       deficiencies, shall be considered to be a single         obligation, or incur any expense without our
       "data breach", regardless of the number of               prior written consent.
       claimants, or the number of entities that             3. You must take all reasonable steps to protect
       obtained access to the "personally identifiable          "personally identifiable information" remaining
       information" involved in the breach.                     in your care, custody or control.




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DATA BREACH COVERAGE - DEFENSE AND LIABILITY


   4. You must preserve all evidence of the "data
      breach".                                            8. In connection with a "data breach" arising out
E. EXCLUSIONS                                                 of the failure to apply or improper application
                                                              of necessary software patches.
   This insurance does not apply to "loss":
                                                          9. In connection with a "data breach claim"
   1. In connection with any "data breach claim"              arising out of any action or omission that
       arising out of any criminal, fraudulent or             violates or is alleged to violate:
       dishonest act, error or omission, or any
       intentional or knowing violation of the law by         a. The Telephone Consumer Protection Act
       any insured.                                                (TCPA), including any amendment of or
                                                                   addition to such law;
   2. For "bodily injury" or "property damage".
       However, this exclusion will not apply to a            b. The CAN-SPAM Act of 2003, including
       claim for mental injury, mental tension, mental             any amendment of, or addition to such
       anguish, or emotional distress directly relating            law; or any statute, ordinance or
       to a "data breach".                                         regulation, other than the TCPA, or CAN-
                                                                   SPAM Act of 2003, that prohibits or limits
   3. In connection with expenses arising out of any               the sending, transmitting, communicating
       criminal investigations or proceedings or                   or distribution of material or information.
       arising out of governmental action for the
       seizure or destruction of property by order of     10. In connection with a "data breach claim" arising
       governmental authority, or war and military            out of any discrimination of any kind, including
       action including undeclared or civil war,              but not limited to race, creed, religion, age,
       insurrection rebellion, revolution or action           handicap, sex, marital status or financial
       taken by governmental authority in hindering           condition; refusal to employ, termination of
       or defending against any of these.                     employment, coercion, demotion, evaluation,
                                                              reassignment,         discipline,      harassment,
   4. In connection with any "suit" seeking only non-         humiliation, discrimination or any employment
       monetary damages.                                      related practices, policies, acts, errors or
   5. For any fines, penalties, or surcharges.                omissions.
   6. For any cost to correct a deficiency in your        11. In connection with a "data breach claim"
      systems, including but not limited to, data             arising out of any intentional or knowing
      security, data storage or physical security and         violation of the Insured's privacy policy.
      procedures.                                         12. In connection with a "data breach claim"
   7. In connection with a "data breach claim"                arising out of any actual or alleged
      arising out of any shortcoming in a computer            infringement or patent, trade secret, copyright,
      system that you knew about prior to the                 service mark, trademark, trade name, or
      effective date of this Coverage Part. This              misappropriation of ideas or any other
      includes any failure to take steps to use,              intellectual property right.
      design, maintain or upgrade a computer              13. In connection with a "data breach claim"
      system and the inability to use, or lack of             arising out of any rendering or failure to render
      performance of software due to:                         any professional services for others, including
      a. expiration, cancellation, or withdrawal of           without limitation, services performed by the
           such software;                                     Insured for or on behalf of a customer or client.
      b. it not being released from                 its   14. In connection with a "data breach claim"
           developmental state; or                            arising out of any breach of any express,
      c. it not having passed all test runs or proven         implied, actual or constructive contract,
           successful in applicable daily operations.         warranty, guarantee, or promise, including
                                                              liability of others assumed by you under any
                                                              contract or agreement or breach of contract,
                                                              unless such liability would have attached to
                                                              you in the absence of such an agreement.




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DATA BREACH COVERAGE - DEFENSE AND LIABILITY

   15. In connection with a "data breach claim"                  shall not exceed the amount for which we
        caused by the failure to comply with any state,          would have been liable for "loss" if the "data
        federal or foreign regulation and/or self-               breach claim" had been so settled when and
        regulatory requirements around minimum data              as so recommended, (minus any applicable
        security standards, including, but not limited           deductible) and we shall have the right to
        to, the Fair and Accurate Credit Transaction             withdraw from the further defense of the "data
        Act (FACTA), and Song Beverly Act or similar             breach claim" by tendering control of the
        statutes. However, this exclusion does not               defense thereof to you.
        apply to reasonable and necessary legal fees          4. Immediately upon discovery of a "data
        and expenses incurred in the defense of a                breach", you must take all reasonable steps to
        "regulatory proceeding".                                 mitigate potential damages to third parties by
F. WHO IS AN INSURED                                             providing     reasonable     and     necessary
   If you are designated in the Policy Declarations as:          notification, monitoring and other services, as
                                                                 directed through our designated third party
   1. An individual, you and your spouse are
                                                                 provider or by a third party provider that is
        insureds, but only with respect to the conduct
                                                                 approved by us.
        of a business of which you are the sole owner.
                                                              5. Our obligation to pay "loss" will only be in
   2. A partnership or joint venture, you are an
                                                                 excess of the applicable deductible as stated
        insured. Your members, your partners, and
                                                                 in the Coverage Part Declarations.
        their spouses are also insureds, but only with
        respect to the conduct of your business.           H. BASIC EXTENDED REPORTING PERIOD
   3. A limited liability company, you are an insured.          We will automatically provide a Basic Extended
        Your members are also insureds, but only with           Reporting Period if this Coverage Part is:
        respect to the conduct of your business. Your           1. Cancelled;
        managers are insureds, but only with respect
                                                                2. Non-renewed; or
        to their duties as your managers.
                                                                3. Renewed by us with insurance that does not
   4. An organization, other than a partnership, joint
                                                                   apply on a claims made or claims made and
        venture or limited liability company, you are an
                                                                   reported basis.
        insured. Your executive officers and directors
        are insureds, but only with respect to their            The Basic Extended Reporting Period begins with the
        duties as your officers or directors.                   end of the "policy period" and lasts for 30 days.
                                                                The Basic Extended Reporting Period is provided
   5. A trust, you are an insured. Your trustees are
                                                                at no charge.
        also insureds, but only with respect to their
        duties as trustees.                                     Under this provision, you have 30 days after the
                                                                end of the "policy period" to report to us in writing
G. CONDITIONS
                                                                "data breach claims" first made against any of you
    1. The first named insured must pay all                     during the "policy period".
       premiums when due. We will pay any return
                                                                The Basic Extended Reporting Period will not
       premium to the first named insured.
                                                                reinstate or increase the Limits of Insurance.
    2. If valid and collectible insurance is available
                                                           I.   SUPPLEMENTAL EXTENDED REPORTING
       for a "loss" we cover under this Coverage
                                                                PERIOD
       Part, we will share with that other insurance.
                                                                A Supplemental Extended Reporting Period is
        If all the other insurance permits contribution
                                                                available, but only by an endorsement and for an
        by equal shares, we will follow this method
                                                                extra charge. This supplemental period, if
        also. Under this approach each insurer
                                                                purchased, will run concurrently with the automatic
        contributes by equal amounts until it has paid
                                                                Extended Reporting Period set forth in paragraph
        its applicable limit of insurance or none of the
                                                                H. above.
        "loss" remains, whichever comes first.
                                                                You must give us a written request for the
       If the other insurance does not permit
                                                                endorsement within 30 days after the end of the
       contribution by equal shares, we will contribute
                                                                "policy period". The Supplemental Extended
       by limits. Under this method, each insurer's
                                                                Reporting Period will not go into effect unless you
       share is based on the ratio of its applicable
                                                                pay the additional premium promptly when due.
       limit of insurance to the total applicable limits
       of insurance of all insurers.                            The Supplemental Extended Reporting Period will
                                                                not reinstate or increase the Limits of Insurance
    3. If you refuse to consent to a settlement or
       compromise recommended by us and elect to
       contest the "data breach claim", our liability


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DATA BREACH COVERAGE - DEFENSE AND LIABILITY

   We will determine the additional premium in             7. "Property damage" means:
   accordance with our rules and rates.                       a. Physical injury to tangible property,
J. DEFINITIONS                                                    including all resulting loss of use of that
   The following definitions only apply to this form              property, or
   and any applicable amendatory endorsements.                b. Loss of use of tangible property that is not
   1. "Bodily injury" means physical injury, sickness             physically injured.
      or disease sustained by a person.                       All such loss of use shall be deemed to occur
   2. "Coverage territory" means all parts of the             at the time of the physical injury that caused it.
      world provided that no trade or economic             8. "Policy period" means the time beginning with
      sanction, embargo, insurance or other laws or           the effective date shown in the Coverage Part
      regulations prohibit us from paying "loss" in           Declarations and ending with the earlier of:
      relation to the "data breach". The insured's            a. The date of cancellation; or
      liability for the "data breach claim" must be
      determined in the United States of America,              b. The expiration date shown             in   the
      Puerto Rico or Canada, in a civil suit or                   Coverage Part Declarations.
      arbitration on the merits, according to the          9. "Regulatory       proceeding"     means      an
      substantive law of United States of America,             investigation, demand or proceeding, including
      Puerto Rico or Canada, or in a settlement we             a request for information, brought by, or on
      agree to.                                                behalf of, the Federal Trade Commission,
   3. "Data breach" means the loss, theft, accidental          Federal Communications Commission or other
      release or accidental publication of "personally         administrative or regulatory agency, or any
      identifiable information", or circumstances              federal, state, local or foreign governmental
      objectively giving rise to a substantial risk that       entity in such entity's regulatory or official
      such loss, theft, release or publication has             capacity seeking relief based upon a "data
      occurred.                                                breach".
   4. "Data breach claim" means a written demand           10. "Retroactive date" means the date displayed
      for relief based upon a "data breach" or a               on the Coverage Part Declarations. If no date
      "suit" seeking monetary relief based upon a              is entered on the Coverage Part Declarations,
      "data breach".                                           the "retroactive date" is the same as the
                                                               effective date.
   5. "Loss" means civil awards, settlements and
      judgments       (including   any     award      or   11. "Suit" means a civil proceeding or "regulatory
      prejudgment interest) that you are legally               proceeding", in which monetary damages are
      obligated to pay as a result of a "data breach           sought for a "data breach claim" to which this
      claim", as well as reasonable and necessary              insurance applies. "Suit" includes an
      legal fees and expenses incurred in the                  arbitration proceeding in which monetary
      defense of a "suit" alleging a "data breach              damages are sought, and to which the insured
      claim". With respect to "loss" applicable to a           must submit, or does submit with our consent;
      "regulatory proceeding", "loss" will only include        or any other alternative dispute resolution
      reasonable and necessary legal fees and                  proceeding in which such damages are sought
      expenses incurred in the defense of a                    and to which the insured submits with our
      "regulatory proceeding". "Loss" does not                 consent.
      include fines, penalties or punitive damages,
      or the cost of non-monetary relief.
   6. "Personally identifiable information" means an
      individual's social security number, bank
      account number, credit or debit card
      transactions, driver's license numbers, medical
      diagnosis, patient history and medications and
      any other applicable private information that
      may be defined by state, federal or applicable
      foreign law.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    PENNSYLVANIA CHANGES
             This endorsement modifies insurance provided under the following:

                        DATA BREACH – DEFENSE AND LIABILITY


   Paragraph      I.    SUPPLEMENTAL                 end of this policy period.            The
   EXTEDED REPORTING PERIOD is                       Supplemental      Extended      Reporting
   deleted and replaced by the following:            Period will not go into effect unless you
   A Supplemental Extended Reporting                 pay the additional premium promptly
   Period is available, but only by an               when due.
   endorsement and for an extra charge.              The Supplemental Extended Reporting
   This supplemental period, if purchased,           Period will not reinstate or increase the
   will run concurrently with the automatic          Limits of Insurance.
   Extended Reporting Period set forth in            We will determine the additional
   paragraph H. above.                               premium in accordance with our rules
   You must give us written request for the          and rates.
   endorsement within 60 days after the




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 U.S. DEPARTMENT OF THE TREASURY, OFFICE OF FOREIGN ASSETS
     CONTROL ("OFAC") ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the
coverages you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to directives
issued by the United States. Please read this Notice carefully.

The Office of Foreign Assets Control ("OFAC") of the U.S. Department of the Treasury administers and
enforces economic and trade sanctions based on U.S. foreign policy and national security goals against
targeted foreign countries and regimes, terrorists, international narcotics traffickers, those engaged in activities
related to the proliferation of weapons of mass destruction, and other threats to the national security, foreign
policy or economy of the United States. OFAC acts under Presidential national emergency powers, as well as
authority granted by specific legislation, to impose controls on transactions and freeze assets under U.S.
jurisdiction. OFAC publishes a list of individuals and companies owned or controlled by, or acting for or on
behalf of, targeted countries. It also lists individuals, groups, and entities, such as terrorists and narcotics
traffickers designated under programs that are not country-specific. Collectively, such individuals and
companies are called "Specially Designated Nationals and Blocked Persons" or "SDNs". Their assets are
blocked and U.S. persons are generally prohibited from dealing with them. This list can be located on OFAC’s
web site at – http//www.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is an SDN, as identified by OFAC, the
policy is a blocked contract and all dealings with it must involve OFAC. When an insurance policy is
considered to be such a blocked or frozen contract, no payments nor premium refunds may be made without
authorization from OFAC.




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Named Insured:        ULTIMATE HEARING SOLUTIONS, LLC

Policy Number:        39 SBA AA3300

Effective Date:       04/23/20                          Expiration Date:   04/23/21

Company Name:         TWIN CITY FIRE INSURANCE COMPANY



            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              TRADE OR ECONOMIC SANCTIONS ENDORSEMENT


This insurance does not apply to the extent that trade or economic sanctions or other laws or regulations
prohibit us from providing insurance, including, but not limited to, the payment of claims.


All other terms and conditions remain unchanged.




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Insurer: TWIN CITY FIRE INSURANCE COMPANY
        8910 PURDUE RD, INDIANAPOLIS, IN 46268


This Declarations Page, with Umbrella Liability Provisions and Endorsements, if any, issued to form a part thereof,
shall together constitute this Umbrella Liability Supplemental Contract, which in turn forms a part of Policy Number
shown below.
None of the provisions of the policy to which this Supplemental Contract is attached applies to the Umbrella Liability
Insurance provided hereunder.
Wherever the word "policy" appears in this form or in endorsements attached to or made a part of this Supplemental
Contract, it means "Supplemental Contract".
       POLICY NUMBER: 39 SBA AA3300
DECLARATIONS
    Named Insured and Mailing Address:           ULTIMATE HEARING SOLUTIONS, LLC
                                                 SEE FORM SS 12 35
                                                 435 BALTIMORE PIKE
                                                 SPRINGFIELD        PA 19064

    Policy Period                      From: 04/23/20 To: 04/23/21
    12:01 A.M., Standard time at the address of the named insured as stated herein.
    Premium                            $ INCLUDED ADVANCE PREMIUM



Self Insured Retention             $10,000         each occurrence
The Limits of Insurance subject to all the terms of this policy that apply are:
 Each Occurrence                  $ 6,000,000           Products-Completed Operations Aggregate Limit   $ 6,000,000

 General Aggregate Limit (Other $ 6,000,000       Bodily Injury By Disease Aggregate Limit              $ 6,000,000
 than Products - Completed
 Operations, Bodily Injury By
 Disease and Automobile)
Schedule of Underlying Insurance Policies
                  See Attached "Extension Schedule of Underlying Insurance Policies"
Form Numbers of Forms and Endorsements that apply.
  SX80041008                      SX80020405                     SX04021008                    SX02151217
  SX02271008                      SX21040697                     SX21050697                    SX21821008
  SX21940317                      SX23151215                     SX24010401                    SX24120405
  SX24330610




                  Countersigned by                                                                 04/03/20
                                                  Authorized Representative                         Date




Form SX 80 01 06 97 T Printed in U.S.A. (NS)
Process Date: 04/03/20                                              Policy Expiration Date: 04/23/21
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        UMBRELLA LIABILITY PROVISIONS

This supplemental contract modifies insurance provided under the policy to which it is attached.
In this policy the words "you" and "your" refer to the Named Insured first shown in the Declarations and any other
person or organization qualifying as a Named Insured under this policy. "We", "us" and "our" refer to the stock
insurance company member of The Hartford shown in the Declarations.
Other words and phrases that appear in quotation marks also have special meanings.             Refer to DEFINITIONS
(Section VII).
IN RETURN FOR THE PAYMENT OF THE PREMIUM, in reliance upon the statements in the Declarations made a
part hereof and subject to all of the terms of this policy, we agree with you as follows:

SECTION I - COVERAGES                                                    authorized "employee" knew, prior to the
INSURING AGREEMENTS                                                      "policy period", that the "bodily injury" or
                                                                         "property damage" occurred, then any
A. Umbrella Liability Insurance                                          continuation, change or resumption of such
   1. We will pay those sums that the "insured"                          "bodily injury" or "property damage" during
      becomes legally obligated to pay as "damages"                      or after the "policy period" will be deemed to
      in excess of the "underlying insurance" or of the                  have been known prior to the "policy
      "self-insured retention" when no "underlying                       period".
      insurance" applies, because of "bodily injury",             3. "Bodily injury" or "property damage" will be
      "property damage" or "personal and advertising                 deemed to have been known to have occurred
      injury" to which this insurance applies caused by              at the earliest time when any "insured" listed
      an "occurrence". But, the amount we will pay as                under Paragraph A. of Section III – Who Is An
      "damages" is limited as described in Section IV                Insured or any "employee" authorized by you to
      – LIMITS OF INSURANCE.                                         give or receive notice of an "occurrence" or
      No other obligation or liability to pay sums or                claim:
      perform acts or services is covered unless                      a. Reports all, or any part, of the "bodily injury"
      explicitly provided for under Section II -
                                                                         or "property damage" to us or any other
      INVESTIGATION, DEFENSE, SETTLEMENT.
                                                                         insurer;
   2. This insurance applies to "bodily injury",
                                                                      b. Receives a written or verbal demand or
      "property damage" or "personal and advertising
                                                                         claim for "damages" because of the "bodily
      injury" only if:
                                                                         injury" or "property damage"; or
      a. The "bodily injury", "property damage" or
                                                                      c. Becomes aware by any other means that
           "personal and advertising injury" occurs
           during the "policy period"; and                               "bodily injury" or "property damage" has
                                                                         occurred or has begun to occur.
      b. Prior to the "policy period", no "insured" listed
           under Paragraph A. of Section III – Who Is An      B. Exclusions
           Insured and no "employee" authorized by you            This policy does not apply to:
           to give or receive notice of an "occurrence" or        1. Pollution
           claim, knew that the "bodily injury" or
                                                                      Any obligation:
           "property damage" had occurred, in whole
           or in part. If such a listed "insured" or




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UMBRELLA LIABILITY PROVISIONS

        a. To pay for the cost of investigation, defense     Extension Schedule of Underlying Insurance
             or settlement of any claim or suit against      Policies, coverage under any of the provisions
             any "insured" alleging actual or threatened     of this exception does not apply.
             injury or damage of any nature or kind to       Exception b. does not apply to:
             persons or property which arises out of or
                                                             "Bodily injury" or "property damage" arising out
             would not have occurred but for the pollution
                                                             of the actual, alleged or threatened discharge,
             hazard; or
                                                             dispersal, seepage, migration, release or
        b. To pay any "damages", judgments,                  escape of "pollutants":
             settlements, loss, costs or expenses that
                                                             (1) That are, or that are contained in any
             may be awarded or incurred:
                                                                  property that is:
             (1) By reason of any such claim or suit or
                                                                  (a) Being transported or towed by, or
                  any such injury or damage; or
                                                                       handled for movement into, onto or
             (2) In complying with any action authorized               from, any "auto";
                  by law and relating to such injury or
                                                                  (b) Otherwise in the course of transit by or
                  damage.
                                                                       on behalf of the "insured"; or
   As used in this exclusion, pollution hazard means an           (c) Being stored, disposed of, treated or
   actual exposure or threat of exposure to the
                                                                       processed in or upon any "auto";
   corrosive, toxic or other harmful properties of any
   solid, liquid, gaseous or thermal:                        (2) Before the "pollutants" or any property in
                                                                  which the "pollutants" are contained are
   a. Pollutants;
                                                                  moved from the place where they are
   b. Contaminants;                                               accepted by the "insured" for movement into
   c. Irritants; or                                               or onto any "auto"; or
   d. Toxic substances;                                      (3) After the "pollutants" or any property in
   Including:                                                     which the "pollutants" are contained are
                                                                  moved from any "auto" to the place where
   Smoke;
                                                                  they are finally delivered, disposed of or
   Vapors;                                                        abandoned by the "insured".
   Soot;                                                     Paragraph (1) above does not apply to fuels,
   Fumes;                                                    lubricants, fluids, exhaust gases or other similar
   Acids;                                                    "pollutants" that are needed for or result from
   Alkalis;                                                  the normal electrical, hydraulic or mechanical
                                                             functioning of an "auto", covered by the
   Chemicals, and
                                                             "underlying insurance" or its parts, if:
   Waste materials consisting of or containing any of
                                                             (a) The "pollutants" escape, seep, migrate, or
   the foregoing. Waste includes materials to be
                                                                  are discharged or released directly from an
   recycled, reconditioned or reclaimed.
                                                                  "auto" part designed by its manufacturer to
   EXCEPTION                                                      hold, store, receive or dispose of such
   This exclusion does not apply:                                 "pollutants"; and
   a. To "bodily injury" to any of your "employees"          (b) The "bodily injury", "property damage" or
        arising out of and in the course of their                 "covered pollution cost or expense" does not
        employment by you; or                                     arise out of the operation of any equipment
   b. To injury or damage as to which valid and                   listed in Paragraphs f.(2) or f.(3). of the
        collectible "underlying insurance" with at least          definition of "mobile equipment" in the
        the minimum limits shown in the Extension                 Business Liability Coverage Form.
        Schedule of Underlying Insurance Policies is in      Paragraphs (2) and (3) above do not apply to
        force and applicable to the "occurrence". In         "accidents" that occur away from premises
        such event, any coverage afforded by this policy     owned by or rented to an "insured" with respect
        for the "occurrence" will be subject to the          to "pollutants" not in or upon an "auto" covered
        pollution exclusions of the "underlying              by the "underlying insurance" if:
        insurance" and to the conditions, limits and         (a) The "pollutants" or any property in which the
        other provisions of this policy. In the event that        "pollutants" are contained are upset,
        "underlying insurance" is not maintained with             overturned or damaged as a result of the
        limits of liability as set forth in the                   maintenance or use of the "auto"; and


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       (b) The     discharge,    dispersal, seepage,           a. Hired, chartered or loaned with a paid crew;
           migration, release or escape of the                    but
           "pollutants" is caused directly by such             b. Not owned by any "insured".
           upset, overturn or damage.
                                                               This exclusion does not apply to "bodily injury"
   2. Workers' Compensation and Similar Laws                   to any of your "employees" arising out of and in
        Any obligation of the "insured" under a                the course of their employment by you.
        workers' compensation, disability benefits or       7. Watercraft
        unemployment compensation law or any
        similar law.                                           "Bodily injury" or "property damage" arising out
                                                               of the ownership, operation, maintenance, use,
   3. Contractual Liability                                    entrustment to others, "loading or unloading" of
       Liability assumed by the "insured" under any            any watercraft.
       contract or agreement with respect to an                This exclusion applies even if the claims allege
       "occurrence" taking place before the contract or        negligence or other wrongdoing in the
       agreement is executed.                                  supervision, hiring, employment, training or
   4. Personal and Advertising Injury                          monitoring of others by an "insured", if the
       "Personal and advertising injury".                      "occurrence" which caused the "bodily injury" or
                                                               "property damage" involved the ownership,
       EXCEPTION                                               maintenance, use or entrustment to others, of
       This exclusion does not apply if "underlying            any watercraft that is owned or operated by or
       insurance" is applicable to "personal and               rented or loaned to, any "insured".
       advertising injury" and to claims arising out of        This exclusion does not apply to:
       that "personal and advertising injury".
                                                               a. Watercraft you do not own that is:
   5. Underlying Insurance
                                                                   (1) Less than 51 feet long; and
       Any injury or damage:
                                                                   (2) Not being used to carry persons for a
       a. Covered by "underlying insurance" but for any                charge;
          defense which any underlying insurer may
          assert because of the "insured's" failure to         b. "Bodily injury" to any of your "employees"
          comply with any condition of its policy; or             arising out of and in the course of their
                                                                  employment by you; or
       b. For which "damages" would have been
          payable by "underlying insurance" but for the        c. Any watercraft while ashore on premises
          actual or alleged insolvency or financial               owned by, rented to or controlled by you.
          impairment of an underlying insurer.              8. War
   6. Aircraft                                                 Any injury or damage, however caused, arising,
       "Bodily injury" or "property damage" arising out        directly or indirectly, out of:
       of the ownership, operation, maintenance, use,          a. War, including undeclared or civil war;
       entrustment to others, "loading or unloading" of        b. Warlike action by a military force, including
       any aircraft:                                              action in hindering or defending against an
       a. Owned by any "insured"; or                              actual or expected attack by any government,
       b. Chartered or loaned to any "insured".                   sovereign or other authority using military
                                                                  personnel or other agents; or
       This exclusion applies even if the claims allege
       negligence or other wrongdoing in the                   c. Insurrection, rebellion, revolution, usurped
       supervision, hiring, employment, training or               power, or action taken by governmental
       monitoring of others by an "insured", if the               authority in hindering or defending against
       "occurrence" which caused the "bodily injury" or           any of these.
       "property damage" involved the ownership,            9. Damage to Property
       maintenance, use or entrustment to others of            "Property damage" to property you own.
       any aircraft that is owned or operated by or
                                                            10. Damage to Your Product
       rented or loaned to any "insured".
       This exclusion does not apply to aircraft that is:      "Property damage" to "your product" arising out
                                                               of it or any part of it.




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   11. Damage to Your Work                                       b. To the spouse, child, parent, brother or
       "Property damage" to "your work" arising out of              sister of that "employee" as a consequence
       it or any part of it and included in the "products-          of such "bodily injury" to that "employee";
       completed operations hazard".                             c. To you, or any of your partners or members
       This exclusion does not apply if the damaged work            (if you are a partnership or joint venture), or
       or the work out of which the damage arises was               your members (if you are a limited liability
       performed on your behalf by a subcontractor.                 company); or
   12. Damage to Impaired Property or Property                   d. Arising out of the providing or failing to
       Not Physically Injured                                       provide professional health care services.
       "Property damage" to "impaired property" or               Subparagraphs a. and b. of this exclusion apply:
       property that has not been physically injured             (1) Whether the "insured" may be liable as an
       arising out of:                                               employer or in any other capacity; and
       1. A defect, deficiency, inadequacy or                    (2) To any obligation to share "damages" with
          dangerous condition in "your product" or                   or repay someone else who must pay
          "your work"; or                                            "damages" because of the injury.
       2. A delay or failure by you or anyone acting             EXCEPTION
          on your behalf to perform a contract or                Subparagraphs a. and b. of this exclusion do
          agreement in accordance with its terms.                not apply if "underlying insurance" is maintained
       This exclusion does not apply to the loss of use          providing coverage for such liability with
       of other property arising out of sudden and               minimum underlying limits, as described in the
       accidental physical injury to "your product" or           Extension Schedule of Underlying Insurance
       "your work" after it has been put to its intended         Polices.
       use.                                                   16. Property Damage to Employee’s Property
   13. Recall of     Products,     Work    or   Impaired         With respect to coverage afforded any of your
       Property                                                  "employees", to "property damage" to property
       "Damages" claimed for any loss, cost or expense           owned or occupied by or rented or loaned to:
       incurred by you or others for the loss of use,            a. That "employee";
       withdrawal, recall, inspection, repair, replacement,
                                                                 b. Any of your other "employees";
       adjustment, removal or disposal of:
       a.                                                        c. Any of your partners or members (if you are
            "Your product";
                                                                    a partnership or joint venture); or
       b. "Your work"; or
                                                                 d. Any of your members (if you are a limited
       c. "Impaired property";                                      liability company);
       if such product, work or property is withdrawn or      17. Uninsured or Underinsured Motorists
       recalled from the market or from use by any
       person or organization because of a known or              Any claim for:
       suspected defect, deficiency, inadequacy or               a. Uninsured      or   Underinsured      Motorists
       dangerous condition in it.                                   Coverage;
   14. Expected or Intended                                      b. Personal injury protection;
       "Bodily injury" or "property damage" expected or          c. Property protection; or
       intended from the standpoint of the "insured".            d. Any similar no-fault coverage by whatever
       This exclusion does not apply to "bodily injury"             name called;
       or "property damage" resulting from the use of            unless this policy is endorsed to provide such
       reasonable force to protect persons or property.          coverage.
   15. Employer Liability                                     18. Employment Practices Liability
       With respect to coverage afforded any of your             Any injury or damage to:
       "employees", to "bodily injury" or "personal and
                                                                 1. A person arising out of any:
       advertising injury":
                                                                     (a) Refusal to employ that person;
       a. To other "employees" arising out of and in
          the course of their employment;                            (b) Termination of that person’s employment;
                                                                         or



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            (c) Any employment-related practices,                   21. Racing And Stunting Activities
                policies, acts or omissions, such as                    "Bodily injury" or "property damage" arising out
                coercion,      demotion,       evaluation,              of the ownership, operation, maintenance, use,
                reassignment, discipline, defamation,                   entrustment to others, "loading or unloading" of
                harassment,          humiliation        or              an "auto" or "mobile equipment" while being
                discrimination directed at that person; or              used in any:
       2. The spouse, child, parent, brother or sister                  a. Prearranged or organized racing, speed or
          of that person, as a consequence of "bodily                        demolition contest;
          injury" or "personal and advertising injury" to               b. Stunting activity; or
          that person at whom any of the
                                                                        c. Preparation for any such contest or activity.
          employment-related practices described in
          paragraphs (a), (b), or (c) above is directed.            22. Electronic Data
       This exclusion applies:                                          "Damages" arising out of the loss of, loss of use
                                                                        of, damage to, corruption of, inability to access,
       i.   Whether the "insured" may be liable as an                   or inability to manipulate "electronic data".
            employer or in any other capacity; and
                                                                    23. Limited Underlying Coverage
       ii. To any obligation to share "damages" with
                                                                        Any injury, damage, loss, costs or expense,
           or repay someone else who must pay
                                                                        including but not limited to "bodily injury",
           "damages" because of the injury.
                                                                        "property damage" or "personal and advertising
   19. Employee Retirement Income Security Act                          injury" for which:
       Any liability arising out of intentional or                      a. An "underlying insurance" policy or policies
       unintentional violation of any provision of the                       specifically provides coverage; but that
       Employee Retirement Income Security Act of                       b. Because of a provision within the
       1974, Public Law 93-406 (commonly referred to                         "underlying insurance", such coverage is
       as the Revision Act of 1974), or any                                  provided at a limit or limits of insurance that
       amendments to them.                                                   are less than the limit(s) for the "underlying
   20. Asbestos                                                              insurance" policy or policies shown on the
       Any injury, "damages", loss, cost or expense,                         Extension       Schedule      of    Underlying
       including but not limited to "bodily injury",                         Insurance Policies.
       "property damage" or "personal and advertising               24. Violation Of Statutes That Govern E-Mails,
       injury" arising out of, or relating to, in whole or in           Fax, Phone Calls Or Other Methods Of
       part, the "asbestos hazard" that:                                Sending Material Or Information
       a. May be awarded or incurred by reason of                       "Bodily injury", "property damage", or "personal
          any claim or suit alleging actual or                          and advertising injury" arising directly or
          threatened injury or damage of any nature                     indirectly out of any action or omission that
          or kind to persons or property which would                    violates or is alleged to violate:
          not have occurred in whole or in part but for                 a. The Telephone Consumer Protection Act
          the "asbestos hazard"; or                                          (TCPA), including any amendment of or
       b. Arise out of any request, demand, order, or                        addition to such law;
          statutory or regulatory requirement that any                  b. The CAN-SPAM Act of 2003, including any
          "insured" or others test for, monitor, clean                       amendment of or addition to such law; or
          up, remove, encapsulate, contain, treat,                      c. Any statute, ordinance or regulation, other
          detoxify or neutralize or in any way respond                       than the TCPA or CAN-SPAM Act of 2003,
          to or assess the effects of any "asbestos                          that prohibits or limits the sending,
          hazard"; or                                                        transmitting, communicating or distribution
       c. Arise out of any claim or suit for "damages"                       of material or information.
          because of testing for, monitoring, cleaning          SECTION II - INVESTIGATION, DEFENSE,
          up, removing, encapsulating, containing,
          treating, detoxifying or neutralizing or in any
                                                                SETTLEMENT
          way responding to or assessing the effects            A. With respect to "bodily injury", "property damage" or
          of an "asbestos hazard".                                 "personal and advertising injury" to which this
                                                                   insurance applies (whether or not the "self-insured
                                                                   retention" applies) and



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   1. For which no coverage is provided under any                  to any applicable limit of insurance. We will also
       "underlying insurance"; or                                  promptly reimburse you for our proper share, but
   2. For which the underlying limits of any "underlying           subject to the applicable limit of insurance, of any
       insurance" policy have been exhausted solely by             settlement above the "self-insured retention" made
       payments of "damages" because of "occurrences"              with our written consent.
       during the "policy period";                              C. We will have the right to associate at our expense with
   We:                                                             the "insured" or any underlying insurer in the
                                                                   investigation, defense or settlement of any claim or
   1. Will have the right and the duty to defend any
                                                                   "suit" which in our opinion may require payment
       "suit" against the "insured" seeking "damages"
                                                                   hereunder. In no event, however, will we contribute to
       on account thereof, even if such "suit" is
                                                                   the cost and expenses incurred by any underlying
       groundless, false or fraudulent; but our right and
                                                                   insurer.
       duty to defend end when we have used up the
       applicable limit of insurance in the payment of          SECTION III - WHO IS AN INSURED
       judgments or settlements under coverages                 A. If you are doing business as:
       afforded by this policy;
                                                                    1. An individual, you and your spouse are
   2. May make such investigation and settlement of
                                                                       "insureds", but only with respect to the conduct
       any claim or "suit" as we deem expedient;
                                                                       of a business of which you are the sole owner.
   3. Will pay all expenses incurred by us, all costs
                                                                    2. A partnership or joint venture, you are an
       taxed against the "insured" in any "suit"
                                                                       "insured". Your members, your partners, and
       defended by us and all interest on the entire
                                                                       their spouses are also "insureds", but only with
       amount of any judgment therein which accrues
                                                                       respect to the conduct of your business.
       after the entry of the judgment and before we
       have paid or tendered or deposited in court that             3. A limited liability company, you are an "insured".
       part of the judgment which does not exceed the                  Your members are also "insureds", but with only
       applicable limit of insurance;                                  respect to the conduct of your business. Your
   4. Will pay all premiums on appeal bonds required in                managers are "insureds", but only with respect
       any such "suit", premiums on bonds to release                   to their duties as your managers.
       attachments in any such "suit" for an amount not in          4. An organization other than a partnership, joint
       excess of the applicable limit of insurance, and the            venture or limited liability company, you are an
       cost of bail bonds required of the "insured"                    "insured". Your "executive officers" and
       because of an accident or traffic law violation                 directors are "insureds", but only with respect to
       arising out of the operation of any vehicle to which            their duties as your officers or directors. Your
       this policy applies, but we will have no obligation to          stockholders are also "insureds", but only with
       apply for or furnish any such bonds;                            respect to their liability as stockholders.
   5. Will pay all reasonable expenses incurred by                  5   A trust, you are an "insured". Your trustees are
       the "insured" at our request in assisting us in the              also "insureds", but only with respect to their
       investigation or defense of any claim or "suit",                 duties as trustees.
       including actual loss of earnings not to exceed          B. Each of the following is also an "insured":
       $500 per day per "insured";
                                                                    1. Your "volunteer workers" only while performing
   and the amounts so incurred, except settlement of                   duties related to the conduct of your business or
   claims and "suits", are not subject to the "self-                   your "employees" other than your "executive
   insured retention" and are payable in addition to any               officers" (if you are an organization other than a
   applicable limit of insurance.                                      partnership, joint venture or limited liability
   The "insured" agrees to reimburse us promptly for                   company) or your managers (if you are a limited
   amounts paid in settlement of claims or "suits" to the              liability company), but only for acts:
   extent that such amounts are within the "self-insured                a. Within the scope of their employment by you
   retention".
                                                                           or while performing duties related to the
B. You agree to arrange for the investigation, defense                     conduct of your business; and
   or settlement of any claim or "suit" in any country
                                                                        b. Only if such "volunteer workers" or
   where we may be prevented by law from carrying
                                                                           "employees" are     "insureds" in the
   out this agreement. We will pay defense expenses
                                                                           "underlying insurance" with limits of
   incurred with our written consent in connection with
   any     such      claim    or    "suit"    in    addition



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             liability at least as high as set forth in the        1. "Bodily injury" to a co-"employee" of the person
             Extension       Schedule      of    Underlying           driving the equipment; or
             Insurance Policies, subject to all the                2. "Property damage" to property owned by, rented
             limitations upon coverage and all other                  to, in the charge of or occupied by you or the
             policy terms and conditions of such                      employer of any person who is an "insured"
             "underlying insurance" and this policy.                  under this provision.
   2. Any person or organization with whom you                 E. Any organization you newly acquire or form, other
        agreed, because of a written contract, written            than a partnership, joint venture or limited liability
        agreement or because of a permit issued by a              company, and over which you maintain financial
        state or political subdivision, to provide                interest of more than 50% of the voting stock, will
        insurance such as is afforded under this policy,          qualify as an "insured" if there is no other similar
        but only with respect to your operations, "your           insurance available to that organization.
        work" or facilities owned or used by you.
                                                                   However:
        This provision does not apply:
                                                                   1. Coverage under this provision is afforded only
        a. Unless the written contract or written
                                                                      until the 180th day after you acquire or form the
             agreement has been executed, or the permit
                                                                      organization or the end of the "policy period",
             has been issued, prior to the "bodily injury,"
                                                                      whichever is earlier;
             "property damage," or "personal and
             advertising injury"; and                              2. This insurance does not apply to "bodily injury"
        b. Unless the limits of liability specified in such           or "property damage" that occurred before you
             written contract, written agreement or permit            acquired or formed the organization; and
             are greater than the limits of liability              3. This insurance does not apply to "personal and
             provided by the "underlying insurance".                  advertising injury" arising out of an offense
        c. Beyond the period of time required by the                  committed before you acquired or formed the
             written contract, written agreement or                   organization.
             permit.                                           F. Each person or organization, not included as an
   3. Any person or organization having proper                    "insured" in Paragraphs A., B., C., D., or E., who is
        temporary custody of your property if you die,            an "insured" in the "underlying insurance" is an
        but only:                                                 "insured" under this insurance subject to all the
                                                                  terms, conditions and limitations of such "underlying
        a. With respect to liability arising out of the
                                                                  insurance".
             maintenance or use of that property; and
        b. Until your legal representative has been                No person or organization is an "insured" with
             appointed                                             respect to the conduct of any current or past
                                                                   partnership, joint venture or limited liability company
   4. Your legal representative if you die, but only
                                                                   that is not shown as a Named Insured in the
        with respect to his or her duties as such. That            Declarations.
        representative will have all your rights and
        duties under this policy.                                  With respect to any person or organization who is
                                                                   not an "insured" under "underlying insurance",
C. With respect to any "auto", any "insured" in the
                                                                   coverage under this policy shall apply only to loss in
   "underlying insurance" is an "insured" under this
                                                                   excess of the amount of the "underlying insurance"
   insurance policy, subject to all the limitations of such
                                                                   or "self-insured retention" applicable to you.
   "underlying insurance".
D. With respect to "mobile equipment" registered in your       However, coverage afforded by reason of the provisions
                                                               set forth above applies only to the extent:
   name under any motor vehicle registration law, any
   person is an "insured" while driving such equipment         (i) Of the scope of coverage provided by the
   along a public highway with your permission. Any                "underlying insurance" but in no event shall
   other person or organization responsible for the                coverage be broader than the scope of coverage
   conduct of such person is also an "insured", but only           provided by this policy and any endorsements
   with respect to liability arising out of the operation of       attached hereto; and
   the equipment, and only if no other insurance of any        (ii) That such coverage provided by the "underlying
   kind is available to that person or organization for this        insurance" is maintained having limits as set forth in
   liability. However, no person or organization is an              the Extension Schedule of Underlying Insurance
   "insured" with respect to:                                       Policies.




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SECTION IV - LIMITS OF INSURANCE                            SECTION V - NUCLEAR ENERGY LIABILITY
A. The Limits of Insurance shown in the Declarations        EXCLUSION (Broad Form)
   and the rules below fix the most we will pay             A. The insurance does not apply:
   regardless of the number of:
                                                                1. To "bodily injury" or "property damage":
   1. "Insureds";
                                                                    a. With respect to which an "insured" under the
   2. Claims made or "suits" brought;
                                                                       policy is also an "insured" under a nuclear
   3. Persons or organizations making claims or                        energy liability policy issued by Nuclear
        bringing "suits"; or                                           Energy Liability Insurance Association, Mutual
   4. Coverages under which "damages" are covered                      Atomic Energy Liability Underwriters, Nuclear
        under this policy.                                             Insurance Association of Canada or any of
B. The Limit of Insurance stated as the General                        their successors, or would be an "insured"
   Aggregate Limit is the most we will pay for the sum                 under any such policy but for its termination
   of "damages", other than "damages":                                 upon exhaustion of its limit of liability; or
   1. Because of injury or damage included within the               b. Resulting from the "hazardous properties" of
        "products-completed operations hazard";                        "nuclear material" and with respect to which
   2. Because of "bodily injury" by disease to your                    (a) any person or organization is required to
        "employees" arising out of and in the course of                maintain financial protection pursuant to the
        their employment by you; and                                   Atomic Energy Act of 1954, or any law
                                                                       amendatory thereof, or (b) the "insured" is,
   3. Because of "bodily injury" or "property damage"
                                                                       or had this policy not been issued would be,
        arising out of the ownership, operation,                       entitled to indemnity from the United States
        maintenance, use, entrustment to others,                       of America, or any agency thereof, under
        "loading or unloading" of any "auto".                          any agreement entered into by the United
C. The Limit of Insurance stated as the Products                       States of America, or any agency thereof,
   Completed Operations Aggregate Limit is the most                    with any person or organization.
   we will pay for "damages" because of injury or
                                                                2. To "bodily injury" or "property damage" resulting
   damage included within the "products-completed
                                                                   from the "hazardous properties" of "nuclear
   operations hazard".
                                                                   material" if:
D. The Limit of Insurance stated as the Bodily Injury By
                                                                    a. The "nuclear material" (a) is at any "nuclear
   Disease Aggregate Limit is the most we will pay for
                                                                       facility" owned by, or operated by or on
   "damages" because of "bodily injury" by disease to
                                                                       behalf of, an "insured" or (b) has been
   your "employees" arising out of and in the course of
                                                                       discharged or dispersed therefrom;
   their employment by you.
E. Subject to B., C., or D. above, whichever applies,               b. The "nuclear material" is contained in "spent
   the Each Occurrence Limit is the most we will pay                   fuel" or "waste" at any time possessed,
   for "damages" because of all "bodily injury",                       handled,     used,    processed,      stored,
   "property damage", and "personal and advertising                    transported or disposed of by or on behalf of
   injury" arising out of any one "occurrence".                        an "insured"; or
F. Our obligations under this insurance, except for our             c. The "bodily injury" or "property damage" arises
   obligations under the Cancellation and Nonrenewal                   out of the furnishing by an "insured" of
   Conditions, end when the applicable Limit of Insurance              services, materials, parts or equipment in
   available is used up. If we pay any amounts for                     connection with the planning, construction,
   "damages" in excess of that Limit of Insurance, you                 maintenance, operation or use of any "nuclear
   agree to reimburse us for such amounts.                             facility", but if such facility is located within the
                                                                       United States of America, its territories or
G. The limits of this policy apply separately to each
                                                                       possessions or Canada, this exclusion (c)
   consecutive annual period and to any remaining
                                                                       applies only to "property damage" to such
   period of less than 12 months, starting with the
                                                                       "nuclear facility" and any property thereat.
   beginning of the "policy period" shown in the
   Declarations. However, if the "policy period" is         B. As used in this exclusion:
   extended after issuance for an additional period of          "Hazardous properties" include radioactive, toxic or
   less than 12 months, the additional period will be           explosive properties;
   deemed part of the last preceding period for the
   purpose of determining the Limits of Insurance.



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   "Nuclear material" means "source material", "special         At the close of each "policy period", the earned
   nuclear material" or "by-product material";                  premium shall be computed for such period, and
   "Source material", "special nuclear material" and            upon notice thereof to the Named Insured first
   "by-product material" have the meanings given them           shown in the Declarations, shall become due and
   in the Atomic Energy Act of 1954 or in any law               payable by such Named Insured. If the total earned
   amendatory thereof;                                          premium for the "policy period" is less than the
                                                                premium previously paid and more than the
   "Spent fuel" means any fuel element or fuel
                                                                minimum premium, we shall return to such Named
   component, solid or liquid, which has been used or
                                                                Insured the unearned portion paid by such Named
   exposed to radiation in a "nuclear reactor";
                                                                Insured.
   "Waste" means any waste material (a) containing
                                                                The Named Insured first shown in the Declarations
   "by-product material" other than the tailings or
                                                                shall maintain records of such information as is
   wastes produced by the extraction or concentration
                                                                necessary for premium computation, and shall send
   of uranium or thorium from any ore processed
                                                                copies of such records to us at the end of the "policy
   primarily for its "source material" content, and (b)
                                                                period" and at such times during the "policy period" as
   resulting from the operation by any person or
                                                                we may direct.
   organization of any "nuclear facility" included under
   the first two paragraphs of the definition of "nuclear    B. Inspection and Audit
   facility".                                                   We shall be permitted but not obligated to inspect
   "Nuclear facility" means:                                    your property and operations at any time. Neither
                                                                our right to make inspections, nor the making
   (1) Any "nuclear reactor";
                                                                thereof, nor any report thereon, shall constitute an
   (2) Any equipment or device designed or used for             undertaking on your behalf or for your benefit or that
         (1) separating the isotopes of uranium or              of others to determine or warrant that such property
         plutonium, (2) processing or utilizing "spent          or operations are:
         fuel", or (3) handling, processing or packaging
                                                                1. Safe;
         "waste";
                                                                2. Healthful; or
   (3) Any equipment or device used for the
         processing, fabricating or alloying of "special        3. In compliance with any law, rule or regulation.
         nuclear material" if at any time the total amount      We may examine and audit your books and records
         of such material in the custody of the "insured"       at any time during the "policy period" and extensions
         at the premises where such equipment or                thereof and within three years after the final
         device is located consists of or contains more         termination of this policy, insofar as they relate to
         than 25 grams of plutonium or uranium 233 or           the subject matter of this policy.
         any combination thereof, or more than 250           C. Duties In The Event Of Occurrence, Claim or Suit
         grams of uranium 235;                                  1. You must see to it that we are notified as soon
     (4) Any structure, basin, excavation, premises or              as practicable of an "occurrence" which may
         place prepared or used for the storage or                  result in a claim under this policy.           This
         disposal of "waste"; and includes the site on              requirement        applies     only   when    such
         which any of the foregoing is located, all                 "occurrence" is known to any of the following:
         operations conducted on such site and all
                                                                    (a) You, or any additional insured that is an
         premises used for such operations;
                                                                         individual;
   "Nuclear reactor" means any apparatus designed or                (b) Any partner, if you or an additional insured
   used to sustain nuclear fission in a self-supporting
                                                                         are a partnership;
   chain reaction or to contain a critical mass of
   fissionable material;                                            (c) Any manager, if you or an additional insured
                                                                         are a limited liability company;
   "Property damage" includes all forms of radioactive
   contamination of property.                                       (d) Any "executive officer" or insurance
                                                                         manager, if you or an additional insured are
SECTION VI - CONDITIONS                                                  a corporation.
A. Premium                                                          (e) Any trustee, if you or an additional insured
   All premiums for this policy shall be computed in                     is a trust; or
   accordance with the Premium Section of the                       (f) Any elected or appointed official, if you or
   Declarations. The premium stated as such in the                       an additional insured is a political
   Declarations is a deposit premium only which shall                    subdivision or public entity.
   be credited to the amount of any earned premium.


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      This duty applies separately to you and any                2. Cooperate with any of the underlying insurers as
      additional insured.                                           required by the terms of the "underlying
      To the extent possible, notice should include:                insurance" and comply with all the terms and
                                                                    conditions thereof.
      (a) How, when and where the "occurrence" took
           place;                                                The "insured" shall enforce any right of contribution
      (b) The names and addresses of any injured                 or indemnity against any person or organization who
           persons and witnesses; and                            may be liable to the "insured" because of "bodily
                                                                 injury", "property damage" or "personal and
      (c) The nature and location of any injury or
                                                                 advertising injury" with respect to this policy or any
           damage arising out of the "occurrence" or             "underlying insurance".
           "offense".
                                                              E. Legal Action Against Us
   2. If a claim is made or "suit" is brought against
      any "insured", you must:                                   No person or organization has a right under this
      (1) Immediately record the specifics of the                policy:
           claim or "suit" and the date received; and            a. To join us as a party or otherwise bring us into a
      (2) Notify us in writing as soon as practicable if            "suit" asking for "damages" from an "insured"; or
           the claim is likely to exceed the amount of           b. To sue us on this policy unless all of its terms
           the "self-insured retention" or "underlying              and those of the "underlying insurance" have
           insurance", whichever applies.                           been fully complied with.
   3. You and any other involved "insured" must:                  A person or organization may sue us to recover on
      (a) Immediately send us copies of any demands,              an agreed settlement or on a final judgment against
           notices, summonses or legal papers received            an "insured"; but, we will not be liable for
           in connection with the claim or "suit" involving       "damages" that are not payable under the terms of
           or likely to involve a sum in excess of any            this policy or that are in excess of the applicable
           "self-insured    retention"     or   "underlying       Limits of Insurance. An agreed settlement means a
           insurance", whichever applies";                        settlement and release of liability signed by us, the
      (b) Authorize us to obtain records and other                "insured" and the claimant or the claimant's legal
           information;                                           representative.
      (c) Cooperate with us in the investigation or           F. Appeals
           settlement of the claim or defense against            In the event the "insured" or the "insured's"
           the "suit"; and                                       underlying insurer elects not to appeal a judgment in
      (d) Assist us, upon our request in the enforcement         excess of the "underlying insurance" or the "self-
           of any right against any person or organization       insured retention", we may elect to make such
           which may be liable to the "insured" because          appeal, at our cost and expense. If we so elect, we
           of injury or damage to which this policy or any       shall be liable in addition to the applicable Limit of
           "underlying insurance" or "self-insured               Insurance, for the:
           retention" may apply.                                 1. Taxable costs;
   4. No "insured" will, except at that "insured's" own          2. Disbursements; and
      cost, make or agree to any settlement for a sum
                                                                 3. Additional interest incidental to such appeal;
      in excess of:
                                                                 but in no event will we be liable for "damages" in
      (a) The total limits of "underlying insurance"; or
                                                                 excess of the applicable aggregate Limit of
      (b) The "self-insured retention" if no "underlying         Insurance.
           insurance" applies without our consent.
                                                                 If a judgment is rendered in excess of the limits of
   5. No "insured" will, except at that "insured's" own          "underlying insurance" and we offer to pay our full
      cost, make a payment, assume any obligation,               share of such judgment, but you or your underlying
      or incur any expenses, other than first aid,               insurers elect to appeal it, you, your underlying
      without our consent.                                       insurers or both will bear:
D. Assistance and Cooperation of the Insured
                                                                 a. The cost and duty of obtaining any appeal bond;
   The "insured" shall:
                                                                 b. The taxable costs, disbursements and additional
   1. Cooperate with us and comply with all the terms               interest incidental to such appeal; and
      and conditions of this policy; and




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   c. Any increase in "damages" over the amount the                  c. Reasonable expenses incurred in the exercise
        matter could have been settled for after the                    of rights of recovery shall be apportioned among
        verdict was entered and before the appeal was                   all interests in the ratio of their respective losses
        filed.                                                          for which recovery is sought.
G. Other insurance                                              I.   Changes
   This policy shall apply in excess of all "underlying              This policy contains all the agreements between you
   insurance" whether or not valid and collectible. It               and us concerning the insurance afforded. Notice to
   shall also apply in excess of other valid and                     any agent, or knowledge possessed by any agent or
   collectible insurance (except other insurance                     any other person shall not effect a waiver or a
   purchased specifically to apply in excess of this                 change in any part of this policy, or stop us from
   insurance) which also applies to any loss for which               asserting any rights under the terms of this policy.
   insurance is provided by this policy.
                                                                     The Named Insured first shown in the Declarations
   These excess provisions apply, whether such other                 is authorized on behalf of all "insureds" to agree with
   insurance is stated to be:                                        us on changes in the terms of this policy.
   1. Primary;                                                       If the terms are changed, the changes will be shown
   2. Contributing;                                                  in an endorsement issued by us and made a part of
   3. Excess; or                                                     this policy.
   4. Contingent;                                               J. Separation Of Insureds
   Provided that if such other insurance provides umbrella           Except with respect to the Limits of Liability, and
   coverage in excess of "underlying insurance" or a "self-          any rights or duties specifically assigned in this
   insured retention", this policy shall contribute therewith        policy to the Named Insured first shown in the
   with respect to "damages".                                        Declarations, this insurance applies:
   However, we shall not be liable for a greater proportion          a. As if each Named Insured were the only Named
   of such loss than the amount which would have been                   Insured; and
   payable under this policy bears to the sum of:                    b. Separately to each "insured" against whom
   1. Said amount; and                                                  claim is made or "suit" is brought.
   2. The amounts which would have been payable                 K. Maintenance of Underlying Insurance
        under each other umbrella policy applicable to
                                                                     Policies affording in total the coverage and limits
        such loss, had each such policy been the only
                                                                     stated in the Extension Schedule of Underlying
        policy so applicable.
                                                                     Insurance Policies shall be maintained in full effect
H. Transfer Of Rights Of Recovery Against Others                     during the currency of this policy. Your failure to
    To Us                                                            comply with the foregoing shall not invalidate this
   a. If the "insured" has rights to recover all or a part           policy, but in the event of such failure, we shall be
        of any payment we have made under this policy,               liable only to the extent that we would have been
        those rights are transferred to us. The "insured"            liable had you complied herewith.
        must do nothing after a loss to impair them. At
                                                                     The Named Insured first shown in the Declarations
        our request, the "insured" will bring "suit" or
                                                                     shall give us written notice as soon as practicable of
        transfer those rights to us and help us enforce
                                                                     any of the following:
        them.
                                                                     1. Any change in the coverage or in the limits of
   b. Recoveries shall be applied to reimburse:
                                                                        any "underlying insurance", including but not
        (1) First, any interest (including the Named                    limited to a change from occurrence coverage to
             Insured) that paid any amount in excess of                 claims made coverage;
             our limit of liability:
                                                                     2. Termination of part or all of one or more of the
        (2) Second, us, along with any other insurers                   policies of "underlying insurance";
             having a quota share interest at the same
             level;                                                  3. Reduction or exhaustion of an aggregate limit of
                                                                        liability of any "underlying insurance".
        (3) Third, such interests (including the Named
             Insured) of whom this insurance is excess.              The "self-insured retention" shall not apply should
                                                                     the "underlying insurance" be exhausted by the
        However, a different apportionment may be
                                                                     payment of claims or "suits" which are also covered
        made to effect settlement of a claim by
                                                                     by this policy.
        agreement signed by all interests.




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L. Cancellation                                              O. Bankruptcy or Insolvency
   1. The Named Insured first shown in the                      In the event of the bankruptcy or insolvency of the
      Declarations may cancel this policy by mailing            "insured" or any entity comprising the "insured", we
      or delivering to us or to any of our authorized           shall not be relieved of any of our obligations under
      agents advance written notice of cancellation.            this policy.
   2. We may cancel this policy by mailing or                P. Representations
      delivering to the Named Insured first shown in            By accepting this policy, you agree:
      the Declarations at the address shown in this             a. The statements in the Declarations are accurate
      policy, written notice of cancellation at least:               and complete;
       a. 10 days before the effective date of                  b. The statements in the Extension Schedule of
          cancellation if such Named Insured fails to                Underlying Insurance Policies are accurate and
          pay the premium or any installment when                    complete;
          due; or                                               c. The statements in a. and b. are based upon
       b. 30 days before the effective date of                       representations you made to us;
          cancellation if we cancel for any other               d. We have issued this policy in reliance upon your
          reason.                                                    representations; and
   3. If notice is mailed, proof of mailing will be             e. If unintentionally you should fail to disclose all
      sufficient proof of notice. Notice will state the              hazards at the inception of this policy, we shall
      effective date of cancellation.     The "policy                not deny coverage under this policy because of
      period" will end on that date. Delivery of such                such failure.
      notice by the Named Insured first shown in the
      Declarations or by us will be equivalent to            SECTION VII - DEFINITIONS
      mailing.                                               Except as otherwise provided in this section or
   4. If the Named Insured first shown in the                amended by endorsement, the words or phrases
                                                             that appear in quotation marks within this policy
      Declarations cancels, the refund may be less
                                                             shall follow the definitions of the applicable
      than pro rata, but we will retain any minimum
                                                             "underlying insurance" policy.
      premium stated as such in the Declarations. If
      we cancel, the refund will be pro rata. The            A. "Accident" includes continuous or repeated
      cancellation will be effective even if we have not         exposure to the same conditions resulting in "bodily
      made or offered a refund.                                  injury" or "property damage".
M. Nonrenewal                                                B. "Auto" means a land motor vehicle, trailer or
                                                                 semitrailer designed for travel on public roads,
   1. If we decide not to renew, we will mail or deliver
                                                                 including any attached machinery or equipment. But
      to the Named Insured first shown in the
                                                                 "auto" does not include "mobile equipment".
      Declarations, at the address shown in this
      policy, written notice of nonrenewal at least 30       C. "Covered pollution cost or expense" means any
      days before the end of the "policy period".                cost or expense arising out of:
                                                                 1. Any request, demand or order; or
   2. If notice is mailed, proof of mailing will be
      sufficient proof of notice.                                2. Any claim or "suit" by or on behalf of a
                                                                      governmental authority demanding
   3. If we offer to renew but such Named Insured
      does not accept, this policy will not be renewed           that the "insured" or others test for, monitor, clean
      at the end of the current "policy period".                 up, remove, contain, treat, detoxify or neutralize, or
                                                                 in any way respond to, or assess the effects of
N. Workers' Compensation Agreement
                                                                 "pollutants".
   With respect to "bodily injury" to any officer or other       "Covered pollution cost or expense" does not include
   "employee" arising out of and in the course of                any cost or expense arising out of the actual, alleged or
   employment by you, you represent and agree that               threatened discharge, dispersal, seepage, migration,
   you have not abrogated and will not abrogate your             release or escape of "pollutants":
   common-law defenses under any Workers'
                                                                 1. That are, or that are contained in any property
   Compensation Law by rejection of such law or
                                                                      that is:
   otherwise. If at any time during the "policy period"
   you abrogate such defenses, the insurance for                      a. Being transported or towed by, handled, or
   "bodily injury" to such officer or other "employee"                     handled for movement into, onto or from,
   automatically terminates at the same time.                              any "auto";



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                                                                                 UMBRELLA LIABILITY PROVISIONS

       b. Otherwise in the course of transit by or on              3. Any monetary award, monetary settlement or
          behalf of the "insured"; or                                 monetary judgment for which insurance is
       c. Being stored, disposed of, treated or                       prohibited by the law(s) applicable to the
          processed in or upon any "auto"; or                         construction of this policy.
   2. Before the "pollutants" or any property in which        E. "Insured" means any person or organization
      the "pollutants" are contained are moved from              qualifying as an "insured" in the applicable WHO IS
      the place where they are accepted by the                   AN INSURED provision of this policy.           The
      "insured" for movement into or onto any "auto";            insurance afforded applies separately to each
      or                                                         "insured" against whom claim is made or "suit" is
                                                                 brought, except with respect to the limit of our
   3. After the "pollutants" or any property in which            liability under LIMITS OF INSURANCE (SECTION
      the "pollutants" are contained are moved from              IV).
      any "auto" to the place where they are finally
      delivered, disposed of or abandoned by the              F. "Occurrence" means:
      "insured".                                                   1. With respect to "bodily injury" or "property
   Paragraph a. above does not apply to fuels,                        damage", an "accident", including continuous or
   lubricants, fluids, exhaust gases or other similar                 repeated exposure to substantially the same
   "pollutants" that are needed for or result from the                general harmful conditions; and
   normal     electrical,   hydraulic or mechanical                2. With respect to "personal and advertising
   functioning of an "auto", covered by the "underlying               injury", an offense described in one of the
   insurance" or its parts, if:                                       numbered subdivisions of that definition in the
   1. The "pollutants" escape, seep, migrate, or are                  "underlying insurance".
      discharged or released directly from an "auto"          G. "Policy period" means the period beginning with
      part designed by its manufacturer to hold, store,          the inception date stated as such in the Declarations
      receive or dispose of such "pollutants"; and               and ending with the earlier of:
   2. The "bodily injury", "property damage" or                    1. The date of cancellation of this policy; or
      "covered pollution cost or expense" does not                 2. The expiration date stated as such in the
      arise out of the operation of any equipment                     Declarations.
      listed in paragraphs f.(2) or f.(3) of the definition
                                                              H. "Self-insured retention" means the amount stated
      of "mobile equipment" in the Business Liability
      Coverage Form.                                             as such in the Declarations which is retained and
                                                                 payable by the "insured" with respect to each
   Paragraphs b. and c. above do not apply to                    "occurrence".
   "accidents" that occur away from premises owned
                                                              I.   "Underlying insurance" means the insurance
   by or rented to an "insured" with respect to
   "pollutants" not in or upon an "auto" covered by the            policies listed in the Extension Schedule of
   "underlying insurance" if:                                      Underlying Insurance Policies, including any
                                                                   renewals or replacements thereof, which provide the
   1. The "pollutants" or any property in which the                underlying coverages and limits stated in the
      "pollutants" are contained are upset, overturned             Schedule of Underlying Insurance Policies. The
      or damaged as a result of the maintenance or                 limit of "underlying insurance" includes:
      use of the "auto"; and
                                                                   1. Any deductible amount;
   2. The discharge, dispersal, seepage, migration,
                                                                   2. Any participation of any "insured"; and
      release or escape of the "pollutants" is caused
      directly by such upset, overturn or damage.                  3. Any "self-insured retention" above or beneath
D. "Damages" means a monetary award, monetary                         any such policy;
   settlement or monetary judgment. "Damages"                      Less the amount, if any, by which the aggregate limit
   include prejudgment interest awarded against the                of such insurance has been reduced by any
   "insured" on that part of the judgment we pay.                  payment relating to any act, error, omission, injury,
   The following are not considered "damages" and are              damage or offense for which insurance is provided
   not covered by this policy:                                     by this policy, including Medical Payments
                                                                   Coverage as described in the "underlying
   1. Fines, penalties, sanctions or taxes;                        insurance". The coverages and limits of such
   2. Attorney’s fees and costs associated with any                policies and any such deductible amount,
      non-monetary relief awarded against the                      participation or "self-insured retention" shall be
      "insured"; or                                                deemed to be applicable regardless of:


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   1. Any defense which any underlying insurer may
      assert because of the "insured's" failure to
      comply with any condition of its policy; or
   2. The actual or alleged insolvency or financial
      impairment of any underlying insurer or any
      "insured".
   The risk of insolvency or financial impairment of any
   underlying insurer or any "insured" is borne by you
   and not by us.




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EXTENSION SCHEDULE OF
UNDERLYING INSURANCE POLICIES
This extension schedule forms a part of the policy designated in the Declarations.
Carrier, Policy Number and Policy Period:
A. TWIN CITY FIRE INSURANCE COMPANY
    39 SBA AA3300                      04/23/20 TO 04/23/21
          Type of Coverage                                                         Applicable Limits
    ( X ) Business Liability - including:                              Bodily Injury and Property Damage
                                                                       Liability Combined
                                                                       $1,000,000        each occurrence
                                                                       $2,000,000        general aggregate
             Employees as Additional Insureds
             Contractual Liability
             Limited Non-Owned Watercraft
             Additional Insureds
             Damages To Premises Rented To You                         Property Damage Liability
                                                                       $1,000,000        each occurrence

          ( X ) Personal and Advertising Injury                        $1,000,000
          ( X ) Products/Completed Operations                          $2,000,000          Prod./Comp. Ops.
                                                                                              aggregate
     (   ) Hired Auto and Non-Owned Auto                                                  Limit of Liability

B. HARTFORD INSURANCE GROUP                              TBD                 04/23/19 TO 04/23/20
   ( X ) Comprehensive Automobile Liability -                          Bodily Injury Liability
         Owned Automobiles                                                               each person
                                                                                         each accident
                                                                       Property Damage Liability
     ( X ) Non-Owned Automobiles                                                         each accident
                                                                       Bodily Injury and Property Damage
     ( X ) Hired Automobiles                                           $1,000,000        Liability Combined
                                                                                         each accident
     (   ) Uninsured Motorist                                                            each occurrence

C. HARTFORD INSURANCE GROUP                              TBD                 10/01/19 TO 10/01/20
   ( X ) Employer’s Liability                                          $    500,000  each accident*
                                                                       $    500,000  each employee by
                                                                                     disease*
                                                                       $    500,000  total policy by disease*

D.
     (   ) Liquor Liability

An "X" marked in the box indicates the coverage is provided in the Underlying Policies.

(Note Maintenance of Underlying Insurance Condition SX 80 02 or SX 80 03)

*Except that in any jurisdiction where the amount of Employers Liability Coverage afforded by the underlying
 insurer is by law unlimited, the limit stated does not apply and the policy of which this extension schedule
 forms a part shall afford no insurance with respect to Employers Liability in such jurisdiction.




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EXTENSION SCHEDULE OF UNDERLYING
INSURANCE POLICIES (Continued)


POLICY NUMBER: 39 SBA AA3300


Carrier, Policy Number and Policy Period:
E.



         Type of Coverage                                                                 Applicable Limits


    (   ) Foreign Commercial General Liability- including:                                each occurrence

              Personal and Advertising Injury                                             Personal and Advertising
                                                                                          Injury aggregate
              Products/Completed Operations                                               Products/Completed
                                                                                          Operations aggregate



    (   ) Foreign Contingent Auto Liability                                               each accident




    (   ) Foreign Employer’s Liability                                                    each accident *
                                                                                          each employee by disease*
                                                                                          total policy by disease*




An "X" marked in the box indicates the coverage is provided in the Underlying Policies.

(Note Maintenance of Underlying Insurance Condition SX 80 02 or SX 80 03)

*Except that in any jurisdiction where the amount of Employers Liability Coverage afforded by the underlying
 insurer is by law unlimited, the limit stated does not apply and the policy of which this extension schedule
 forms a part shall afford no insurance with respect to Employers Liability in such jurisdiction.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



         EMPLOYEE BENEFITS LIABILITY ENDORSEMENT -
                      OCCURRENCE
This endorsement modifies insurance provided under the

                                        UMBRELLA LIABILITY PROVISIONS


                                                      SCHEDULE I

                Coverage                                                           Limits of Insurance

         Employee Benefits Liability            $            $ 6,000,000    Each Claim Limit
                                                $            $ 6,000,000    Employee Benefits Liability Aggregate Limit

_____________________________________________________________________________________________


                                                     SCHEDULE II
                                       "Controlling Underlying Insurance Policy"

Insurer: TWIN CITY FIRE INSURANCE COMPANY
Policy No.: 39 SBA AA3300     Policy Period: 04/23/20 TO 04/23/21


                   Coverage                                                        Limits of Insurance

         Employee Benefits Liability $       $ 1,000,000 Each Claim Limit
                                     $       $ 2,000,000 Employee Benefits Liability Aggregate Limit
_____________________________________________________________________________________________


This policy is extended to apply to Employee Benefits                  2. That are in excess of the Limits of Insurance
Liability, subject to the following additional provisions:                in the "controlling underlying insurance
1. Except as otherwise provided by this endorsement,                      policy."
    the insurance afforded herein shall follow all the              B. This insurance does not apply to "employee
    terms, definitions and exclusions of the "controlling              benefits injury" unless it occurs after the
    underlying insurance policy" designated in Schedule                effective date of this endorsement and during
    II.                                                                the "policy period" of this policy.
2. SECTION I - COVERAGE
                                                                3. SECTION III - LIMITS OF INSURANCE
    EMPLOYEE BENEFITS LIABILITY
                                                                    A. The Limits of Insurance shown in Schedule I
    A. We will pay those sums that the insured must
                                                                       and the rules below fix the most we will pay
       legally pay as "damages":
                                                                       regardless of the number of:
        1. Arising out of "employee benefits injury" to
                                                                       1. Insureds;
           which this endorsement applies; and
                                                                       2. "Claims" made or "suits" brought; or

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      3. Persons or organizations making "claims" or         E. The Limits of Insurance shown in Schedule I
         bringing "suits."                                      apply separately to each consecutive annual
   B. The Employee Beneftits Liability Aggregate                period and to any remaining period of less than
      Limit is the most we will pay for all damages to          12 months, starting with the beginning of the
      which this endorsement applies.                           "policy period" shown in Schedule II, unless the
                                                                endorsement is extended after issuance for an
   C. Subject to B. above the Each Claim Limit is the           additional period of less than 12 months. In that
      most we will pay for all damages with respect to          case the additional period will be deemed part of
      any one "claim".                                          the last preceding period for the purpose of
      Two or more "claims" arising out of a single              determining the Limits of Insurance.
      "employee benefits injury" or a series of related
      "employee benefits injuries" shall be considered    4. ADDITIONAL DEFINITIONS
      one "claim". Any such "claim", whenever made           "Controlling underlying insurance policy" means the
      and reported to us, shall be subject to the Each       policy of "underlying insurance" designated in
      Claim Limit.                                           Schedule II providing coverage and limits for
                                                             Employee Benefits Liability.
   D. Our obligations under this endorsement end
      when the applicable Limit of Insurance is used
      up. If we pay for any damages in excess of that
      Limit of Insurance, you agree to reimburse us
      for such amounts.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               AMENDMENT OF CONDITIONS - MARYLAND

This endorsement modifies insurance provided under the following:

                                       UMBRELLA LIABILITY PROVISIONS


It is agreed that:                                                       (b) A change in the condition of the risk that
1. The Cancellation Condition is deleted and replaced                        results in an increase in the hazard
      by the following:                                                      insured against.
      Cancellation                                                       (c) A matter or issue related to the risk that
                                                                             constitutes a threat to public safety.
   a. The Named Insured first shown in the
                                                                    If we cancel pursuant to Paragraph (2), you may
      Declarations may cancel this policy by:
                                                                    request additional information on the reason for
      (1) Mailing or delivering to us advance written               cancellation within 30 days from the date of our
           notice of cancellation; or                               notice.
      (2) Surrendering the policy to us or to any of             d. If this policy is cancelled, we will send the
           our authorized agents.                                   Named Insured first shown in the Declarations
   b. When this policy has been in effect for 45 days               any premium refund due. If we cancel, the
      or less and is not a renewal policy, we may                   refund will be pro-rata. If the first named insured
      cancel this policy by mailing to the first Named              cancels, the refund may be less than pro-rata
      Insured written notice of cancellation at least:              but will not be less than 90% of the pro rata
                                                                    unearned premium.
      (1) 10 days before the effective date of
           cancellation if we cancel for nonpayment of              However, if the policy is financed by a premium
           premium; or                                              finance company and we or the premium
                                                                    finance company, or the first Named Insured
      (2) 15 days before the effective date of                      cancels the policy, we shall return any gross
           cancellation if we cancel for any other                  unearned premiums that are due under the
           reason.                                                  insurance contract computed pro rata excluding
   c. When this policy has been in effect for more                  any expense constant, administrative fee or
      than 45 days or is a renewal policy, we may                   nonrefundable charge filed with and approved
      cancel this policy by mailing to the first Named              by the insurance Commissioner.
      Insured at the last mailing address known to us               The cancellation will be effective even if we
      written cancellation at least:                                have not made or offered a refund.
      (1) 10 days before the effective date of                   e. We will mail our notice to the last mailing
           cancellation if we cancel for nonpayment of              address known to us of the first Named Insured.
           premium.                                              f. We will send notice to the first Named Insured
      (2) 45 days before the effective date of                      by a "first-class mail tracking method" if we
           cancellation if we cancel for a permissible              cancel for nonpayment of premium or if this
           reason other than nonpayment of premium,                 policy is not a renewal and has been in effect for
           stating the reason for cancellation. Under               45 days or less.
           this paragraph (2), we may cancel only for               We will send notice to the first Named Insured
           one or more of the following reasons:                    by a "first-class mail tracking method" or by
           (a) When        there      exists     material           commercial mail delivery service if we cancel for
                misrepresentation       or   fraud     in           a reason other than nonpayment of premium
                connection with the application, policy,            and this policy has been in effect for more than
                or presentation of a claim.                         45 days or is a renewal of a policy we issued.


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        We will maintain proof of mailing in a form               e. When we elect not to renew a policy that has
        authorized or accepted by the United States                  been in effect for more than 45 days for a
        Postal Service or by other commercial mail                   reason other than nonpayment of premium, we
        delivery service when such service is used.                  will provide a written statement of the actual
        Proof of mailing will be sufficient proof of notice.         reason for the refusal to renew. You may
2. The Nonrenewal Condition is replaced by the                       request additional information within 30 days
   following:                                                        from the date of our notice.
   Nonrenewal                                                     f. If we offer to renew at least 45 days before the
                                                                     renewal date and you fail to make the required
    a. If we decide not to renew this policy, we will mail           premium payment by the renewal date, the
       written notice of nonrenewal to the first Named               policy will terminate on the renewal date for
       Insured at least 45 days before the end of the                nonpayment of premium.
       "policy period".
                                                                  g. If we offer to renew this policy and the Named
    b. Premium adjustment may be made either at the                  Insured first shown in the Declarations does not
       time cancellation is effected or as soon as                   accept our offer during the current "policy
       practicable after cancellation becomes effective,             period", this policy will not be renewed at the
       but payment or tender of unearned premium is                  end of such "policy period".
       not a condition of cancellation.
                                                               3. The following Condition is added:
    c. Notice of cancellation by us will state the
       effective date of cancellation. The "policy                We may disclaim liability coverage on the grounds
       period" will end on that date.                             that you breached the policy by failing to cooperate
                                                                  with us, or by not giving us the required notice if, by
    d. We will send notice of nonrenewal to the Named             a preponderance of evidence, this lack of
       Insured by a "first-class mail tracking method" or         cooperation or notice is prejudicial to us.
       by commercial mail delivery service. We will
       maintain proof of mailing in a form authorized or       4. The following Definition is added:
       accepted by the United States Postal Service or             "First-class mail tracking method" means a method
       by other commercial mail delivery service when              that provides evidence of the date that a piece of
       such service is used. Proof of mailing will be              first-class mail was accepted for mailing by the
       sufficient proof of notice. We will mail our notice         United States Postal Service, including a certificate
       to the last mailing address known to us of the              of mail and an electronic mail tracking system used
       first Named Insured.                                        by the United States Postal Service.
                                                                   "First-class mail tracking method" does not include a
                                                                   certificate of bulk mailing.




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                               PENNSYLVANIA CHANGES

This endorsement modifies insurance provided under the

                                      UMBRELLA LIABILITY PROVISIONS

1. The CANCELLATION Condition is replaced by the                       (a) A condition, factor or loss experience
   following:                                                              material to insurability has changed
                                                                           substantially or a substantial condition,
   CANCELLATION
                                                                           factor or loss experience material to
   a. The Named Insured first shown in              the                    insurability has become known during
      Declarations may cancel this policy by:                              the "policy period;"
       (1) Mailing or delivering to us advance written                 (b) Loss of reinsurance or a substantial
           notice of cancellation; or                                      decrease in reinsurance has occurred,
       (2) Surrendering the policy to us or to any of                      which loss or decrease shall, at the time
           our authorized agents.                                          of cancellation, be certified to the
                                                                           Insurance Commissioner as directly
   b. We may cancel this policy by mailing or
                                                                           affecting in-force policies;
      delivering to the Named Insured first shown in
      the Declarations written notice of cancellation at               (c) Material failure to comply with policy
      least:                                                               terms, conditions or contractual duties;
                                                                           or
       (1) 30 days before the effective date of
           cancellation, if we cancel for any other                    (d) Other reasons that the Insurance
           reason and the policy has been in effect for                    Commissioner may approve.
           less than 60 days and is not a renewal with             This policy may also be cancelled from
           us; or                                                  inception upon discovery that the policy was
       (2) 15 days before the effective date of                    obtained   through     fraudulent    statements,
           cancellation, if we cancel and the policy has           omissions or concealment of fact material to the
           been in effect for more than 60 days, but               acceptance of the risk or to the hazard assumed
           only for one or more of the following                   by us.
           reasons or as permitted under applicable
           Pennsylvania law:                                   c. We will mail or deliver our notice to the last
           (a) You      have      made      a   material          mailing address known to us of the Named
               misrepresentation which affects the                Insured first shown in the Declarations.
               insurability of the risk; or                        If notice is mailed, it will be by registered or first
           (b) You have failed to pay a premium when               class mail. Proof of mailing will be sufficient
               due, whether the premium is payable                 proof of notice.
               directly to the company or its agents or
                                                               d. Notice of cancellation by us will state the
               indirectly under a premium finance plan
                                                                  effective date of cancellation and the specific
               or extension of credit.
                                                                  reasons for cancellation. The "policy period" will
       (3) 60 days before the effective date of
                                                                  end on that date.
           cancellation, if we cancel and the policy has
           been in effect for more than 60 days, but           e. If this policy is cancelled, we will send the
           only for one or more of the following                  Named Insured first shown in the Declarations
           reasons or as permitted under applicable               any premium refund due. If we cancel, the
           Pennsylvania law:                                      refund will be pro-rata and the refund will be
                                                                  made not later than 10 business days after


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        effective date of the termination. If cancellation     3. The following Condition is added to the policy:
        is by you, the refund will be made not later than
                                                                   PREMIUM INCREASE
        30 days after termination. The cancellation will
        be effective even if we have not made or offered           a. If we elect to increase the premium on renewal
        a refund.                                                     of this policy, we will mail or deliver written
                                                                      notice of such increase at least 30 days before
   f.   If the Named Insured cancels, we shall compute
                                                                      the expiration of this policy to the Named
        the return premium at 90% of the pro-rata
                                                                      Insured first shown in the Declarations.
        unearned premium. We shall in any event be
        entitled to retain any minimum retained premium            b. If notice is mailed, it will be by registered or first
        stated in the Declarations.                                   class mail and we will mail it to the last mailing
                                                                      address known to us of the Named Insured first
   g. Premium adjustment may be made either at the
                                                                      shown in the Declarations.
      time cancellation is effected or as soon as
      practicable after cancellation becomes effective,                Proof of mailing will be sufficient proof of notice.
      but payment or tender of unearned premium is             4. In Definitions (Section VII), the definition of
      not a condition of cancellation.                            "Damages" is replaced by the following:
2. The NONRENEWAL Condition is replaced by the                     D. "Damages" awarded against the "Insured" on
   following:                                                         that part of the judgment we pay.
   NONRENEWAL                                                          "Damages" do not include:
   a. If we decide not to renew this policy, we will mail                 1. Fines;
      or deliver written notice of non-renewal stating                     2. Penalties; or
      the reason for nonrenewal to the Named                               3. Damages for which insurance is
      Insured first shown in the Declarations at least                        prohibited by the law applicable to the
      60 days before the end of the "policy period."                          construction of this policy.
   b. If notice is mailed, we will mail it to the last                 Subject to the foregoing, "damages" include
      mailing address known to us of the Named                         damages for any of the following which result at
      Insured first shown in the Declarations.                         any time from "bodily injury" to which this policy
        Proof of mailing will be sufficient proof of notice.           applies:
   c. If we offer to renew but such Named Insured                          1. Death;
      does not accept our offer during the current                         2. Mental anguish;
      "policy period," this policy will not be renewed at                  3. Shock;
      the end of such "policy period."
                                                                           4. Disability; or
                                                                           5. Care and          loss    of   services    or
                                                                              consortium.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                 EXCLUSION - CARE, CUSTODY OR CONTROL
                        OF PERSONAL PROPERTY

This endorsement modifies insurance provided under the

                            SPECTRUM UMBRELLA LIABILITY SUPPLEMENTAL CONTRACT




This policy does not apply to "property damage" to personal property:
    1. Rented to;
    2.   Used by; or
    3.   In the care, custody or control;
Of any "insured" or as to which any "insured" is for any purpose exercising physical control.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                 EXCLUSION - CARE, CUSTODY OR CONTROL
                          OF REAL PROPERTY

This endorsement modifies insurance provided under the

                            SPECTRUM UMBRELLA LIABILITY SUPPLEMENTAL CONTRACT




This policy does not apply to "property damage" to real property:
    1. Owned by;
    2.   Occupie d by;
    3.   Rented to; or
    4.   In the care, custody or control;
Of any "insured" or as to which any "insured" is for any purpose exercising physical control.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      EXCLUSION - UNMANNED AIRCRAFT
This endorsement modifies insurance provided under the following:

                                     UMBRELLA LIABILITY PROVISIONS
                                 UMBRELLA LIABILITY PROVISIONS - VIRGINIA


Except as otherwise stated in this endorsement, the                    ownership,       maintenance,          use      or
terms and conditions of the policy apply to the insurance              entrustment to others of any aircraft (other
stated below.                                                          than "unmanned aircraft") that is owned or
A. The following changes Section I, Paragraph B.                       operated by or rented or loaned to any
   EXCLUSIONS:                                                         "insured".
                                                                       This exclusion does not apply to aircraft
    1. The Aircraft exclusion in Section I, Paragraph
                                                                       (other than "unmanned aircraft) that is:
       B.6. of the Umbrella Liability Provisions, Form
       SX 80 02, or Section I, Paragraph B.5. of the                   (1) Hired, chartered or loaned with a paid
       Umbrella Liability Provisions - Virginia, Form SX                    crew; but
       80 03, is deleted and replaced with the following:              (2) Not owned by any "insured".
        Aircraft                                                       This exclusion does not apply to "bodily
                                                                       injury" to any of your "employees" arising out
        a. Unmanned Aircraft
                                                                       of and in the course of their employment by
            "Bodily injury" or "property damage" arising               you.
            out of the ownership, maintenance, use or          2. The following exclusion is added:
            entrustment to others of any aircraft that is
            an "unmanned aircraft". Use includes                  Personal and Advertising Injury - Unmanned
            operation and "loading or unloading".                 Aircraft
            This Paragraph a. applies even if the claims          "Personal and advertising injury" arising out of
            against any "insured" allege negligence or            the ownership, maintenance, use or entrustment
            other wrongdoing in the supervision, hiring,          to others of any aircraft that is an "unmanned
            employment, training or monitoring of others          aircraft". Use includes operation and "loading or
            by that "insured", if the "occurrence" which          unloading".
            caused the "bodily injury" or "property               This exclusion applies even if the claims against
            damage"      involved      the    ownership,          any "insured" allege negligence or other
            maintenance, use or entrustment to others             wrongdoing       in    the     supervision,     hiring,
            of any aircraft that is an "unmanned                  employment, training or monitoring of others by
            aircraft".                                            that "insured", if the offense which caused the
                                                                  "personal and advertising injury" involved the
        b. Aircraft (Other Than Unmanned Aircraft)
                                                                  ownership, maintenance, use or entrustment to
           "Bodily injury" or "property damage" arising           others of any aircraft that is an "unmanned
           out     of    the    ownership,   operation,           aircraft".
           maintenance, use, entrustment to others,
                                                                  However, this exclusion does not apply if the
           "loading or unloading" of any aircraft (other
                                                                  only allegation in the claim or "suit" involves an
           than "unmanned aircraft":
                                                                  intellectual property right which is limited to:
           (1) Owned by any "insured"; or
                                                                  a. Infringement, in your "advertisement", of:
           (2) Chartered or loaned to any "insured".
                                                                       (1) Copyright;
           This exclusion applies even if the claims
                                                                       (2) Slogan; or
           allege negligence or other wrongdoing in the
           supervision, hiring, employment, training or                (3) Title of any literary or artistic work; or
           monitoring of others by an "insured", if the           b. Copying, in your "advertisement", a person's
           "occurrence" which caused the "bodily                       or organization's "advertising idea" or style
           injury" or "property damage" involved the                   of "advertisement"


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B. The following changes      apply to     Section   VII.
   DEFINITIONS:
   1. The following definition is added:
       "Unmanned aircraft" means an aircraft that is
       not:
       a. Designed;
       b. Manufactured; or
       c. Modified after manufacture
       to be controlled directly by a person from within
       or on the aircraft.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                               EXCLUSION
    ACCESS OR DISCLOSURE OF CONFIDENTIAL OR
PERSONAL INFORMATION AND DATA RELATED LIABILITY-
      WITH LIMITED BODILY INJURY EXCEPTION

This endorsement modifies insurance provided under the following:

                                  UMBRELLA LIABILITY PROVISIONS (SX 80 02)


A. The following is added to Exclusions, B.4                            lists, financial information, credit card
   Personal and Advertising Injury of SECTION 1-                        information, health information or any other
   COVERAGES:                                                           type of nonpublic information; or
    This insurance does not apply to:                               (2) The loss of, loss of use of, damage to,
        Access Or Disclosure Of Confidential Or                         corruption of, inability to access, or inability
        Personal Information                                            to manipulate electronic data.
        "Personal and advertising injury" arising out of                This exclusion applies even if damages are
        any access to or disclosure of any person's or                  claimed for notification costs, credit
        organization's    confidential   or     personal                monitoring expenses, forensic expenses,
        information, including patents, trade secrets,                  public relations expenses or any other loss,
        processing methods, customer lists, financial                   cost or expense incurred by you or others
        information, credit card information, health                    arising out of that which is described in
        information or any other type of nonpublic                      Paragraph (1) or (2) above.
        information.                                                    However, unless Paragraph (1) above
        This exclusion applies even if damages are                      applies, this exclusion does not apply to
        claimed for notification costs, credit monitoring               damages because of "bodily injury".
        expenses, forensic expenses, public relations                   As used in this exclusion, electronic data
        expenses or any other loss, cost or expense                     means information, facts or programs stored
        incurred by you or others arising out of any                    as or on, created or used on, or transmitted
        access to or disclosure of any person's or                      to or from computer software, including
        organization's     confidential   or    personal                systems and applications software, hard or
        information.                                                    floppy disks, CD-ROMs, tapes, drives, cells,
B. Exclusion B.22 Electronic Data of SECTION 1-                         data processing devices or any other media
   COVERAGES is deleted and replaced with the                           which are used with electronically controlled
   following:                                                           equipment.
   22. Access Or Disclosure Of Confidential Or
        Personal Information And Data-related
        Liability
        Damages arising out of:
        (1) Any access to or disclosure of any person's
            or organization's confidential or personal
            information,  including    patents,   trade
            secrets, processing methods, customer



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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                              ABSOLUTE LEAD EXCLUSION

This endorsement modifies insurance provided under the following:

                                         UMBRELLA LIABILITY PROVISIONS


A. The following exclusion is added to B., Exclusions                 c. Arise out of any claim or any suit for
   (SECTION 1-COVERAGES):                                                  damages because of:
   This policy does not apply to:                                          (1) Identification of, abatement of, testing
   1. Any injury, damage, loss, costs or expense,                              for, sampling, monitoring, cleaning up,
       including, but not limited to, "bodily injury",                         removing,       covering,     containing,
       "property damage" or "personal and                                      treating, detoxifying, decontaminating,
       advertising injury" arising out of, in whole or in                      neutralizing or mitigating or in any way
       part, the "lead hazard."                                                responding to or assessing the effects
                                                                               of a "lead hazard"; or
   2. Any damages, judgments, settlements, loss
       costs or expenses that:                                             (2) As a result of such effects, the repair,
                                                                               replacement, or improvement of any
       a. May be awarded or incurred by reason of                              property .
            any claim or suit alleging actual or
            threatened injury or damage of any nature          B. The following definition is added to the Definitions
            or kind to persons or property which arises           section:
            out of, or would not have occurred, in                  "Lead hazard" means an exposure or threat        of
            whole or in part, but for the "lead hazard";            exposure to the actual or alleged properties     of
            or                                                      lead, and includes the mere presence             or
       b. Arise out of any request, demand, order or                suspected presence of lead in any form           or
            statutory or regulatory requirement that                combination.
            any "insured" or others:
            (1) Identify, abate, test for, sample,
                 monitor, clean up, remove, cover,
                 contain,           treat,       detoxify,
                 decontaminate, neutralize or mitigate
                 or in any way respond to or assess
                 the effects of a "lead hazard"; or
            (2) As a result of such effects, repair,
                 replace or improve any property; or




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            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                            FOLLOWING FORM ENDORSEMENT
                                AUTOMOBILE LIABILITY

This endorsement modifies insurance provided under the


                             SPECTRUM UMBRELLA LIABILITY SUPPLEMENTAL CONTRACT


This policy does not apply to liability arising out of the:         EXCEPTION
1.   Ownership;                                                     This exclusion does not apply if "underlying insurance" is
2.   Operation;                                                     maintained providing coverage for such "auto" with
3.   Maintenance;                                                   minimum underlying limits as described for Commercial
                                                                    Automobile Liability in the Schedule of Underlying
4.   Use;                                                           Insurance Policies.
5.   Entrustment to others; or                                      Condition K. - Maintenance      of Underlying   Insurance
6.   Loading or unloading;                                          applies to this exception.
Of any "auto."
This exclusion applies even if the claims against any
insured allege negligence or other wrongdoing in the
supervision, hiring, employment, training or monitoring of
others by that insured, if the “occurrence” which caused in
the injury or damage involved the ownership, maintenance,
use, entrustment to others, or loading or unloading of any
“ auto” .




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



    FOLLOWING FORM ENDORSEMENT – HEARING AID
  ESTABLISHMENT PROFESSIONAL SERVICES COVERAGE

This endorsement modifies insurance provided under the following:

                                        UMBRELLA LIABILITY PROVISIONS



This policy does not apply to “bodily injury”, “property damage” or “personal and advertising injury” arising out of the
rendering of or failure to render professional services in connection with hearing aid services, including the
prescribing, preparation, fitting, demonstration or distribution of hearing aid devices.

EXCEPTION
However, this exclusion does not apply to the extent that Hearing Aid Establishment Professional Services Coverage
for “bodily injury”, "property damage" or “personal and advertising injury” is provided by the “underlying insurance”
policy.
Any coverage restored by this EXCEPTION applies:
(1) Only to the extent of the scope of coverage provided by the "underlying insurance” but in no event shall coverage
    be broader than the scope of coverage provided by the policy of which this endorsement forms a part; and
(2) Only to the extent that such coverage provided by the "underlying insurance" is maintained having limits as set
    forth in the Extension Schedule of Underlying Insurance Policies.

Condition K – Maintenance of Underlying Insurance applies to this exception.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                    FOLLOWING FORM ENDORSEMENT -
                  PERSONAL AND ADVERTISING INJURY

This endorsement modifies insurance provided under the following:

                                        UMBRELLA POLICY PROVISIONS

Exclusion B.4 (Section I – Coverages), is replaced by the following:
4. Personal and Advertising Injury
    This policy does not apply to "personal and advertising injury".

    EXCEPTION
    This exclusion does not apply to the extent that coverage for such "personal and advertising injury" is provided
    by "underlying insurance", but in no event shall any "personal and advertising injury" coverage provided under
    this policy apply to any claim or "suit" to which "underlying insurance" does not apply. Any coverage restored
    by this EXCEPTION applies only to the extent that such coverage provided by the "underlying insurance" is
    maintained having limits as set forth in the Schedule of Underlying Insurance Policies.




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